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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/895569269" data-vids="895569269" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt;Page 230&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;914 P.2d 230&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;,
&lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Appellant&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;b class="ldml-bold"&gt;
v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Frank D. RODRIGUEZ&lt;/span&gt;, &lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Appellee&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;No. 91SA112&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;,
En Banc.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;March 11, 1996&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;
As Modified on Denial of Rehearing&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;
&lt;span class="ldml-date"&gt;April 15, 1996&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;Page 245&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="281" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="281" data-sentence-id="289" class="ldml-sentence"&gt;Appeal from &lt;span class="ldml-entity"&gt;the District Court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;City and County of Denver&lt;/span&gt;; &lt;span class="ldml-entity"&gt;Honorable Federico C. Alvarez&lt;/span&gt;, Judge.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="386" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="386" data-sentence-id="394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Gale A. Norton&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Stephen K. ErkenBrack&lt;/span&gt;&lt;/span&gt;, Chief Deputy &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Timothy M. Tymkovich&lt;/span&gt;&lt;/span&gt;, Solicitor General, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;John Daniel Dailey&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Robert Mark Russel&lt;/span&gt;&lt;/span&gt;, First Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Robert M. Petrusak&lt;/span&gt;&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Criminal Enforcement &lt;span class="ldml-entity"&gt;Section&lt;/span&gt;, Denver, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-&lt;span class="ldml-entity"&gt;Appellant&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="755" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="755" data-sentence-id="763" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;David F. Vela&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Michael J. Heher&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Nora V. Kelly&lt;/span&gt;&lt;/span&gt;, Denver, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-&lt;span class="ldml-entity"&gt;Appellee&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="912" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="912" data-sentence-id="912" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 246&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="921" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (ERICKSON, SCOTT, KIRSHBAUM)"&gt;&lt;span data-paragraph-id="921" data-sentence-id="929" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;ERICKSON&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="982" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="982" data-sentence-id="990" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;1986&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; &lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt; sentenced &lt;span class="ldml-entity"&gt;Frank Rodriguez&lt;/span&gt; to death for his participation in the kidnapping, robbery, rape, and murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="982" data-sentence-id="1141" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; affirmed the imposition of the death sentence, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_1141"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; denied certiorari.&lt;/span&gt; &lt;span data-paragraph-id="982" data-sentence-id="1309" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_1141"&gt;&lt;span class="ldml-refname"&gt;Rodriguez v. Colorado&lt;/span&gt;, &lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="982" data-sentence-id="1386" class="ldml-sentence"&gt;Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Rodriguez sought postconviction review of his death sentence.&lt;/span&gt; &lt;span data-paragraph-id="982" data-sentence-id="1472" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; granted relief in part, denied relief in part, and refused to vacate the death sentence.&lt;/span&gt; &lt;span data-paragraph-id="982" data-sentence-id="1580" class="ldml-sentence"&gt;Both Rodriguez and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; appealed.&lt;/span&gt; &lt;span data-paragraph-id="982" data-sentence-id="1625" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; affirm in part, reverse in part, and remand in part with directions.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_end="1" data-specifier="I" data-confidences="very_high" data-id="heading_1697" data-ordinal_start="1" data-types="background" data-value="I. Facts and Procedural History" id="heading_1697" data-content-heading-label="I
Facts and Procedural History
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="1697" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1697" data-sentence-id="1697" class="ldml-sentence"&gt;I&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="1699" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1699" data-sentence-id="1699" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1728" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1728" data-sentence-id="1736" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;November 14, 1984&lt;/span&gt;, Rodriguez; &lt;sup class="ldml-superscript"&gt;2&lt;/sup&gt; his &lt;span class="ldml-entity"&gt;brother&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;; &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;; and &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; participated in events which culminated in the brutal murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1728" data-sentence-id="1923" class="ldml-sentence"&gt;The facts of the murder are set forth in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_1923"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965, 969-971&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_1923"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1728" data-sentence-id="2104" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;3&lt;/sup&gt; A jury convicted Rodriguez of first-degree murder, first-degree felony murder, first-degree sexual assault, first-degree aggravated motor vehicle theft, second-degree kidnapping, aggravated robbery, conspiracy to commit first-degree murder, conspiracy to commit second-degree kidnapping, conspiracy to commit first-degree aggravated motor vehicle theft, and five counts of using a deadly weapon during the commission of the above offenses.&lt;/span&gt; &lt;span data-paragraph-id="1728" data-sentence-id="2547" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2104"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 545-558&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2568" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2568" data-sentence-id="2576" class="ldml-sentence"&gt;In a separate proceeding, Rodriguez' &lt;span class="ldml-entity"&gt;brother&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;, was convicted of the following crimes: first-degree murder, first-degree sexual assault, aggravated motor vehicle theft, second-degree kidnapping, robbery, conspiracy to commit first-degree murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="2568" data-sentence-id="2942" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889783005" data-vids="889783005" class="ldml-reference" data-prop-ids="sentence_2576"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;786 P.2d 472, 473&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2576"&gt;&lt;span class="ldml-cite"&gt;No. 89SC600&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;Jan. 29, 1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2568" data-sentence-id="3047" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; was convicted of second-degree kidnapping and sentenced to twenty years.&lt;/span&gt; &lt;span data-paragraph-id="2568" data-sentence-id="3135" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3047"&gt;&lt;span class="ldml-refname"&gt;R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2568" data-sentence-id="3153" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; immunity in exchange for her testimony and did not charge her for her participation in the criminal episode.&lt;/span&gt; &lt;span data-paragraph-id="2568" data-sentence-id="3302" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3153"&gt;&lt;span class="ldml-refname"&gt;R., v. 2&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3321" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3321" data-sentence-id="3329" class="ldml-sentence"&gt;Prior to the penalty phase of Rodriguez' &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; conducted a habitual criminal proceeding pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-13-103, 8 C.R.S. &lt;span class="ldml-parenthetical"&gt;(1984 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and the jury found beyond a reasonable doubt that Rodriguez had been convicted of three prior felonies.&lt;/span&gt; &lt;span data-paragraph-id="3321" data-sentence-id="3599" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3329"&gt;&lt;span class="ldml-refname"&gt;R., v. 33&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 63-65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3619" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3619" data-sentence-id="3627" class="ldml-sentence"&gt;At the penalty phase of Rodriguez' trial, the jury found that six statutory aggravating factors existed beyond a reasonable doubt: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; committing murder while under a felony sentence of imprisonment; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; intentionally killing a person kidnapped by him or by anyone associated with him; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; intentionally killing a person in furtherance of an agreement to kill; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; intentionally causing the death of a person in the course of or in furtherance of a felony or in his immediate flight therefrom; &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; killing in an especially heinous, cruel or depraved manner; &lt;sup class="ldml-superscript"&gt;4&lt;/sup&gt; and &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4201" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4201" data-sentence-id="4201" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 247&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4209" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="4209" data-sentence-id="4210" class="ldml-sentence"&gt;committing murder for the purpose of avoiding or preventing a lawful arrest or &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4209" data-sentence-id="4302" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4210"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 746-52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4210"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4209" data-sentence-id="4360" class="ldml-sentence"&gt;The jury further found that the mitigating factors did not outweigh the aggravating factors and sentenced Rodriguez to death.&lt;/span&gt; &lt;span data-paragraph-id="4209" data-sentence-id="4486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4360"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 753&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4503" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4503" data-sentence-id="4511" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; stayed the death sentence pending an automatic direct appeal, pursuant to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 4&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;. &lt;sup class="ldml-superscript"&gt;5&lt;/sup&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; The &lt;span class="ldml-entity"&gt;Colorado State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;'s Office&lt;/span&gt; represented Rodriguez on direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="4503" data-sentence-id="4745" class="ldml-sentence"&gt;After four extensions of time to file an opening brief and nearly two years after &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; had been docketed in &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; filed a 138-page document entitled &lt;span class="ldml-quotation quote"&gt;"Partial Opening Brief,"&lt;/span&gt; with a protest that a complete brief could not be filed without an additional extension of time.&lt;/span&gt; &lt;span data-paragraph-id="4503" data-sentence-id="5042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4745"&gt;&lt;span class="ldml-refname"&gt;&lt;sup class="ldml-superscript"&gt;6&lt;/sup&gt; Am.R., v. 18&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1-151&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4503" data-sentence-id="5068" class="ldml-sentence"&gt;Rodriguez attached an appendix to the &lt;span class="ldml-quotation quote"&gt;"Partial Opening Brief"&lt;/span&gt; which listed 102 additional issues which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; claims &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wanted to raise, but could not because of unreasonable time limitations and an inadequate record on appeal.&lt;/span&gt; &lt;span data-paragraph-id="4503" data-sentence-id="5292" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5068"&gt;&lt;span class="ldml-refname"&gt;&lt;sup class="ldml-superscript"&gt;7&lt;/sup&gt; Am.R., v. 5&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1219-1231&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5321" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5329" class="ldml-sentence"&gt;On direct appeal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirmed the death sentence.&lt;/span&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5379" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_5329"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5407" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;February 11, 1991&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;motion for reduction of sentence&lt;/span&gt;, and, on &lt;span class="ldml-entity"&gt;February 21, 1991&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied relief.&lt;/span&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5556" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5407"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 823&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5576" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 13, 1991&lt;/span&gt;, Rodriguez filed a notice of appeal in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; seeking review of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5729" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5576"&gt;&lt;span class="ldml-cite"&gt;Id. at 889-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5744" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 28, 1991&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; accepted jurisdiction over the appeal and granted Rodriguez' &lt;span class="ldml-entity"&gt;motion for a stay of execution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5321" data-sentence-id="5859" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5744"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5863" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5863" data-sentence-id="5871" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 25, 1991&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; motion in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; and a &lt;span class="ldml-entity"&gt;motion to obtain&lt;/span&gt; the appointment of private &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to investigate and litigate claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6090" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5871"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6094" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;April 12, 1991&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; filed a &lt;span class="ldml-entity"&gt;motion to dismiss&lt;/span&gt; Rodriguez' motions on the ground that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; lacked jurisdiction over &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; due to the pendency of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; appeal in &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6309" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6094"&gt;&lt;span class="ldml-cite"&gt;Id. at 881&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6321" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;April 19, 1991&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;motion to withdraw&lt;/span&gt; the previously filed &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; motion.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6428" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6321"&gt;&lt;span class="ldml-cite"&gt;Id. at 888&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6440" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;May 30, 1991&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; ordered that &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; be remanded to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for the limited purpose of setting a time frame to permit Rodriguez to file any and all postconviction claims relating to his conviction and sentence.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6667" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6440"&gt;&lt;span class="ldml-cite"&gt;Id. at 889-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6682" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further ordered that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; conduct a hearing on all such claims that it deemed appropriate and issue a final ruling without unnecessary delay.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6841" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6682"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6845" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;July 8, 1991&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; ordered that Rodriguez submit all &lt;span class="ldml-entity"&gt;post-trial motions&lt;/span&gt; by &lt;span class="ldml-entity"&gt;August 1, 1991&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5863" data-sentence-id="6953" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6845"&gt;&lt;span class="ldml-cite"&gt;Id. at 897&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6965" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6965" data-sentence-id="6973" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;August 1, 1991&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;motion for postconviction review&lt;/span&gt; of his death sentence which was over 700 pages and raised 319 claims for relief relating to the guilt and penalty phases of the trial and the direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="6965" data-sentence-id="7214" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6973"&gt;&lt;span class="ldml-cite"&gt;Am.R., vv. 11-13, 68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6965" data-sentence-id="7240" class="ldml-sentence"&gt;Rodriguez' &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt; also contained claims relating to ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and newly discovered evidence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7372" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7372" data-sentence-id="7380" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;December 11, 1991&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; appointed &lt;span class="ldml-entity"&gt;Richard Hostetler&lt;/span&gt; as independent &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to investigate and litigate Rodriguez' claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7556" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7556" data-sentence-id="7556" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 248&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7564" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="7564" data-sentence-id="7565" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 6&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1486&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7564" data-sentence-id="7586" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;January 19, 1993&lt;/span&gt;, Hostetler filed a separate &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; claiming that Rodriguez received ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; during the guilt and penalty phases of his trial and on direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="7564" data-sentence-id="7793" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7586"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 7&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1631-1647&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7564" data-sentence-id="7819" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; held a hearing on Rodriguez' claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and, on &lt;span class="ldml-entity"&gt;October 7, 1993&lt;/span&gt;, denied relief.&lt;/span&gt; &lt;span data-paragraph-id="7564" data-sentence-id="7951" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7819"&gt;&lt;span class="ldml-cite"&gt;Id. at 1762-88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7967" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7967" data-sentence-id="7975" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;February 14, 1994&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; ruled on Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; that had been filed on &lt;span class="ldml-entity"&gt;August 1, 1991&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7967" data-sentence-id="8096" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; vacated Rodriguez' convictions for felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft, but denied Rodriguez' &lt;span class="ldml-entity"&gt;motion to vacate&lt;/span&gt; the death sentence.&lt;/span&gt; &lt;span data-paragraph-id="7967" data-sentence-id="8328" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8096"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 216-219&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7967" data-sentence-id="8349" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; denied all of Rodriguez' remaining postconviction claims, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8349"&gt;&lt;span class="ldml-cite"&gt;id. at 152-222&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, but reserved ruling on the allegations of newly discovered evidence.&lt;/span&gt; &lt;span data-paragraph-id="7967" data-sentence-id="8515" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8349"&gt;&lt;span class="ldml-cite"&gt;Id. at 221-222&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7967" data-sentence-id="8531" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; held a hearing on Rodriguez' claims of newly discovered evidence and denied relief.&lt;/span&gt; &lt;span data-paragraph-id="7967" data-sentence-id="8653" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8531"&gt;&lt;span class="ldml-refname"&gt;R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 182-83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8678" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8678" data-sentence-id="8686" class="ldml-sentence"&gt;Rodriguez now appeals &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; postconviction claims and its refusal to vacate his death sentence.&lt;/span&gt; &lt;span data-paragraph-id="8678" data-sentence-id="8825" class="ldml-sentence"&gt;Rodriguez' Opening Brief on this appeal is 419 pages and raises 151 issues.&lt;/span&gt; &lt;span data-paragraph-id="8678" data-sentence-id="8901" class="ldml-sentence"&gt;A list of these issues is attached as Appendix A. &lt;sup class="ldml-superscript"&gt;8&lt;/sup&gt; Rodriguez also appeals &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of his claims alleging ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8678" data-sentence-id="9063" class="ldml-sentence"&gt;This issue was separately briefed on this appeal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9113" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9113" data-sentence-id="9121" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; cross-appeals, arguing that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erroneously vacated Rodriguez' convictions for felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9350" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9350" data-sentence-id="9358" class="ldml-sentence"&gt;The primary question on appeal is whether &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in determining that Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; did not warrant reversal and vacation of his death sentence.&lt;/span&gt; &lt;span data-paragraph-id="9350" data-sentence-id="9535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s vacation of Rodriguez' duplicative sentences and our remand to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; of Rodriguez' conviction for first-degree sexual assault as a class 2 felony, see infra &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9535"&gt;&lt;span class="ldml-cite"&gt;parts IX&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt; and XIV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provide the only relief available to Rodriguez on the arguments presented in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motions&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9350" data-sentence-id="9865" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm in part, reverse in part, and remand in part with directions.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="II" data-id="heading_9950" data-ordinal_start="2" data-ordinal_end="2" data-specifier="II" id="heading_9950" data-content-heading-label="II
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="9950" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9950" data-sentence-id="9950" class="ldml-sentence"&gt;II&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="9953" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9953" data-sentence-id="9953" class="ldml-sentence"&gt;Issues Previously Litigated&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A" data-id="heading_9981" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_9981" data-content-heading-label="A
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="9981" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9981" data-sentence-id="9981" class="ldml-sentence"&gt;A&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="9983" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9983" data-sentence-id="9991" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; denied 110 of the 319 postconviction claims Rodriguez raised in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, &lt;sup class="ldml-superscript"&gt;9&lt;/sup&gt; holding that Rodriguez could not raise claims that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; previously raised on direct appeal and which &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; previously resolved in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_9991"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_9991"&gt;&lt;span class="ldml-refname"&gt;Rodriguez v. Dist. Ct., City &amp; Cty. of Denver&lt;/span&gt;, &lt;span class="ldml-cite"&gt;719 P.2d 699&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez I&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9983" data-sentence-id="10391" class="ldml-sentence"&gt;On this appeal, Rodriguez specifically asserts the following issues, which are comprised of or contain claims which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; disposed of as previously litigated: 5, 6, 9, 10, 66, 79, 90, 91, 92, 96, 106, 115, 135, 136, 137,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10626" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10626" data-sentence-id="10626" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 249&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10634" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="10634" data-sentence-id="10635" class="ldml-sentence"&gt;138, 150, and Rodriguez' argument that the inadequacy of the record on appeal denied him effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10634" data-sentence-id="10757" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;10&lt;/sup&gt; In Issue 1 of this appeal, Rodriguez attempts to salvage the remaining claims which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; disposed of as previously litigated, asserting that &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;district court&lt;/span&gt;'s ruling&lt;/span&gt; that Mr. Rodriguez had already had appellate review of many claims in his &lt;span class="ldml-entity"&gt;postconviction motions&lt;/span&gt; was erroneous."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10634" data-sentence-id="11058" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10757"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 32-37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10634" data-sentence-id="11093" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that Rodriguez' failure to specifically reassert on this appeal all of the claims which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; disposed of as previously litigated on direct appeal constitutes a conscious relinquishment of those claims which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; does not reassert.&lt;/span&gt; &lt;span data-paragraph-id="10634" data-sentence-id="11348" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address only those postconviction claims that Rodriguez specifically reasserts on this appeal.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B" data-id="heading_11459" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_11459" data-content-heading-label="B
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="11459" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11459" data-sentence-id="11459" class="ldml-sentence"&gt;B&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11461" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11461" data-sentence-id="11469" class="ldml-sentence"&gt;Rodriguez has no constitutional right to postconviction review; rather, any right &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has is statutory.&lt;/span&gt; &lt;span data-paragraph-id="11461" data-sentence-id="11573" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892580436" data-vids="892580436" class="ldml-reference" data-prop-ids="sentence_11469"&gt;&lt;span class="ldml-refname"&gt;People v. Wiedemer&lt;/span&gt;, &lt;span class="ldml-cite"&gt;852 P.2d 424, 438&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11461" data-sentence-id="11624" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; presume the validity of the judgment of conviction and place upon Rodriguez the burden to establish his right to relief by a preponderance of the evidence.&lt;/span&gt; &lt;span data-paragraph-id="11461" data-sentence-id="11783" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893339889" data-vids="893339889" class="ldml-reference" data-prop-ids="sentence_11624"&gt;&lt;span class="ldml-refname"&gt;People v. Naranjo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;840 P.2d 319, 325&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11837" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11837" data-sentence-id="11845" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11845"&gt;&lt;span class="ldml-cite"&gt;Rule 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; proceedings are intended to prevent injustices after conviction and sentencing, not to provide perpetual review.&lt;/span&gt; &lt;span data-paragraph-id="11837" data-sentence-id="11966" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892468779" data-vids="892468779" class="ldml-reference" data-prop-ids="sentence_11845"&gt;&lt;span class="ldml-refname"&gt;People v. Hampton&lt;/span&gt;, &lt;span class="ldml-cite"&gt;187 Colo. 131, 133&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 P.2d 1311, 1312&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11837" data-sentence-id="12033" class="ldml-sentence"&gt;Accordingly, Rodriguez cannot use a proceeding under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12033"&gt;&lt;span class="ldml-cite"&gt;Rule 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to relitigate matters fully and finally resolved in an earlier appeal.&lt;/span&gt; &lt;span data-paragraph-id="11837" data-sentence-id="12165" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889042730" data-vids="889042730" class="ldml-reference" data-prop-ids="sentence_12033"&gt;&lt;span class="ldml-refname"&gt;People v. Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;638 P.2d 61, 63&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891995016" data-vids="891995016" class="ldml-reference" data-prop-ids="sentence_12033"&gt;&lt;span class="ldml-refname"&gt;People v. Trujillo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. 497, 500&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 P.2d 1312, 1314&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889067931" data-vids="889067931" class="ldml-reference" data-prop-ids="sentence_12033"&gt;&lt;span class="ldml-refname"&gt;Morse v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;180 Colo. 49, 52&lt;/span&gt;, &lt;span class="ldml-cite"&gt;501 P.2d 1328, 1329&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbradley,169colo262,264-265,455p2d199,2001969" data-prop-ids="sentence_12033"&gt;&lt;span class="ldml-refname"&gt;People v. Bradley&lt;/span&gt;, &lt;span class="ldml-cite"&gt;169 Colo. 262, 265&lt;/span&gt;, &lt;span class="ldml-cite"&gt;455 P.2d 199, 200&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12033"&gt;&lt;span class="ldml-refname"&gt;ABA Standards for Criminal Justice, Postconviction Remedies&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-6.1&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; at 22-62 &lt;span class="ldml-parenthetical"&gt;(2d ed. 1986)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11837" data-sentence-id="12509" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;11&lt;/sup&gt; An issue is &lt;span class="ldml-quotation quote"&gt;"fully and finally litigated when the highest &lt;span class="ldml-entity"&gt;court of &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;&lt;/span&gt; to which &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; could appeal as of right has ruled on the merits of the question."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11837" data-sentence-id="12678" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12509"&gt;&lt;span class="ldml-refname"&gt;ABA Standards&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-6.1&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; at 22-62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11837" data-sentence-id="12714" class="ldml-sentence"&gt;Moreover, an argument raised under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12714"&gt;&lt;span class="ldml-cite"&gt;Rule 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; which does not precisely duplicate an issue raised on appeal will be precluded if its review &lt;span class="ldml-quotation quote"&gt;"would be nothing more than a second appeal addressing the same issues on some recently contrived constitutional theory."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11837" data-sentence-id="12972" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887636934" data-vids="887636934" class="ldml-reference" data-prop-ids="sentence_12714"&gt;&lt;span class="ldml-refname"&gt;People v. Bastardo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;646 P.2d 382, 383&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13023" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13023" data-sentence-id="13031" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; has defined the concept of &lt;span class="ldml-quotation quote"&gt;"same grounds"&lt;/span&gt; for the purposes of successive &lt;span class="ldml-entity"&gt;applications for postconviction relief&lt;/span&gt; by federal prisoners:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13197" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13197" data-sentence-id="13197" class="ldml-sentence"&gt;By &lt;span class="ldml-quotation quote"&gt;"ground,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; mean simply a sufficient legal basis for granting the relief sought by the applicant.&lt;/span&gt; &lt;span data-paragraph-id="13197" data-sentence-id="13299" class="ldml-sentence"&gt;For example, the contention that an involuntary confession was admitted in evidence against him is a distinct ground for federal collateral relief.&lt;/span&gt; &lt;span data-paragraph-id="13197" data-sentence-id="13447" class="ldml-sentence"&gt;But a claim of involuntary confession predicated on alleged psychological coercion does not raise a different &lt;span class="ldml-quotation quote"&gt;"ground"&lt;/span&gt; than does one predicated on alleged physical coercion.&lt;/span&gt; &lt;span data-paragraph-id="13197" data-sentence-id="13621" class="ldml-sentence"&gt;In other words, identical grounds may often be proved by different factual allegations.&lt;/span&gt; &lt;span data-paragraph-id="13197" data-sentence-id="13709" class="ldml-sentence"&gt;So also, identical grounds may often be supported by different legal arguments, or be couched in different language, or vary in immaterial respects.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13858" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13858" data-sentence-id="13866" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892707100" data-vids="892707100" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Sanders v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;373 U.S. 1, 16&lt;/span&gt;, &lt;span class="ldml-cite"&gt;83 S.Ct. 1068, 1077&lt;/span&gt;, &lt;span class="ldml-cite"&gt;10 L.Ed.2d 148&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1963&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888609782" data-vids="888609782" class="ldml-reference" data-prop-ids="embeddedsentence_14038"&gt;&lt;span class="ldml-refname"&gt;People v. Scheer&lt;/span&gt;, &lt;span class="ldml-cite"&gt;184 Colo. 15, 19&lt;/span&gt;, &lt;span class="ldml-cite"&gt;518 P.2d 833&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that previous &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; attacks on the voluntariness, coercion, and adequacy of advisement of &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s guilty plea precluded raising a similar attack alleging that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; did not understand the nature of the charge&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13858" data-sentence-id="14270" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; use this standard to assist our review of those claims which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; disposed of as having been previously litigated.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14402" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14402" data-sentence-id="14402" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 250&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C" data-id="heading_14411" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_14411" data-content-heading-label="C
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="14411" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14411" data-sentence-id="14411" class="ldml-sentence"&gt;C&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="14413" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14413" data-sentence-id="14421" class="ldml-sentence"&gt;In his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, Rodriguez raised numerous claims challenging the constitutionality of the capital sentencing &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, under which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was sentenced.&lt;/span&gt; &lt;span data-paragraph-id="14413" data-sentence-id="14613" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; held that our &lt;span class="ldml-entity"&gt;decisions in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_14613"&gt;&lt;span class="ldml-refname"&gt;People v. Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d 786&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_14613"&gt;&lt;span class="ldml-refname"&gt;People v. Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:498us1018111sct662,112led2d6561991" data-prop-ids="sentence_14613"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1018&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 662&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 656&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, disposed of Rodriguez' claims.&lt;/span&gt; &lt;span data-paragraph-id="14413" data-sentence-id="14852" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14613"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 209-10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14413" data-sentence-id="14872" class="ldml-sentence"&gt;In Issue 3, Rodriguez challenges the propriety of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s ruling&lt;/span&gt;, and, in Issues 5, 6, 7, 8, 9, and 87, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; collectively reasserts his attack on the death &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15048" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15048" data-sentence-id="15056" class="ldml-sentence"&gt;Our &lt;span class="ldml-entity"&gt;decisions in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_15056"&gt;&lt;span class="ldml-refname"&gt;Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d at 789-92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_15056"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 170-74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, upheld the constitutionality of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15056"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and rejected the argument that the death penalty violates the Cruel and Unusual Punishment and Due Process Clauses of the United States and the Colorado Constitutions.&lt;/span&gt; &lt;span data-paragraph-id="15048" data-sentence-id="15353" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; see no reason to overrule that precedent.&lt;/span&gt; &lt;span data-paragraph-id="15048" data-sentence-id="15398" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject the arguments raised in Issues 3, 6, 7, 8, and 87. &lt;sup class="ldml-superscript"&gt;12&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15475" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15475" data-sentence-id="15483" class="ldml-sentence"&gt;In Davis, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; is not constitutionally required to provide proportionality review of a death sentence or to inquire as to whether the punishment imposed on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is disproportionate to the punishment imposed on others convicted of the same offense.&lt;/span&gt; &lt;span data-paragraph-id="15475" data-sentence-id="15757" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_15483"&gt;&lt;span class="ldml-cite"&gt;794 P.2d at 173-74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15475" data-sentence-id="15777" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; see no reason to set this precedent aside.&lt;/span&gt; &lt;span data-paragraph-id="15475" data-sentence-id="15823" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issues 5 and 9.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="III. Issues Inadequately Raised" data-id="heading_15862" data-ordinal_start="3" data-ordinal_end="3" data-specifier="III" id="heading_15862" data-content-heading-label="III
Issues Inadequately Raised
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="15862" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15862" data-sentence-id="15862" class="ldml-sentence"&gt;III&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="15866" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15866" data-sentence-id="15866" class="ldml-sentence"&gt;Issues Inadequately Raised&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="15893" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15893" data-sentence-id="15901" class="ldml-sentence"&gt;A &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"may be summarily denied where, as here, it does not specify the facts which constitute the basis for the unconstitutional charge."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15893" data-sentence-id="16057" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893911418" data-vids="893911418" class="ldml-reference" data-prop-ids="sentence_15901"&gt;&lt;span class="ldml-refname"&gt;Hooker v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;173 Colo. 226, 228&lt;/span&gt;, &lt;span class="ldml-cite"&gt;477 P.2d 376, 377&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1970&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15893" data-sentence-id="16121" class="ldml-sentence"&gt;In his &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;, Rodriguez raised many claims which did little more than allege that his conviction and sentence were illegal and unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="15893" data-sentence-id="16282" class="ldml-sentence"&gt;These claims did not set forth facts from which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; could discern any basis for unconstitutional action or inaction.&lt;/span&gt; &lt;span data-paragraph-id="15893" data-sentence-id="16405" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16282"&gt;&lt;span class="ldml-cite"&gt;id. &lt;sup class="ldml-superscript"&gt;13&lt;/sup&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16416" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16416" data-sentence-id="16424" class="ldml-sentence"&gt;Rodriguez reasserts many of these issues on this appeal.&lt;/span&gt; &lt;span data-paragraph-id="16416" data-sentence-id="16481" class="ldml-sentence"&gt;On appeal, Rodriguez must inform &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"both as to the specific errors relied upon and as to the grounds, supporting facts and authorities therefor."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16416" data-sentence-id="16636" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886806115" data-vids="886806115" class="ldml-reference" data-prop-ids="sentence_16481"&gt;&lt;span class="ldml-refname"&gt;People v. Diefenderfer&lt;/span&gt;, &lt;span class="ldml-cite"&gt;784 P.2d 741, 752&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16416" data-sentence-id="16695" class="ldml-sentence"&gt;Many of the reasserted issues appear as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; appeared in the motion and are likewise inadequately supported in this proceeding.&lt;/span&gt; &lt;span data-paragraph-id="16416" data-sentence-id="16823" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s dismissal of the following issues: Issue 21 &lt;span class="ldml-parenthetical"&gt;(alleging cumulative error)&lt;/span&gt;; Issue 25 &lt;span class="ldml-parenthetical"&gt;(challenging the plea bargain given to &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;)&lt;/span&gt;; Issue 34 &lt;span class="ldml-parenthetical"&gt;(alleging that &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; gave preferential treatment to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;)&lt;/span&gt;; Issue 37 &lt;span class="ldml-parenthetical"&gt;(alleging prosecutorial misconduct surrounding &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;' testimony)&lt;/span&gt;; Issue 42 &lt;span class="ldml-parenthetical"&gt;(challenging the admissibility of &lt;span class="ldml-quotation quote"&gt;"probability"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"reliability"&lt;/span&gt; evidence concerning hairs and fibers)&lt;/span&gt;; Issue 43&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17303" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17303" data-sentence-id="17303" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 251&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17311" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="17311" data-sentence-id="17312" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;challenging the admissibility of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s evidence concerning the cuts on &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;' hands&lt;/span&gt;)&lt;/span&gt;; Issue 45 &lt;span class="ldml-parenthetical"&gt;(challenging the admissibility of certain exhibits)&lt;/span&gt;; Issue 47 &lt;span class="ldml-parenthetical"&gt;(alleging &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;'s discriminatory use of peremptory strikes)&lt;/span&gt;; Issue 60 &lt;span class="ldml-parenthetical"&gt;(alleging ex parte communication between &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; and jurors)&lt;/span&gt;; Issue 63 &lt;span class="ldml-parenthetical"&gt;(alleging defective jury summoning and selection)&lt;/span&gt;; Issue 66 &lt;span class="ldml-parenthetical"&gt;(alleging limitations on voir dire concerning the commutation of death row inmates in New Mexico)&lt;/span&gt;; &lt;sup class="ldml-superscript"&gt;14&lt;/sup&gt; Issue 94 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to require &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; to cooperate with Rodriguez' investigation)&lt;/span&gt;; Issue 97 &lt;span class="ldml-parenthetical"&gt;(alleging that Rodriguez' letters and statements to &lt;span class="ldml-entity"&gt;Margie Marquez&lt;/span&gt; were involuntary statements)&lt;/span&gt;; Issue 98 &lt;span class="ldml-parenthetical"&gt;(alleging inadequate representation on the first day of jury selection)&lt;/span&gt;; Issue 102 &lt;span class="ldml-parenthetical"&gt;(alleging &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s failure to comply with &lt;span class="ldml-entity"&gt;a Supreme Court&lt;/span&gt; order regarding the first day of jury selection)&lt;/span&gt;; Issue 105 &lt;span class="ldml-parenthetical"&gt;(alleging prosecutorial misconduct regarding &lt;span class="ldml-entity"&gt;Margie Marquez&lt;/span&gt;)&lt;/span&gt;; and Issue 119 &lt;span class="ldml-parenthetical"&gt;(alleging that the charges and convictions were &lt;span class="ldml-quotation quote"&gt;"circular"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18406" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18406" data-sentence-id="18414" class="ldml-sentence"&gt;Rodriguez also attempts to use his brief on this appeal to fortify a number of issues inadequately raised or supported by his motion.&lt;/span&gt; &lt;span data-paragraph-id="18406" data-sentence-id="18548" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; can summarily dismiss claims inadequately presented to it, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893911418" data-vids="893911418" class="ldml-reference" data-prop-ids="sentence_18548"&gt;&lt;span class="ldml-refname"&gt;Hooker&lt;/span&gt;, &lt;span class="ldml-cite"&gt;173 Colo. at 228&lt;/span&gt;, &lt;span class="ldml-cite"&gt;477 P.2d at 377&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, our consideration of such issues on appeal of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s order would effectively grant Rodriguez a successive &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; without also burdening him with the harsher standard of review appropriate to a successive motion.&lt;/span&gt; &lt;span data-paragraph-id="18406" data-sentence-id="18913" class="ldml-sentence"&gt;See infra at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18913"&gt;&lt;span class="ldml-cite"&gt;part IV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18406" data-sentence-id="18935" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; decline to grant Rodriguez this deference and, instead, uphold &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s dismissal of these claims, regardless of the adequacy of their presentation upon this appeal.&lt;/span&gt; &lt;span data-paragraph-id="18406" data-sentence-id="19116" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; refuse to review the following issues because of Rodriguez' failure to adequately specify the errors and legal grounds for relief at &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; level: Issue 4 &lt;span class="ldml-parenthetical"&gt;(challenging &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to death qualify the judge)&lt;/span&gt;; Issue 10 &lt;span class="ldml-parenthetical"&gt;(alleging bias on the part of Judge Phillips)&lt;/span&gt;; portions of Issue 11 &lt;span class="ldml-parenthetical"&gt;(those portions alleging unauthorized communication between judges regarding Rodriguez' case and error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to have a judge from another district hear &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;)&lt;/span&gt;; &lt;sup class="ldml-superscript"&gt;15&lt;/sup&gt; Issue 24 &lt;span class="ldml-parenthetical"&gt;(alleging discovery violations)&lt;/span&gt;; Issue 26 &lt;span class="ldml-parenthetical"&gt;(alleging police failure to obtain exculpatory evidence from &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;)&lt;/span&gt;; Issue 29 &lt;span class="ldml-parenthetical"&gt;(alleging that Rodriguez was not provided with oral statements of &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; witnesses)&lt;/span&gt;; Issue 32 &lt;span class="ldml-parenthetical"&gt;(alleging discovery violations)&lt;/span&gt;; Issue 33 &lt;span class="ldml-parenthetical"&gt;(alleging that Rodriguez was not afforded adequate opportunity to prepare or file an adequate brief on direct appeal)&lt;/span&gt;; Issue 40 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to allow Rodriguez to impeach &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; with videotaped testimony)&lt;/span&gt;; Issue 44 &lt;span class="ldml-parenthetical"&gt;(alleging improper admission of testimony)&lt;/span&gt;; portions of Issue 46 &lt;span class="ldml-parenthetical"&gt;(alleging that Rodriguez was denied his right to make motions, objections, and record regarding bench conferences and penalty phase jury instructions)&lt;/span&gt;; &lt;sup class="ldml-superscript"&gt;16&lt;/sup&gt; Issue 48 &lt;span class="ldml-parenthetical"&gt;(alleging unreasonable restrictions on voir dire)&lt;/span&gt;; Issues 52 and 78 &lt;span class="ldml-parenthetical"&gt;(alleging &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; error in refusing to excuse for cause prospective jurors who knew of &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;' conviction and sentence)&lt;/span&gt;; Issue 53 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s failure to appropriately swear prospective jurors)&lt;/span&gt;; Issue 56 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to allow individual sequestered voir dire)&lt;/span&gt;; Issue 58 &lt;span class="ldml-parenthetical"&gt;(realleging defects in procedure on the first day of jury selection)&lt;/span&gt;; &lt;sup class="ldml-superscript"&gt;17&lt;/sup&gt; Issue 59 &lt;span class="ldml-parenthetical"&gt;(alleging inadequate voir dire of one &lt;span class="ldml-entity"&gt;panel&lt;/span&gt; due to defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s inexperience)&lt;/span&gt;; Issue 64 &lt;span class="ldml-parenthetical"&gt;(alleging undue limitations on voir dire)&lt;/span&gt;; Issue 76 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to excuse potential juror G.P. for cause)&lt;/span&gt;; Issue 77 (alleging improper&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21174" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21174" data-sentence-id="21174" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 252&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21182" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="21182" data-sentence-id="21183" class="ldml-sentence"&gt;excusal of potential jurors for cause due to their death penalty views); Issue 79 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s failure to instruct jurors who were aware of &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;' conviction not to consider that fact)&lt;/span&gt;; Issue 82 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to strike &lt;span class="ldml-entity"&gt;the panel&lt;/span&gt; of prospective jurors to whom &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; stated that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; want to get sentenced right before Christmas,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21183"&gt;&lt;span class="ldml-refname"&gt;R., v. 20&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 133&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;; Issue 85 &lt;span class="ldml-parenthetical"&gt;(alleging &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; error in refusing to preclude &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; from arguing theories inconsistent with that argued in the trials of the other participants)&lt;/span&gt;; Issue 86 &lt;span class="ldml-parenthetical"&gt;(alleging error in the exclusion of evidence of &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;' physical condition after arrest)&lt;/span&gt;; Issue 88 &lt;span class="ldml-parenthetical"&gt;(alleging error in allowing testimony regarding photographs not admitted into evidence)&lt;/span&gt;; Issue 89 &lt;span class="ldml-parenthetical"&gt;(alleging inadequate waiver of Rodriguez' right to testify)&lt;/span&gt;; Issue 90 &lt;span class="ldml-parenthetical"&gt;(alleging erroneous admission of photographs)&lt;/span&gt;; Issue 91 &lt;span class="ldml-parenthetical"&gt;(alleging erroneous prosecutorial examination of &lt;span class="ldml-entity"&gt;Margie Marquez&lt;/span&gt; as to Rodriguez' letters)&lt;/span&gt;; Issue 92 &lt;span class="ldml-parenthetical"&gt;(alleging erroneous allowance of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s cross-examination of the jail chaplain)&lt;/span&gt;; Issue 93 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-parenthetical"&gt;(alleging that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erroneously concluded that Rodriguez' statements to police after his arrest were voluntary)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Issue&lt;/span&gt; &lt;span class="ldml-cite"&gt;99&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(alleging judicial bias)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;a href="#note-fr18" class="ldml-noteanchor" id="note-ref-fr18"&gt;18&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; Issue 100 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to allow the jail chaplain to wear his collar while sitting with the Rodriguez family)&lt;/span&gt;; Issue 103 &lt;span class="ldml-parenthetical"&gt;(alleging error in the scheduling of trial)&lt;/span&gt;; Issue 104 &lt;span class="ldml-parenthetical"&gt;(alleging prosecutorial violations of due process)&lt;/span&gt;; and Issue 151 &lt;span class="ldml-parenthetical"&gt;(alleging that Rodriguez was not competent to stand trial)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22835" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22835" data-sentence-id="22843" class="ldml-sentence"&gt;In Issue 41, Rodriguez alleges error in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s dismissal of postconviction claims which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; now reasserts in Issues 42, 43, 44, 45, and 88.&lt;/span&gt; &lt;span data-paragraph-id="22835" data-sentence-id="22996" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold these underlying issues to be inadequately presented, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issue 41.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="IV. Waiver" data-id="heading_23086" data-ordinal_start="4" data-ordinal_end="4" data-specifier="IV" id="heading_23086" data-content-heading-label="IV
Waiver
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="23086" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23086" data-sentence-id="23086" class="ldml-sentence"&gt;IV&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="23089" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23089" data-sentence-id="23089" class="ldml-sentence"&gt;Waiver&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="23096" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23096" data-sentence-id="23104" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; disallowed 191 claims which were &lt;span class="ldml-quotation quote"&gt;"available for appeal, but which &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; nevertheless eliminated based on priority."&lt;/span&gt;&lt;/span&gt; &lt;a href="#note-fr19" class="ldml-noteanchor" id="note-ref-fr19"&gt;19&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="23096" data-sentence-id="23242" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23104"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 178&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23096" data-sentence-id="23259" class="ldml-sentence"&gt;Rodriguez now generally contends that his decision not to pursue these claims on direct appeal does not constitute waiver and then specifically reasserts many of these issues on this appeal of the denial of postconviction relief.&lt;/span&gt; &lt;span data-paragraph-id="23096" data-sentence-id="23489" class="ldml-sentence"&gt;Of the remaining issues, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that many are waived.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23548" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23548" data-sentence-id="23556" class="ldml-sentence"&gt;Although the standard for waiver is essential to the proper determination of many postconviction claims, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have had little occasion to address it.&lt;/span&gt; &lt;span data-paragraph-id="23548" data-sentence-id="23704" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884708631" data-vids="884708631" class="ldml-reference" data-prop-ids="sentence_23556"&gt;&lt;span class="ldml-refname"&gt;McCleskey v. Zant&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. 467, 477&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 1454, 1461&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 L.Ed.2d 517&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23548" data-sentence-id="23792" class="ldml-sentence"&gt;For the most part, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have addressed the standard only obliquely, through dicta and dismissals of claims.&lt;/span&gt; &lt;span data-paragraph-id="23548" data-sentence-id="23898" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884708631" data-vids="884708631" class="ldml-reference" data-prop-ids="sentence_23792"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23548" data-sentence-id="23906" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The case law&lt;/span&gt; and dicta which do address the standard are not easily synthesized, but indicate that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; of the law at the time of Rodriguez' direct appeal precludes waiver of the limited number of constitutional issues which Rodriguez reasserts on this appeal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24172" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24172" data-sentence-id="24180" class="ldml-sentence"&gt;The criminal justice system is intended to ensure &lt;span class="ldml-quotation quote"&gt;"that guilt shall not escape or innocence suffer."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24172" data-sentence-id="24281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886855226" data-vids="886855226" class="ldml-reference" data-prop-ids="sentence_24180"&gt;&lt;span class="ldml-refname"&gt;Berger v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;295 U.S. 78, 88&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 S.Ct. 629, 633&lt;/span&gt;, &lt;span class="ldml-cite"&gt;79 L.Ed. 1314&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1935&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24172" data-sentence-id="24364" class="ldml-sentence"&gt;Within that system, postconviction proceedings have a dual purpose: to prevent constitutional injustice and to bring finality to judgment.&lt;/span&gt; &lt;span data-paragraph-id="24172" data-sentence-id="24504" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892468779" data-vids="892468779" class="ldml-reference" data-prop-ids="sentence_24364"&gt;&lt;span class="ldml-refname"&gt;People v. Hampton&lt;/span&gt;, &lt;span class="ldml-cite"&gt;187 Colo. 131, 133&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 P.2d 1311, 1312&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24575" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="24575" data-sentence-id="24575" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Let it be emphasized at this point, however, that it by no means follows that a bare allegation such as that made in &lt;span class="ldml-entity"&gt;the case at bar&lt;/span&gt; automatically entitles a prisoner who has not appealed to what is in effect an appeal with the possibility of a new trial perhaps resulting in acquittal.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Prison gates do not swing open so easily.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The path to appellate relief by this route is steep and narrow."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24575" data-sentence-id="24970" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24988" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24988" data-sentence-id="24996" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886967021" data-vids="886967021" class="ldml-reference" data-prop-ids="sentence_24996"&gt;&lt;span class="ldml-refname"&gt;Haines v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;169 Colo. 136, 142&lt;/span&gt;, &lt;span class="ldml-cite"&gt;454 P.2d 595, 597&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; (quoting Desmond v.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25079" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25079" data-sentence-id="25079" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 253&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25087" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="25087" data-sentence-id="25088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894153379" data-vids="894153379" class="ldml-reference" data-prop-ids="sentence_25088"&gt;&lt;span class="ldml-refname"&gt;United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;333 F.2d 378, 380-81&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;1st Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1964&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and addressing a postconviction claim that an indigent &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; was denied his right to appellate review of his conviction).&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25265" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25265" data-sentence-id="25273" class="ldml-sentence"&gt;Although postconviction proceedings are intended to correct constitutional error, the right to bring such a proceeding is statutory, not constitutional.&lt;/span&gt; &lt;span data-paragraph-id="25265" data-sentence-id="25426" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892580436" data-vids="892580436" class="ldml-reference" data-prop-ids="sentence_25273"&gt;&lt;span class="ldml-refname"&gt;People v. Wiedemer&lt;/span&gt;, &lt;span class="ldml-cite"&gt;852 P.2d 424, 438&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25265" data-sentence-id="25477" class="ldml-sentence"&gt;Rodriguez exploits this statutory right through his exceedingly long and disjointed presentation of his case to both &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; and thereby inhibits the goal of finality.&lt;/span&gt; &lt;span data-paragraph-id="25265" data-sentence-id="25671" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887668316" data-vids="887668316" class="ldml-reference" data-prop-ids="embeddedsentence_25743,sentence_25477"&gt;&lt;span class="ldml-refname"&gt;People v. Hubbard&lt;/span&gt;, &lt;span class="ldml-cite"&gt;184 Colo. 243, 247&lt;/span&gt;, &lt;span class="ldml-cite"&gt;519 P.2d 945, 947-48&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; same in context of successive &lt;span class="ldml-entity"&gt;postconviction motions&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25265" data-sentence-id="25806" class="ldml-sentence"&gt;However, because a sentence of death is qualitatively unlike any other punishment, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890982058" data-vids="890982058" class="ldml-reference" data-prop-ids="sentence_25806"&gt;&lt;span class="ldml-refname"&gt;Lockett v. Ohio&lt;/span&gt;, &lt;span class="ldml-cite"&gt;438 U.S. 586, 604&lt;/span&gt;, &lt;span class="ldml-cite"&gt;98 S.Ct. 2954, 2964-65&lt;/span&gt;, &lt;span class="ldml-cite"&gt;57 L.Ed.2d 973&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_25806"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965, 972&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_25806"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and because a corresponding need exists for reliability in the death sentencing procedure, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_25806"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 972&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will address the motion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26260" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26260" data-sentence-id="26268" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have held that &lt;span class="ldml-entity"&gt;a petitioner&lt;/span&gt; may raise issues of constitutional error in a postconviction proceeding &lt;span class="ldml-quotation quote"&gt;"although the same issues could have been effectively raised on &lt;span class="ldml-parenthetical"&gt;[appeal]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26260" data-sentence-id="26446" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbradley,169colo262,264-265,455p2d199,2001969" data-prop-ids="sentence_26268"&gt;&lt;span class="ldml-refname"&gt;People v. Bradley&lt;/span&gt;, &lt;span class="ldml-cite"&gt;169 Colo. 262, 265&lt;/span&gt;, &lt;span class="ldml-cite"&gt;455 P.2d 199, 200&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr20" class="ldml-noteanchor" id="note-ref-fr20"&gt;20&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="26260" data-sentence-id="26512" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889097128" data-vids="889097128" class="ldml-reference" data-prop-ids="sentence_26268"&gt;&lt;span class="ldml-refname"&gt;Sackett v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;176 Colo. 18, 20&lt;/span&gt;, &lt;span class="ldml-cite"&gt;488 P.2d 885, 886&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1971&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26260" data-sentence-id="26579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; argues that, for Rodriguez to bring claims which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could have raised on direct appeal but did not, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; must show special circumstances or justifiable excuse for his failure.&lt;/span&gt; &lt;span data-paragraph-id="26260" data-sentence-id="26769" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; supports this argument with &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; and standards relating to successive &lt;span class="ldml-entity"&gt;postconviction motions&lt;/span&gt;, as opposed to &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; and standards relating to the initial &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt; following &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; proceedings and, where taken, direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="26260" data-sentence-id="27036" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893418310" data-vids="893418310" class="ldml-reference" data-prop-ids="embeddedsentence_27099,sentence_26769"&gt;&lt;span class="ldml-refname"&gt;Turman v. Buckallew&lt;/span&gt;, &lt;span class="ldml-cite"&gt;784 P.2d 774, 780&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;affirming dismissal of claims raised in second habeas corpus petition because &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; failed to raise those claims in the &lt;span class="ldml-entity"&gt;first petition&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbillips,652p2d1060,1063-64colo1982" data-prop-ids="embeddedsentence_27292,sentence_26769"&gt;&lt;span class="ldml-refname"&gt;People v. Billips&lt;/span&gt;, &lt;span class="ldml-cite"&gt;652 P.2d 1060, 1063&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;allowing &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; to bring a constitutional claim on a successive &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt; because the claim had not been fully and finally litigated in the previous postconviction proceeding&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887668316" data-vids="887668316" class="ldml-reference" data-prop-ids="embeddedsentence_27528,sentence_26769"&gt;&lt;span class="ldml-refname"&gt;Hubbard&lt;/span&gt;, &lt;span class="ldml-cite"&gt;184 Colo. at 249&lt;/span&gt;, &lt;span class="ldml-cite"&gt;519 P.2d at 948&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that, on successive &lt;span class="ldml-entity"&gt;postconviction motions&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may summarily dismiss newly-asserted grounds absent sufficient excuse&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; ABA Standards for Criminal Justice: &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Postconviction Remedies&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-6.2 at 22-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27742" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27742" data-sentence-id="27742" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 254&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27750" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="27750" data-sentence-id="27751" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2d ed. 1986&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(regarding &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[f]&lt;/span&gt;inality of a judgment in a postconviction proceeding; repetitive applications"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27862" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27862" data-sentence-id="27870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; contends that &lt;span class="ldml-entity"&gt;this court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887636934" data-vids="887636934" class="ldml-reference" data-prop-ids="sentence_27870"&gt;&lt;span class="ldml-refname"&gt;People v. Bastardo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;646 P.2d 382&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, held that claims available on direct appeal may not be brought in a postconviction proceeding.&lt;/span&gt; &lt;span data-paragraph-id="27862" data-sentence-id="28056" class="ldml-sentence"&gt;This contention mischaracterizes the holding in Bastardo.&lt;/span&gt; &lt;span data-paragraph-id="27862" data-sentence-id="28115" class="ldml-sentence"&gt;In Bastardo, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirmed &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of postconviction relief on two grounds: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"the issues raised were available for review when &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; was reviewed on the appeal"&lt;/span&gt; and postconviction review would have been &lt;span class="ldml-quotation quote"&gt;"nothing more than a second appeal addressing the same issues on some recently contrived constitutional theory;"&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"claim of unconstitutionality was not well-founded."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27862" data-sentence-id="28527" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887636934" data-vids="887636934" class="ldml-reference" data-prop-ids="sentence_28115"&gt;&lt;span class="ldml-cite"&gt;Id. at 383&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27862" data-sentence-id="28539" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; focuses on the availability of the issues on appeal and fails to consider whether postconviction review would be &lt;span class="ldml-quotation quote"&gt;"more than a second appeal"&lt;/span&gt; or whether Rodriguez' constitutional claims are well-founded.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28758" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="28758" data-sentence-id="28766" class="ldml-sentence"&gt;Likewise, Rodriguez cites inapposite authority.&lt;/span&gt; &lt;span data-paragraph-id="28758" data-sentence-id="28814" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887245816" data-vids="887245816" class="ldml-reference" data-prop-ids="embeddedsentence_28866,sentence_28766"&gt;&lt;span class="ldml-refname"&gt;People v. Coyle&lt;/span&gt;, &lt;span class="ldml-cite"&gt;654 P.2d 815, 818&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"the convicted criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; is assured not only of all of the avenues of direct appeal which &lt;span class="ldml-entity"&gt;the State&lt;/span&gt; provides as of right, but also of a means of post-conviction collateral review notwithstanding his failure to pursue a direct appeal,"&lt;/span&gt; but holding that a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; charged with violation of a child custody judgment cannot collaterally attack the underlying adjudication or &lt;span class="ldml-opinionnote"&gt;order&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29278" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="29278" data-sentence-id="29286" class="ldml-sentence"&gt;In Issue 2, Rodriguez attempts to salvage the postconviction claims which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has not specifically reasserted on this appeal by placing them under the umbrella claim that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"did not forfeit his right to postconviction review by not raising the same claims on direct appeal."&lt;/span&gt;&lt;/span&gt; &lt;a href="#note-fr21" class="ldml-noteanchor" id="note-ref-fr21"&gt;21&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="29278" data-sentence-id="29562" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29286"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29278" data-sentence-id="29594" class="ldml-sentence"&gt;However, his reassertion of two-thirds of the &lt;span class="ldml-quotation quote"&gt;"waived"&lt;/span&gt; claims and his abandonment of the rest indicates a conscious relinquishment of those claims not reasserted.&lt;/span&gt; &lt;span data-paragraph-id="29278" data-sentence-id="29757" class="ldml-sentence"&gt;Moreover, these claims will be unavailable for review on a subsequent &lt;span class="ldml-entity"&gt;application for postconviction relief&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29278" data-sentence-id="29866" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887668316" data-vids="887668316" class="ldml-reference" data-prop-ids="embeddedsentence_29920,sentence_29757"&gt;&lt;span class="ldml-refname"&gt;Hubbard&lt;/span&gt;, &lt;span class="ldml-cite"&gt;184 Colo. at 249-52&lt;/span&gt;, &lt;span class="ldml-cite"&gt;519 P.2d at 949-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;interpreting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29757"&gt;&lt;span class="ldml-cite"&gt;Rule 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in conformance with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29757"&gt;&lt;span class="ldml-refname"&gt;ABA Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 6.2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as it then existed&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29757"&gt;&lt;span class="ldml-refname"&gt;ABA Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-6.2&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; at 22-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;a href="#note-fr22" class="ldml-noteanchor" id="note-ref-fr22"&gt;22&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884708631" data-vids="884708631" class="ldml-reference" data-prop-ids="sentence_29757"&gt;&lt;span class="ldml-refname"&gt;McCleskey&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. at 489-96&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. at 1467-71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30099" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30099" data-sentence-id="30107" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that Rodriguez has waived all alleged errors: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; that do not rise to the level of constitutional error; or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; which Rodriguez does not reassert on this appeal.&lt;/span&gt; &lt;a href="#note-fr23" class="ldml-noteanchor" id="note-ref-fr23"&gt;23&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="30280" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30280" data-sentence-id="30288" class="ldml-sentence"&gt;Rodriguez claims numerous instructional errors which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not pursue on direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="30280" data-sentence-id="30377" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"As a general rule, errors in jury instructions do not constitute fundamental error"&lt;/span&gt; sufficient to merit postconviction review.&lt;/span&gt; &lt;span data-paragraph-id="30280" data-sentence-id="30505" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888399162" data-vids="888399162" class="ldml-reference" data-prop-ids="sentence_30377"&gt;&lt;span class="ldml-refname"&gt;People v. Shearer&lt;/span&gt;, &lt;span class="ldml-cite"&gt;181 Colo. 237, 244&lt;/span&gt;, &lt;span class="ldml-cite"&gt;508 P.2d 1249, 1253&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30280" data-sentence-id="30572" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;But see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30377"&gt;&lt;span class="ldml-cite"&gt;part IX&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; of this opinion &lt;span class="ldml-parenthetical"&gt;(addressing constitutional issues relating to penalty phase jury instructions)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30280" data-sentence-id="30684" class="ldml-sentence"&gt;On direct appeal, Rodriguez could have raised the following instructional claims which do not raise constitutional error.&lt;/span&gt; &lt;span data-paragraph-id="30280" data-sentence-id="30806" class="ldml-sentence"&gt;Instead, Rodriguez has attempted to evade the appellate process by bringing these claims through the use of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: Issue 107 &lt;span class="ldml-parenthetical"&gt;(alleging error in that the jury had to find Rodriguez not guilty of first-degree murder before considering the charge of second-degree murder)&lt;/span&gt;; Issue 133 &lt;span class="ldml-parenthetical"&gt;(alleging defects in the aggravated motor vehicle theft instructions)&lt;/span&gt;; Issue 146 &lt;span class="ldml-parenthetical"&gt;(alleging error in that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; instructed the guilt-phase jury not to consider the possible resulting penalties)&lt;/span&gt;;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31298" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31298" data-sentence-id="31298" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 255&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31306" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="31306" data-sentence-id="31307" class="ldml-sentence"&gt;and Issue 147 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s refusal to orally give the anti-sympathy instruction)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31306" data-sentence-id="31403" class="ldml-sentence"&gt;As such, Rodriguez has waived those issues of instructional error.&lt;/span&gt; &lt;span data-paragraph-id="31306" data-sentence-id="31470" class="ldml-sentence"&gt;Issues 120-122 and 125-128 allege instructional error in Rodriguez' convictions for felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="31306" data-sentence-id="31673" class="ldml-sentence"&gt;These issues are rendered moot by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s vacation of those convictions and our affirmance of that vacation as discussed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31673"&gt;&lt;span class="ldml-cite"&gt;part XIV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31833" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31833" data-sentence-id="31841" class="ldml-sentence"&gt;In Issues 57, 65, 80, and portions of Issue 99, Rodriguez claims that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in limiting voir dire.&lt;/span&gt; &lt;span data-paragraph-id="31833" data-sentence-id="31956" class="ldml-sentence"&gt;Defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; does not have a constitutional right to voir dire, so long as &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"examination allowed &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to determine whether any potential jurors possessed any beliefs that would bias them such as to prevent &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;]&lt;/span&gt; from receiving a fair trial."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31833" data-sentence-id="32225" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888639563" data-vids="888639563" class="ldml-reference" data-prop-ids="sentence_31956"&gt;&lt;span class="ldml-refname"&gt;People v. O'Neill&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d 164, 169&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31833" data-sentence-id="32275" class="ldml-sentence"&gt;Likewise, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; does not have a constitutional or statutory right to unlimited voir dire.&lt;/span&gt; &lt;span data-paragraph-id="31833" data-sentence-id="32375" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888639563" data-vids="888639563" class="ldml-reference" data-prop-ids="sentence_32275"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31833" data-sentence-id="32379" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that the following issues do not raise constitutional error and do not require postconviction review: Issue 57 &lt;span class="ldml-parenthetical"&gt;(alleging error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to videotape voir dire, although &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; allowed stenographic transcription)&lt;/span&gt;; Issue 65 &lt;span class="ldml-parenthetical"&gt;(alleging preclusion of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; from voir dire on hardships and publicity)&lt;/span&gt;; &lt;a href="#note-fr24" class="ldml-noteanchor" id="note-ref-fr24"&gt;24&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; Issue 80 &lt;span class="ldml-parenthetical"&gt;(alleging undue limitations on defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s voir dire)&lt;/span&gt;; &lt;a href="#note-fr25" class="ldml-noteanchor" id="note-ref-fr25"&gt;25&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; and &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Issue&lt;/span&gt; &lt;span class="ldml-cite"&gt;99&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-parenthetical"&gt;(E)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(alleging prejudicial limitations on defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s voir dire)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32881" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32881" data-sentence-id="32889" class="ldml-sentence"&gt;Should Rodriguez attempt to bring a successive motion under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and reassert those issues which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; either waived or insufficiently presented to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, such reassertion will be subject to the affirmative defense of abuse of process.&lt;/span&gt; &lt;span data-paragraph-id="32881" data-sentence-id="33154" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887668316" data-vids="887668316" class="ldml-reference" data-prop-ids="sentence_32889"&gt;&lt;span class="ldml-refname"&gt;Hubbard&lt;/span&gt;, &lt;span class="ldml-cite"&gt;184 Colo. at 249-52&lt;/span&gt;, &lt;span class="ldml-cite"&gt;519 P.2d at 949-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32889"&gt;&lt;span class="ldml-refname"&gt;ABA Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-6.2&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; at 22-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32881" data-sentence-id="33243" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884708631" data-vids="884708631" class="ldml-reference" data-prop-ids="sentence_32889"&gt;&lt;span class="ldml-refname"&gt;McCleskey&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. at 489-496&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. at 1467-71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32881" data-sentence-id="33306" class="ldml-sentence"&gt;Those claims which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold to be of constitutional dimension, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address on their merits below, although &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; deemed them waived and did not address them substantively.&lt;/span&gt; &lt;a href="#note-fr26" class="ldml-noteanchor" id="note-ref-fr26"&gt;26&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="33490" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="33490" data-sentence-id="33498" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; recognize that &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; seeking postconviction relief pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is entitled to a prompt evidentiary hearing unless the motion, the files, and the record &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'clearly establish that the allegations presented in &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s motion are without merit and do not warrant postconviction relief.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33490" data-sentence-id="33807" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891995016" data-vids="891995016" class="ldml-reference" data-prop-ids="sentence_33498"&gt;&lt;span class="ldml-refname"&gt;People v. Trujillo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. 497, 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 P.2d 1312, 1313&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888838680" data-vids="888838680" class="ldml-reference" data-prop-ids="sentence_33498"&gt;&lt;span class="ldml-refname"&gt;People v. Hutton&lt;/span&gt;, &lt;span class="ldml-cite"&gt;183 Colo. 388, 391&lt;/span&gt;, &lt;span class="ldml-cite"&gt;517 P.2d 392, 394&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887018129" data-vids="887018129" class="ldml-reference" data-prop-ids="sentence_33498"&gt;&lt;span class="ldml-refname"&gt;White v. Denver Dist. Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;766 P.2d 632, 634&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33490" data-sentence-id="34012" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; also recognize that a hearing is not required under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; where the motion and the record present only issues of law, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885952963" data-vids="885952963" class="ldml-reference" data-prop-ids="sentence_34012"&gt;&lt;span class="ldml-refname"&gt;People v. Velarde&lt;/span&gt;, &lt;span class="ldml-cite"&gt;200 Colo. 374&lt;/span&gt;, &lt;span class="ldml-cite"&gt;616 P.2d 104, 105&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892359775" data-vids="892359775" class="ldml-reference" data-prop-ids="sentence_34012"&gt;&lt;span class="ldml-refname"&gt;People v. Triggs&lt;/span&gt;, &lt;span class="ldml-cite"&gt;200 Colo. 107, 109&lt;/span&gt;, &lt;span class="ldml-cite"&gt;613 P.2d 317, 318&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; ABA Standards for Criminal Justice: &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Postconviction Remedies&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-4.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or where the motion fails to assert facts that, if true, would support a constitutional claim.&lt;/span&gt; &lt;span data-paragraph-id="33490" data-sentence-id="34444" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887018129" data-vids="887018129" class="ldml-reference" data-prop-ids="sentence_34012"&gt;&lt;span class="ldml-refname"&gt;White&lt;/span&gt;, &lt;span class="ldml-cite"&gt;766 P.2d at 635&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889548407" data-vids="889548407" class="ldml-reference" data-prop-ids="sentence_34012"&gt;&lt;span class="ldml-refname"&gt;People v. Muniz&lt;/span&gt;, &lt;span class="ldml-cite"&gt;667 P.2d 1377&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891995016" data-vids="891995016" class="ldml-reference" data-prop-ids="sentence_34012"&gt;&lt;span class="ldml-refname"&gt;Trujillo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. at 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 P.2d at 1314&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33490" data-sentence-id="34558" class="ldml-sentence"&gt;Furthermore, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; is not entitled to a hearing when the ground relied upon for&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34644" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34644" data-sentence-id="34644" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 256&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34652" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="34652" data-sentence-id="34653" class="ldml-sentence"&gt;postconviction relief has been fully and finally resolved in a prior judicial proceeding.&lt;/span&gt; &lt;span data-paragraph-id="34652" data-sentence-id="34743" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887018129" data-vids="887018129" class="ldml-reference" data-prop-ids="sentence_34653"&gt;&lt;span class="ldml-refname"&gt;White&lt;/span&gt;, &lt;span class="ldml-cite"&gt;766 P.2d at 635&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889548407" data-vids="889548407" class="ldml-reference" data-prop-ids="sentence_34653"&gt;&lt;span class="ldml-refname"&gt;Muniz&lt;/span&gt;, &lt;span class="ldml-cite"&gt;667 P.2d at 1380&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34792" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="34792" data-sentence-id="34800" class="ldml-sentence"&gt;After reviewing both the issues on this appeal and the entire record of Rodriguez' case, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the issues presented are either: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; issues which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; may decide on the record without the benefit of a hearing at &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; level, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885952963" data-vids="885952963" class="ldml-reference" data-prop-ids="sentence_34800"&gt;&lt;span class="ldml-refname"&gt;Velarde&lt;/span&gt;, &lt;span class="ldml-cite"&gt;616 P.2d at 105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; issues presented by Rodriguez' claims of newly discovered evidence and ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; upon which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; conducted hearings.&lt;/span&gt; &lt;span data-paragraph-id="34792" data-sentence-id="35240" class="ldml-sentence"&gt;With regard to either class of issue, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the record is sufficient to allow &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to address these issues here.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35362" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="35362" data-sentence-id="35370" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; address these issues in the interests of justice and of finality and in recognition that, upon review of a &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;n &lt;span class="ldml-entity"&gt;appellate court&lt;/span&gt; should exercise a broad scope of review so that all pertinent legal issues are considered on their merits insofar as possible, toward the end of a final determination of the entire case concerning the applicant."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35362" data-sentence-id="35738" class="ldml-sentence"&gt;ABA Standards for Criminal Justice: &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Postconviction Remedies&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-5.3&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; at 22-60 &lt;span class="ldml-parenthetical"&gt;(2d ed. 1986)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="V. Adequacy of the Information" data-id="heading_35835" data-ordinal_start="5" data-ordinal_end="5" data-specifier="V" id="heading_35835" data-content-heading-label="V
Adequacy of the Information
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="35835" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35835" data-sentence-id="35835" class="ldml-sentence"&gt;V&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="35837" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35837" data-sentence-id="35837" class="ldml-sentence"&gt;Adequacy of the Information&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="35865" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="35865" data-sentence-id="35873" class="ldml-sentence"&gt;In Issue 140, Rodriguez argues that the information inadequately charged seven of the offenses of which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was convicted.&lt;/span&gt; &lt;span data-paragraph-id="35865" data-sentence-id="35995" class="ldml-sentence"&gt;In Issue 108, Rodriguez alleges unconstitutional variance between the sexual assault charged in the information and the sexual assault upon which the jury was instructed.&lt;/span&gt; &lt;span data-paragraph-id="35865" data-sentence-id="36166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; perceive no merit to Rodriguez' arguments.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36212" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="36212" data-sentence-id="36220" class="ldml-sentence"&gt;In Issue 140, Rodriguez contends that the information insufficiently charged the following offenses: first-degree aggravated motor vehicle theft, second-degree kidnapping, aggravated robbery, and conspiracy to commit first-degree murder.&lt;/span&gt; &lt;span data-paragraph-id="36212" data-sentence-id="36459" class="ldml-sentence"&gt;Rodriguez makes similar arguments regarding first-degree felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit first-degree aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="36212" data-sentence-id="36648" class="ldml-sentence"&gt;These latter arguments are rendered moot by our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36648"&gt;&lt;span class="ldml-cite"&gt;part XIV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; of this opinion, upholding the vacation of those offenses.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36776" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="36776" data-sentence-id="36784" class="ldml-sentence"&gt;In Issue 140, Rodriguez argues that the information was inadequate to charge first-degree aggravated motor vehicle theft, second-degree kidnapping, and conspiracy to commit first-degree murder because those counts did not allege the elements of their various predicate offenses.&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37063" class="ldml-sentence"&gt;Rodriguez cites &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890682702" data-vids="890682702" class="ldml-reference" data-prop-ids="sentence_37063"&gt;&lt;span class="ldml-refname"&gt;Martinez v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;163 Colo. 503, 506-07&lt;/span&gt;, &lt;span class="ldml-cite"&gt;431 P.2d 765, 766-67&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in support of &lt;span class="ldml-entity"&gt;this proposition&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37184" class="ldml-sentence"&gt;The holding of Martinez cannot support Rodriguez' argument.&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37245" class="ldml-sentence"&gt;In Martinez, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that one count of an information can incorporate by reference another count by specifying that count or the offense charged therein by name.&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890682702" data-vids="890682702" class="ldml-reference" data-prop-ids="sentence_37245"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37412" class="ldml-sentence"&gt;That is, each count of an information need not enumerate the elements of a predicate offense, but must specifically and clearly incorporate by reference another count which does enumerate the essential elements of the predicate offense.&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37649" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890682702" data-vids="890682702" class="ldml-reference" data-prop-ids="sentence_37412"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37653" class="ldml-sentence"&gt;Each challenged count in the information specifically refers to the predicate offense or offenses by name; the elements of each predicate offense are set forth in other counts of the information; and the information adequately advised Rodriguez of the charges against which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; must defend.&lt;/span&gt; &lt;span data-paragraph-id="36776" data-sentence-id="37945" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37653"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 3-4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="37966" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="37966" data-sentence-id="37974" class="ldml-sentence"&gt;Rodriguez also contends, without elaboration, that the charge for aggravated robbery &lt;span class="ldml-quotation quote"&gt;"fails to adequately allege a crime under that &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; and further fails to provide adequate notice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37966" data-sentence-id="38161" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37974"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 385&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37966" data-sentence-id="38194" class="ldml-sentence"&gt;Our review of the information charging aggravated robbery reveals that the information tracked the appropriate statutory language, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38194"&gt;&lt;span class="ldml-cite"&gt;§§ 18-4-301&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; to -302, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and reveals no error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38389" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="38389" data-sentence-id="38397" class="ldml-sentence"&gt;In Issue 108, Rodriguez contends that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unconstitutionally expanded upon the sexual assault charged in the information.&lt;/span&gt; &lt;span data-paragraph-id="38389" data-sentence-id="38534" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38547" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="38547" data-sentence-id="38555" class="ldml-sentence"&gt;In Colorado, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; may be charged by complaint, information, or indictment.&lt;/span&gt; &lt;span data-paragraph-id="38547" data-sentence-id="38637" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38555"&gt;&lt;span class="ldml-cite"&gt;§ 16-5-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr27" class="ldml-noteanchor" id="note-ref-fr27"&gt;27&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="38547" data-sentence-id="38670" class="ldml-sentence"&gt;"An&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38674" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="38674" data-sentence-id="38674" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 257&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="38682" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="38682" data-sentence-id="38683" class="ldml-sentence"&gt;information is sufficient if it advises &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; of the charges &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is facing so that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; can adequately defend himself and be protected from further &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; for the same offense."&lt;/span&gt; &lt;span data-paragraph-id="38682" data-sentence-id="38871" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889416333" data-vids="889416333" class="ldml-reference" data-prop-ids="sentence_38683"&gt;&lt;span class="ldml-refname"&gt;Cervantes v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;715 P.2d 783, 785&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38682" data-sentence-id="38971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; cannot constitutionally require &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to answer a charge not contained in the charging instrument.&lt;/span&gt; &lt;span data-paragraph-id="38682" data-sentence-id="39092" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895379928" data-vids="895379928" class="ldml-reference" data-prop-ids="sentence_38971"&gt;&lt;span class="ldml-refname"&gt;Schmuck v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;489 U.S. 705, 717&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. 1443, 1451&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 L.Ed.2d 734&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39187" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="39187" data-sentence-id="39195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Case law&lt;/span&gt; recognizes two types of variances between the charge contained in the charging instrument and the charge of which &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; is convicted: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; simple variance, which &lt;span class="ldml-quotation quote"&gt;"occurs when the charging terms are unchanged, but the evidence at trial proves facts materially different from those alleged"&lt;/span&gt; in the charging instrument, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894411640" data-vids="894411640" class="ldml-reference" data-prop-ids="sentence_39195"&gt;&lt;span class="ldml-refname"&gt;United States v. Williamson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;53 F.3d 1500, 1512&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:---us----,116sct218,133led2d1491995" data-prop-ids="sentence_39195"&gt;&lt;span class="ldml-cite"&gt;--- U.S. ----&lt;/span&gt;, &lt;span class="ldml-cite"&gt;116 S.Ct. 218&lt;/span&gt;, &lt;span class="ldml-cite"&gt;133 L.Ed.2d 149&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; constructive &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;, which changes an essential element of the charged offense and thereby alters the substance of the charging instrument.&lt;/span&gt; &lt;span data-paragraph-id="39187" data-sentence-id="39857" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894411640" data-vids="894411640" class="ldml-reference" data-prop-ids="sentence_39195"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39187" data-sentence-id="39865" class="ldml-sentence"&gt;With respect to a simple variance, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[c]&lt;/span&gt;onvictions generally have been sustained as long as the proof upon which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were based corresponds to an offense that was clearly set out in the indictment."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39187" data-sentence-id="40064" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885632895" data-vids="885632895" class="ldml-reference" data-prop-ids="sentence_39865"&gt;&lt;span class="ldml-refname"&gt;United States v. Miller&lt;/span&gt;, &lt;span class="ldml-cite"&gt;471 U.S. 130, 136&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. 1811, 1815&lt;/span&gt;, &lt;span class="ldml-cite"&gt;85 L.Ed.2d 99&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39187" data-sentence-id="40169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The constitution&lt;/span&gt; prohibits only &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"effectively subject &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to the risk of conviction for an offense that was not originally charged"&lt;/span&gt; in the charging instrument.&lt;/span&gt; &lt;span data-paragraph-id="39187" data-sentence-id="40352" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889410455" data-vids="889410455" class="ldml-reference" data-prop-ids="sentence_40169"&gt;&lt;span class="ldml-refname"&gt;United States v. Mosley&lt;/span&gt;, &lt;span class="ldml-cite"&gt;965 F.2d 906, 915&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="40412" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="40412" data-sentence-id="40412" class="ldml-sentence"&gt;When on the trial of any ... information ... for any offense there appears to be any variance between the statements in the ... information and the evidence offered in proof thereof ... in the name or description of any matter or thing whatsoever therein named or described, such variance is not grounds for the acquittal of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, unless &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; before which such trial be had finds such variance is material to the merits of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; or may be prejudicial to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40412" data-sentence-id="40898" class="ldml-sentence"&gt;No ... information ... shall be deemed insufficient, nor shall the trial, judgment, or other proceedings thereon be reversed or affected by any defect which does not tend to prejudice the substantial rights of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; on the merits.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41137" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="41137" data-sentence-id="41145" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-202, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41175" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="41175" data-sentence-id="41183" class="ldml-sentence"&gt;Rodriguez contends that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unconstitutionally expanded upon the sexual assault charged in the information because, at trial, the instructional definition of &lt;span class="ldml-quotation quote"&gt;"sexual penetration"&lt;/span&gt; included cunnilingus, anilingus, and anal intercourse, as well as &lt;span class="ldml-entity"&gt;the acts&lt;/span&gt; of sexual intercourse and fellatio, which were specifically charged in the information.&lt;/span&gt; &lt;span data-paragraph-id="41175" data-sentence-id="41540" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41183"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41183"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 577&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41576" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="41576" data-sentence-id="41584" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; instructed the jury that first-degree sexual assault required the infliction of &lt;span class="ldml-quotation quote"&gt;"sexual penetration on &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41584"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 577&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and, in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; recited verbatim the statutory definition of "Sexual Penetration:"&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41868" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41868" data-sentence-id="41868" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 258&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41877" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41877" data-sentence-id="41877" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Sexual Penetration"&lt;/span&gt; means sexual intercourse, cunnilingus, fellatio, anilingus, or anal intercourse.&lt;/span&gt; &lt;span data-paragraph-id="41877" data-sentence-id="41979" class="ldml-sentence"&gt;Emission need not be proved as an element of any sexual penetration.&lt;/span&gt; &lt;span data-paragraph-id="41877" data-sentence-id="42048" class="ldml-sentence"&gt;Any penetration, however slight, is sufficient to complete the crime.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="42118" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="42118" data-sentence-id="42126" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;Compare&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 588&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;with&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-401&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="42187" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="42187" data-sentence-id="42195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not impermissibly amend the charges in the information.&lt;/span&gt; &lt;span data-paragraph-id="42187" data-sentence-id="42287" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889205675" data-vids="889205675" class="ldml-reference" data-prop-ids="embeddedsentence_42342,sentence_42195"&gt;&lt;span class="ldml-refname"&gt;People v. Torres&lt;/span&gt;, &lt;span class="ldml-cite"&gt;701 P.2d 78, 79&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;affirming conviction for first-degree sexual assault although definitional instruction included one method of committing the crime with which &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; was not charged&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42187" data-sentence-id="42512" class="ldml-sentence"&gt;Count III of the information alleged the essential elements of first-degree sexual assault with sufficient specificity to &lt;span class="ldml-quotation quote"&gt;"inform the accused of the specific offence, coming under the general description, with which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is charged."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42187" data-sentence-id="42744" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888804233" data-vids="888804233" class="ldml-reference" data-prop-ids="sentence_42512"&gt;&lt;span class="ldml-refname"&gt;Russell v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;369 U.S. 749, 765&lt;/span&gt;, &lt;span class="ldml-cite"&gt;82 S.Ct. 1038, 1048&lt;/span&gt;, &lt;span class="ldml-cite"&gt;8 L.Ed.2d 240&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1962&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42512"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42187" data-sentence-id="42899" class="ldml-sentence"&gt;The information also specifically alleged the date of the assault, the perpetrator, the victim, the location, and the accomplices.&lt;/span&gt; &lt;span data-paragraph-id="42187" data-sentence-id="43030" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42899"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42187" data-sentence-id="43045" class="ldml-sentence"&gt;The specification of the particular manner in which Rodriguez committed the element of sexual intrusion or sexual penetration represents further evidentiary details which the information need not state.&lt;/span&gt; &lt;span data-paragraph-id="42187" data-sentence-id="43248" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888499058" data-vids="888499058" class="ldml-reference" data-prop-ids="sentence_43045"&gt;&lt;span class="ldml-refname"&gt;United States v. Martinez-Nava&lt;/span&gt;, &lt;span class="ldml-cite"&gt;838 F.2d 411, 414-15&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="43322" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="43322" data-sentence-id="43330" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The case before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;&lt;/span&gt; differs from that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891211616" data-vids="891211616" class="ldml-reference" data-prop-ids="sentence_43330"&gt;&lt;span class="ldml-refname"&gt;People v. Tucker&lt;/span&gt;, &lt;span class="ldml-cite"&gt;631 P.2d 162&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43322" data-sentence-id="43415" class="ldml-sentence"&gt;In Tucker, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that an indictment for embezzlement was insufficient where the indictment tracked the statutory language, but failed to allege specifically how the embezzlement was accomplished.&lt;/span&gt; &lt;span data-paragraph-id="43322" data-sentence-id="43614" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891211616" data-vids="891211616" class="ldml-reference" data-prop-ids="sentence_43415"&gt;&lt;span class="ldml-cite"&gt;Id. at 164&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43322" data-sentence-id="43626" class="ldml-sentence"&gt;There, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; stated that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[u]&lt;/span&gt;nlike other crimes, there are numerous ways in which embezzlement may be committed."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="43322" data-sentence-id="43737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891211616" data-vids="891211616" class="ldml-reference" data-prop-ids="sentence_43626"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="43322" data-sentence-id="43741" class="ldml-sentence"&gt;Unlike embezzlement, sexual assault can be committed in only a limited number of ways, each enumerated in &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; and each of which requires similar preparation for defense.&lt;/span&gt; &lt;span data-paragraph-id="43322" data-sentence-id="43919" class="ldml-sentence"&gt;Moreover, Count III of the information referred Rodriguez to the correct statutory citation for the offense of sexual assault which &lt;span class="ldml-quotation quote"&gt;"provide&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; clarification"&lt;/span&gt; of the charges which Rodriguez would be required to meet.&lt;/span&gt; &lt;span data-paragraph-id="43322" data-sentence-id="44136" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889416333" data-vids="889416333" class="ldml-reference" data-prop-ids="sentence_43919"&gt;&lt;span class="ldml-refname"&gt;Cervantes&lt;/span&gt;, &lt;span class="ldml-cite"&gt;715 P.2d at 787&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43919"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="44183" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44191" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;These facts&lt;/span&gt; also differ from those in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887670956" data-vids="887670956" class="ldml-reference" data-prop-ids="sentence_44191"&gt;&lt;span class="ldml-refname"&gt;Stirone v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;361 U.S. 212&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 S.Ct. 270&lt;/span&gt;, &lt;span class="ldml-cite"&gt;4 L.Ed.2d 252&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1960&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44306" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, Stirone, was indicted by a grand jury for unlawful interference with interstate commerce.&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44425" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887670956" data-vids="887670956" class="ldml-reference" data-prop-ids="sentence_44306"&gt;&lt;span class="ldml-cite"&gt;Id. at 213&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 S.Ct. at 271&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44454" class="ldml-sentence"&gt;Specifically, the indictment alleged that Stirone unlawfully obstructed importation of goods into the &lt;span class="ldml-entity"&gt;state of Pennsylvania&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887670956" data-vids="887670956" class="ldml-reference" data-prop-ids="sentence_44454"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44583" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; permitted evidence and instructed the jury on both importation and exportation of goods.&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44688" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887670956" data-vids="887670956" class="ldml-reference" data-prop-ids="sentence_44583"&gt;&lt;span class="ldml-cite"&gt;Id. at 214&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 S.Ct. at 271-72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44720" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Supreme Court&lt;/span&gt; held that this constructive &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; of the indictment was unconstitutional because &lt;span class="ldml-entity"&gt;the amendment&lt;/span&gt; struck at the heart of the &lt;span class="ldml-entity"&gt;federal courts&lt;/span&gt;' jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="44183" data-sentence-id="44894" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; stated:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="44912" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="44912" data-sentence-id="44912" class="ldml-sentence"&gt;The charge that interstate commerce is affected is critical since the Federal Government's jurisdiction of this crime rests only on that interference.&lt;/span&gt; &lt;span data-paragraph-id="44912" data-sentence-id="45063" class="ldml-sentence"&gt;It follows that when only one particular kind of commerce is charged to have been burdened a conviction must rest on that charge and not another, even though it be assumed that under an indictment drawn in general terms a conviction might rest upon a showing that commerce of one kind or another had been burdened.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45378" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="45378" data-sentence-id="45386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887670956" data-vids="887670956" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 218&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 S.Ct. at 274&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45378" data-sentence-id="45415" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The amendment&lt;/span&gt; in Stirone concerned wholly different acts at different times and different places against which Stirone was required to defend.&lt;/span&gt; &lt;span data-paragraph-id="45378" data-sentence-id="45559" class="ldml-sentence"&gt;By contrast, any variance in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; between the facts set forth in the information and those on which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed the jury concerned the same incident of assault, the same &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;, victim, and accomplices.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45779" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="45779" data-sentence-id="45787" class="ldml-sentence"&gt;Rodriguez' case is also distinguishable from &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891100688" data-vids="891100688" class="ldml-reference" data-prop-ids="sentence_45787"&gt;&lt;span class="ldml-refname"&gt;Hunter v. New Mexico&lt;/span&gt;, &lt;span class="ldml-cite"&gt;916 F.2d 595&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:500us909,111sct1693,114led2d871991" data-prop-ids="sentence_45787"&gt;&lt;span class="ldml-cite"&gt;500 U.S. 909&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 1693&lt;/span&gt;, &lt;span class="ldml-cite"&gt;114 L.Ed.2d 87&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, in which the Tenth Circuit held that the indictment at issue had been constructively amended and reversed Hunter's conviction for criminal sexual penetration &lt;span class="ldml-parenthetical"&gt;(CSP)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45779" data-sentence-id="46117" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891100688" data-vids="891100688" class="ldml-reference" data-prop-ids="sentence_45787"&gt;&lt;span class="ldml-cite"&gt;Id. at 599&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45779" data-sentence-id="46129" class="ldml-sentence"&gt;Count I of the indictment charged that Hunter committed CSP between &lt;span class="ldml-entity"&gt;January 1, 1974&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;October 23, 1977&lt;/span&gt;, in that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; "unlawfully&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="46259" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="46259" data-sentence-id="46259" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 259&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="46267" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="46267" data-sentence-id="46268" class="ldml-sentence"&gt;and intentionally engaged in sexual intercourse" with his step-daughter.&lt;/span&gt; &lt;span data-paragraph-id="46267" data-sentence-id="46341" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46268"&gt;&lt;span class="ldml-cite"&gt;Id. at 597&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46267" data-sentence-id="46353" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; instructed the jury, however, that the relevant sexual act was either sexual intercourse or digital penetration.&lt;/span&gt; &lt;span data-paragraph-id="46267" data-sentence-id="46482" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46353"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46267" data-sentence-id="46486" class="ldml-sentence"&gt;The jury convicted Hunter of CSP, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46486"&gt;&lt;span class="ldml-cite"&gt;id. at 596&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but the Tenth Circuit reversed the conviction, holding that the jury instruction constructively amended the indictment by adding another mode of sexual penetration.&lt;/span&gt; &lt;span data-paragraph-id="46267" data-sentence-id="46698" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46486"&gt;&lt;span class="ldml-cite"&gt;Id. at 599&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="46710" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="46710" data-sentence-id="46718" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;'s holding&lt;/span&gt; was premised on legislative history: prior to &lt;span class="ldml-entity"&gt;June 1975&lt;/span&gt;, digital penetration supported a conviction only of fourth-degree sexual assault, whereas sexual intercourse supported a conviction for rape of a child.&lt;/span&gt; &lt;span data-paragraph-id="46710" data-sentence-id="46948" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46718"&gt;&lt;span class="ldml-cite"&gt;Id. at 597&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46710" data-sentence-id="46960" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; convicted of fourth-degree sexual assault could be sentenced to five years' imprisonment, whereas &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; convicted of either rape of a child or first-degree CSP could be imprisoned for life.&lt;/span&gt; &lt;span data-paragraph-id="46710" data-sentence-id="47168" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46960"&gt;&lt;span class="ldml-cite"&gt;Id. at 597-98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46710" data-sentence-id="47183" class="ldml-sentence"&gt;Under the jury instructions given, it was possible that the jury convicted Hunter of CSP based only on conduct which occurred before the statutory change and which was not actionable as a first-degree felony before the statutory change.&lt;/span&gt; &lt;span data-paragraph-id="46710" data-sentence-id="47420" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47183"&gt;&lt;span class="ldml-cite"&gt;Id. at 599&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46710" data-sentence-id="47432" class="ldml-sentence"&gt;By contrast, the added modes of sexual penetration in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; do not change the applicable &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, sentence, or level of offense.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47565" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="47565" data-sentence-id="47573" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Technical defects in an information do not require reversal unless the substantial rights of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; are prejudiced.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; is entitled to reversal if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was prejudiced, surprised, or hampered in his defense."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47565" data-sentence-id="47797" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891667272" data-vids="891667272" class="ldml-reference" data-prop-ids="sentence_47573"&gt;&lt;span class="ldml-refname"&gt;People v. Albo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;195 Colo. 102, 106&lt;/span&gt;, &lt;span class="ldml-cite"&gt;575 P.2d 427, 429&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47565" data-sentence-id="47859" class="ldml-sentence"&gt;The record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; indicates no prejudice of Rodriguez' &lt;span class="ldml-quotation quote"&gt;"substantial rights,"&lt;/span&gt; &lt;a href="#note-fr28" class="ldml-noteanchor" id="note-ref-fr28"&gt;28&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; nor does Rodriguez point to any.&lt;/span&gt; &lt;span data-paragraph-id="47565" data-sentence-id="47973" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47859"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-202&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47565" data-sentence-id="47990" class="ldml-sentence"&gt;Likewise, Rodriguez was neither surprised by the evidence at trial nor hampered in his defense.&lt;/span&gt; &lt;span data-paragraph-id="47565" data-sentence-id="48086" class="ldml-sentence"&gt;Rodriguez was convicted of first-degree sexual assault as charged in the information.&lt;/span&gt; &lt;span data-paragraph-id="47565" data-sentence-id="48172" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; deny Rodriguez' challenge to that conviction.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="VI. Jury Selection" data-id="heading_48221" data-ordinal_start="6" data-ordinal_end="6" data-specifier="VI" id="heading_48221" data-content-heading-label="VI
Jury Selection
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="48221" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="48221" data-sentence-id="48221" class="ldml-sentence"&gt;VI&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="48224" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="48224" data-sentence-id="48224" class="ldml-sentence"&gt;Jury Selection&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="48239" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="48239" data-sentence-id="48247" class="ldml-sentence"&gt;Rodriguez raises numerous issues relating to the jury selection process, which generally fall within the following categories: &lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; of the record regarding jury selection; &lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt; Rodriguez' alleged inability to make contemporaneous objections and preserve issues for appeal; &lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s cautionary instructions to prospective jurors; &lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt; hardship excusals; &lt;span class="ldml-parenthetical"&gt;(E)&lt;/span&gt; excusals for cause; &lt;span class="ldml-parenthetical"&gt;(F)&lt;/span&gt; the standard &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; used to excuse jurors for cause due to their death penalty opinions; and &lt;span class="ldml-parenthetical"&gt;(G)&lt;/span&gt; the death qualification of the jury.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A" data-id="heading_48798" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_48798" data-content-heading-label="A
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="48798" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="48798" data-sentence-id="48798" class="ldml-sentence"&gt;A&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="48800" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="48800" data-sentence-id="48808" class="ldml-sentence"&gt;As a preliminary matter, Rodriguez repeatedly complains that the initial jury questionnaires are not part of the record &lt;a href="#note-fr29" class="ldml-noteanchor" id="note-ref-fr29"&gt;29&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; and implies that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; has an affirmative duty to preserve those questionnaires.&lt;/span&gt; &lt;a href="#note-fr30" class="ldml-noteanchor" id="note-ref-fr30"&gt;30&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="48800" data-sentence-id="49021" class="ldml-sentence"&gt;Rodriguez makes this argument as an adjunct to the jury selection arguments &lt;span class="ldml-entity"&gt;he&lt;/span&gt; raises in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Issues&lt;/span&gt; &lt;span class="ldml-cite"&gt;53, 58, 65, 67-71, 73, 74, 76, and 81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="48800" data-sentence-id="49156" class="ldml-sentence"&gt;Rodriguez has not demonstrated that the record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; is insufficient for the resolution of these issues or that the absence of the questionnaires from the record has prejudiced him in any way.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="49353" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="49353" data-sentence-id="49361" class="ldml-sentence"&gt;In Issue 53, Rodriguez challenges the timing of the oath taken by the potential jurors in relation to their completion of the jury questionnaires and notes that "&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;ll but a&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="49535" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="49535" data-sentence-id="49535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 260&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="49543" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="49543" data-sentence-id="49544" class="ldml-sentence"&gt;very few of the questionnaires were apparently destroyed."&lt;/span&gt; &lt;span data-paragraph-id="49543" data-sentence-id="49603" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49544"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 170-71 n. 44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49543" data-sentence-id="49645" class="ldml-sentence"&gt;In the relevant portion of Issue 58, Rodriguez alleges procedural defects on the first day of jury selection.&lt;/span&gt; &lt;span data-paragraph-id="49543" data-sentence-id="49755" class="ldml-sentence"&gt;In Issue 76, Rodriguez contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in failing to excuse juror G.P. for cause and that G.P.'s questionnaire would &lt;span class="ldml-quotation quote"&gt;"fully and independently support&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; Mr. Rodriguez' claim."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49543" data-sentence-id="49951" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49755"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 212 n. 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49543" data-sentence-id="49990" class="ldml-sentence"&gt;However, Rodriguez did not adequately raise Issues 53, 58, or 76 in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; before &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;, and the arguments presented in those issues are not properly before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49543" data-sentence-id="50182" class="ldml-sentence"&gt;Moreover, G.P.'s questionnaire is part of the record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50182"&gt;&lt;span class="ldml-refname"&gt;R., v. 38&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 385-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and reveals no basis for Rodriguez' claim of error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50323" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="50323" data-sentence-id="50331" class="ldml-sentence"&gt;In Issue 65, Rodriguez alleges that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; failed &lt;span class="ldml-quotation quote"&gt;"to make adequate inquiry into the statements of the jurors in the questionnaires, and the manifest differences between those statements and those given in person."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="50323" data-sentence-id="50555" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50331"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50323" data-sentence-id="50588" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50588"&gt;&lt;span class="ldml-cite"&gt;part IV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirmed the summary dismissal of this portion of Issue 65 as inadequately supported with facts, record cites, or &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50323" data-sentence-id="50743" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline to address the issue here.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50794" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="50794" data-sentence-id="50802" class="ldml-sentence"&gt;As discussed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50802"&gt;&lt;span class="ldml-cite"&gt;part VI&lt;span class="ldml-parenthetical"&gt;(E)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion, regardless of the information contained in the jury questionnaires, Rodriguez cannot demonstrate prejudice arising from the errors alleged in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Issues&lt;/span&gt; &lt;span class="ldml-cite"&gt;67-71, 73, and 74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not exhaust his peremptory challenges.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="51068" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="51068" data-sentence-id="51076" class="ldml-sentence"&gt;In Issue 81, Rodriguez contends only that the missing questionnaires would allow &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; to determine the exact number of jurors who claimed hardships on the first day of jury selection.&lt;/span&gt; &lt;span data-paragraph-id="51068" data-sentence-id="51266" class="ldml-sentence"&gt;This information is neither crucial nor relevant to our discussion of Issue 81.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="51346" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="51346" data-sentence-id="51354" class="ldml-sentence"&gt;Rodriguez himself bears the responsibility to designate the record on appeal and to ensure its transmission to &lt;span class="ldml-entity"&gt;the appellate court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51346" data-sentence-id="51486" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885952963" data-vids="885952963" class="ldml-reference" data-prop-ids="sentence_51354"&gt;&lt;span class="ldml-refname"&gt;People v. Velarde&lt;/span&gt;, &lt;span class="ldml-cite"&gt;200 Colo. 374, 375-76&lt;/span&gt;, &lt;span class="ldml-cite"&gt;616 P.2d 104, 105&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51346" data-sentence-id="51558" class="ldml-sentence"&gt;Where, as here, &lt;span class="ldml-quotation quote"&gt;"no report of the evidence or proceedings at a hearing or trial was made, or ... a transcript is unavailable, &lt;span class="ldml-entity"&gt;the appellant&lt;/span&gt; may prepare a statement of the evidence or proceedings from the best available means, including his recollection."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="51346" data-sentence-id="51813" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51558"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 10&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51346" data-sentence-id="51827" class="ldml-sentence"&gt;Rodriguez has not prepared such a statement nor provided &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; with specific assertions of fact or error.&lt;/span&gt; &lt;span data-paragraph-id="51346" data-sentence-id="51938" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that the record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; is sufficient to permit our resolution of the jury selection issues which are properly before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B" data-id="heading_52074" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_52074" data-content-heading-label="B
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="52074" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="52074" data-sentence-id="52074" class="ldml-sentence"&gt;B&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="52076" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="52076" data-sentence-id="52084" class="ldml-sentence"&gt;A criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; has a fundamental right to trial before an impartial jury.&lt;/span&gt; &lt;span data-paragraph-id="52076" data-sentence-id="52164" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891518030" data-vids="891518030" class="ldml-reference" data-prop-ids="sentence_52084"&gt;&lt;span class="ldml-refname"&gt;People v. Collins&lt;/span&gt;, &lt;span class="ldml-cite"&gt;730 P.2d 293, 300&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52076" data-sentence-id="52214" class="ldml-sentence"&gt;Voir dire examination is intended &lt;span class="ldml-quotation quote"&gt;"to enable &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to determine whether any prospective jurors are possessed of beliefs which would cause them to be biased in such a manner as to prevent the &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;]&lt;/span&gt; from obtaining a fair and impartial trial."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52076" data-sentence-id="52463" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891518030" data-vids="891518030" class="ldml-reference" data-prop-ids="sentence_52214"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52076" data-sentence-id="52467" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The right to an impartial jury does not, however, require that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; be granted unlimited voir dire examination.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Nor is &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; entitled to voir dire the jury as a matter of constitutional law."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;a href="#note-fr31" class="ldml-noteanchor" id="note-ref-fr31"&gt;31&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="52076" data-sentence-id="52666" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888639563" data-vids="888639563" class="ldml-reference" data-prop-ids="sentence_52467"&gt;&lt;span class="ldml-refname"&gt;People v. O'Neill&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d 164, 169&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52716" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="52716" data-sentence-id="52724" class="ldml-sentence"&gt;The right to voir dire is set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52724"&gt;&lt;span class="ldml-cite"&gt;Rule 24 of the Colorado Rules of Criminal Procedure&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52716" data-sentence-id="52816" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; the right to question jurors, but also endows &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; with the authority to reasonably limit the scope and extent of that questioning.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52987" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="52987" data-sentence-id="52995" class="ldml-sentence"&gt;In Issue 51, Rodriguez argues that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in ordering that Rodriguez submit to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; in writing any record of a juror's demeanor.&lt;/span&gt; &lt;span data-paragraph-id="52987" data-sentence-id="53144" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52995"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 421&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52987" data-sentence-id="53165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s order did not impermissibly impede Rodriguez' ability to make a record on any objection &lt;span class="ldml-entity"&gt;he&lt;/span&gt; might have had to a juror's demeanor.&lt;/span&gt; &lt;span data-paragraph-id="52987" data-sentence-id="53312" class="ldml-sentence"&gt;The responsibility of assuring that jurors are fair and impartial is,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53382" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="53382" data-sentence-id="53382" class="ldml-sentence"&gt;in the first instance, vested in the trial judge: It is &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; which hears the questions put to the juror and the answers given, observes the juror's demeanor while being questioned, and discerns the truthfulness, the sincerity, and the dedication to&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53643" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="53643" data-sentence-id="53643" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 261&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="53651" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="53651" data-sentence-id="53652" class="ldml-sentence"&gt;the high responsibility involved in being a fair and impartial juror.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53722" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="53722" data-sentence-id="53730" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893631765" data-vids="893631765" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;People v. Abbott&lt;/span&gt;, &lt;span class="ldml-cite"&gt;690 P.2d 1263, 1267&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53829" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="53829" data-sentence-id="53837" class="ldml-sentence"&gt;Absent an abuse of discretion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will not disturb on appeal &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s decision&lt;/span&gt; to deny a challenge for cause.&lt;/span&gt; &lt;span data-paragraph-id="53829" data-sentence-id="53956" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893631765" data-vids="893631765" class="ldml-reference" data-prop-ids="sentence_53837"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="53829" data-sentence-id="53960" class="ldml-sentence"&gt;Rodriguez had an adequate opportunity to make a record on any juror's demeanor which would be sufficiently egregious to satisfy this burden.&lt;/span&gt; &lt;span data-paragraph-id="53829" data-sentence-id="54101" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; did not err by requiring Rodriguez to submit any record of a prospective juror's demeanor in writing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54219" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="54219" data-sentence-id="54227" class="ldml-sentence"&gt;In portions of Issues 46, 58, 80, and 99, Rodriguez contends that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"cannot be faulted for any possible lack of a record on the actual effects of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s time and subject matter restrictions, since &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was ordered to not attempt to make such a record, and since &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; unambiguously demonstrated its prejudgment of any such objections."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="54219" data-sentence-id="54577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54227"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 216&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54219" data-sentence-id="54610" class="ldml-sentence"&gt;However, our review of the record reveals that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; stated that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; could make contemporaneous objections &lt;a href="#note-fr32" class="ldml-noteanchor" id="note-ref-fr32"&gt;32&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; and that, subsequently, Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; objected to the voir dire limitations both orally and in writing.&lt;/span&gt; &lt;span data-paragraph-id="54219" data-sentence-id="54835" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54610"&gt;&lt;span class="ldml-refname"&gt;R., v. 14&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2-7, 15-19, 22-30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54610"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 489-92, 497-505&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54219" data-sentence-id="54896" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; did not impermissibly impede Rodriguez' ability to make a record or to preserve the issues for appeal.&lt;/span&gt; &lt;span data-paragraph-id="54219" data-sentence-id="55015" class="ldml-sentence"&gt;Rather, Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; objected on the record, filed written objections, preserved the alleged errors for appeal, then failed to appeal on those grounds.&lt;/span&gt; &lt;span data-paragraph-id="54219" data-sentence-id="55173" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; perceive no merit to these portions of Issues 46, 58, 80, and 99.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C" data-id="heading_55242" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_55242" data-content-heading-label="C
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="55242" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="55242" data-sentence-id="55242" class="ldml-sentence"&gt;C&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="55244" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="55244" data-sentence-id="55252" class="ldml-sentence"&gt;In Issue 54, Rodriguez argues that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in failing to instruct some prospective jurors not to discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; or to avoid any publicity concerning &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55244" data-sentence-id="55427" class="ldml-sentence"&gt;Specifically, Rodriguez alleges that, on the first day of jury selection, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not appropriately caution the jurors who alleged hardship prior to their dismissal.&lt;/span&gt; &lt;a href="#note-fr33" class="ldml-noteanchor" id="note-ref-fr33"&gt;33&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="55600" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="55600" data-sentence-id="55608" class="ldml-sentence"&gt;However, those jurors did complete their juror questionnaires prior to their dismissal that first day.&lt;/span&gt; &lt;span data-paragraph-id="55600" data-sentence-id="55711" class="ldml-sentence"&gt;The cover sheet of the questionnaires instructed the jurors to &lt;span class="ldml-quotation quote"&gt;"not discuss &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; with any other prospective juror or anyone else"&lt;/span&gt; and to &lt;span class="ldml-quotation quote"&gt;"not listen to or read any news accounts of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="55600" data-sentence-id="55909" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55711"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 31&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr34" class="ldml-noteanchor" id="note-ref-fr34"&gt;34&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="55930" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="55930" data-sentence-id="55938" class="ldml-sentence"&gt;The jurors claiming hardships were ordered to return the following &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55938"&gt;&lt;span class="ldml-refname"&gt;Monday. R., v. 14&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55930" data-sentence-id="56031" class="ldml-sentence"&gt;After hardship voir dire, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; distributed those jurors who did not qualify for hardship excusal among the jury groups already assigned.&lt;/span&gt; &lt;span data-paragraph-id="55930" data-sentence-id="56173" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56031"&gt;&lt;span class="ldml-cite"&gt;id. at 72-73, 109-110, 150-51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55930" data-sentence-id="56208" class="ldml-sentence"&gt;Each jury group was then asked whether any member had been exposed to publicity regarding &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55930" data-sentence-id="56308" class="ldml-sentence"&gt;Any prospective juror who indicated publicity exposure&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="56363" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="56363" data-sentence-id="56363" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 262&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="56371" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="56371" data-sentence-id="56372" class="ldml-sentence"&gt;was questioned in chambers.&lt;/span&gt; &lt;span data-paragraph-id="56371" data-sentence-id="56400" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 14&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 154-196&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 15&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 8-49, 140-182&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 17&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 190-218&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 18&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2-54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 19&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 5-62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 20&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 6-97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 21&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 5-75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56372"&gt;&lt;span class="ldml-refname"&gt;R., v. 22&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 194-262&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="56371" data-sentence-id="56574" class="ldml-sentence"&gt;After voir dire on pretrial media coverage and death penalty qualification, each &lt;span class="ldml-entity"&gt;panel&lt;/span&gt; was dismissed with cautionary instructions similar to the following:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="56730" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="56730" data-sentence-id="56730" class="ldml-sentence"&gt;Please let me instruct you not to discuss &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; among yourselves or with any other potential jurors; not to discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with anyone else; do not read any news accounts of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; in the newspaper or anyplace else; do not listen to any news accounts on the T.V. or radio.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="57014" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="57014" data-sentence-id="57022" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 14&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 293&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 15&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 138&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 16&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 83-84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 17&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 311&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 18&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 142&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 19&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 20&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 179&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 22&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 192, 334&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="57177" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="57177" data-sentence-id="57185" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; is best advised to issue oral cautionary instructions to the entire jury &lt;span class="ldml-entity"&gt;panel&lt;/span&gt; prior to their dismissal on the first day of jury selection, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; adequately instructed the prospective jurors not to discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and to avoid exposure to related publicity.&lt;/span&gt; &lt;span data-paragraph-id="57177" data-sentence-id="57496" class="ldml-sentence"&gt;The subsequent voir dire on media coverage would have uncovered any tainting of the jury pool by the failure to caution the jurors who alleged hardships, and the failure to instruct was adequately cured by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s subsequent and repeated cautionary instructions.&lt;/span&gt; &lt;span data-paragraph-id="57177" data-sentence-id="57763" class="ldml-sentence"&gt;Rodriguez has failed to demonstrate any prejudice to his right to an impartial jury, and, accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; deny Issue 54.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="D" data-id="heading_57884" data-ordinal_start="4" data-ordinal_end="4" data-specifier="D" id="heading_57884" data-content-heading-label="D
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="57884" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="57884" data-sentence-id="57884" class="ldml-sentence"&gt;D&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="57886" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="57886" data-sentence-id="57894" class="ldml-sentence"&gt;In Issues 61 and 81, Rodriguez asserts that the jury commissioner and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"destroyed the randomness of the jury selection process"&lt;/span&gt; by dismissing some prospective jurors who claimed hardship without voir dire as to the validity of their hardship.&lt;/span&gt; &lt;span data-paragraph-id="57886" data-sentence-id="58152" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57894"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 220&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58185" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="58185" data-sentence-id="58193" class="ldml-sentence"&gt;In support of Issue 81, Rodriguez cites three &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, each of which relates to the systematic exclusion of certain groups from jury service.&lt;/span&gt; &lt;span data-paragraph-id="58185" data-sentence-id="58361" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference" data-prop-ids="embeddedsentence_58435,sentence_58193"&gt;&lt;span class="ldml-refname"&gt;Powers v. Ohio&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. 400&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 1364&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 L.Ed.2d 411&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;systematic exclusion of black jurors&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888603466" data-vids="888603466" class="ldml-reference" data-prop-ids="embeddedsentence_58544,sentence_58193"&gt;&lt;span class="ldml-refname"&gt;Duren v. Missouri&lt;/span&gt;, &lt;span class="ldml-cite"&gt;439 U.S. 357&lt;/span&gt;, &lt;span class="ldml-cite"&gt;99 S.Ct. 664&lt;/span&gt;, &lt;span class="ldml-cite"&gt;58 L.Ed.2d 579&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;systematic exclusion of women&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890294616" data-vids="890294616" class="ldml-reference" data-prop-ids="embeddedsentence_58643,sentence_58193"&gt;&lt;span class="ldml-refname"&gt;Peters v. Kiff&lt;/span&gt;, &lt;span class="ldml-cite"&gt;407 U.S. 493&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 S.Ct. 2163&lt;/span&gt;, &lt;span class="ldml-cite"&gt;33 L.Ed.2d 83&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;systematic exclusion of black jurors&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58185" data-sentence-id="58682" class="ldml-sentence"&gt;In this context, a claim of systematic exclusion requires that Rodriguez show purposeful discrimination by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58185" data-sentence-id="58800" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893436222" data-vids="893436222" class="ldml-reference" data-prop-ids="embeddedsentence_58852,sentence_58682"&gt;&lt;span class="ldml-refname"&gt;Cerrone v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;900 P.2d 45, 53&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;involving composition of a grand jury&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58185" data-sentence-id="58892" class="ldml-sentence"&gt;Rodriguez has not even attempted to make such a showing, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline to address the issue.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58986" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="58986" data-sentence-id="58994" class="ldml-sentence"&gt;Likewise, in Issue 61, Rodriguez has alleged violations of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58994"&gt;&lt;span class="ldml-cite"&gt;Uniform Jury Selection and Service Act, §§ 13-71-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -122, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;6 C.R.S. &lt;span class="ldml-parenthetical"&gt;(1973 &amp; 1986 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58986" data-sentence-id="59150" class="ldml-sentence"&gt;Conduct which violates the requirements of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59150"&gt;&lt;span class="ldml-cite"&gt;Jury Selection Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; may also violate &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt; if, for example, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; shows systematic exclusion of a particular class of jurors.&lt;/span&gt; &lt;span data-paragraph-id="58986" data-sentence-id="59339" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893436222" data-vids="893436222" class="ldml-reference" data-prop-ids="sentence_59339"&gt;&lt;span class="ldml-refname"&gt;Cerrone&lt;/span&gt;, &lt;span class="ldml-cite"&gt;900 P.2d at 52 n. 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; and accompanying text, 54.&lt;/span&gt; &lt;span data-paragraph-id="58986" data-sentence-id="59399" class="ldml-sentence"&gt;Rodriguez alleges conduct which, if true, would violate the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59399"&gt;&lt;span class="ldml-cite"&gt;Jury Selection Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but which does not rise to the level of constitutional error.&lt;/span&gt; &lt;span data-paragraph-id="58986" data-sentence-id="59541" class="ldml-sentence"&gt;For example, Rodriguez alleges that the jury commissioner excused jurors who merely stated that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were students, were over sixty with medical problems, or who asserted vacation hardships without requiring a showing that jury service would cause &lt;span class="ldml-quotation quote"&gt;"undue hardship, extreme inconvenience, or public necessity"&lt;/span&gt; as set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59541"&gt;&lt;span class="ldml-cite"&gt;section 13-71-112&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58986" data-sentence-id="59888" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtoftheeleventhjudicialdistrictofcoloradono83sa231667p2d1384aug22,1983" data-prop-ids="embeddedsentence_59965,sentence_59541"&gt;&lt;span class="ldml-refname"&gt;People ex rel. Faulk v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;667 P.2d 1384, 1389&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating in&lt;/span&gt; dicta that, under &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should not excuse a qualified juror &lt;span class="ldml-quotation quote"&gt;"for any reason short of the statutory criteria ... set out in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59541"&gt;&lt;span class="ldml-cite"&gt;section 13-71-112&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58986" data-sentence-id="60140" class="ldml-sentence"&gt;However, the allegations Rodriguez makes, although appropriate for review on direct appeal, do not rise to the level of constitutional error and, thus, do not merit review here.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="E" data-id="heading_60318" data-ordinal_start="5" data-ordinal_end="5" data-specifier="E" id="heading_60318" data-content-heading-label="E
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="60318" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="60318" data-sentence-id="60318" class="ldml-sentence"&gt;E&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="60320" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="60320" data-sentence-id="60328" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Issues&lt;/span&gt; &lt;span class="ldml-cite"&gt;55, 62, 67-75, and 83-84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Rodriguez alleges &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; error relating to the excusal or non-excusal of prospective jurors for cause.&lt;/span&gt; &lt;span data-paragraph-id="60320" data-sentence-id="60472" class="ldml-sentence"&gt;The Colorado &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; provide for excusal for cause where &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; finds:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60547" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="60547" data-sentence-id="60547" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 263&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60556" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="60556" data-sentence-id="60556" class="ldml-sentence"&gt;The existence of a state of mind in the juror evincing enmity or bias toward &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;; however, no person summoned as a juror shall be disqualified by reason of a previously formed or expressed opinion with reference to the guilt or innocence of the accused, if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; is satisfied, from the examination of the juror or from other evidence, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; will render an impartial verdict according to the law and the evidence submitted to the jury at the trial&lt;span class="ldml-parenthetical"&gt;[.]&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="61036" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-103&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(j)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61081" class="ldml-sentence"&gt;A juror is appropriately excluded for cause if that juror would be unable &lt;span class="ldml-quotation quote"&gt;"to set aside any bias or preconceived notion and render an impartial verdict based on the evidence adduced at trial and the instructions given by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61314" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895064975" data-vids="895064975" class="ldml-reference" data-prop-ids="sentence_61081"&gt;&lt;span class="ldml-refname"&gt;People v. Drake&lt;/span&gt;, &lt;span class="ldml-cite"&gt;748 P.2d 1237, 1244&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61364" class="ldml-sentence"&gt;A prospective juror's indication of concern or of the presence of some preconceived belief as to some facet of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; does not mandate exclusion of that person for cause.&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61537" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895064975" data-vids="895064975" class="ldml-reference" data-prop-ids="sentence_61364"&gt;&lt;span class="ldml-cite"&gt;Id. at 1243&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61550" class="ldml-sentence"&gt;Likewise, the fact that a juror answers voir dire questions in such a way that might indicate prejudice does not require excusal for cause.&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61690" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893631765" data-vids="893631765" class="ldml-reference" data-prop-ids="sentence_61550"&gt;&lt;span class="ldml-refname"&gt;Abbott&lt;/span&gt;, &lt;span class="ldml-cite"&gt;690 P.2d at 1267&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61716" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must consider all available facts, including the challenged juror's assurance of impartiality.&lt;/span&gt; &lt;span data-paragraph-id="61036" data-sentence-id="61835" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893631765" data-vids="893631765" class="ldml-reference" data-prop-ids="sentence_61716"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="61839" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="61839" data-sentence-id="61847" class="ldml-sentence"&gt;At the time of voir dire, the burden was upon Rodriguez to &lt;span class="ldml-quotation quote"&gt;"demonstrate, through questioning, that the potential juror lack&lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt; impartiality."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="61839" data-sentence-id="61990" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_61847"&gt;&lt;span class="ldml-refname"&gt;Wainwright v. Witt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;469 U.S. 412, 423&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. 844, 852&lt;/span&gt;, &lt;span class="ldml-cite"&gt;83 L.Ed.2d 841&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61839" data-sentence-id="62072" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are deferential to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; in such matters because &lt;span class="ldml-quotation quote"&gt;"the trial judge is the only judicial officer able to assess fully the attitudes and state of mind of a potential juror by personal observation of the significance of what linguistically may appear to be inconsistent or self-contradictory responses to difficult questions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="61839" data-sentence-id="62408" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888046373" data-vids="888046373" class="ldml-reference" data-prop-ids="sentence_62072"&gt;&lt;span class="ldml-refname"&gt;People v. Sandoval&lt;/span&gt;, &lt;span class="ldml-cite"&gt;733 P.2d 319, 321&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_62072"&gt;&lt;span class="ldml-refname"&gt;People v. Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159, 204&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:498us1018111sct662,112led2d6561991" data-prop-ids="sentence_62072"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1018&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 662&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 656&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61839" data-sentence-id="62579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; will set aside &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s decisions&lt;/span&gt; only if the record affirmatively demonstrates a clear abuse of discretion.&lt;/span&gt; &lt;span data-paragraph-id="61839" data-sentence-id="62700" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895306015" data-vids="895306015" class="ldml-reference" data-prop-ids="sentence_62579"&gt;&lt;span class="ldml-refname"&gt;People v. Rhodus&lt;/span&gt;, &lt;span class="ldml-cite"&gt;870 P.2d 470, 477&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_62579"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 204&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895064975" data-vids="895064975" class="ldml-reference" data-prop-ids="sentence_62579"&gt;&lt;span class="ldml-refname"&gt;Drake&lt;/span&gt;, &lt;span class="ldml-cite"&gt;748 P.2d at 1243&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61839" data-sentence-id="62802" class="ldml-sentence"&gt;Rodriguez has not shown that either the procedure or &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s decisions&lt;/span&gt; were an abuse of discretion, nor does our review of the record reveal abuse.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="62960" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="62960" data-sentence-id="62968" class="ldml-sentence"&gt;In Issues 55, 70, 72, 74, and 75, Rodriguez alleges error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to excuse for cause prospective jurors who had been exposed to pretrial publicity and, as a result, either knew of &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;' conviction and sentence for the same charged offenses or had formed an opinion as to Rodriguez' guilt.&lt;/span&gt; &lt;span data-paragraph-id="62960" data-sentence-id="63290" class="ldml-sentence"&gt;However, Rodriguez did not exhaust his peremptory challenges, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63290"&gt;&lt;span class="ldml-refname"&gt;R., v. 24&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and, therefore, has shown no prejudice.&lt;/span&gt; &lt;span data-paragraph-id="62960" data-sentence-id="63413" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888639563" data-vids="888639563" class="ldml-reference" data-prop-ids="sentence_63290"&gt;&lt;span class="ldml-refname"&gt;O'Neill&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d at 173&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895728373" data-vids="895728373" class="ldml-reference" data-prop-ids="sentence_63290"&gt;&lt;span class="ldml-refname"&gt;People v. Silvola&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. 363, 368&lt;/span&gt;, &lt;span class="ldml-cite"&gt;547 P.2d 1283, 1287-88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:429us886,97sct238,50led2d1671976" data-prop-ids="sentence_63290"&gt;&lt;span class="ldml-cite"&gt;429 U.S. 886&lt;/span&gt;, &lt;span class="ldml-cite"&gt;97 S.Ct. 238&lt;/span&gt;, &lt;span class="ldml-cite"&gt;50 L.Ed.2d 167&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="62960" data-sentence-id="63571" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find no merit to these arguments.&lt;/span&gt; &lt;a href="#note-fr35" class="ldml-noteanchor" id="note-ref-fr35"&gt;35&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="63622" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="63622" data-sentence-id="63630" class="ldml-sentence"&gt;During jury selection, Rodriguez challenged jurors J.A., D.L., R.M., and K.G. for cause based on their death penalty views.&lt;/span&gt; &lt;span data-paragraph-id="63622" data-sentence-id="63754" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; denied these challenges.&lt;/span&gt; &lt;span data-paragraph-id="63622" data-sentence-id="63798" class="ldml-sentence"&gt;In Issues 67, 69, 71, and 73, Rodriguez argues error in those denials.&lt;/span&gt; &lt;span data-paragraph-id="63622" data-sentence-id="63869" class="ldml-sentence"&gt;Again, however, Rodriguez failed to exhaust his peremptory challenges and has not demonstrated prejudice.&lt;/span&gt; &lt;span data-paragraph-id="63622" data-sentence-id="63975" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888639563" data-vids="888639563" class="ldml-reference" data-prop-ids="sentence_63869"&gt;&lt;span class="ldml-refname"&gt;O'Neill&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d at 173&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895728373" data-vids="895728373" class="ldml-reference" data-prop-ids="sentence_63869"&gt;&lt;span class="ldml-refname"&gt;Silvola&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. at 368&lt;/span&gt;, &lt;span class="ldml-cite"&gt;547 P.2d at 1287-88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63622" data-sentence-id="64053" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold these arguments meritless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="64088" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="64088" data-sentence-id="64096" class="ldml-sentence"&gt;In Issue 68, Rodriguez alleges error in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to excuse for cause prospective juror J.B. based on his &lt;span class="ldml-quotation quote"&gt;"clear bias."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64088" data-sentence-id="64232" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64096"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 207&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64088" data-sentence-id="64269" class="ldml-sentence"&gt;For the reasons discussed above, Rodriguez has shown no prejudice and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that Issue 68 does not merit postconviction relief.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="F" data-id="heading_64399" data-ordinal_start="6" data-ordinal_end="6" data-specifier="F" id="heading_64399" data-content-heading-label="F
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="64399" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="64399" data-sentence-id="64399" class="ldml-sentence"&gt;F&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="64401" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="64401" data-sentence-id="64409" class="ldml-sentence"&gt;In Issues 62, 83, and 84, Rodriguez challenges the standard used by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to determine the inclusion or exclusion of prospective jurors based upon their death penalty opinions.&lt;/span&gt; &lt;span data-paragraph-id="64401" data-sentence-id="64596" class="ldml-sentence"&gt;Specifically, Rodriguez contends&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="64629" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="64629" data-sentence-id="64629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 264&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="64637" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="64637" data-sentence-id="64638" class="ldml-sentence"&gt;that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; applied the wrong legal standard for exclusion which favored &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and the death penalty, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64638"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 221, 228&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; applied this standard inconsistently to Rodriguez' detriment.&lt;/span&gt; &lt;span data-paragraph-id="64637" data-sentence-id="64882" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64638"&gt;&lt;span class="ldml-cite"&gt;id. at 188&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="64898" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="64898" data-sentence-id="64906" class="ldml-sentence"&gt;In Issue 83, Rodriguez argues that &lt;span class="ldml-entity"&gt;the standard set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_64906"&gt;&lt;span class="ldml-refname"&gt;Wainwright v. Witt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;469 U.S. 412&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. 844&lt;/span&gt;, &lt;span class="ldml-cite"&gt;83 L.Ed.2d 841&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, does not apply to &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[b]&lt;/span&gt;ecause the standard in Colorado at the time of Mr. Rodriguez' trial was more lenient than the Witt standard."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64898" data-sentence-id="65183" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64906"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 221-222&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr36" class="ldml-noteanchor" id="note-ref-fr36"&gt;36&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="64898" data-sentence-id="65221" class="ldml-sentence"&gt;Rodriguez contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; should have applied the &lt;span class="ldml-quotation quote"&gt;"standard"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889322799" data-vids="889322799" class="ldml-reference" data-prop-ids="sentence_65221"&gt;&lt;span class="ldml-refname"&gt;Witherspoon v. Illinois&lt;/span&gt;, &lt;span class="ldml-cite"&gt;391 U.S. 510&lt;/span&gt;, &lt;span class="ldml-cite"&gt;88 S.Ct. 1770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;20 L.Ed.2d 776&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64898" data-sentence-id="65377" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889322799" data-vids="889322799" class="ldml-reference" data-prop-ids="sentence_65377"&gt;&lt;span class="ldml-refname"&gt;Witherspoon&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; noted that jurors may be excluded for cause if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; make it&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="65472" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="65472" data-sentence-id="65472" class="ldml-sentence"&gt;unmistakably clear &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would automatically vote against the imposition of capital punishment without regard to any evidence that might be developed at the trial of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; before them, or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; that their attitude toward the death penalty would prevent them from making an impartial decision as to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s guilt.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="65802" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="65802" data-sentence-id="65810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889322799" data-vids="889322799" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 522-23 n. 21&lt;/span&gt;, &lt;span class="ldml-cite"&gt;88 S.Ct. at 1777 n. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="65802" data-sentence-id="65855" class="ldml-sentence"&gt;The Witherspoon statement is pure dicta.&lt;/span&gt; &lt;span data-paragraph-id="65802" data-sentence-id="65897" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_65855"&gt;&lt;span class="ldml-refname"&gt;Witt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;469 U.S. at 422&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 851&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="65938" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="65938" data-sentence-id="65946" class="ldml-sentence"&gt;Further, in its &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;1985&lt;/span&gt; decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_65946"&gt;&lt;span class="ldml-refname"&gt;Witt&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; clarified its Witherspoon opinion.&lt;/span&gt; &lt;span data-paragraph-id="65938" data-sentence-id="66040" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_66040"&gt;&lt;span class="ldml-refname"&gt;Witt&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; held that a juror may be excused for cause because of his views on the death penalty when those views would &lt;span class="ldml-quotation quote"&gt;"prevent or substantially impair the performance of his duties as a juror in accordance with his instructions and his oath."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="65938" data-sentence-id="66293" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_66040"&gt;&lt;span class="ldml-cite"&gt;469 U.S. at 424&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 852&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnote and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_66040"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 159&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="66404" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="66404" data-sentence-id="66412" class="ldml-sentence"&gt;Jury selection for Rodriguez' trial began in November of &lt;span class="ldml-entity"&gt;1986&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66404" data-sentence-id="66475" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; appropriately concluded that the Witt standard for exclusion governed the jury selection in this trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="66596" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="66596" data-sentence-id="66604" class="ldml-sentence"&gt;In Issue 84, Rodriguez argues that, if Witt applies, Witt requires that the jurors be able to &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'consider and decide the facts impartially and conscientiously apply the law as charged by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="66807" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_66604"&gt;&lt;span class="ldml-cite"&gt;469 U.S. at 420&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 850&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893930176" data-vids="893930176" class="ldml-reference" data-prop-ids="sentence_66604"&gt;&lt;span class="ldml-refname"&gt;Adams v. Texas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;448 U.S. 38, 45&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 2521, 2526&lt;/span&gt;, &lt;span class="ldml-cite"&gt;65 L.Ed.2d 581&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="66929" class="ldml-sentence"&gt;Thus, Rodriguez argues that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must rule on a challenge for cause while bearing in mind the law applicable to &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67056" class="ldml-sentence"&gt;Rodriguez concludes that, because Colorado law does not require that the death penalty be imposed in any particular case, a juror should not be excused for cause although that juror could never impose the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67276" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67056"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 230&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67313" class="ldml-sentence"&gt;However, under Colorado law at the time of Rodriguez' trial, a capital sentencing jury was asked to determine whether death was the appropriate penalty.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67466" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-quotation quote"&gt;"it does not make sense to require simply that a juror not &lt;span class="ldml-quotation quote"&gt;'automatically'&lt;/span&gt; vote against the death penalty; whether or not a venireman might vote for death under certain personal standards, &lt;span class="ldml-entity"&gt;the State&lt;/span&gt; still may properly challenge that venireman if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; refuses to follow &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67763" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_67466"&gt;&lt;span class="ldml-refname"&gt;Witt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;469 U.S. at 422&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 851&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67804" class="ldml-sentence"&gt;Rodriguez is not &lt;span class="ldml-quotation quote"&gt;"entitled to a legal presumption or standard that allows jurors to be seated who quite likely will be biased in his favor."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67945" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_67804"&gt;&lt;span class="ldml-cite"&gt;Id. at 423&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 852&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="67975" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; appropriately applied the Witt standard and concluded that, if a juror is unwilling to consider a death sentence where, under the law, such a sentence is appropriate although not required, that juror cannot &lt;span class="ldml-quotation quote"&gt;"conscientiously apply the law"&lt;/span&gt; and is appropriately excused for cause.&lt;/span&gt; &lt;span data-paragraph-id="66596" data-sentence-id="68284" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_67975"&gt;&lt;span class="ldml-refname"&gt;Witt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;469 U.S. at 420&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 850&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888639563" data-vids="888639563" class="ldml-reference" data-prop-ids="sentence_67975"&gt;&lt;span class="ldml-refname"&gt;O'Neill&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d at 171&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_67975"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 207&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="68427" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="68427" data-sentence-id="68435" class="ldml-sentence"&gt;In Issue 62, Rodriguez argues that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; applied the Witt standard inconsistently and that, accordingly, some jurors were dismissed because of their views on the death penalty although &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were actually qualified to sit and some jurors were retained who should have been excused for cause.&lt;/span&gt; &lt;span data-paragraph-id="68427" data-sentence-id="68737" class="ldml-sentence"&gt;In support of this claim, Rodriguez cites to the voir dire transcript of six potential jurors, none of whom served on Rodriguez'&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="68866" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="68866" data-sentence-id="68866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 265&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="68874" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="68874" data-sentence-id="68875" class="ldml-sentence"&gt;jury: D.G., R.M., Ru.M., W.V., E.B., and &lt;span class="ldml-entity"&gt;B.R.
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_68922" data-val="1" data-page_type="bare_number"&gt;&lt;/span&gt; Rodriguez&lt;/span&gt; argues that jurors D.G., R.M., Ru.M., and B.R. &lt;a href="#note-fr37" class="ldml-noteanchor" id="note-ref-fr37"&gt;37&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; were improperly retained although their &lt;span class="ldml-quotation quote"&gt;"biases in favor of the death penalty left them impaired."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="68874" data-sentence-id="69088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68875"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 188&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="68874" data-sentence-id="69121" class="ldml-sentence"&gt;Although Rodriguez asserts that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s decisions&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"skewed the jury &lt;span class="ldml-entity"&gt;panel&lt;/span&gt; for &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; and against Mr. Rodriguez,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69121"&gt;&lt;span class="ldml-cite"&gt;id. at 190&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the record does not bear this out.&lt;/span&gt; &lt;span data-paragraph-id="68874" data-sentence-id="69293" class="ldml-sentence"&gt;Further, Rodriguez has not &lt;span class="ldml-quotation quote"&gt;"shown how &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was prejudiced by the three jurors as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not serve on the jury and since the defense did not exhaust its peremptory challenges."&lt;/span&gt;&lt;/span&gt; &lt;a href="#note-fr38" class="ldml-noteanchor" id="note-ref-fr38"&gt;38&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="68874" data-sentence-id="69470" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888639563" data-vids="888639563" class="ldml-reference" data-prop-ids="sentence_69293"&gt;&lt;span class="ldml-refname"&gt;O'Neill&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d at 173&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895728373" data-vids="895728373" class="ldml-reference" data-prop-ids="sentence_69293"&gt;&lt;span class="ldml-refname"&gt;Silvola&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. at 368&lt;/span&gt;, &lt;span class="ldml-cite"&gt;547 P.2d at 1287-88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_69544" data-val="2" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="69544" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="69544" data-sentence-id="69552" class="ldml-sentence"&gt;Rodriguez argues that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;court&lt;/span&gt; clearly indicated the standard it was applying regarding death-prone jurors when it granted the challenge to prospective juror &lt;span class="ldml-parenthetical"&gt;[W.V.]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="69544" data-sentence-id="69723" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69552"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 189&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="69544" data-sentence-id="69756" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find no reversible error in &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s application of the Witt standard to this juror.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="69848" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="69848" data-sentence-id="69856" class="ldml-sentence"&gt;During voir dire, W.V. stated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; thought that a &lt;span class="ldml-quotation quote"&gt;"life is worth more than twenty years,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69856"&gt;&lt;span class="ldml-refname"&gt;R., v. 16&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could impose life imprisonment if required by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s instructions.&lt;/span&gt; &lt;span data-paragraph-id="69848" data-sentence-id="70052" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69856"&gt;&lt;span class="ldml-cite"&gt;Id. at 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="69848" data-sentence-id="70063" class="ldml-sentence"&gt;The following colloquy occurred:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="70096" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70096" data-sentence-id="70104" class="ldml-sentence"&gt;EISNER: ....&lt;/span&gt; &lt;span data-paragraph-id="70096" data-sentence-id="70118" class="ldml-sentence"&gt;You're in a situation where you're facing the death penalty and the judge tells you that given &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt;, that the law would basically assure you that the person would die of old age in prison ... then would that make life imprisonment a more palatable choice for you?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70407" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70407" data-sentence-id="70415" class="ldml-sentence"&gt;W.V.: No.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70426" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70426" data-sentence-id="70434" class="ldml-sentence"&gt;EISNER: Even then, you wouldn't like it?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70476" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70476" data-sentence-id="70484" class="ldml-sentence"&gt;W.V.: I wouldn't like it, no.&lt;/span&gt; &lt;span data-paragraph-id="70476" data-sentence-id="70515" class="ldml-sentence"&gt;If you kill somebody, you deserve to lose your life, especially if it's a deliberate thing, you're talking First Degree Murder.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="70643" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70643" data-sentence-id="70651" class="ldml-sentence"&gt;....&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="70656" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70656" data-sentence-id="70664" class="ldml-sentence"&gt;EISNER: In your mind, if there's a First Degree Murder conviction after deliberation, then the person should die?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70779" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70779" data-sentence-id="70787" class="ldml-sentence"&gt;W.V.: Yes, sir.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="70804" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70804" data-sentence-id="70812" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 59-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="70804" data-sentence-id="70826" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; granted defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s challenge for cause, stating that &lt;span class="ldml-quotation quote"&gt;"I think that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was very clear in her position that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not wish to consider anything but the death penalty."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="70804" data-sentence-id="71012" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70826"&gt;&lt;span class="ldml-cite"&gt;Id. at 82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="70804" data-sentence-id="71023" class="ldml-sentence"&gt;After considering the entire transcript of voir dire, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s statement did not imply its adoption of the more stringent Witherspoon standard for challenges made by the defense as opposed to the Witt &lt;span class="ldml-quotation quote"&gt;"substantial impairment"&lt;/span&gt; standard &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; applied to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="70804" data-sentence-id="71318" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s statement upon its dismissal of juror W.V. indicated its assessment of that particular juror.&lt;/span&gt; &lt;span data-paragraph-id="70804" data-sentence-id="71432" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; perceive no error.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_71454" data-val="3" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="71454" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="71454" data-sentence-id="71462" class="ldml-sentence"&gt;Rodriguez argues that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; erroneously excused juror E.B., &lt;span class="ldml-quotation quote"&gt;"who expressed her belief in the death penalty, but merely expressed hesitancy about &lt;span class="ldml-quotation quote"&gt;'signing'&lt;/span&gt; the verdict."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="71454" data-sentence-id="71635" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71462"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 189&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="71454" data-sentence-id="71668" class="ldml-sentence"&gt;Our review of the record discloses more than a mere hesitancy about the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="71454" data-sentence-id="71755" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that, in excusing E.B. for cause, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; neither abused its discretion nor misapplied the Witt standard.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="71882" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="71882" data-sentence-id="71890" class="ldml-sentence"&gt;E.B. stated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had mixed emotions and didn't know whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could sign a death verdict.&lt;/span&gt; &lt;span data-paragraph-id="71882" data-sentence-id="71986" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71986"&gt;&lt;span class="ldml-refname"&gt;R., v. 18&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;. E.B. stated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had never been &lt;span class="ldml-quotation quote"&gt;"totally clear"&lt;/span&gt; on the issue, but could &lt;span class="ldml-quotation quote"&gt;"possibly"&lt;/span&gt; support the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="71882" data-sentence-id="72118" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71986"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="71882" data-sentence-id="72122" class="ldml-sentence"&gt;E.B. stated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would be willing to follow the law in imposing a penalty, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72122"&gt;&lt;span class="ldml-cite"&gt;id. at 80-81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but expressed an unwillingness to impose the death sentence.&lt;/span&gt; &lt;span data-paragraph-id="71882" data-sentence-id="72276" class="ldml-sentence"&gt;The following colloquy occurred:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="72309" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="72309" data-sentence-id="72309" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 266&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="72318" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="72318" data-sentence-id="72326" class="ldml-sentence"&gt;LITTLE: &lt;span class="ldml-parenthetical"&gt;[H]&lt;/span&gt;ypothetically, you have found aggravation that clearly outweighs mitigation; there is no question about it in your mind; the law instructs you that you're to weigh these and make a decision on what to do, ... would you be willing to sign a verdict and put your name down that would sentence Mr. Rodriguez to death?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="72655" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="72655" data-sentence-id="72663" class="ldml-sentence"&gt;E.B.: I don't know if I could.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="72695" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="72695" data-sentence-id="72703" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="72714" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="72714" data-sentence-id="72722" class="ldml-sentence"&gt;LITTLE: ....&lt;/span&gt; &lt;span data-paragraph-id="72714" data-sentence-id="72736" class="ldml-sentence"&gt;Could you in the appropriate case sign a death penalty verdict?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="72800" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="72800" data-sentence-id="72808" class="ldml-sentence"&gt;E.B.: In theory, I could but my problem is that I think that if a juror says the death penalty, in fact, &lt;span class="ldml-entity"&gt;they&lt;/span&gt;'re responsible for the carrying out of the death penalty, even though &lt;span class="ldml-entity"&gt;they&lt;/span&gt; wouldn't physically do that, and then I would have to live with that, and I don't know if I could.&lt;/span&gt; &lt;span data-paragraph-id="72800" data-sentence-id="73093" class="ldml-sentence"&gt;That's my problem.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="73112" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73120" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;id. at 119-20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; challenged E.B. for cause based on her opinion on the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73236" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73151"&gt;&lt;span class="ldml-cite"&gt;Id. at 138&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73248" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; granted the challenge.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73248"&gt;&lt;span class="ldml-cite"&gt;Id. at 141&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73293" class="ldml-sentence"&gt;Under the totality of the circumstances disclosed by the record, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; discern no abuse of discretion in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s excusal of E.B. for cause.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73440" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888046373" data-vids="888046373" class="ldml-reference" data-prop-ids="sentence_73293"&gt;&lt;span class="ldml-refname"&gt;Sandoval&lt;/span&gt;, &lt;span class="ldml-cite"&gt;733 P.2d at 322&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73471" class="ldml-sentence"&gt;Given her responses to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s questions, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; could fairly have found that E.B. was &lt;span class="ldml-quotation quote"&gt;"substantially impaired"&lt;/span&gt; in her ability to consider the potentially applicable penalties in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73112" data-sentence-id="73666" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893323108" data-vids="893323108" class="ldml-reference" data-prop-ids="sentence_73471"&gt;&lt;span class="ldml-refname"&gt;Witt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;469 U.S. at 424&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 852&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="G" data-id="heading_73711" data-ordinal_start="7" data-ordinal_end="7" data-specifier="G" id="heading_73711" data-content-heading-label="G
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="73711" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="73711" data-sentence-id="73711" class="ldml-sentence"&gt;G&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="73713" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="73713" data-sentence-id="73721" class="ldml-sentence"&gt;In Issues 49 and 50, Rodriguez asserts that the death qualification of the jury and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to allow two juries, one death-qualified and one not death-qualified, violated his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73721"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to a jury drawn from a fair cross-&lt;span class="ldml-entity"&gt;section&lt;/span&gt; of the community and his rights under the Due Process and Cruel and Unusual Punishment Clauses of the federal and Colorado Constitutions.&lt;/span&gt; &lt;span data-paragraph-id="73713" data-sentence-id="74116" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:lockhartvmccree,474us816,106sct59,88led2d481985no84-1865" data-prop-ids="sentence_74116"&gt;&lt;span class="ldml-refname"&gt;Lockhart v. McCree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;476 U.S. 162&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 1758&lt;/span&gt;, &lt;span class="ldml-cite"&gt;90 L.Ed.2d 137&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; held that death qualification of a jury does not violate the fair cross-&lt;span class="ldml-entity"&gt;section&lt;/span&gt; requirement of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74116"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt; does not require that petit juries actually chosen reflect the composition of the community at large.&lt;/span&gt; &lt;span data-paragraph-id="73713" data-sentence-id="74467" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:lockhartvmccree,474us816,106sct59,88led2d481985no84-1865" data-prop-ids="sentence_74116"&gt;&lt;span class="ldml-cite"&gt;Id. at 173-77&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. at 1764-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73713" data-sentence-id="74504" class="ldml-sentence"&gt;Rodriguez contends that his case presents distinct factual circumstances not addressed in Lockhart and urges &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; to follow the dissenting &lt;span class="ldml-entity"&gt;opinion in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:lockhartvmccree,474us816,106sct59,88led2d481985no84-1865" data-prop-ids="sentence_74504"&gt;&lt;span class="ldml-refname"&gt;Lockhart&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; for &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt; that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; must provide two juries, one death-qualified and one not death-qualified.&lt;/span&gt; &lt;span data-paragraph-id="73713" data-sentence-id="74778" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:lockhartvmccree,474us816,106sct59,88led2d481985no84-1865" data-prop-ids="sentence_74504"&gt;&lt;span class="ldml-cite"&gt;id. at 204&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. at 1781&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73713" data-sentence-id="74813" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject Rodriguez' attempts to circumvent the majority's holding in Lockhart and, accordingly, hold that Issues 49 and 50 are meritless.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="VII" data-id="heading_74953" data-ordinal_start="7" data-ordinal_end="7" data-specifier="VII" id="heading_74953" data-content-heading-label="VII
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="74953" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="74953" data-sentence-id="74953" class="ldml-sentence"&gt;VII&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="74957" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="74957" data-sentence-id="74957" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;Trial Court&lt;/span&gt; Rulings&lt;/span&gt; Relating to Witnesses&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A" data-id="heading_74999" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_74999" data-content-heading-label="A
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="74999" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="74999" data-sentence-id="74999" class="ldml-sentence"&gt;A&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="75001" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="75001" data-sentence-id="75009" class="ldml-sentence"&gt;In denying Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; characterized five of Rodriguez' claims as attacks on the credibility of &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; witnesses and held that, under &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888450670" data-vids="888450670" class="ldml-reference" data-prop-ids="sentence_75009"&gt;&lt;span class="ldml-refname"&gt;Taylor v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;155 Colo. 15&lt;/span&gt;, &lt;span class="ldml-cite"&gt;392 P.2d 294&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1964&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, such claims did not allege errors of constitutional magnitude.&lt;/span&gt; &lt;span data-paragraph-id="75001" data-sentence-id="75305" class="ldml-sentence"&gt;In Issue 35, Rodriguez contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erroneously applied Taylor to dispose of claims which asserted constitutional questions and did not merely attack the credibility of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; witnesses.&lt;/span&gt; &lt;span data-paragraph-id="75001" data-sentence-id="75522" class="ldml-sentence"&gt;In Issues 36, 37, 38, 39, and 40 Rodriguez individually reasserts five claims relating to the testimony of &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; disposed of under Taylor.&lt;/span&gt; &lt;span data-paragraph-id="75001" data-sentence-id="75697" class="ldml-sentence"&gt;Rodriguez' claims allege that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; denied him his constitutional right to cross-examine and confront witnesses and assert more than a mere attack on the credibility of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; witnesses.&lt;/span&gt; &lt;span data-paragraph-id="75001" data-sentence-id="75903" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75903"&gt;&lt;span class="ldml-cite"&gt;part III&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; denied Issues 37 and 40 because Rodriguez failed to adequately specify the errors and grounds for postconviction relief.&lt;/span&gt; &lt;span data-paragraph-id="75001" data-sentence-id="76056" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; address the substantive arguments contained in Issues 36, 38, and 39.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_76129" data-val="1" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="76129" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="76129" data-sentence-id="76137" class="ldml-sentence"&gt;In Issue 36, Rodriguez contends that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; illegally granted &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; absolute immunity&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="76262" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="76262" data-sentence-id="76262" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 267&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="76270" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="76270" data-sentence-id="76271" class="ldml-sentence"&gt;from &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr39" class="ldml-noteanchor" id="note-ref-fr39"&gt;39&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="76270" data-sentence-id="76290" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; lacks standing to contest the propriety of a grant of immunity to a witness.&lt;/span&gt; &lt;span data-paragraph-id="76270" data-sentence-id="76379" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892952584" data-vids="892952584" class="ldml-reference" data-prop-ids="sentence_76290"&gt;&lt;span class="ldml-refname"&gt;United States v. Trammel&lt;/span&gt;, &lt;span class="ldml-cite"&gt;583 F.2d 1166, 1168&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;aff'd&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886700170" data-vids="886700170" class="ldml-reference" data-prop-ids="sentence_76290"&gt;&lt;span class="ldml-cite"&gt;445 U.S. 40&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 906&lt;/span&gt;, &lt;span class="ldml-cite"&gt;63 L.Ed.2d 186&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890682102" data-vids="890682102" class="ldml-reference" data-prop-ids="sentence_76290"&gt;&lt;span class="ldml-refname"&gt;United States v. Rauhoff&lt;/span&gt;, &lt;span class="ldml-cite"&gt;525 F.2d 1170, 1178&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76270" data-sentence-id="76562" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject this claim.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_76597" data-val="2" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="76597" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="76597" data-sentence-id="76605" class="ldml-sentence"&gt;In Issue 38, Rodriguez claims that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s restriction on defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s cross-examination and impeachment of &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; violated his due process rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="76777" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="76777" data-sentence-id="76785" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; has discretion to determine the scope and limits of cross-examination, and, absent an abuse of discretion, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s rulings&lt;/span&gt; will not be disturbed on appeal.&lt;/span&gt; &lt;span data-paragraph-id="76777" data-sentence-id="76961" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889016554" data-vids="889016554" class="ldml-reference" data-prop-ids="sentence_76785"&gt;&lt;span class="ldml-refname"&gt;People v. Walker&lt;/span&gt;, &lt;span class="ldml-cite"&gt;666 P.2d 113, 122-23&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76777" data-sentence-id="77013" class="ldml-sentence"&gt;Our review of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s rulings&lt;/span&gt; on the scope of defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s cross-examination of &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; fails to reveal any abuse of discretion, and, accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issue 38.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_77203" data-val="3" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="77203" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="77203" data-sentence-id="77211" class="ldml-sentence"&gt;In Issue 39, Rodriguez claims that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s granting of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Motion in Limine&lt;/span&gt; re: Proper Impeachment of &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;"&lt;/span&gt; constitutes reversible error.&lt;/span&gt; &lt;span data-paragraph-id="77203" data-sentence-id="77386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion in limine&lt;/span&gt; requested suppression of the following evidence: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; Thomas' conviction in &lt;span class="ldml-entity"&gt;Denver County &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;&lt;/span&gt; for second-degree motor vehicle theft; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; Thomas' alleged recantation of a statement given to Denver Police in a juvenile burglary case; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the granting of a personal recognizance bond to Thomas when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was incarcerated for failure to appear on a traffic case; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; Thomas' juvenile record; &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; Thomas' psychiatric background; and &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; an accusation by Rodriguez that Thomas stole jewelry from &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77203" data-sentence-id="77936" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77386"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 471-73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77203" data-sentence-id="77956" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; granted the &lt;span class="ldml-entity"&gt;motion in limine as to evidence&lt;/span&gt; concerning Thomas' juvenile record and psychiatric background, subject to reconsideration if Rodriguez demonstrated either the relevance of such evidence at trial or bias on the part of the district attorney's office relating to Thomas.&lt;/span&gt; &lt;span data-paragraph-id="77203" data-sentence-id="78253" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77956"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 128-29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77203" data-sentence-id="78273" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; denied each of the remaining &lt;span class="ldml-entity"&gt;requests for suppression&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77203" data-sentence-id="78344" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78273"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="78348" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="78348" data-sentence-id="78356" class="ldml-sentence"&gt;Here, Rodriguez contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s granting of the &lt;span class="ldml-entity"&gt;motion in limine&lt;/span&gt; prevented effective cross-examination and impeachment of Thomas and thereby prevented the jury from being apprised of her true motives and biases.&lt;/span&gt; &lt;span data-paragraph-id="78348" data-sentence-id="78587" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; fails to show how the suppression of Thomas' juvenile record and psychiatric background substantially affected his fundamental right to cross-examine and confront Thomas.&lt;/span&gt; &lt;span data-paragraph-id="78348" data-sentence-id="78770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; properly exercised its discretion in partially granting &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion in limine&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="78348" data-sentence-id="78905" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888081841" data-vids="888081841" class="ldml-reference" data-prop-ids="embeddedsentence_78960,sentence_78770"&gt;&lt;span class="ldml-refname"&gt;People v. Snyder&lt;/span&gt;, &lt;span class="ldml-cite"&gt;874 P.2d 1076, 1080&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt;'s determination on admissibility of evidence will not be overturned absent an abuse of discretion&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B" data-id="heading_79085" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_79085" data-content-heading-label="B
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="79085" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="79085" data-sentence-id="79085" class="ldml-sentence"&gt;B&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="79087" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79095" class="ldml-sentence"&gt;In Issue 95, Rodriguez claims that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; committed prejudicial error by refusing to allow the jail psychiatrist, &lt;span class="ldml-entity"&gt;Dr. Kathy Morall&lt;/span&gt;, to testify.&lt;/span&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79248" class="ldml-sentence"&gt;Defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Eisner asked &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; whether it would allow him to call Dr. Morall to testify as to the prescription drugs taken by Rodriguez at the time of trial, the effect of the drugs on Rodriguez' demeanor, and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; prescribed the drugs because Rodriguez was anxious.&lt;/span&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79527" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79248"&gt;&lt;span class="ldml-refname"&gt;R., v. 34&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 145-148&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr40" class="ldml-noteanchor" id="note-ref-fr40"&gt;40&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79248"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79554" class="ldml-sentence"&gt;The record contradicts Rodriguez' claim that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; refused to allow Dr. Morall to testify.&lt;/span&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79655" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; stated: &lt;span class="ldml-quotation quote"&gt;"I am not saying &lt;span class="ldml-entity"&gt;she&lt;/span&gt; can't testify, but I am just saying that &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;]&lt;/span&gt; then &lt;span class="ldml-parenthetical"&gt;[has]&lt;/span&gt; a right to cross-examine her."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79655"&gt;&lt;span class="ldml-cite"&gt;Id. at 147&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="79087" data-sentence-id="79822" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find no prejudicial error and reject Issue 95.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="79872" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="79872" data-sentence-id="79872" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C" data-id="heading_79881" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_79881" data-content-heading-label="C
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="79881" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="79881" data-sentence-id="79881" class="ldml-sentence"&gt;C&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="79883" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="79883" data-sentence-id="79891" class="ldml-sentence"&gt;In Issue 30, Rodriguez contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; unjustifiably refused to grant a continuance to allow Rodriguez to call &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; as a witness.&lt;/span&gt; &lt;span data-paragraph-id="79883" data-sentence-id="80045" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that Rodriguez' argument is meritless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="80096" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80104" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;December 9, 1986&lt;/span&gt;, Rodriguez called Martinez as a defense witness.&lt;/span&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80173" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80104"&gt;&lt;span class="ldml-refname"&gt;R., v. 29&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 109-112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80195" class="ldml-sentence"&gt;Martinez invoked his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80195"&gt;&lt;span class="ldml-cite"&gt;Fifth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; privilege against self-incrimination.&lt;/span&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80270" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80195"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80274" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; released Martinez after being advised by Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not want to further call him as a witness.&lt;/span&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80407" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80274"&gt;&lt;span class="ldml-refname"&gt;R., v. 30&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 108&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80429" class="ldml-sentence"&gt;Contrary to Rodriguez' misrepresentations on this appeal, the record shows that, subsequent to the time &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; released Martinez, Rodriguez did not move &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; for a continuance in order to allow Martinez to further testify.&lt;/span&gt; &lt;span data-paragraph-id="80096" data-sentence-id="80660" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issue 30.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="80693" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="80693" data-sentence-id="80701" class="ldml-sentence"&gt;In Issue 31, Rodriguez asserts that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erroneously denied his &lt;span class="ldml-entity"&gt;motion for a continuance&lt;/span&gt; to secure the attendance of &lt;span class="ldml-entity"&gt;Sam Cruz&lt;/span&gt;, who allegedly would have testified that the knife admitted into evidence as the weapon used to kill &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; was the same knife &lt;span class="ldml-entity"&gt;he&lt;/span&gt; gave &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; as a birthday present.&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81023" class="ldml-sentence"&gt;Rodriguez claims that Cruz would have impeached Thomas' testimony that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had never seen the knife before Rodriguez used it to kill &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81175" class="ldml-sentence"&gt;Rodriguez subpoenaed Cruz as a witness, and Cruz failed to appear.&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81242" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_81175"&gt;&lt;span class="ldml-refname"&gt;R., v. 30&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81263" class="ldml-sentence"&gt;Rodriguez moved for a continuance to secure Cruz' attendance and also requested that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; allow defense investigators to testify as to statements made by Cruz in the event &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denied the &lt;span class="ldml-entity"&gt;motion for continuance&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_81263"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81495" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; objected to the &lt;span class="ldml-entity"&gt;motion for continuance&lt;/span&gt; on the ground that Cruz' testimony would be cumulative of the testimony presented by &lt;span class="ldml-entity"&gt;Mary Compos&lt;/span&gt; at trial.&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81657" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_81495"&gt;&lt;span class="ldml-cite"&gt;Id. at 100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80693" data-sentence-id="81669" class="ldml-sentence"&gt;On direct examination by &lt;span class="ldml-entity"&gt;Robin Desmond&lt;/span&gt;, Compos testified as follows:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="81738" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="81738" data-sentence-id="81746" class="ldml-sentence"&gt;DESMOND: &lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;n September of &lt;span class="ldml-entity"&gt;1984&lt;/span&gt;, did you attend a birthday &lt;span class="ldml-entity"&gt;party&lt;/span&gt; for &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="81833" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="81833" data-sentence-id="81841" class="ldml-sentence"&gt;COMPOS: Yes.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="81855" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="81855" data-sentence-id="81863" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="81874" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="81874" data-sentence-id="81882" class="ldml-sentence"&gt;DESMOND: In September of &lt;span class="ldml-entity"&gt;1984&lt;/span&gt;, did &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; receive a knife for her birthday?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="81968" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="81968" data-sentence-id="81976" class="ldml-sentence"&gt;COMPOS: Yes.&lt;/span&gt; &lt;span data-paragraph-id="81968" data-sentence-id="81990" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; did.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="81999" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="81999" data-sentence-id="82007" class="ldml-sentence"&gt;DESMOND: Did &lt;span class="ldml-entity"&gt;she&lt;/span&gt; show it to you?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82041" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82041" data-sentence-id="82049" class="ldml-sentence"&gt;COMPOS: Yes.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="82063" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82063" data-sentence-id="82071" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="82082" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82082" data-sentence-id="82090" class="ldml-sentence"&gt;DESMOND: Mary, I am going to hand you what has been marked as &lt;span class="ldml-entity"&gt;People&lt;/span&gt;'s Exhibit C-1.&lt;/span&gt; &lt;a href="#note-fr41" class="ldml-noteanchor" id="note-ref-fr41"&gt;41&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="82082" data-sentence-id="82176" class="ldml-sentence"&gt;Have you ever seen that knife before?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82214" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82214" data-sentence-id="82222" class="ldml-sentence"&gt;COMPOS: Yes.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82236" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82236" data-sentence-id="82244" class="ldml-sentence"&gt;DESMOND: Where?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82261" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82261" data-sentence-id="82269" class="ldml-sentence"&gt;COMPOS: At &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;']&lt;/span&gt; &lt;span class="ldml-entity"&gt;party&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82307" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82307" data-sentence-id="82315" class="ldml-sentence"&gt;DESMOND: Who showed it to you?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82347" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82347" data-sentence-id="82355" class="ldml-sentence"&gt;COMPOS: &lt;span class="ldml-entity"&gt;She&lt;/span&gt; did.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82373" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82373" data-sentence-id="82381" class="ldml-sentence"&gt;DESMOND: How do you know that's the same knife?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82430" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82430" data-sentence-id="82438" class="ldml-sentence"&gt;COMPOS: By the name of it and what it looks like.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82489" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82489" data-sentence-id="82497" class="ldml-sentence"&gt;DESMOND: What do you mean by the name of it?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82543" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82543" data-sentence-id="82551" class="ldml-sentence"&gt;COMPOS: It says &lt;span class="ldml-quotation quote"&gt;"Tiger"&lt;/span&gt; on it.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="82583" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82583" data-sentence-id="82591" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnote added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82619" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82619" data-sentence-id="82627" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; also objected to defense investigators testifying as to Cruz' statements because such testimony would constitute hearsay.&lt;/span&gt; &lt;span data-paragraph-id="82619" data-sentence-id="82765" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82627"&gt;&lt;span class="ldml-cite"&gt;Id. at 99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="82619" data-sentence-id="82776" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; denied Rodriguez' &lt;span class="ldml-entity"&gt;motion for a continuance&lt;/span&gt; and his alternative request to have the investigators testify as to Cruz' statements.&lt;/span&gt; &lt;span data-paragraph-id="82619" data-sentence-id="82921" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82776"&gt;&lt;span class="ldml-cite"&gt;Id. at 101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82933" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="82933" data-sentence-id="82941" class="ldml-sentence"&gt;The granting or denying of a &lt;span class="ldml-entity"&gt;motion for continuance&lt;/span&gt; lies within the sound discretion of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; and will not be overturned on appeal unless the record reflects a clear abuse of that discretion.&lt;/span&gt; &lt;span data-paragraph-id="82933" data-sentence-id="83143" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895781350" data-vids="895781350" class="ldml-reference" data-prop-ids="sentence_82941"&gt;&lt;span class="ldml-refname"&gt;People v. Wells&lt;/span&gt;, &lt;span class="ldml-cite"&gt;776 P.2d 386, 389&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886166942" data-vids="886166942" class="ldml-reference" data-prop-ids="sentence_82941"&gt;&lt;span class="ldml-refname"&gt;Miller v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;178 Colo. 397, 399-400&lt;/span&gt;, &lt;span class="ldml-cite"&gt;497 P.2d 992, 993&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="82933" data-sentence-id="83259" class="ldml-sentence"&gt;Here, Cruz' testimony would merely have been cumulative to Compos' testimony at trial.&lt;/span&gt; &lt;span data-paragraph-id="82933" data-sentence-id="83346" class="ldml-sentence"&gt;Rodriguez fails to show that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of his &lt;span class="ldml-entity"&gt;motion for continuance&lt;/span&gt; prevented him from effectively impeaching Thomas, and, accordingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="83498" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="83498" data-sentence-id="83498" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 269&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="83506" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="83506" data-sentence-id="83507" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly exercised its discretion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="83578" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="83578" data-sentence-id="83586" class="ldml-sentence"&gt;Rodriguez also contests &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of his &lt;span class="ldml-entity"&gt;request to introduce&lt;/span&gt; Cruz' statements through the testimony of defense investigators.&lt;/span&gt; &lt;span data-paragraph-id="83578" data-sentence-id="83728" class="ldml-sentence"&gt;The admission of evidence falls within &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s discretion and will not be disturbed on appeal absent an abuse of discretion.&lt;/span&gt; &lt;span data-paragraph-id="83578" data-sentence-id="83863" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893625985" data-vids="893625985" class="ldml-reference" data-prop-ids="sentence_83728"&gt;&lt;span class="ldml-refname"&gt;People v. Ibarra&lt;/span&gt;, &lt;span class="ldml-cite"&gt;849 P.2d 33, 38&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="83578" data-sentence-id="83910" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"To show an abuse of discretion, &lt;span class="ldml-entity"&gt;an appellant&lt;/span&gt; must establish that, under the circumstances, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s decision&lt;/span&gt; to reject the evidence was manifestly arbitrary, unreasonable, or unfair."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="83578" data-sentence-id="84104" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893625985" data-vids="893625985" class="ldml-reference" data-prop-ids="sentence_83910"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="83578" data-sentence-id="84108" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; reasonably concluded that the introduction of Cruz' statements through defense investigators would violate the prohibition against hearsay, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.E. 802&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and, accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find no error.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="D" data-id="heading_84322" data-ordinal_start="4" data-ordinal_end="4" data-specifier="D" id="heading_84322" data-content-heading-label="D
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="84322" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="84322" data-sentence-id="84322" class="ldml-sentence"&gt;D&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="84324" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="84324" data-sentence-id="84332" class="ldml-sentence"&gt;In Issue 96, Rodriguez contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erroneously refused his request to call District Attorney &lt;span class="ldml-entity"&gt;Mike Little&lt;/span&gt; as a witness.&lt;/span&gt; &lt;span data-paragraph-id="84324" data-sentence-id="84469" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject this claim.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="84491" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="84491" data-sentence-id="84499" class="ldml-sentence"&gt;At trial, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; introduced letters from Rodriguez to his girlfriend, &lt;span class="ldml-entity"&gt;Margie Marquez&lt;/span&gt;, another prisoner at the jail, in which Rodriguez admitted that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="84686" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_84499"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965, 970&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_84499"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="84822" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;, Marquez had two separate felony theft &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; pending and was represented by Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt; &lt;span class="ldml-entity"&gt;David Joyce&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="84942" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_84822"&gt;&lt;span class="ldml-refname"&gt;Rodriguez v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;719 P.2d 699, 701&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez I&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85017" class="ldml-sentence"&gt;Without Joyce's knowledge, Marquez met with Deputy District Attorneys &lt;span class="ldml-entity"&gt;Mike Little&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Mike Kane&lt;/span&gt; and informed them that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had letters which incriminated Rodriguez in the murder and kidnapping of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85232" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_85017"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85236" class="ldml-sentence"&gt;At a hearing in connection with Marquez' felony theft &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, Little informed Joyce that a possible conflict of interest had developed between Marquez and &lt;span class="ldml-entity"&gt;the public defender&lt;/span&gt;'s office because Marquez had initiated contact with the district attorney's office.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85494" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_85236"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85498" class="ldml-sentence"&gt;However, Little did not inform Joyce why Marquez had initiated the contact.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85574" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_85498"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85578" class="ldml-sentence"&gt;Joyce requested and was allowed to withdraw as &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for Marquez in the theft &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85665" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_85578"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85669" class="ldml-sentence"&gt;Marquez later delivered the incriminating letters to the district attorney's office.&lt;/span&gt; &lt;span data-paragraph-id="84491" data-sentence-id="85754" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_85669"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="85758" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="85758" data-sentence-id="85766" class="ldml-sentence"&gt;At the guilt phase of Rodriguez' trial, Marquez testified that Rodriguez wrote her the letters and that, in doing so, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intended to give Marquez the opportunity to present the letters to Little in exchange for the reduction or dismissal of the theft charges pending against her.&lt;/span&gt; &lt;span data-paragraph-id="85758" data-sentence-id="86046" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_85766"&gt;&lt;span class="ldml-refname"&gt;R., v. 30&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 69-73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="85758" data-sentence-id="86066" class="ldml-sentence"&gt;The record reflects the following exchange on cross-examination of Marquez by Silverman:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="86155" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86155" data-sentence-id="86155" class="ldml-sentence"&gt;SILVERMAN: You know this lady over here, &lt;span class="ldml-entity"&gt;Ms. Robin Desmond&lt;/span&gt;?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86216" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86216" data-sentence-id="86216" class="ldml-sentence"&gt;MARQUEZ: Yes.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86231" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86231" data-sentence-id="86231" class="ldml-sentence"&gt;EISNER: Can &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;we&lt;/span&gt; approach&lt;/span&gt; the bench?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86267" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86267" data-sentence-id="86267" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: Yes.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="86284" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86284" data-sentence-id="86284" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(Whereupon, the following was had at the bench between &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; and &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="86363" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86363" data-sentence-id="86363" class="ldml-sentence"&gt;EISNER: I anticipate &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is trying to go into the fact &lt;span class="ldml-entity"&gt;David Joyce&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Robin Desmond&lt;/span&gt; are public defenders and work in the same law firm.&lt;/span&gt; &lt;span data-paragraph-id="86363" data-sentence-id="86500" class="ldml-sentence"&gt;I don't think, Your Honor, that is relevant.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86545" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86545" data-sentence-id="86545" class="ldml-sentence"&gt;SILVERMAN: I will not bring up the fact &lt;span class="ldml-entity"&gt;they&lt;/span&gt;'re public defenders, but I will bring out the fact &lt;span class="ldml-entity"&gt;they&lt;/span&gt; work together at the same law firm.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86683" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86683" data-sentence-id="86683" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: Do you have any objection?&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86722" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="86722" data-sentence-id="86722" class="ldml-sentence"&gt;EISNER: No.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="86735" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="86735" data-sentence-id="86743" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986"&gt;&lt;span class="ldml-cite"&gt;Id. at 128-29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86758" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="86758" data-sentence-id="86766" class="ldml-sentence"&gt;During further cross-examination of Marquez, Silverman did not bring out the fact that Joyce and Desmond were both public defenders.&lt;/span&gt; &lt;span data-paragraph-id="86758" data-sentence-id="86899" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_86766"&gt;&lt;span class="ldml-cite"&gt;Id. at 129&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="86758" data-sentence-id="86911" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; excused Marquez as a witness, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Desmond told &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; wanted to call Little as a witness to rebut &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s insinuation that Joyce and Desmond impermissibly colluded to form a theory which explained why Rodriguez wrote the incriminating letters to Marquez.&lt;/span&gt; &lt;span data-paragraph-id="86758" data-sentence-id="87222" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_86911"&gt;&lt;span class="ldml-cite"&gt;Id. at 164-65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="86758" data-sentence-id="87237" class="ldml-sentence"&gt;Desmond sought to elicit testimony from Little that Marquez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did not know that Marquez arranged to turn the letters over to the district attorney's office.&lt;/span&gt; &lt;span data-paragraph-id="86758" data-sentence-id="87401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_87237"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="86758" data-sentence-id="87405" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; told Desmond that it would&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="87448" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="87448" data-sentence-id="87448" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 270&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="87456" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="87456" data-sentence-id="87457" class="ldml-sentence"&gt;deny any attempt to call Little as a witness.&lt;/span&gt; &lt;span data-paragraph-id="87456" data-sentence-id="87503" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_87457"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="87507" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="87507" data-sentence-id="87515" class="ldml-sentence"&gt;In our view, the record does not support Rodriguez' contention that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; created a false impression of collusion between Desmond and Joyce.&lt;/span&gt; &lt;span data-paragraph-id="87507" data-sentence-id="87666" class="ldml-sentence"&gt;Silverman merely elicited testimony from Marquez that Desmond and Joyce worked in the same law firm, and Eisner explicitly stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had no objection to such a question.&lt;/span&gt; &lt;span data-paragraph-id="87507" data-sentence-id="87841" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_87666"&gt;&lt;span class="ldml-cite"&gt;Id. at 129&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="87507" data-sentence-id="87853" class="ldml-sentence"&gt;Furthermore, Silverman specifically asked Marquez whether Joyce had knowledge of the plan between Marquez and Rodriguez to turn Rodriguez' incriminating letters over to Little to secure a reduction or dismissal of Marquez' theft &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;; Marquez answered that her attorney did not know of such a plan.&lt;/span&gt; &lt;span data-paragraph-id="87507" data-sentence-id="88154" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_87853"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="87507" data-sentence-id="88158" class="ldml-sentence"&gt;Finally, Rodriguez had the opportunity on redirect examination to elicit testimony from Marquez rebutting any inference of collusion which had been created by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, but failed to do so.&lt;/span&gt; &lt;span data-paragraph-id="87507" data-sentence-id="88355" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to allow Rodriguez to call Little as a witness did not affect Rodriguez' substantial rights.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="VIII. Exculpatory Evidence" data-id="heading_88491" data-ordinal_start="8" data-ordinal_end="8" data-specifier="VIII" id="heading_88491" data-content-heading-label="VIII
Exculpatory Evidence
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="88491" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="88491" data-sentence-id="88491" class="ldml-sentence"&gt;VIII&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="88496" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="88496" data-sentence-id="88496" class="ldml-sentence"&gt;Exculpatory Evidence&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="88517" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="88517" data-sentence-id="88525" class="ldml-sentence"&gt;In Issues 27 and 28, Rodriguez collectively asserts that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s destruction of exculpatory evidence violated due process of law and requires that his death sentence and convictions be vacated.&lt;/span&gt; &lt;span data-paragraph-id="88517" data-sentence-id="88723" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="88736" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="88736" data-sentence-id="88744" class="ldml-sentence"&gt;The Due Process Clause of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88744"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; mandates that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; disclose to criminal &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; favorable evidence which is material to either guilt or punishment.&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="88919" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:californiavtrombetta,467us479,492,104sct2528,2535,81led2d4131984oconnor,j,concurring" data-prop-ids="sentence_88744"&gt;&lt;span class="ldml-refname"&gt;California v. Trombetta&lt;/span&gt;, &lt;span class="ldml-cite"&gt;467 U.S. 479, 485&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2528, 2532&lt;/span&gt;, &lt;span class="ldml-cite"&gt;81 L.Ed.2d 413&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888586268" data-vids="888586268" class="ldml-reference" data-prop-ids="sentence_88744"&gt;&lt;span class="ldml-refname"&gt;Brady v. Maryland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;373 U.S. 83, 87&lt;/span&gt;, &lt;span class="ldml-cite"&gt;83 S.Ct. 1194, 1196-97&lt;/span&gt;, &lt;span class="ldml-cite"&gt;10 L.Ed.2d 215&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1963&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886197516" data-vids="886197516" class="ldml-reference" data-prop-ids="sentence_88744"&gt;&lt;span class="ldml-refname"&gt;People v. Sheppard&lt;/span&gt;, &lt;span class="ldml-cite"&gt;701 P.2d 49, 51&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="89144" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888937700" data-vids="888937700" class="ldml-reference" data-prop-ids="sentence_89144"&gt;&lt;span class="ldml-refname"&gt;People v. Greathouse&lt;/span&gt;, &lt;span class="ldml-cite"&gt;742 P.2d 334, 338-39&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; adopted the standard set forth in Trombetta for determining the value of exculpatory evidence in a due process claim.&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="89326" class="ldml-sentence"&gt;In Greathouse, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must first show that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; suppressed or destroyed constitutionally material evidence.&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="89458" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888937700" data-vids="888937700" class="ldml-reference" data-prop-ids="sentence_89326"&gt;&lt;span class="ldml-cite"&gt;742 P.2d at 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="89475" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"When evidence can be collected and preserved in the performance of routine procedures by state agents, the failure to do so is tantamount to suppression of the evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="89647" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888937700" data-vids="888937700" class="ldml-reference" data-prop-ids="sentence_89475"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="89651" class="ldml-sentence"&gt;To meet Trombetta's standard of constitutional materiality, the evidence must: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; possess an exculpatory value that was apparent before the evidence was destroyed; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; be of such a nature that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; would be unable to obtain comparable evidence by other reasonably available means.&lt;/span&gt; &lt;span data-paragraph-id="88736" data-sentence-id="89949" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:californiavtrombetta,467us479,492,104sct2528,2535,81led2d4131984oconnor,j,concurring" data-prop-ids="sentence_89651"&gt;&lt;span class="ldml-refname"&gt;Trombetta&lt;/span&gt;, &lt;span class="ldml-cite"&gt;467 U.S. at 489&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2534&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888937700" data-vids="888937700" class="ldml-reference" data-prop-ids="sentence_89651"&gt;&lt;span class="ldml-refname"&gt;Greathouse&lt;/span&gt;, &lt;span class="ldml-cite"&gt;742 P.2d at 338-39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="90028" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="90028" data-sentence-id="90036" class="ldml-sentence"&gt;In Issue 27, Rodriguez alleges that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; destroyed exculpatory photographs taken by the police which showed bruises and cuts on &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;' body and that these photographs would have proven that Martinez sexually assaulted and killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr42" class="ldml-noteanchor" id="note-ref-fr42"&gt;42&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="90305" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="90305" data-sentence-id="90313" class="ldml-sentence"&gt;In our view, the record is inconclusive as to whether the police ever took photographs showing cuts and bruises on Martinez' body.&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="90444" class="ldml-sentence"&gt;Detective &lt;span class="ldml-entity"&gt;George Kennedy&lt;/span&gt;, who took part in the arrest of Martinez and transported him to police headquarters, testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not photograph or physically examine Martinez while Martinez was unclothed.&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="90652" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90444"&gt;&lt;span class="ldml-refname"&gt;R., v. 27&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="90669" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Sergeant Robert Nichols&lt;/span&gt; testified that police disrobed Martinez at police headquarters and took some photographs, but did not conclusively state whether those photographs showed bruises and cuts on Martinez' body.&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="90883" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90669"&gt;&lt;span class="ldml-cite"&gt;Id. at 159-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="90898" class="ldml-sentence"&gt;After Nichols' testimony, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Eisner told &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that Rodriguez had not received the photographs Nichols described.&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="91038" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90898"&gt;&lt;span class="ldml-cite"&gt;Id. at 160&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="91050" class="ldml-sentence"&gt;In response, &lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt; Silverman stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed Nichols was confused and that &lt;span class="ldml-quotation quote"&gt;"as far as I know &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; was never stripped down."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="90305" data-sentence-id="91197" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91050"&gt;&lt;span class="ldml-cite"&gt;Id. at 161&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="91209" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="91209" data-sentence-id="91217" class="ldml-sentence"&gt;Assuming that such photographs were taken and had exculpatory value that was apparent before their alleged destruction by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;, Rodriguez fails to satisfy the&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="91381" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="91381" data-sentence-id="91381" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 271&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="91389" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="91389" data-sentence-id="91390" class="ldml-sentence"&gt;second prong of Trombetta--that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not obtain comparable evidence by other reasonably available means.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="91500" class="ldml-sentence"&gt;Detective &lt;span class="ldml-entity"&gt;Raymond Estrada&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; took Martinez to police headquarters and had Martinez remove his clothes.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="91618" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91500"&gt;&lt;span class="ldml-refname"&gt;R., v. 28&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 150&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="91636" class="ldml-sentence"&gt;Estrada stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; examined Martinez' naked body and saw no fresh injuries, except for the cuts on Martinez' hands.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="91756" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91636"&gt;&lt;span class="ldml-cite"&gt;Id. at 151&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="91768" class="ldml-sentence"&gt;Estrada further testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; took a video of an interview with Martinez at police headquarters.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="91869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91768"&gt;&lt;span class="ldml-cite"&gt;Id. at 155-57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="91884" class="ldml-sentence"&gt;In that video, Martinez took off his shirt and close-up shots were taken of a bruise on his elbow and discoloration of his bicep.&lt;/span&gt; &lt;span data-paragraph-id="91389" data-sentence-id="92014" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91884"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="92018" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="92018" data-sentence-id="92026" class="ldml-sentence"&gt;At trial, Eisner cross-examined Estrada regarding the videotape.&lt;/span&gt; &lt;span data-paragraph-id="92018" data-sentence-id="92091" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92026"&gt;&lt;span class="ldml-refname"&gt;R., v. 28&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 155-56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="92018" data-sentence-id="92112" class="ldml-sentence"&gt;Rodriguez offered no evidence to establish that the videotape failed to accurately show the bruises and cuts contained in the photographs at issue.&lt;/span&gt; &lt;span data-paragraph-id="92018" data-sentence-id="92260" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the videotape contained comparable evidence of cuts and bruises on Martinez' body and that the destruction of exculpatory photos, if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; existed, did not violate Rodriguez' due process rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="92484" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92492" class="ldml-sentence"&gt;In Issue 28, Rodriguez contends that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; destroyed an exculpatory photograph showing bruises and cuts on &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;' chest.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92627" class="ldml-sentence"&gt;On direct examination by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, Officer &lt;span class="ldml-entity"&gt;Jody Roblez&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; physically examined Thomas and observed welt marks and a bruise in the middle of Thomas' chest.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92804" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92627"&gt;&lt;span class="ldml-refname"&gt;R., v. 27&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92822" class="ldml-sentence"&gt;Roblez stated that the police took a photograph of these injuries.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92889" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92822"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92893" class="ldml-sentence"&gt;Roblez further testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; noted these injuries in her written report.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92893"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="92975" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; stipulated that the photo lab personnel inadvertently failed to properly develop the photograph.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="93088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92975"&gt;&lt;span class="ldml-cite"&gt;Id. at 125&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="93100" class="ldml-sentence"&gt;Defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Eisner stated to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wanted to make a record on the destruction of the photograph as exculpatory evidence and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intended to bring in the photo lab personnel to testify.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="93305" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_93100"&gt;&lt;span class="ldml-cite"&gt;Id. at 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="92484" data-sentence-id="93316" class="ldml-sentence"&gt;However, Eisner did not call the photo lab personnel to present evidence relating to the photographs.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="93418" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="93418" data-sentence-id="93426" class="ldml-sentence"&gt;Rodriguez did not make a &lt;span class="ldml-entity"&gt;motion for relief&lt;/span&gt; after learning that the photograph of Thomas' injuries had been destroyed, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; entered no order regarding the destruction of such evidence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="93619" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="93619" data-sentence-id="93627" class="ldml-sentence"&gt;Here, Rodriguez claims that the destruction of the photograph violated due process because the photograph would have impeached Thomas' testimony in which &lt;span class="ldml-entity"&gt;she&lt;/span&gt; denied any involvement in the abduction, rape, and murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="93619" data-sentence-id="93865" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that the destruction of the photograph at issue does not amount to a violation of due process because comparable evidence was available.&lt;/span&gt; &lt;span data-paragraph-id="93619" data-sentence-id="94010" class="ldml-sentence"&gt;Roblez testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; observed a bruise and welts on Thomas' chest, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_94010"&gt;&lt;span class="ldml-cite"&gt;id. at 124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and Eisner cross-examined Roblez regarding the nature of these injuries.&lt;/span&gt; &lt;span data-paragraph-id="93619" data-sentence-id="94167" class="ldml-sentence"&gt;Rodriguez also had the opportunity to impeach Thomas by introducing Officer Roblez' notes describing Thomas' injuries, but failed to do so.&lt;/span&gt; &lt;span data-paragraph-id="93619" data-sentence-id="94307" class="ldml-sentence"&gt;Given the existence and availability of Officer Roblez' testimony and notes, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Rodriguez' contention that the destruction of the photograph denied him due process.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="IX. Jury Instructions" data-id="heading_94479" data-ordinal_start="9" data-ordinal_end="9" data-specifier="IX" id="heading_94479" data-content-heading-label="IX
Jury Instructions
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="94479" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="94479" data-sentence-id="94479" class="ldml-sentence"&gt;IX&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="94482" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="94482" data-sentence-id="94482" class="ldml-sentence"&gt;Jury Instructions&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="94500" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="94500" data-sentence-id="94508" class="ldml-sentence"&gt;Rodriguez claims unconstitutional deficiencies in the guilt phase jury instructions on first-degree sexual assault, second-degree kidnapping, aggravated robbery, aggravated motor vehicle theft, conspiracy to commit first-degree murder after deliberation, and complicity.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="94779" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="94779" data-sentence-id="94787" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; can be convicted only upon proof beyond a reasonable doubt of every element of the crime charged.&lt;/span&gt; &lt;span data-paragraph-id="94779" data-sentence-id="94897" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889539300" data-vids="889539300" class="ldml-reference" data-prop-ids="sentence_94787"&gt;&lt;span class="ldml-refname"&gt;Chambers v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;682 P.2d 1173, 1175&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="94779" data-sentence-id="94950" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; must instruct a jury on each essential element of every crime charged &lt;span class="ldml-quotation quote"&gt;"to enable them to assess whether every element of an offense has been proved beyond a reasonable doubt."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="94779" data-sentence-id="95140" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889539300" data-vids="889539300" class="ldml-reference" data-prop-ids="sentence_94950"&gt;&lt;span class="ldml-cite"&gt;Id. at 1175-76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="94779" data-sentence-id="95156" class="ldml-sentence"&gt;A failure to do so is plain error.&lt;/span&gt; &lt;span data-paragraph-id="94779" data-sentence-id="95191" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889539300" data-vids="889539300" class="ldml-reference" data-prop-ids="sentence_95156"&gt;&lt;span class="ldml-cite"&gt;Id. at 1176&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A" data-id="heading_95204" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_95204" data-content-heading-label="A
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="95204" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="95204" data-sentence-id="95204" class="ldml-sentence"&gt;A&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="95206" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95206" data-sentence-id="95214" class="ldml-sentence"&gt;Issues 109, 110, 111, and 132 allege deficiencies in the following portion of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the guilt phase jury instruction on sexual assault in the first degree:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="95384" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="95384" data-sentence-id="95384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 272&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" id="heading_95393" data-id="heading_95393" data-value="INSTRUCTION NO. 16" data-specifier="" data-content-heading-label="INSTRUCTION NO. 16
" data-format="upper_case_lacks_specifier" data-parsed="true"&gt;&lt;span data-paragraph-id="95393" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="95393" data-sentence-id="95393" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="95412" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="95412" data-sentence-id="95412" class="ldml-sentence"&gt;The elements of Sexual Assault in the First Degree are:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="95468" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95468" data-sentence-id="95476" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; That &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="95500" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95500" data-sentence-id="95508" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;City and County of Denver&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt; on or about &lt;span class="ldml-entity"&gt;November 14, 1984&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="95595" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95595" data-sentence-id="95603" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; knowingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="95618" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95618" data-sentence-id="95626" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; inflicted sexual penetration on &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="95685" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95685" data-sentence-id="95693" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; caused submission of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="95737" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95737" data-sentence-id="95745" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; through the actual application of physical force or physical violence, and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="95824" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="95824" data-sentence-id="95832" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt; was physically aided or abetted by one or more persons in the commission of &lt;span class="ldml-entity"&gt;the act&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt; was armed with a deadly weapon or that &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; suffered serious bodily injury.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="96040" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="96040" data-sentence-id="96048" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 577&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="96065" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="96065" data-sentence-id="96073" class="ldml-sentence"&gt;Rodriguez claims the following deficiencies: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_96073"&gt;&lt;span class="ldml-cite"&gt;Paragraph 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not modify the phrase &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;Defendant&lt;/span&gt; was armed with a deadly weapon"&lt;/span&gt; with &lt;span class="ldml-quotation quote"&gt;"and used the deadly weapon to cause submission of the victim;"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the instruction did not specify that the deadly weapon was &lt;span class="ldml-quotation quote"&gt;"a knife;"&lt;/span&gt; &lt;a href="#note-fr43" class="ldml-noteanchor" id="note-ref-fr43"&gt;43&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_96073"&gt;&lt;span class="ldml-cite"&gt;Paragraph 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not specify that its alternative elements must have occurred &lt;span class="ldml-quotation quote"&gt;"in the commission of the sexual assault;"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; the instruction did not specify that the mental state of &lt;span class="ldml-quotation quote"&gt;"knowingly"&lt;/span&gt; applied to each element of the offense; and &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; the instruction did not require jury unanimity on either the mode of sexual penetration or on the alternative elements in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_96073"&gt;&lt;span class="ldml-cite"&gt;Paragraph 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="96733" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="96733" data-sentence-id="96741" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adequately instructed the jury on the requisite mens rea because the term &lt;span class="ldml-quotation quote"&gt;"knowingly,"&lt;/span&gt; when offset from other elements, modifies all succeeding conduct elements.&lt;/span&gt; &lt;span data-paragraph-id="96733" data-sentence-id="96922" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895816266" data-vids="895816266" class="ldml-reference" data-prop-ids="sentence_96741"&gt;&lt;span class="ldml-refname"&gt;People v. Bossert&lt;/span&gt;, &lt;span class="ldml-cite"&gt;722 P.2d 998, 1011&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890733983" data-vids="890733983" class="ldml-reference" data-prop-ids="sentence_96741"&gt;&lt;span class="ldml-refname"&gt;People v. Freeman&lt;/span&gt;, &lt;span class="ldml-cite"&gt;668 P.2d 1371, 1377-78&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="97032" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="97032" data-sentence-id="97040" class="ldml-sentence"&gt;The requirement of a unanimous jury was not compromised by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Paragraph 4 of Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="97032" data-sentence-id="97134" class="ldml-sentence"&gt;Rodriguez' theory of defense focused not on whether the sexual assault occurred, but on whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; committed the assault.&lt;/span&gt; &lt;span data-paragraph-id="97032" data-sentence-id="97274" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_97134"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965, 970&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_97134"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="97032" data-sentence-id="97414" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;hen the evidence does not present a reasonable likelihood that jurors may disagree on which acts &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; committed, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; need not designate a particular instance,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748003" data-vids="892748003" class="ldml-reference" data-prop-ids="sentence_97414"&gt;&lt;span class="ldml-refname"&gt;Thomas v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d 144, 153&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, nor, in the case of sexual assault, a particular mode of sexual penetration.&lt;/span&gt; &lt;span data-paragraph-id="97032" data-sentence-id="97725" class="ldml-sentence"&gt;Likewise, the instruction need not specify the type of deadly weapon which Rodriguez used.&lt;/span&gt; &lt;a href="#note-fr44" class="ldml-noteanchor" id="note-ref-fr44"&gt;44&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="97817" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="97817" data-sentence-id="97825" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude, however, that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_97825"&gt;&lt;span class="ldml-cite"&gt;Paragraph 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is constitutionally deficient and cannot support a conviction for first-degree sexual assault as a class 2 felony.&lt;/span&gt; &lt;span data-paragraph-id="97817" data-sentence-id="97979" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_97979"&gt;&lt;span class="ldml-cite"&gt;Paragraph 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; attempts to summarize the three alternative factors which convert first-degree sexual assault from a class 3 felony into a class 2 felony.&lt;/span&gt; &lt;span data-paragraph-id="97817" data-sentence-id="98130" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_97979"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-402&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="97817" data-sentence-id="98166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_98166"&gt;&lt;span class="ldml-cite"&gt;Section 18-3-402&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides for enhancement of the felony class if:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="98235" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="98235" data-sentence-id="98235" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; In the commission of the sexual assault the actor is physically aided or abetted by one or more other persons; or&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="98354" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="98354" data-sentence-id="98354" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 273&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="98363" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="98363" data-sentence-id="98363" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; The victim suffers serious bodily injury; or&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="98413" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="98413" data-sentence-id="98413" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; The actor is armed with a deadly weapon and uses the deadly weapon to cause submission of the victim.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="98519" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="98519" data-sentence-id="98527" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-402&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="98519" data-sentence-id="98542" class="ldml-sentence"&gt;The presence of any one of these three alternatives is the only difference between first-degree sexual assault as a class 2 felony and first-degree sexual assault as a class 3 felony.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="98726" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="98726" data-sentence-id="98734" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_98734"&gt;&lt;span class="ldml-cite"&gt;Paragraph 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; instructed on all three alternative factors, but inadequately instructed as to alternative &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_98734"&gt;&lt;span class="ldml-cite"&gt;section 18-3-402&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="98726" data-sentence-id="98865" class="ldml-sentence"&gt;Under the instruction as given, the jury could have convicted Rodriguez of the higher class of felony based only upon his possession of the knife during the sexual assault, rather than upon his possession and use of the knife during the sexual assault.&lt;/span&gt; &lt;span data-paragraph-id="98726" data-sentence-id="99118" class="ldml-sentence"&gt;Record evidence supports either of the other two alternatives.&lt;/span&gt; &lt;span data-paragraph-id="98726" data-sentence-id="99181" class="ldml-sentence"&gt;However, because the jury returned only a general verdict, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; must have proved each alternative beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="98726" data-sentence-id="99317" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891586005" data-vids="891586005" class="ldml-reference" data-prop-ids="sentence_99181"&gt;&lt;span class="ldml-refname"&gt;James v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;727 P.2d 850, 853&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="98726" data-sentence-id="99369" class="ldml-sentence"&gt;The jury was not instructed on both elements of alternative &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; and could not have assessed whether &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; had proven each element of that alternative beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="98726" data-sentence-id="99556" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889539300" data-vids="889539300" class="ldml-reference" data-prop-ids="sentence_99369"&gt;&lt;span class="ldml-refname"&gt;Chambers&lt;/span&gt;, &lt;span class="ldml-cite"&gt;682 P.2d at 1175-76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="98726" data-sentence-id="99591" class="ldml-sentence"&gt;This deficiency constitutes plain error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="99632" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="99632" data-sentence-id="99640" class="ldml-sentence"&gt;However, other than this deficiency, the instruction tracked the language of both the sexual assault &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; and the model jury instruction.&lt;/span&gt; &lt;span data-paragraph-id="99632" data-sentence-id="99781" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_99781"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-402&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; CJI-Crim.&lt;/span&gt; &lt;span data-paragraph-id="99632" data-sentence-id="99814" class="ldml-sentence"&gt;12:04.&lt;/span&gt; &lt;span data-paragraph-id="99632" data-sentence-id="99821" class="ldml-sentence"&gt;The instruction adequately apprised the jury of the essential elements of first-degree sexual assault as a class 3 felony, and the jury unanimously found each of those elements.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="99999" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="99999" data-sentence-id="100007" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; remand Rodriguez' conviction for first-degree sexual assault as a class 2 felony to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; with directions to vacate that judgment and enter a judgment and sentence for the lesser included offense of first-degree sexual assault as a class 3 felony.&lt;/span&gt; &lt;span data-paragraph-id="99999" data-sentence-id="100271" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_100007"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-408&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888054899" data-vids="888054899" class="ldml-reference" data-prop-ids="embeddedsentence_100365,sentence_100007"&gt;&lt;span class="ldml-refname"&gt;People v. Henderson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;810 P.2d 1058, 1062-63&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing enhancement of second-degree kidnapping conviction&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="100429" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="100429" data-sentence-id="100437" class="ldml-sentence"&gt;In Issues 112 and 142, Rodriguez alleges insufficient evidence to support the enhancement of his conviction for first-degree sexual assault from a class 3 to a class 2 felony.&lt;/span&gt; &lt;span data-paragraph-id="100429" data-sentence-id="100613" class="ldml-sentence"&gt;In light of our holding here, these issues are rendered moot.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="B" data-id="heading_100675" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_100675" data-content-heading-label="B
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="100675" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="100675" data-sentence-id="100675" class="ldml-sentence"&gt;B&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="100677" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="100677" data-sentence-id="100685" class="ldml-sentence"&gt;In Issues 113 and 114, Rodriguez alleges constitutional deficiencies in the following guilt phase instruction:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="100796" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="100796" data-sentence-id="100797" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="100816" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="100816" data-sentence-id="100816" class="ldml-sentence"&gt;The elements of the crime of Kidnapping in the Second Degree are:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="100882" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="100882" data-sentence-id="100890" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; That &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="100914" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="100914" data-sentence-id="100922" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;City and County of Denver&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt; on or about &lt;span class="ldml-entity"&gt;November 14, 1984&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101009" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101009" data-sentence-id="101017" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; knowingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101032" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101032" data-sentence-id="101040" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; forcibly, or otherwise, seized and carried &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; from one place to another,&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="101132" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101132" data-sentence-id="101140" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; without her consent, and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101169" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101169" data-sentence-id="101177" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; without lawful justification, and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101215" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101215" data-sentence-id="101223" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt; &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; was the victim of a sexual assault.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101281" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101281" data-sentence-id="101289" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_101306"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 579&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;quoted in relevant part&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101332" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101332" data-sentence-id="101340" class="ldml-sentence"&gt;Rodriguez argues two deficiencies in this instruction: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the instruction did not specify that the mental state of &lt;span class="ldml-quotation quote"&gt;"knowingly"&lt;/span&gt; applied to each element of the offense; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_101340"&gt;&lt;span class="ldml-cite"&gt;Paragraph 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not articulate the essential elements of sexual assault.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101591" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101591" data-sentence-id="101599" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adequately instructed the jury on the requisite mens rea because the term &lt;span class="ldml-quotation quote"&gt;"knowingly,"&lt;/span&gt; when offset from other elements, modifies all succeeding conduct elements.&lt;/span&gt; &lt;span data-paragraph-id="101591" data-sentence-id="101780" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895816266" data-vids="895816266" class="ldml-reference" data-prop-ids="sentence_101599"&gt;&lt;span class="ldml-refname"&gt;Bossert&lt;/span&gt;, &lt;span class="ldml-cite"&gt;722 P.2d at 1011&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890733983" data-vids="890733983" class="ldml-reference" data-prop-ids="sentence_101599"&gt;&lt;span class="ldml-refname"&gt;Freeman&lt;/span&gt;, &lt;span class="ldml-cite"&gt;668 P.2d at 1377-78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101841" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="101841" data-sentence-id="101849" class="ldml-sentence"&gt;As stated in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_101849"&gt;&lt;span class="ldml-cite"&gt;part IX&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; above, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adequately advised the jury of the essential elements of first-degree sexual assault as a class 3 felony.&lt;/span&gt; &lt;span data-paragraph-id="101841" data-sentence-id="102005" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; need not repeat these elements in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="101841" data-sentence-id="102075" class="ldml-sentence"&gt;The failure to do so did not affect any of Rodriguez' substantial rights and, therefore, was harmless.&lt;/span&gt; &lt;span data-paragraph-id="101841" data-sentence-id="102178" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_102075"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102194" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="102194" data-sentence-id="102194" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 274&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="102202" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="102202" data-sentence-id="102203" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895315407" data-vids="895315407" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;People v. Mozee&lt;/span&gt;, &lt;span class="ldml-cite"&gt;723 P.2d 117, 129&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="C" data-id="heading_102251" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_102251" data-content-heading-label="C
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="102251" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="102251" data-sentence-id="102251" class="ldml-sentence"&gt;C&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="102253" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102253" data-sentence-id="102261" class="ldml-sentence"&gt;In Issues 115 and 116, Rodriguez alleges error in the guilt phase instruction for aggravated robbery, which read, in relevant part, as follows:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102405" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102405" data-sentence-id="102406" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102425" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="102425" data-sentence-id="102425" class="ldml-sentence"&gt;The elements of the crime of Aggravated Robbery are:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="102478" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102478" data-sentence-id="102486" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; That &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102510" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102510" data-sentence-id="102518" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;City and County of Denver&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt;, on or about &lt;span class="ldml-entity"&gt;November 14, 1984&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102606" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102606" data-sentence-id="102614" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; knowingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102629" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102629" data-sentence-id="102637" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; took anything of value,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102665" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102665" data-sentence-id="102673" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; from the person or presence of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102727" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102727" data-sentence-id="102735" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; by the use of force, threats, or intimidation, and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102790" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102790" data-sentence-id="102798" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt; during &lt;span class="ldml-entity"&gt;the act&lt;/span&gt; of robbery or the immediate flight therefrom,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102863" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102863" data-sentence-id="102871" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt; knowingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102886" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102886" data-sentence-id="102894" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt; put the person robbed, or any other person, in reasonable fear of death or bodily injury,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102988" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="102988" data-sentence-id="102996" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt; by the use of force threats or intimidation,&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="103046" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="103046" data-sentence-id="103054" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt; with a deadly weapon.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="103081" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="103081" data-sentence-id="103089" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 580&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="103106" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="103106" data-sentence-id="103114" class="ldml-sentence"&gt;Specifically, Rodriguez contends that: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_103114"&gt;&lt;span class="ldml-cite"&gt;Paragraph 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not specify that the deadly weapon was &lt;span class="ldml-quotation quote"&gt;"a knife;"&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the instruction did not specify that the mental state of &lt;span class="ldml-quotation quote"&gt;"knowingly"&lt;/span&gt; applied to each element of the offense.&lt;/span&gt; &lt;span data-paragraph-id="103106" data-sentence-id="103343" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find these arguments wholly without merit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="103389" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="103389" data-sentence-id="103397" class="ldml-sentence"&gt;The instruction need not specify the type of deadly weapon which Rodriguez used.&lt;/span&gt; &lt;span data-paragraph-id="103389" data-sentence-id="103478" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;hen the evidence does not present a reasonable likelihood that jurors may disagree on which acts &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; committed, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; need not designate a particular instance,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748003" data-vids="892748003" class="ldml-reference" data-prop-ids="sentence_103478"&gt;&lt;span class="ldml-refname"&gt;Thomas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d at 153&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, nor, in the case of aggravated robbery, a particular type of deadly weapon.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="103764" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="103764" data-sentence-id="103772" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adequately instructed the jury on the requisite mens rea because the term &lt;span class="ldml-quotation quote"&gt;"knowingly,"&lt;/span&gt; when offset from other elements, modifies all succeeding conduct elements.&lt;/span&gt; &lt;span data-paragraph-id="103764" data-sentence-id="103953" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895816266" data-vids="895816266" class="ldml-reference" data-prop-ids="sentence_103772"&gt;&lt;span class="ldml-refname"&gt;Bossert&lt;/span&gt;, &lt;span class="ldml-cite"&gt;722 P.2d at 1011&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890733983" data-vids="890733983" class="ldml-reference" data-prop-ids="sentence_103772"&gt;&lt;span class="ldml-refname"&gt;Freeman&lt;/span&gt;, &lt;span class="ldml-cite"&gt;668 P.2d at 1377-78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="D" data-id="heading_104014" data-ordinal_start="4" data-ordinal_end="4" data-specifier="D" id="heading_104014" data-content-heading-label="D
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="104014" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="104014" data-sentence-id="104014" class="ldml-sentence"&gt;D&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="104016" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104016" data-sentence-id="104024" class="ldml-sentence"&gt;In Issues 117 and 118, Rodriguez contends that the following portion of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; inadequately instructed the jury on the essential elements of first-degree aggravated motor vehicle theft:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104222" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104222" data-sentence-id="104223" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104242" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="104242" data-sentence-id="104242" class="ldml-sentence"&gt;The elements of the crime of First Degree Aggravated Motor Vehicle Theft are:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="104320" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104320" data-sentence-id="104328" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; That &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104352" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104352" data-sentence-id="104360" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;City and County of Denver&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt;, on or about &lt;span class="ldml-entity"&gt;November 14, 1984&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104448" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104448" data-sentence-id="104456" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; knowingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104471" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104471" data-sentence-id="104479" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; obtained or exercised control over a motor vehicle,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104535" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104535" data-sentence-id="104543" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; belonging to &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104579" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104579" data-sentence-id="104587" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; without authorization or by threat,&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="104627" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104627" data-sentence-id="104635" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did use the motor vehicle in the commission of Murder In The First Degree or Sexual Assault In The First Degree or Second Degree Kidnapping.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104798" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104798" data-sentence-id="104806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 578&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104823" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="104823" data-sentence-id="104831" class="ldml-sentence"&gt;Rodriguez claims two errors: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the instruction omitted the elements of the predicate offenses of first-degree murder, first-degree sexual assault, and second-degree kidnapping; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the instruction did not specify that the mental state of &lt;span class="ldml-quotation quote"&gt;"knowingly"&lt;/span&gt; applied to each element of the offense.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="105129" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="105129" data-sentence-id="105137" class="ldml-sentence"&gt;As stated above, the term &lt;span class="ldml-quotation quote"&gt;"knowingly,"&lt;/span&gt; when offset from other instructional elements, modifies all succeeding conduct elements.&lt;/span&gt; &lt;span data-paragraph-id="105129" data-sentence-id="105265" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895816266" data-vids="895816266" class="ldml-reference" data-prop-ids="sentence_105137"&gt;&lt;span class="ldml-refname"&gt;Bossert&lt;/span&gt;, &lt;span class="ldml-cite"&gt;722 P.2d at 1011&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890733983" data-vids="890733983" class="ldml-reference" data-prop-ids="sentence_105137"&gt;&lt;span class="ldml-refname"&gt;Freeman&lt;/span&gt;, &lt;span class="ldml-cite"&gt;668 P.2d at 1377-78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="105129" data-sentence-id="105326" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adequately instructed the jury on the requisite mens rea.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="105409" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="105409" data-sentence-id="105417" class="ldml-sentence"&gt;The instructions, taken together, adequately advised the jury of the essential elements of first-degree murder, first-degree&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="105542" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="105542" data-sentence-id="105542" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 275&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="105550" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="105550" data-sentence-id="105551" class="ldml-sentence"&gt;sexual assault, and second-degree kidnapping.&lt;/span&gt; &lt;span data-paragraph-id="105550" data-sentence-id="105597" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; need not repeat these elements in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="105550" data-sentence-id="105667" class="ldml-sentence"&gt;The refusal to do so did not affect any of Rodriguez' substantial rights and, therefore, was not harmful error.&lt;/span&gt; &lt;span data-paragraph-id="105550" data-sentence-id="105779" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_105667"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895315407" data-vids="895315407" class="ldml-reference" data-prop-ids="sentence_105667"&gt;&lt;span class="ldml-refname"&gt;Mozee&lt;/span&gt;, &lt;span class="ldml-cite"&gt;723 P.2d at 129&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="E" data-id="heading_105819" data-ordinal_start="5" data-ordinal_end="5" data-specifier="E" id="heading_105819" data-content-heading-label="E
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="105819" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="105819" data-sentence-id="105819" class="ldml-sentence"&gt;E&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="105821" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="105821" data-sentence-id="105829" class="ldml-sentence"&gt;In Issues 123, 124, and 129, &lt;a href="#note-fr45" class="ldml-noteanchor" id="note-ref-fr45"&gt;45&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; Rodriguez contends that the following portion of the guilt phase instruction on conspiracy to commit first-degree murder was constitutionally deficient:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106012" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106012" data-sentence-id="106013" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106032" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="106032" data-sentence-id="106032" class="ldml-sentence"&gt;The elements of the crime of Conspiracy To Commit Murder In The First Degree &lt;span class="ldml-parenthetical"&gt;(after deliberation)&lt;/span&gt; are:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="106135" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106135" data-sentence-id="106143" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; That &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106167" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106167" data-sentence-id="106175" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;City and County of Denver&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt;, on or about &lt;span class="ldml-entity"&gt;November 14, 1984&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106263" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106263" data-sentence-id="106271" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; with the intent to promote or facilitate the commission of the crime of Murder In The First Degree &lt;span class="ldml-parenthetical"&gt;(after deliberation)&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="106396" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106396" data-sentence-id="106404" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; agreed with another person or persons that &lt;span class="ldml-entity"&gt;they&lt;/span&gt;, or one or more of them, would engage in conduct which constitutes Murder In The First Degree &lt;span class="ldml-parenthetical"&gt;(after deliberation)&lt;/span&gt; or an attempt to commit Murder In The First Degree &lt;span class="ldml-parenthetical"&gt;(after deliberation)&lt;/span&gt;, and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106648" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106648" data-sentence-id="106656" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, or a person with whom &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; conspired, has performed an overt act in pursuance of such conspiracy.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106782" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106782" data-sentence-id="106790" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 581&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106807" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="106807" data-sentence-id="106815" class="ldml-sentence"&gt;Rodriguez alleges the following errors: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not include all the elements of conspiracy to commit first-degree murder; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not list the elements of first-degree murder; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not instruct the jury on the meaning of &lt;span class="ldml-quotation quote"&gt;"attempt."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="107106" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="107106" data-sentence-id="107114" class="ldml-sentence"&gt;The essential elements of a conspiracy are: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; an agreement &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; between two or more persons &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; to commit or attempt to commit a crime.&lt;/span&gt; &lt;span data-paragraph-id="107106" data-sentence-id="107252" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_107114"&gt;&lt;span class="ldml-cite"&gt;§ 18-2-201&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890405891" data-vids="890405891" class="ldml-reference" data-prop-ids="sentence_107114"&gt;&lt;span class="ldml-refname"&gt;Young v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;180 Colo. 62, 64&lt;/span&gt;, &lt;span class="ldml-cite"&gt;502 P.2d 81, 82&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="107106" data-sentence-id="107343" class="ldml-sentence"&gt;The essential elements are all present in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="107405" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="107405" data-sentence-id="107413" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; need not repeat the elements of first-degree murder after deliberation, as &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adequately advised the jury of those elements.&lt;/span&gt; &lt;span data-paragraph-id="107405" data-sentence-id="107573" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_107413"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 573&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="107405" data-sentence-id="107594" class="ldml-sentence"&gt;The instructions, taken as a whole, informed the jury of the elements of conspiracy to commit first-degree murder after deliberation and did not prejudice Rodriguez' substantial rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="107780" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="107780" data-sentence-id="107788" class="ldml-sentence"&gt;Finally, although &lt;span class="ldml-quotation quote"&gt;"a criminal attempt is not readily understandable to a person of ordinary intelligence without some further explanation by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888065145" data-vids="888065145" class="ldml-reference" data-prop-ids="sentence_107788"&gt;&lt;span class="ldml-refname"&gt;People v. Leonard&lt;/span&gt;, &lt;span class="ldml-cite"&gt;673 P.2d 37, 42&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing same in context of entry of plea&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s failure to instruct on &lt;span class="ldml-quotation quote"&gt;"attempt"&lt;/span&gt; here was harmless error, as the jury specifically found Rodriguez guilty of first-degree murder after deliberation.&lt;/span&gt; &lt;span data-paragraph-id="107780" data-sentence-id="108202" class="ldml-sentence"&gt;Thus, although &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is no model of precision, the jury's verdict on first-degree murder after deliberation enables &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; to determine upon which theory the jury based its verdict, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;but cf.&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891586005" data-vids="891586005" class="ldml-reference" data-prop-ids="sentence_108202"&gt;&lt;span class="ldml-refname"&gt;James&lt;/span&gt;, &lt;span class="ldml-cite"&gt;727 P.2d at 853&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and to uphold Rodriguez' conviction for conspiracy to commit first-degree murder after deliberation.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="F" data-id="heading_108534" data-ordinal_start="6" data-ordinal_end="6" data-specifier="F" id="heading_108534" data-content-heading-label="F
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="108534" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="108534" data-sentence-id="108534" class="ldml-sentence"&gt;F&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="108536" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="108536" data-sentence-id="108544" class="ldml-sentence"&gt;In Issues 130 and 131, Rodriguez asserts constitutional error in the following guilt phase jury instruction on complicity:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="108667" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="108667" data-sentence-id="108668" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="108687" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="108687" data-sentence-id="108695" class="ldml-sentence"&gt;A person is guilty of an offense committed by another person if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is a complicitor.&lt;/span&gt; &lt;span data-paragraph-id="108687" data-sentence-id="108780" class="ldml-sentence"&gt;To be guilty as a complicitor, the following must be established beyond a reasonable doubt:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="108872" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="108872" data-sentence-id="108880" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="108872" data-sentence-id="108883" class="ldml-sentence"&gt;A crime must have been committed&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="108916" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="108916" data-sentence-id="108916" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 276&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="108925" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="108925" data-sentence-id="108933" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="108925" data-sentence-id="108936" class="ldml-sentence"&gt;Another person must have committed all or part of the crime&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="108996" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="108996" data-sentence-id="109004" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="108996" data-sentence-id="109007" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; must have had knowledge that the other person intended to commit all or part of the crime&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="109111" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="109111" data-sentence-id="109119" class="ldml-sentence"&gt;4.&lt;/span&gt; &lt;span data-paragraph-id="109111" data-sentence-id="109122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; did intentionally aid, abet, advise, or encourage the other person in the commission or planning of the crime.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="109247" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="109247" data-sentence-id="109255" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 572&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="109272" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="109272" data-sentence-id="109280" class="ldml-sentence"&gt;Rodriguez argues the following errors: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_109280"&gt;&lt;span class="ldml-cite"&gt;Paragraph 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not adequately advise the jury of the requisite mens rea; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the inclusion of the word &lt;span class="ldml-quotation quote"&gt;"encourage"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_109280"&gt;&lt;span class="ldml-cite"&gt;Paragraph 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; expanded upon the statutorily prohibited conduct; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the &lt;span class="ldml-quotation quote"&gt;"all or part"&lt;/span&gt; language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_109280"&gt;&lt;span class="ldml-cite"&gt;Paragraphs 3 and 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is contrary to the complicity &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr46" class="ldml-noteanchor" id="note-ref-fr46"&gt;46&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="109604" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="109604" data-sentence-id="109612" class="ldml-sentence"&gt;The relevant &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; states: &lt;span class="ldml-quotation quote"&gt;"A person is legally accountable as principal for the behavior of another constituting a criminal offense if, with the intent to promote or facilitate the commission of the offense, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; aids, abets, or advises the other person in planning or committing the offense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="109604" data-sentence-id="109908" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_109612"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-603, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="109937" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="109937" data-sentence-id="109945" class="ldml-sentence"&gt;Rodriguez asserts that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should have instructed the jury using &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_109945"&gt;&lt;span class="ldml-cite"&gt;Paragraph 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of his proposed jury instruction:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="110062" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="110062" data-sentence-id="110062" class="ldml-sentence"&gt;Having this knowledge, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did intentionally aid, abet, advise, or encourage the other person in the commission or planning of the crime.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="110210" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="110210" data-sentence-id="110218" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 597&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="110210" data-sentence-id="110252" class="ldml-sentence"&gt;Rodriguez argues that the effect of this omission was &lt;span class="ldml-quotation quote"&gt;"to require a guilty verdict even though the actions of Mr. Rodriguez which aided or abetted the commission of the murder after deliberation were done without knowledge that the actual perpetrator intended to commit the murder."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="110210" data-sentence-id="110535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_110252"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 351-52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="110571" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="110571" data-sentence-id="110579" class="ldml-sentence"&gt;The instruction as given adequately advised the jury of the requisite mens rea.&lt;/span&gt; &lt;span data-paragraph-id="110571" data-sentence-id="110659" class="ldml-sentence"&gt;As stated above, the mens rea term, when offset from other instructional elements, modifies all succeeding conduct elements.&lt;/span&gt; &lt;span data-paragraph-id="110571" data-sentence-id="110784" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895816266" data-vids="895816266" class="ldml-reference" data-prop-ids="sentence_110659"&gt;&lt;span class="ldml-refname"&gt;Bossert&lt;/span&gt;, &lt;span class="ldml-cite"&gt;722 P.2d at 1011&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890733983" data-vids="890733983" class="ldml-reference" data-prop-ids="sentence_110659"&gt;&lt;span class="ldml-refname"&gt;Freeman&lt;/span&gt;, &lt;span class="ldml-cite"&gt;668 P.2d at 1377-78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="110571" data-sentence-id="110845" class="ldml-sentence"&gt;Further, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;ince complicity is not a substantive crime, the statutory definitions of mens rea do not apply."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="110571" data-sentence-id="110955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889588705" data-vids="889588705" class="ldml-reference" data-prop-ids="sentence_110845"&gt;&lt;span class="ldml-refname"&gt;People v. R.V.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;635 P.2d 892, 894&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="110571" data-sentence-id="111002" class="ldml-sentence"&gt;It is sufficient if the instruction informs the jury that the accused is a complicitor &lt;span class="ldml-quotation quote"&gt;"if, with the intent to promote or facilitate the commission of the offense, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; aids, abets, or advises &lt;span class="ldml-parenthetical"&gt;[the person who commits the offense]&lt;/span&gt; in planning or committing &lt;span class="ldml-parenthetical"&gt;[that]&lt;/span&gt; offense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="110571" data-sentence-id="111273" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_111002"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-603&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889588705" data-vids="889588705" class="ldml-reference" data-prop-ids="sentence_111002"&gt;&lt;span class="ldml-refname"&gt;R.V.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;635 P.2d at 893-94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="110571" data-sentence-id="111315" class="ldml-sentence"&gt;The instruction as given was adequate in that respect.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="111370" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="111370" data-sentence-id="111378" class="ldml-sentence"&gt;The inclusion of the word &lt;span class="ldml-quotation quote"&gt;"encourage"&lt;/span&gt; does not expand upon the statutorily prohibited conduct because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he plain meaning of &lt;span class="ldml-quotation quote"&gt;'abet'&lt;/span&gt; includes &lt;span class="ldml-quotation quote"&gt;'encourage.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="111370" data-sentence-id="111535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887679287" data-vids="887679287" class="ldml-reference" data-prop-ids="sentence_111378"&gt;&lt;span class="ldml-refname"&gt;Alonzi v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;198 Colo. 160, 166&lt;/span&gt;, &lt;span class="ldml-cite"&gt;597 P.2d 560, 564&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="111599" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="111599" data-sentence-id="111607" class="ldml-sentence"&gt;Finally, Rodriguez contends that the &lt;span class="ldml-quotation quote"&gt;"all or part"&lt;/span&gt; language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_111607"&gt;&lt;span class="ldml-cite"&gt;Paragraphs 3 and 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violates due process because it allowed the jury to convict Rodriguez of first-degree murder committed by a principal, even if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; were aware only of the principal's intent to commit or commission of a lesser offense.&lt;/span&gt; &lt;a href="#note-fr47" class="ldml-noteanchor" id="note-ref-fr47"&gt;47&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="111599" data-sentence-id="111907" class="ldml-sentence"&gt;That is, the jury could convict Rodriguez of the first-degree murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; even if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; only agreed to her assault.&lt;/span&gt; &lt;span data-paragraph-id="111599" data-sentence-id="112036" class="ldml-sentence"&gt;Although the instruction given followed the model jury instruction, see CJI-Crim. 6:04, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree that the inclusion of the language &lt;span class="ldml-quotation quote"&gt;"all or part"&lt;/span&gt; was erroneous.&lt;/span&gt; &lt;span data-paragraph-id="111599" data-sentence-id="112197" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude, however, that the error was harmless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="112248" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="112248" data-sentence-id="112256" class="ldml-sentence"&gt;Record evidence supports Rodriguez' conviction for first-degree murder after deliberation as either a complicitor or a principal.&lt;/span&gt; &lt;span data-paragraph-id="112248" data-sentence-id="112386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; testified that Rodriguez said&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="112432" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="112432" data-sentence-id="112432" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 277&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="112440" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="112440" data-sentence-id="112441" class="ldml-sentence"&gt;that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would have to kill &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; because Martelli had seen their faces.&lt;/span&gt; &lt;span data-paragraph-id="112440" data-sentence-id="112527" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_112441"&gt;&lt;span class="ldml-refname"&gt;R., v. 25&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 200&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="112440" data-sentence-id="112545" class="ldml-sentence"&gt;Thomas also testified that Rodriguez alone stabbed and killed Martelli.&lt;/span&gt; &lt;span data-paragraph-id="112440" data-sentence-id="112617" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_112545"&gt;&lt;span class="ldml-cite"&gt;Id. at 210&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_112545"&gt;&lt;span class="ldml-refname"&gt;R., v. 26&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="112440" data-sentence-id="112646" class="ldml-sentence"&gt;The forensic serologist confirmed the presence of Martelli's blood on Rodriguez' underwear, jacket, and jeans after his arrest.&lt;/span&gt; &lt;span data-paragraph-id="112440" data-sentence-id="112774" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_112646"&gt;&lt;span class="ldml-refname"&gt;R., v. 28&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 193-97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="112795" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="112795" data-sentence-id="112803" class="ldml-sentence"&gt;Furthermore, in returning a guilty verdict on the charge of conspiracy to commit first-degree murder after deliberation, the jury necessarily found that Rodriguez specifically intended to promote or facilitate the first-degree murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="112795" data-sentence-id="113059" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_112803"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 989-90&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="112795" data-sentence-id="113097" class="ldml-sentence"&gt;This finding indicates the jury's unanimous belief that Rodriguez agreed to the commission of first-degree murder in its entirety, rather than intending commission of part of the offense or of a lesser included offense.&lt;/span&gt; &lt;span data-paragraph-id="112795" data-sentence-id="113317" class="ldml-sentence"&gt;The instructional error as to Rodriguez' complicity did not affect his substantial rights nor prejudice his defense.&lt;/span&gt; &lt;span data-paragraph-id="112795" data-sentence-id="113434" class="ldml-sentence"&gt;The error is harmless.&lt;/span&gt; &lt;span data-paragraph-id="112795" data-sentence-id="113457" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_113434"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="113473" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="113473" data-sentence-id="113481" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; adequately advised the jury of the essential elements of aggravated robbery, and Rodriguez' conviction on that count must stand.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="G" data-id="heading_113629" data-ordinal_start="7" data-ordinal_end="7" data-specifier="G" id="heading_113629" data-content-heading-label="G
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="113629" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="113629" data-sentence-id="113629" class="ldml-sentence"&gt;G&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="113631" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="113631" data-sentence-id="113639" class="ldml-sentence"&gt;In Issues 134, 136, 137, 138, and 139, Rodriguez collectively asserts that the &lt;span class="ldml-quotation quote"&gt;"crime of violence"&lt;/span&gt; instructions in the guilt phase of his trial impermissibly tainted the jury's decision to impose the death penalty.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="113854" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="113854" data-sentence-id="113862" class="ldml-sentence"&gt;By information, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; charged Rodriguez with a violation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which requires a mandatory sentence for one convicted of a crime of violence.&lt;/span&gt; &lt;span data-paragraph-id="113854" data-sentence-id="114047" class="ldml-sentence"&gt;A crime of violence is &lt;span class="ldml-quotation quote"&gt;"a crime in which &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; used, or possessed and threatened the use of, a deadly weapon during the commission or attempted commission"&lt;/span&gt; of certain statutorily enumerated crimes.&lt;/span&gt; &lt;span data-paragraph-id="113854" data-sentence-id="114253" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_114047"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-309&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="113854" data-sentence-id="114275" class="ldml-sentence"&gt;The crime of violence &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; is a sentencing provision and does not create a separate substantive offense.&lt;/span&gt; &lt;span data-paragraph-id="113854" data-sentence-id="114383" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:brownvthedistrictcourtno27558569p2d1390,194colo45sept19,1977" data-prop-ids="sentence_114275"&gt;&lt;span class="ldml-refname"&gt;Brown v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;194 Colo. 45, 47&lt;/span&gt;, &lt;span class="ldml-cite"&gt;569 P.2d 1390, 1391&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="113854" data-sentence-id="114454" class="ldml-sentence"&gt;A conviction under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_114454"&gt;&lt;span class="ldml-cite"&gt;section 16-11-309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires a judge to sentence &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"to a term of incarceration greater than the maximum in the presumptive range, but not more than twice the maximum term, provided for such offense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="113854" data-sentence-id="114681" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_114454"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-309&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="114700" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="114700" data-sentence-id="114708" class="ldml-sentence"&gt;The jury convicted Rodriguez of five mandatory sentencing counts for crimes of violence.&lt;/span&gt; &lt;span data-paragraph-id="114700" data-sentence-id="114797" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_114708"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 554-558&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="114700" data-sentence-id="114818" class="ldml-sentence"&gt;However, the record reveals that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; never imposed sentence on these jury verdicts.&lt;/span&gt; &lt;span data-paragraph-id="114700" data-sentence-id="114914" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; entered a &lt;span class="ldml-quotation quote"&gt;"Judgment of Conviction: Sentence: and Order to Sheriff &lt;span class="ldml-parenthetical"&gt;(Mittimus)&lt;/span&gt;"&lt;/span&gt; which failed to include the jury's guilty verdicts on Rodriguez' crime of violence charges and did not impose the mandatory sentence for those convictions.&lt;/span&gt; &lt;span data-paragraph-id="114700" data-sentence-id="115166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_114914"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 804-07&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="115186" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="115186" data-sentence-id="115194" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;'s failure to impose mandatory sentences on the crimes of violence convictions moots Rodriguez' claims that his sentences for the crime of violence convictions should be vacated.&lt;/span&gt; &lt;a href="#note-fr48" class="ldml-noteanchor" id="note-ref-fr48"&gt;48&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="115186" data-sentence-id="115389" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also refuse to vacate Rodriguez' death sentence because that sentence was not based on his crime of violence convictions.&lt;/span&gt; &lt;span data-paragraph-id="115186" data-sentence-id="115514" class="ldml-sentence"&gt;Rather, the jury imposed the death sentence based on its finding that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; proved the existence of statutory aggravating factors and that these factors outweighed any mitigating factors.&lt;/span&gt; &lt;span data-paragraph-id="115186" data-sentence-id="115712" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_115514"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 986-87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_115514"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 746-53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="115186" data-sentence-id="115770" class="ldml-sentence"&gt;The aggravating factors found by the jury did not require the jury to determine whether Rodriguez committed a crime of violence, and neither &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; nor the defense presented evidence at the penalty phase that the jury convicted Rodriguez of crimes of violence.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="H" data-id="heading_116040" data-ordinal_start="8" data-ordinal_end="8" data-specifier="H" id="heading_116040" data-content-heading-label="H
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="116040" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="116040" data-sentence-id="116040" class="ldml-sentence"&gt;H&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="116042" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="116042" data-sentence-id="116050" class="ldml-sentence"&gt;In summary, Rodriguez' arguments regarding the guilt phase jury instructions on crime of violence are moot.&lt;/span&gt; &lt;span data-paragraph-id="116042" data-sentence-id="116158" class="ldml-sentence"&gt;The instructions on second-degree kidnapping, aggravated robbery, and aggravated motor vehicle theft were not erroneous.&lt;/span&gt; &lt;span data-paragraph-id="116042" data-sentence-id="116279" class="ldml-sentence"&gt;The instructions on complicity and conspiracy to commit first-&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="116342" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="116342" data-sentence-id="116342" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 278&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="116350" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="116350" data-sentence-id="116351" class="ldml-sentence"&gt;degree murder after deliberation contained only harmless error.&lt;/span&gt; &lt;span data-paragraph-id="116350" data-sentence-id="116415" class="ldml-sentence"&gt;The instruction on first-degree sexual assault was erroneous, and that error requires that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remand Rodriguez' conviction for first-degree sexual assault as a class 2 felony to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; with directions to vacate that judgment and enter judgment and sentence for the lesser offense of first-degree sexual assault as a class 3 felony.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="X. Guilt Phase Closing Arguments" data-id="heading_116759" data-ordinal_start="10" data-ordinal_end="10" data-specifier="X" id="heading_116759" data-content-heading-label="X
Guilt Phase Closing Arguments
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="116759" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="116759" data-sentence-id="116759" class="ldml-sentence"&gt;X&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="116761" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="116761" data-sentence-id="116761" class="ldml-sentence"&gt;Guilt Phase Closing Arguments&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="116791" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="116791" data-sentence-id="116799" class="ldml-sentence"&gt;In Issue 106, Rodriguez challenges his convictions and death sentence, claiming that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s closing arguments at the guilt phase of his trial violated the Due Process Clauses of the federal and Colorado Constitutions, his constitutional right to trial by jury, and the prohibition against cruel and unusual punishment.&lt;/span&gt; &lt;a href="#note-fr49" class="ldml-noteanchor" id="note-ref-fr49"&gt;49&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="116791" data-sentence-id="117130" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject this argument.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="117155" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="117155" data-sentence-id="117163" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; criminal conviction is not to be lightly overturned on the basis of &lt;span class="ldml-entity"&gt;a prosecutor&lt;/span&gt;'s comments standing alone, for the statements or conduct must be viewed in context; only by so doing can it be determined whether &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt;'s conduct affected the fairness of the trial."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="117155" data-sentence-id="117443" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892025421" data-vids="892025421" class="ldml-reference" data-prop-ids="sentence_117163"&gt;&lt;span class="ldml-refname"&gt;United States v. Young&lt;/span&gt;, &lt;span class="ldml-cite"&gt;470 U.S. 1, 11&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. 1038, 1044&lt;/span&gt;, &lt;span class="ldml-cite"&gt;84 L.Ed.2d 1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="117155" data-sentence-id="117526" class="ldml-sentence"&gt;The closing arguments of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; are not evidence and the jury in Rodriguez' case was properly instructed on the function and limitations of closing argument.&lt;/span&gt; &lt;span data-paragraph-id="117155" data-sentence-id="117685" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_117526"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 560&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="117155" data-sentence-id="117706" class="ldml-sentence"&gt;Closing arguments must be considered in light of the objections, the rulings, and the record in a particular case.&lt;/span&gt; &lt;span data-paragraph-id="117155" data-sentence-id="117821" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; address claims of prosecutorial misconduct in closing argument on &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;-by-case basis.&lt;/span&gt; &lt;span data-paragraph-id="117155" data-sentence-id="117912" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895605167" data-vids="895605167" class="ldml-reference" data-prop-ids="sentence_117821"&gt;&lt;span class="ldml-refname"&gt;Harris v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;888 P.2d 259, 267 n. 7&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="117970" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="117970" data-sentence-id="117978" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference" data-prop-ids="sentence_117978"&gt;&lt;span class="ldml-refname"&gt;People v. Rodgers&lt;/span&gt;, &lt;span class="ldml-cite"&gt;756 P.2d 980&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that, during closing argument, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; improperly commented on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s exercise of his constitutional right to a jury trial.&lt;/span&gt; &lt;span data-paragraph-id="117970" data-sentence-id="118182" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference" data-prop-ids="sentence_117978"&gt;&lt;span class="ldml-cite"&gt;Id. at 983&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="117970" data-sentence-id="118194" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; set forth the following standard for evaluating the prejudicial effect of an improper argument on &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s conviction:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="118321" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="118321" data-sentence-id="118321" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;f the asserted error is of constitutional dimension, reversal is required unless the &lt;span class="ldml-parenthetical"&gt;[reviewing]&lt;/span&gt; &lt;span class="ldml-entity"&gt;court&lt;/span&gt; is convinced that the error was harmless beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="118321" data-sentence-id="118495" class="ldml-sentence"&gt;If there is a reasonable possibility that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; could have been prejudiced the error cannot be harmless beyond a reasonable doubt.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="118634" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="118634" data-sentence-id="118642" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 984&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;People v. Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159, 189&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr50" class="ldml-noteanchor" id="note-ref-fr50"&gt;50&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="118756" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="118756" data-sentence-id="118764" class="ldml-sentence"&gt;In Rodgers, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; determined that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s improper comment did not warrant reversal of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conviction because the evidence against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;"overwhelming."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="118756" data-sentence-id="118949" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference" data-prop-ids="sentence_118764"&gt;&lt;span class="ldml-cite"&gt;Id. at 984&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="118756" data-sentence-id="118961" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; concluded that:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="118980" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="118980" data-sentence-id="118988" class="ldml-sentence"&gt;The evidence at this trial was sufficient in both quantity and quality to support the conclusion that the jury could not have arrived at a verdict other than guilty.&lt;/span&gt; &lt;span data-paragraph-id="118980" data-sentence-id="119154" class="ldml-sentence"&gt;In this context, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt;'s conduct "was&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="119201" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="119201" data-sentence-id="119201" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 279&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="119209" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="119209" data-sentence-id="119210" class="ldml-sentence"&gt;not so offensive as to require reversal of &lt;span class="ldml-entity"&gt;the defendants&lt;/span&gt;' convictions."&lt;/span&gt; &lt;span data-paragraph-id="119209" data-sentence-id="119283" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885947551" data-vids="885947551" class="ldml-reference" data-prop-ids="embeddedsentence_119348,sentence_119210"&gt;&lt;span class="ldml-refname"&gt;People v. Plotner&lt;/span&gt;, &lt;span class="ldml-cite"&gt;188 Colo. 297, 302&lt;/span&gt;, &lt;span class="ldml-cite"&gt;534 P.2d 791, 794&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt;'s statement during closing argument regarding his personal &lt;span class="ldml-entity"&gt;opinion of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;&lt;/span&gt;'s guilt was improper, but not reversible error&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="119209" data-sentence-id="119492" class="ldml-sentence"&gt;Where it appears that no other verdict could have been properly rendered, prosecutorial misconduct is not reversible error.&lt;/span&gt; &lt;span data-paragraph-id="119209" data-sentence-id="119616" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887553422" data-vids="887553422" class="ldml-reference" data-prop-ids="sentence_119492"&gt;&lt;span class="ldml-refname"&gt;Hillen v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;59 Colo. 280, 284&lt;/span&gt;, &lt;span class="ldml-cite"&gt;149 P. 250, 252&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1915&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="119677" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="119677" data-sentence-id="119685" class="ldml-sentence"&gt;In light of the overwhelming evidence presented at trial against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt;'s improper remark during closing argument was harmless beyond a reasonable doubt.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="119879" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="119879" data-sentence-id="119887" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 985&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895605167" data-vids="895605167" class="ldml-reference" data-prop-ids="embeddedsentence_119950"&gt;&lt;span class="ldml-refname"&gt;Harris&lt;/span&gt;, &lt;span class="ldml-cite"&gt;888 P.2d at 268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"the sufficiency of the evidence presented at trial will be considered on appeal when evaluating claims of prosecutorial misconduct"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889378044" data-vids="889378044" class="ldml-reference" data-prop-ids="embeddedsentence_120166"&gt;&lt;span class="ldml-refname"&gt;Grandbouche v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 Colo. 175, 185&lt;/span&gt;, &lt;span class="ldml-cite"&gt;89 P.2d 577, 581&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1939&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he rule is that where the guilt of an accused is evident, incidental improper action upon the part of the prosecuting officer may be overlooked"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888430410" data-vids="888430410" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Miller v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;70 Colo. 313, 317&lt;/span&gt;, &lt;span class="ldml-cite"&gt;201 P. 41, 42&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1921&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(same as Grandbouche)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="120412" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="120412" data-sentence-id="120420" class="ldml-sentence"&gt;In his &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;, Rodriguez asserts for the first time that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s closing arguments at the guilt phase of his trial require reversal of his convictions.&lt;/span&gt; &lt;span data-paragraph-id="120412" data-sentence-id="120597" class="ldml-sentence"&gt;After reviewing the record, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that certain parts of the arguments made by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; were improper.&lt;/span&gt; &lt;span data-paragraph-id="120412" data-sentence-id="120712" class="ldml-sentence"&gt;Although the evidence of guilt in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is overwhelming, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not condone &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s arguments which extended into opinion, the integrity of the police and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, and to matters that did not comply with &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;American Bar Association&lt;/span&gt; Standards&lt;/span&gt; relating to prosecutorial closing arguments.&lt;/span&gt; &lt;span data-paragraph-id="120412" data-sentence-id="121021" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_120712"&gt;&lt;span class="ldml-refname"&gt;American Bar Association Standards for Criminal Justice: Prosecution and Defense Function&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§ 3-5.8 at 106 &lt;span class="ldml-parenthetical"&gt;(3d ed. 1993)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr51" class="ldml-noteanchor" id="note-ref-fr51"&gt;51&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="120412" data-sentence-id="121148" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s arguments in some instances were overzealous and improper, these arguments did not rise to the level of reversible constitutional error in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="121325" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="121325" data-sentence-id="121333" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s arguments do not constitute reversible error because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he evidence at ... trial was sufficient in both quality and quantity to support the conclusion that the jury could not have arrived at a verdict other than guilty."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="121325" data-sentence-id="121579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference" data-prop-ids="sentence_121333"&gt;&lt;span class="ldml-refname"&gt;Rodgers&lt;/span&gt;, &lt;span class="ldml-cite"&gt;756 P.2d at 985&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="121325" data-sentence-id="121605" class="ldml-sentence"&gt;In Rodriguez IV, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; expressly stated: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have reviewed the record in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; with great care.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that there was overwhelming evidence of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s guilt and personal participation in the kidnapping, sexual assault and murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="121325" data-sentence-id="121873" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_121605"&gt;&lt;span class="ldml-cite"&gt;794 P.2d at 991&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; see also infra &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;part XVIII&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(detailing evidence against Rodriguez)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="121325" data-sentence-id="121977" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that, in light of the massive and overwhelming evidence against Rodriguez, &lt;span class="ldml-quotation quote"&gt;"the jury could not have arrived at a verdict other than guilty,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference" data-prop-ids="sentence_121977"&gt;&lt;span class="ldml-refname"&gt;Rodgers&lt;/span&gt;, &lt;span class="ldml-cite"&gt;756 P.2d at 985&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt;'s closing arguments at the guilt phase, though improper, could not have influenced the jury to reach a different result.&lt;/span&gt; &lt;span data-paragraph-id="121325" data-sentence-id="122296" class="ldml-sentence"&gt;Viewed in the context of the entire case, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt;'s closing arguments did not &lt;span class="ldml-quotation quote"&gt;"undermine the fundamental fairness of the trial and contribute to a miscarriage of justice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="121325" data-sentence-id="122475" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892025421" data-vids="892025421" class="ldml-reference" data-prop-ids="sentence_122296"&gt;&lt;span class="ldml-refname"&gt;Young&lt;/span&gt;, &lt;span class="ldml-cite"&gt;470 U.S. at 16&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 S.Ct. at 1047&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="121325" data-sentence-id="122517" class="ldml-sentence"&gt;According, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issue 106.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="XI. Habitual Criminal Proceeding" data-id="heading_122549" data-ordinal_start="11" data-ordinal_end="11" data-specifier="XI" id="heading_122549" data-content-heading-label="XI
Habitual Criminal Proceeding
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="122549" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="122549" data-sentence-id="122549" class="ldml-sentence"&gt;XI&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="122552" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="122552" data-sentence-id="122552" class="ldml-sentence"&gt;Habitual Criminal Proceeding&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="122581" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="122581" data-sentence-id="122589" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;December 13, 1986&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; conducted a habitual criminal proceeding pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-13-101, 8 C.R.S. &lt;span class="ldml-parenthetical"&gt;(1984 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and the jury found beyond a reasonable doubt that Rodriguez had three prior felony convictions.&lt;/span&gt; &lt;span data-paragraph-id="122581" data-sentence-id="122819" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_122589"&gt;&lt;span class="ldml-refname"&gt;R., v. 33&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 63-65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="122581" data-sentence-id="122839" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Section&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="122847" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="122847" data-sentence-id="122847" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 280&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="122855" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="122855" data-sentence-id="122856" class="ldml-sentence"&gt;16-13-101 requires &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to adjudge &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; with three prior felony convictions a habitual criminal and to sentence that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; to life imprisonment.&lt;/span&gt; &lt;span data-paragraph-id="122855" data-sentence-id="123023" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; did not sentence Rodriguez on the habitual criminal counts before the penalty phase of his trial.&lt;/span&gt; &lt;span data-paragraph-id="122855" data-sentence-id="123137" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_123023"&gt;&lt;span class="ldml-refname"&gt;R., v. 33&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 63-66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_123023"&gt;&lt;span class="ldml-refname"&gt;R., v. 34&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 50-53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="123181" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="123181" data-sentence-id="123189" class="ldml-sentence"&gt;At the penalty phase, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; argued that Rodriguez might escape from prison if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; received a life sentence and that the jury should consider Rodriguez' future dangerousness in deciding whether to return a sentence of life imprisonment instead of death.&lt;/span&gt; &lt;span data-paragraph-id="123181" data-sentence-id="123451" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_123189"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965, 976&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_123189"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_123189"&gt;&lt;span class="ldml-refname"&gt;R., v. 35&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 115&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="123181" data-sentence-id="123609" class="ldml-sentence"&gt;In Issue 101, Rodriguez contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to sentence him on the habitual criminal counts prior to the penalty phase prevented him from informing the jury that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would never be eligible for parole and violated his due process right to rebut &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s arguments of future dangerousness.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="123926" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="123926" data-sentence-id="123934" class="ldml-sentence"&gt;Rodriguez relies on &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892452951" data-vids="892452951" class="ldml-reference" data-prop-ids="sentence_123934"&gt;&lt;span class="ldml-refname"&gt;Simmons v. South Carolina&lt;/span&gt;, &lt;span class="ldml-cite"&gt;512 U.S. 154, ---- - ----&lt;/span&gt;, &lt;span class="ldml-cite"&gt;114 S.Ct. 2187, 2190-96&lt;/span&gt;, &lt;span class="ldml-cite"&gt;129 L.Ed.2d 133&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_123934"&gt;&lt;span class="ldml-refname"&gt;Clark v. Tansy&lt;/span&gt;, &lt;span class="ldml-cite"&gt;118 N.M. 486&lt;/span&gt;, &lt;span class="ldml-cite"&gt;882 P.2d 527, 533-34&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="123926" data-sentence-id="124121" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892452951" data-vids="892452951" class="ldml-reference" data-prop-ids="sentence_124121"&gt;&lt;span class="ldml-refname"&gt;Simmons&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; held that, where a capital &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s future dangerousness is at issue and state law prohibits his release on parole, due process requires that the sentencing jury be informed that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is parole ineligible.&lt;/span&gt; &lt;span data-paragraph-id="123926" data-sentence-id="124384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892452951" data-vids="892452951" class="ldml-reference" data-prop-ids="sentence_124121"&gt;&lt;span class="ldml-cite"&gt;512 U.S. at ----&lt;/span&gt;, &lt;span class="ldml-cite"&gt;114 S.Ct. at 2193&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="124421" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="124421" data-sentence-id="124429" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_124429"&gt;&lt;span class="ldml-refname"&gt;Clark&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; specifically relied on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s future dangerousness in arguing for the death penalty and incorrectly represented to the jury that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s convictions for noncapital offenses made &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; eligible for parole in ten years.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="124698" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_124429"&gt;&lt;span class="ldml-cite"&gt;882 P.2d at 532&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="124715" class="ldml-sentence"&gt;Assuming maximum good time for &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s noncapital offenses, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; would not have been eligible for parole for thirty-five years.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="124860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_124715"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="124864" class="ldml-sentence"&gt;The jury sentenced &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to death.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="124907" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_124864"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt; &lt;span class="ldml-cite"&gt;882 P.2d at 529&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="124928" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;New Mexico Supreme Court&lt;/span&gt; applied Simmons and held that, prior to a jury's capital sentencing deliberations, &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; must inform the jury of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s minimum length of incarceration as an alternative to a death sentence if &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; decides it is in his best interest for the jury to be apprised of such information.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="125260" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_124928"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt; &lt;span class="ldml-cite"&gt;882 P.2d at 533&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="125281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; vacated &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s death sentence, stating: &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-entity"&gt;The State&lt;/span&gt; thus succeeded in securing a death sentence on the ground, at least in part, of &lt;span class="ldml-entity"&gt;petitioner&lt;/span&gt;'s future dangerousness, while at the same time concealing from the sentencing jury the true meaning of its noncapital sentencing alternatives.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="125591" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_125281"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892452951" data-vids="892452951" class="ldml-reference" data-prop-ids="sentence_125281"&gt;&lt;span class="ldml-refname"&gt;Simmons&lt;/span&gt;, &lt;span class="ldml-cite"&gt;512 U.S. at ----&lt;/span&gt;, &lt;span class="ldml-cite"&gt;114 S.Ct. at 2193&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="125651" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also held that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[b]&lt;/span&gt;ecause the length of incarceration facing &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is not sentenced to death is accurate and relevant information that must be presented to a capital jury to rebut &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s case for death, ... &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; has no discretion to delay imposing sentence on noncapital charges."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="124421" data-sentence-id="125976" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_125651"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt; &lt;span class="ldml-cite"&gt;882 P.2d at 534&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="125997" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="125997" data-sentence-id="126005" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find Rodriguez' case distinguishable from Simmons and Clark.&lt;/span&gt; &lt;span data-paragraph-id="125997" data-sentence-id="126071" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; accurately informed the jury of its noncapital sentencing alternatives prior to the jury's capital sentencing deliberations.&lt;/span&gt; &lt;span data-paragraph-id="125997" data-sentence-id="126218" class="ldml-sentence"&gt;Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, 8 C.R.S. &lt;span class="ldml-parenthetical"&gt;(1984 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which required &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to instruct the jury that life imprisonment means imprisonment without the possibility of parole for twenty years, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; gave the following instruction at the penalty phase:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="126488" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="126488" data-sentence-id="126489" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="126508" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="126508" data-sentence-id="126516" class="ldml-sentence"&gt;A sentence of life in prison means that Mr. Rodriguez will be sentenced to the &lt;span class="ldml-entity"&gt;Colorado Department of Corrections&lt;/span&gt; for life, and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; must spend twenty calendar years in prison before &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would be eligible to apply for release on parole from that sentence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="126774" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="126774" data-sentence-id="126782" class="ldml-sentence"&gt;This does not mean that Mr. Rodriguez would be paroled from the life sentence after twenty calendar years.&lt;/span&gt; &lt;span data-paragraph-id="126774" data-sentence-id="126889" class="ldml-sentence"&gt;It means that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could apply for parole at that time.&lt;/span&gt; &lt;span data-paragraph-id="126774" data-sentence-id="126943" class="ldml-sentence"&gt;A prisoner serving a life sentence has no right to ever be paroled.&lt;/span&gt; &lt;span data-paragraph-id="126774" data-sentence-id="127011" class="ldml-sentence"&gt;Parole is purely a privilege, not a right.&lt;/span&gt; &lt;span data-paragraph-id="126774" data-sentence-id="127054" class="ldml-sentence"&gt;If Mr. Rodriguez applied for parole after twenty calendar&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="127112" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="127112" data-sentence-id="127112" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 281&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="127120" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="127120" data-sentence-id="127121" class="ldml-sentence"&gt;years, the &lt;span class="ldml-entity"&gt;Parole Board&lt;/span&gt; would then decide whether or not to parole Mr. Rodriguez.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="127203" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="127203" data-sentence-id="127211" class="ldml-sentence"&gt;The fact that a person may be eligible for parole at some time in the future is a factor to be considered in determining whether a life or death sentence is appropriate.&lt;/span&gt; &lt;span data-paragraph-id="127203" data-sentence-id="127381" class="ldml-sentence"&gt;You should also be aware that when &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; is facing multiple charges in addition to murder &lt;span class="ldml-entity"&gt;he&lt;/span&gt; can be sentenced to a number of years to be served consecutively to a life sentence, which would increase the amount of time to be served before becoming parole eligible.&lt;/span&gt; &lt;span data-paragraph-id="127203" data-sentence-id="127651" class="ldml-sentence"&gt;In fact, it is possible that enough consecutive sentences could be given to assure that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; would never be eligible for parole in a natural lifetime.&lt;/span&gt; &lt;span data-paragraph-id="127203" data-sentence-id="127809" class="ldml-sentence"&gt;That is also a proper factor for your consideration.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="127862" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="127862" data-sentence-id="127870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 783&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="127887" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="127887" data-sentence-id="127895" class="ldml-sentence"&gt;Contrary to Rodriguez' assertion, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s failure to impose sentence on his noncapital offenses before the jury's capital sentencing deliberations did not violate Rodriguez' due process right to have accurate information presented to the jury to rebut &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s case for the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="127887" data-sentence-id="128203" class="ldml-sentence"&gt;The instruction given provided the jury with a fundamental understanding of the potential sentencing alternatives by detailing that Rodriguez could be eligible for parole in twenty years or receive consecutive sentences which would keep him in prison for the remainder of his natural life.&lt;/span&gt; &lt;span data-paragraph-id="127887" data-sentence-id="128493" class="ldml-sentence"&gt;By doing so, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; allowed Rodriguez to deny or explain &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s claims of future dangerousness and ensured that Rodriguez was not sentenced to death &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'on the basis of information which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had no opportunity to deny or explain.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="127887" data-sentence-id="128738" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885226586" data-vids="885226586" class="ldml-reference" data-prop-ids="sentence_128493"&gt;&lt;span class="ldml-refname"&gt;Skipper v. South Carolina&lt;/span&gt;, &lt;span class="ldml-cite"&gt;476 U.S. 1, 5 n. 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 1669, 1671 n. 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;90 L.Ed.2d 1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885597135" data-vids="885597135" class="ldml-reference" data-prop-ids="sentence_128493"&gt;&lt;span class="ldml-refname"&gt;Gardner v. Florida&lt;/span&gt;, &lt;span class="ldml-cite"&gt;430 U.S. 349, 362&lt;/span&gt;, &lt;span class="ldml-cite"&gt;97 S.Ct. 1197, 1207&lt;/span&gt;, &lt;span class="ldml-cite"&gt;51 L.Ed.2d 393&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="127887" data-sentence-id="128929" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find no violation of due process and, accordingly, reject Issue 101.&lt;/span&gt; &lt;a href="#note-fr52" class="ldml-noteanchor" id="note-ref-fr52"&gt;52&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_end="12" data-specifier="XII" data-confidences="very_high" data-id="heading_129002" data-ordinal_start="12" data-types="evidencesufficiency" data-value="XII. Sufficiency of the Evidence" id="heading_129002" data-content-heading-label="XII
Sufficiency of the Evidence
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="129002" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="129002" data-sentence-id="129002" class="ldml-sentence"&gt;XII&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="129006" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="129006" data-sentence-id="129006" class="ldml-sentence"&gt;Sufficiency of the Evidence&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="129034" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129034" data-sentence-id="129042" class="ldml-sentence"&gt;In Issue 141, Rodriguez contends that the evidence presented to the jury was insufficient to support his convictions for aggravated robbery and felony murder and that his death sentence based thereon must be vacated.&lt;/span&gt; &lt;a href="#note-fr53" class="ldml-noteanchor" id="note-ref-fr53"&gt;53&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="129034" data-sentence-id="129260" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject this contention.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129287" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129287" data-sentence-id="129295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; charged Rodriguez with aggravated robbery under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 18-4-302, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; provided the jury with the following instruction:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129464" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129464" data-sentence-id="129465" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;INSTRUCTION&lt;/span&gt; &lt;span class="ldml-cite"&gt;NO. 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129484" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="129484" data-sentence-id="129484" class="ldml-sentence"&gt;The elements of the crime of Aggravated Robbery are:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="129537" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129537" data-sentence-id="129545" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; That &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129569" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129569" data-sentence-id="129577" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;City and County of Denver&lt;/span&gt;, &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt;, on or about &lt;span class="ldml-entity"&gt;November 14, 1984&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129665" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129665" data-sentence-id="129673" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; knowingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129688" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129688" data-sentence-id="129696" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; took anything of value,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129724" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129724" data-sentence-id="129732" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; from the person or presence of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129786" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129786" data-sentence-id="129794" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; by the use of force, threats, or intimidation, and&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129849" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129849" data-sentence-id="129857" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt; during &lt;span class="ldml-entity"&gt;the act&lt;/span&gt; of robbery or the immediate flight therefrom,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129922" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129922" data-sentence-id="129930" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt; knowingly,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="129945" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="129945" data-sentence-id="129953" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt; put the person robbed, or any other person, in reasonable fear of death or bodily injury,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="130047" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="130047" data-sentence-id="130055" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt; by the use of force threats or intimidation,&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="130105" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="130105" data-sentence-id="130113" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt; with a deadly weapon.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="130140" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="130140" data-sentence-id="130148" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_130165"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 580&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;quoted in relevant part&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="130140" data-sentence-id="130191" class="ldml-sentence"&gt;The jury found Rodriguez guilty of aggravated robbery.&lt;/span&gt; &lt;span data-paragraph-id="130140" data-sentence-id="130246" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_130191"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 550&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="130263" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="130263" data-sentence-id="130271" class="ldml-sentence"&gt;Here, Rodriguez contends that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; failed to establish that Rodriguez used a deadly weapon during the robbery of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; or immediate flight therefrom and that, therefore, "there was a total failure of proof that anyone was, by means of force&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="130535" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="130535" data-sentence-id="130535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 282&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="130543" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="130543" data-sentence-id="130544" class="ldml-sentence"&gt;threats or intimidation by means of a knife, put into fear of death or injury."&lt;/span&gt; &lt;span data-paragraph-id="130543" data-sentence-id="130624" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_130544"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 386-87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="130660" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="130660" data-sentence-id="130668" class="ldml-sentence"&gt;In reviewing a claim challenging the sufficiency of the evidence to support a conviction, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;we&lt;/span&gt; view&lt;/span&gt; the evidence in the light most favorable to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="130660" data-sentence-id="130827" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889017220" data-vids="889017220" class="ldml-reference" data-prop-ids="sentence_130668"&gt;&lt;span class="ldml-refname"&gt;People v. Gonzales&lt;/span&gt;, &lt;span class="ldml-cite"&gt;666 P.2d 123, 127&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891721638" data-vids="891721638" class="ldml-reference" data-prop-ids="sentence_130668"&gt;&lt;span class="ldml-refname"&gt;People v. Larson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;194 Colo. 338, 341&lt;/span&gt;, &lt;span class="ldml-cite"&gt;572 P.2d 815, 817&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="130660" data-sentence-id="130942" class="ldml-sentence"&gt;At trial, &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; testified that: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; Rodriguez and his &lt;span class="ldml-entity"&gt;brother&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;, forced &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; into her car and drove away; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; Rodriguez took money from &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;'s purse; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; Rodriguez stabbed and killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; with a knife in the back seat of her car; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; Rodriguez kept &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;'s money and car.&lt;/span&gt; &lt;span data-paragraph-id="130660" data-sentence-id="131298" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_130942"&gt;&lt;span class="ldml-refname"&gt;R., v. 25&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 192-216&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="131320" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="131320" data-sentence-id="131328" class="ldml-sentence"&gt;The evidence established that Rodriguez used a knife to kill &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; during the continuing process of taking her money and car.&lt;/span&gt; &lt;span data-paragraph-id="131320" data-sentence-id="131466" class="ldml-sentence"&gt;The perpetration of the robbery did not cease at the moment Rodriguez forcibly took the money and car from &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, but continued after Rodriguez killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; with the knife.&lt;/span&gt; &lt;span data-paragraph-id="131320" data-sentence-id="131663" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889894886" data-vids="889894886" class="ldml-reference" data-prop-ids="embeddedsentence_131716,sentence_131466"&gt;&lt;span class="ldml-refname"&gt;People v. Morgan&lt;/span&gt;, &lt;span class="ldml-cite"&gt;637 P.2d 338, 345&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that the perpetration of a robbery does not come to an end at the moment the criminal receives the victim's money&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887489707" data-vids="887489707" class="ldml-reference" data-prop-ids="sentence_131466"&gt;&lt;span class="ldml-refname"&gt;Whitman v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;161 Colo. 110, 116&lt;/span&gt;, &lt;span class="ldml-cite"&gt;420 P.2d 416, 419&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1966&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(same)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="131320" data-sentence-id="131912" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that, based on the evidence presented, the jury could reasonably conclude beyond a reasonable doubt that Rodriguez committed each element of the offense of aggravated robbery.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="XIII. Judicial Bias" data-id="heading_132096" data-ordinal_start="13" data-ordinal_end="13" data-specifier="XIII" id="heading_132096" data-content-heading-label="XIII
Judicial Bias
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="132096" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="132096" data-sentence-id="132096" class="ldml-sentence"&gt;XIII&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="132101" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="132101" data-sentence-id="132101" class="ldml-sentence"&gt;Judicial Bias&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="132115" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="132115" data-sentence-id="132123" class="ldml-sentence"&gt;In Issues 11 and 150, Rodriguez alleges prejudice resulting from Judge &lt;span class="ldml-entity"&gt;Connie Peterson&lt;/span&gt;'s involvement in postconviction proceedings.&lt;/span&gt; &lt;span data-paragraph-id="132115" data-sentence-id="132255" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold these issues meritless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="132287" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="132287" data-sentence-id="132295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Peterson&lt;/span&gt;&lt;/span&gt; served as the trial judge during the guilt and penalty phases of Rodriguez' trial.&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="132393" class="ldml-sentence"&gt;After direct appeal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to set a date for the imposition of Rodriguez' death sentence.&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="132517" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_132393"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965, 991&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_132393"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="132653" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;September 1990&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;motion to recuse Judge&lt;/span&gt; Peterson from presiding over postconviction proceedings because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had filed an ethical complaint against appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; &lt;span class="ldml-entity"&gt;Michael Heher&lt;/span&gt; concerning his representation of Rodriguez during the direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="132921" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_132653"&gt;&lt;span class="ldml-refname"&gt;Am. R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 589-602&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="132946" class="ldml-sentence"&gt;Rodriguez' case was then assigned to Judge &lt;span class="ldml-entity"&gt;J. Stephen Phillips&lt;/span&gt;, and Judge Peterson no longer presided over &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="133063" class="ldml-sentence"&gt;Rodriguez then filed a &lt;span class="ldml-quotation quote"&gt;"Motion for Ruling on &lt;span class="ldml-entity"&gt;Motion to Recuse Judge&lt;/span&gt; &lt;span class="ldml-entity"&gt;Connie L. Peterson&lt;/span&gt; and for Substitution of Another Judge."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="133190" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_133063"&gt;&lt;span class="ldml-cite"&gt;Id. at 619&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="132287" data-sentence-id="133202" class="ldml-sentence"&gt;The motion stated:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="133221" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="133221" data-sentence-id="133221" class="ldml-sentence"&gt;Although it appears that &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; has been assigned to Judge Phillips instead of Judge Peterson at this time, a ruling on the &lt;span class="ldml-entity"&gt;motion to recuse&lt;/span&gt; is still necessary.&lt;/span&gt; &lt;span data-paragraph-id="133221" data-sentence-id="133385" class="ldml-sentence"&gt;Until the motion is granted, the danger exists that Judge Peterson and Judge Phillips will continue to confer about and/or discuss &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="133221" data-sentence-id="133527" class="ldml-sentence"&gt;Those judges have obviously already done so.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="133572" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="133572" data-sentence-id="133580" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="133572" data-sentence-id="133584" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Phillips&lt;/span&gt;&lt;/span&gt; denied Rodriguez' &lt;span class="ldml-quotation quote"&gt;"Motion for Ruling on &lt;span class="ldml-entity"&gt;Motion to Recuse Judge&lt;/span&gt; &lt;span class="ldml-entity"&gt;Connie L. Peterson&lt;/span&gt; and for Substitution of Another Judge,"&lt;/span&gt; stating: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[the motion is]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[m]&lt;/span&gt;oot.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;This case&lt;/span&gt; has been returned to Courtroom 16 where Judge Phillips presides."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="133572" data-sentence-id="133832" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_133584"&gt;&lt;span class="ldml-cite"&gt;Id. at 623&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="133844" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="133844" data-sentence-id="133852" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;December 31, 1990&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;motion for reconsideration&lt;/span&gt; of sentence with Judge Peterson.&lt;/span&gt; &lt;span data-paragraph-id="133844" data-sentence-id="133966" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_133852"&gt;&lt;span class="ldml-refname"&gt;Am. R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 811&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="133844" data-sentence-id="133987" class="ldml-sentence"&gt;Rodriguez also filed a &lt;span class="ldml-entity"&gt;motion for extension of time to submit&lt;/span&gt; an amended &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="133844" data-sentence-id="134082" class="ldml-sentence"&gt;In an order dated &lt;span class="ldml-entity"&gt;January 3, 1991&lt;/span&gt;, Judge Peterson stated:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="134140" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="134140" data-sentence-id="134140" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Defendant&lt;/span&gt; filed a &lt;span class="ldml-entity"&gt;Motion for Reconsideration&lt;/span&gt; of Sentence on &lt;span class="ldml-entity"&gt;December 31, 1990&lt;/span&gt;, designating Courtroom 9 &lt;span class="ldml-parenthetical"&gt;[Judge Peterson's courtroom]&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="134140" data-sentence-id="134277" class="ldml-sentence"&gt;This is a Courtroom 16 case &lt;span class="ldml-parenthetical"&gt;[Judge Phillips' courtroom]&lt;/span&gt; and will continue to be processed by Courtroom 16.&lt;/span&gt; &lt;span data-paragraph-id="134140" data-sentence-id="134384" class="ldml-sentence"&gt;Accordingly, the motion is referred to Courtroom 16.&lt;/span&gt; &lt;span data-paragraph-id="134140" data-sentence-id="134437" class="ldml-sentence"&gt;There is nothing in the motion which requires review by the trial judge.&lt;/span&gt; &lt;span data-paragraph-id="134140" data-sentence-id="134510" class="ldml-sentence"&gt;As previously ruled &lt;span class="ldml-entity"&gt;by Judge &lt;span class="ldml-entity"&gt;Phillips&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion to recuse&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[Judge Peterson]&lt;/span&gt; is moot.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="134608" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="134608" data-sentence-id="134616" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 810&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="134608" data-sentence-id="134628" class="ldml-sentence"&gt;Also, on &lt;span class="ldml-entity"&gt;January 3, 1990&lt;/span&gt;, Judge Phillips granted Rodriguez' &lt;span class="ldml-entity"&gt;motion for extension&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="134709" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="134709" data-sentence-id="134709" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 283&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="134717" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="134717" data-sentence-id="134718" class="ldml-sentence"&gt;of time.&lt;/span&gt; &lt;span data-paragraph-id="134717" data-sentence-id="134727" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_134718"&gt;&lt;span class="ldml-cite"&gt;Id. at 809&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="134717" data-sentence-id="134739" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;February 11, 1991&lt;/span&gt;, Rodriguez filed an amended &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; with Judge Phillips.&lt;/span&gt; &lt;span data-paragraph-id="134717" data-sentence-id="134830" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;February 21, 1991&lt;/span&gt;, Judge Phillips denied Rodriguez' amended &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="134717" data-sentence-id="134915" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_134830"&gt;&lt;span class="ldml-cite"&gt;Id. at 823&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="134927" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="134927" data-sentence-id="134935" class="ldml-sentence"&gt;In Issue 11, Rodriguez claims that &lt;span class="ldml-quotation quote"&gt;"Judge Peterson's continued involvement in Mr. Rodriguez' case during postconviction proceedings, despite her bias against Mr. Rodriguez and his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, and despite the pendency of a &lt;span class="ldml-entity"&gt;Motion to Recuse&lt;/span&gt; her, was prejudicial error."&lt;/span&gt;&lt;/span&gt; &lt;a href="#note-fr54" class="ldml-noteanchor" id="note-ref-fr54"&gt;54&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="134927" data-sentence-id="135201" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_134935"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="134927" data-sentence-id="135233" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="135246" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="135246" data-sentence-id="135254" class="ldml-sentence"&gt;The disqualification of judges is governed by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 16-6-201, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and Crim.P. 21&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="135246" data-sentence-id="135355" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_135355"&gt;&lt;span class="ldml-cite"&gt;Section 16-6-201&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides, in pertinent part:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="135401" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="135401" data-sentence-id="135401" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; A judge of &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; of record shall be disqualified to hear or try &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; if:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="135482" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="135482" data-sentence-id="135482" class="ldml-sentence"&gt;....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="135487" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="135487" data-sentence-id="135487" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt; &lt;span class="ldml-entity"&gt;He&lt;/span&gt; is in any way interested or prejudiced with respect to &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;, or &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="135584" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="135584" data-sentence-id="135592" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 21&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="135584" data-sentence-id="135611" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The purpose of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; and rule for disqualification of a trial judge is to guarantee that no person is forced to stand trial before a judge with a &lt;span class="ldml-quotation quote"&gt;'bent of mind.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="135584" data-sentence-id="135782" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895737007" data-vids="895737007" class="ldml-reference" data-prop-ids="sentence_135611"&gt;&lt;span class="ldml-refname"&gt;People v. Botham&lt;/span&gt;, &lt;span class="ldml-cite"&gt;629 P.2d 589, 595&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894668433" data-vids="894668433" class="ldml-reference" data-prop-ids="sentence_135611"&gt;&lt;span class="ldml-refname"&gt;Berger v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;255 U.S. 22&lt;/span&gt;, &lt;span class="ldml-cite"&gt;41 S.Ct. 230&lt;/span&gt;, &lt;span class="ldml-cite"&gt;65 L.Ed. 481&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1921&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="135913" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="135913" data-sentence-id="135921" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly determined that Rodriguez' &lt;span class="ldml-entity"&gt;motion to recuse Judge&lt;/span&gt; Peterson became moot upon the transfer of Rodriguez' case to Judge Phillips.&lt;/span&gt; &lt;span data-paragraph-id="135913" data-sentence-id="136082" class="ldml-sentence"&gt;Contrary to Rodriguez' assertions, after the transfer of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, Judge Peterson did not involve herself in Rodriguez' postconviction proceedings in anything more than an administerial role.&lt;/span&gt; &lt;span data-paragraph-id="135913" data-sentence-id="136274" class="ldml-sentence"&gt;As evidenced by her order of &lt;span class="ldml-entity"&gt;January 3, 1991&lt;/span&gt;, Judge Peterson transferred Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; to Judge Phillips and did not rule on the merits of that motion.&lt;/span&gt; &lt;span data-paragraph-id="135913" data-sentence-id="136444" class="ldml-sentence"&gt;Furthermore, Rodriguez fails to identify any ruling by Judge Peterson subsequent to the transfer of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to Judge Phillips which demonstrates a substantial &lt;span class="ldml-quotation quote"&gt;"bent of mind"&lt;/span&gt; against Rodriguez.&lt;/span&gt; &lt;span data-paragraph-id="135913" data-sentence-id="136638" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Rodriguez' claim of judicial bias in Issues 11 and 150.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="XIV. Vacation of Duplicative Convictions" data-id="heading_136717" data-ordinal_start="14" data-ordinal_end="14" data-specifier="XIV" id="heading_136717" data-content-heading-label="XIV
Vacation of Duplicative Convictions
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="136717" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="136717" data-sentence-id="136717" class="ldml-sentence"&gt;XIV&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="136721" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="136721" data-sentence-id="136721" class="ldml-sentence"&gt;Vacation of Duplicative Convictions&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="136757" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="136757" data-sentence-id="136765" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; vacated as duplicative Rodriguez' convictions for felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit first-degree aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="136757" data-sentence-id="136966" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_136765"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 216-219&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_136765"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 9&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2235-36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="136757" data-sentence-id="137011" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then concluded that &lt;span class="ldml-quotation quote"&gt;"this is the extent of relief available to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="136757" data-sentence-id="137100" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_137011"&gt;&lt;span class="ldml-cite"&gt;Id. at 217, 219&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="136757" data-sentence-id="137117" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; did not err in vacating the duplicative convictions or in upholding the death sentence after that vacation.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="137244" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="137244" data-sentence-id="137252" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[C]&lt;/span&gt;onspiracy constitutes a single offense, although the agreement upon which the charge is founded contemplates the performance of several criminal acts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="137244" data-sentence-id="137408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbradley,169colo262,264-265,455p2d199,2001969" data-prop-ids="sentence_137252"&gt;&lt;span class="ldml-refname"&gt;People v. Bradley&lt;/span&gt;, &lt;span class="ldml-cite"&gt;169 Colo. 262, 265&lt;/span&gt;, &lt;span class="ldml-cite"&gt;455 P.2d 199, 200&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="137244" data-sentence-id="137473" class="ldml-sentence"&gt;Although Rodriguez and his cohorts agreed to several criminal acts and then carried out that agreement, under &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;, the conspiracy violated only a single &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, and Rodriguez can constitutionally receive only a single penalty for a single crime.&lt;/span&gt; &lt;span data-paragraph-id="137244" data-sentence-id="137739" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbradley,169colo262,264-265,455p2d199,2001969" data-prop-ids="sentence_137473"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_137473"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, § 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_137810,sentence_137473"&gt;&lt;span class="ldml-cite"&gt;§ 18-2-201&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f a person conspires to commit a number of crimes, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is guilty of only one conspiracy so long as such multiple crimes are part of a single criminal episode"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:bravermanvunitedstates,317us49,54,63sct99,102,87led23338pasuper681942" data-prop-ids="embeddedsentence_138070,sentence_137473"&gt;&lt;span class="ldml-refname"&gt;Braverman v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;317 U.S. 49, 53&lt;/span&gt;, &lt;span class="ldml-cite"&gt;63 S.Ct. 99, 102&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 L.Ed. 23&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1942&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Whether the object of a single agreement is to commit one or many crimes, it is in either case that agreement which constitutes the conspiracy which &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; punishes.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The one agreement cannot be taken to be several agreements and hence several conspiracies because it envisages the violation of several &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; rather than one."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="138407" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="138407" data-sentence-id="138407" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 284&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="138416" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="138416" data-sentence-id="138424" class="ldml-sentence"&gt;Likewise, Rodriguez cannot be convicted for both felony-murder and first-degree murder after deliberation for the murder of a single victim.&lt;/span&gt; &lt;span data-paragraph-id="138416" data-sentence-id="138565" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892273921" data-vids="892273921" class="ldml-reference" data-prop-ids="sentence_138424"&gt;&lt;span class="ldml-refname"&gt;People v. Glover&lt;/span&gt;, &lt;span class="ldml-cite"&gt;893 P.2d 1311, 1314&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevlowe,660p2d1261,1271n11colo1983" data-prop-ids="sentence_138424"&gt;&lt;span class="ldml-refname"&gt;People v. Lowe&lt;/span&gt;, &lt;span class="ldml-cite"&gt;660 P.2d 1261, 1269-71&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; see also infra &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;part XV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="138697" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="138697" data-sentence-id="138705" class="ldml-sentence"&gt;Throughout his brief, and particularly in Issue 13, Rodriguez argues that the vacation of the duplicative convictions mandates vacation of his death sentence because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he death verdict is tainted by the consideration of illegal convictions and is itself illegal and unreliable."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="138697" data-sentence-id="138986" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_138705"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="embeddedsentence_139100,sentence_138705"&gt;&lt;span class="ldml-refname"&gt;Johnson v. Mississippi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. 578&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. 1981&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 L.Ed.2d 575&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that a capital sentencer violates the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_138705"&gt;&lt;span class="ldml-cite"&gt;Eighth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; by considering a conviction which is later reversed as unconstitutional&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="139237" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="139237" data-sentence-id="139245" class="ldml-sentence"&gt;As stated in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_139245"&gt;&lt;span class="ldml-cite"&gt;part I&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion, the sentencing jury found six statutory aggravating factors relevant to &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;:&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; committing murder while under a felony sentence of imprisonment; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; intentionally killing a person kidnapped by him or by anyone associated with him; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; intentionally killing a person in furtherance of an agreement to kill; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; intentionally causing the death of a person in the course of or in furtherance of a felony or in his immediate flight therefrom; &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; killing in an especially heinous, cruel or depraved manner; and &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; committing murder for the purpose of avoiding or preventing a lawful arrest or &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="139237" data-sentence-id="139934" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_139245"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 746-753&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="139959" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="139959" data-sentence-id="139967" class="ldml-sentence"&gt;The evidence supporting the vacated convictions also supports two of the aggravating factors found by the jury: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; intentionally killing a person in furtherance of an agreement to kill, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_139967"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; intentionally causing the death of a person in the course of or in furtherance of a felony or in the immediate flight therefrom, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_139967"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="139959" data-sentence-id="140331" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_140331"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not require a conviction for either felony murder or conspiracy to commit murder before those aggravating factors are found.&lt;/span&gt; &lt;span data-paragraph-id="139959" data-sentence-id="140488" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; defines the relevant aggravating factors as follows: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; has been &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; to an agreement to kill another person in furtherance of which a person has been intentionally killed;"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; committed a class 1, 2, or 3 felony and, in the course of or in furtherance of such or immediate flight therefrom, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intentionally caused the death of a person other than one of the participants."&lt;/span&gt;&lt;/span&gt; &lt;a href="#note-fr55" class="ldml-noteanchor" id="note-ref-fr55"&gt;55&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="139959" data-sentence-id="140921" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_140488"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="139959" data-sentence-id="140948" class="ldml-sentence"&gt;Further, in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; instructed the jury as follows:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="141028" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="141028" data-sentence-id="141036" class="ldml-sentence"&gt;These seven alleged aggravating factors are the only aggravating factors you may consider in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="141140" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="141140" data-sentence-id="141148" class="ldml-sentence"&gt;The fact that you have found Mr. Rodriguez guilty of the crime of murder in the first degree is not an aggravating factor.&lt;/span&gt; &lt;span data-paragraph-id="141140" data-sentence-id="141271" class="ldml-sentence"&gt;Except as required by &lt;span class="ldml-parenthetical"&gt;[the aggravating factor of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_141271"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ]&lt;/span&gt;, the fact that you have found Mr. Rodriguez guilty of other crimes is not an aggravating factor.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="141443" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="141443" data-sentence-id="141451" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 777&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="141443" data-sentence-id="141468" class="ldml-sentence"&gt;Thus, the jury was specifically instructed not to consider Rodriguez' convictions as aggravating factors, and the jury is presumed to have followed those instructions.&lt;/span&gt; &lt;span data-paragraph-id="141443" data-sentence-id="141636" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891343627" data-vids="891343627" class="ldml-reference" data-prop-ids="embeddedsentence_141696,sentence_141468"&gt;&lt;span class="ldml-refname"&gt;Armentrout v. FMC Corp.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;842 P.2d 175, 187&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;civil case holding same&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="141722" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="141722" data-sentence-id="141730" class="ldml-sentence"&gt;Even after the vacation of the felony murder conviction, Rodriguez meets the requirements of the aggravating factor found in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_141730"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="141722" data-sentence-id="141880" class="ldml-sentence"&gt;Rodriguez stands convicted of first-degree sexual assault, second-degree kidnapping, and aggravated robbery.&lt;/span&gt; &lt;span data-paragraph-id="141722" data-sentence-id="141989" class="ldml-sentence"&gt;When the jury convicted Rodriguez of first-degree felony murder, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; necessarily found that Rodriguez intentionally caused his victim's death in the course of, in furtherance of, or in flight from one of these felonies.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="142210" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="142210" data-sentence-id="142210" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 285&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="142218" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="142218" data-sentence-id="142219" class="ldml-sentence"&gt;Both the conviction for murder after deliberation and the conviction for felony murder were constitutionally obtained.&lt;/span&gt; &lt;span data-paragraph-id="142218" data-sentence-id="142338" class="ldml-sentence"&gt;The fact that both convictions cannot constitutionally stand does not require nullification of the jury's finding which supported the felony murder conviction and the aggravating factor.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="142525" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="142525" data-sentence-id="142533" class="ldml-sentence"&gt;This situation differs from that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_142533"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. at 584-90&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. at 1985-89&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="142525" data-sentence-id="142621" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_142621"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the capital sentencer might have relied, in part, upon a prior felony conviction which derived from an unconstitutionally obtained confession.&lt;/span&gt; &lt;span data-paragraph-id="142525" data-sentence-id="142777" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Supreme Court&lt;/span&gt; held that, even if &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; had not argued the conviction in support of a death sentence, &lt;span class="ldml-quotation quote"&gt;"there would be a possibility that the jury's belief that &lt;span class="ldml-entity"&gt;petitioner&lt;/span&gt; had been convicted of a prior felony would be decisive in the choice between a life sentence and a death sentence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="142525" data-sentence-id="143077" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_142777"&gt;&lt;span class="ldml-cite"&gt;Id. at 586&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. at 1987&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="142525" data-sentence-id="143156" class="ldml-sentence"&gt;However, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_143156"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the conviction which the sentencing jury considered was constitutionally unsound for two reasons: first, it was based upon an involuntary confession; and, second, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was unconstitutionally denied his right to appeal.&lt;/span&gt; &lt;span data-paragraph-id="142525" data-sentence-id="143408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_143156"&gt;&lt;span class="ldml-cite"&gt;Id. at 582&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. at 1984-85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="142525" data-sentence-id="143442" class="ldml-sentence"&gt;In contrast, Rodriguez' conviction for felony murder was not defective and would stand had &lt;span class="ldml-entity"&gt;he&lt;/span&gt; not been convicted of murder after deliberation for the same crime.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="143604" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="143604" data-sentence-id="143612" class="ldml-sentence"&gt;Likewise, the jury could appropriately consider the aggravating factor found in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_143612"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: intentionally committing a murder pursuant to an agreement to do so.&lt;/span&gt; &lt;span data-paragraph-id="143604" data-sentence-id="143787" class="ldml-sentence"&gt;Rodriguez' conviction for conspiracy to commit murder is the only conspiracy conviction relevant to the determination of the aggravating factors.&lt;/span&gt; &lt;span data-paragraph-id="143604" data-sentence-id="143933" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_143787"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr56" class="ldml-noteanchor" id="note-ref-fr56"&gt;56&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="143604" data-sentence-id="143954" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; appropriately upheld Rodriguez' conviction for conspiracy to commit murder while vacating the other two conspiracy convictions.&lt;/span&gt; &lt;span data-paragraph-id="143604" data-sentence-id="144101" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_143954"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 9&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2235-36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="143604" data-sentence-id="144129" class="ldml-sentence"&gt;When a conviction must be vacated as duplicative, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; should &lt;span class="ldml-quotation quote"&gt;"select&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; the combination of offenses that produce&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; the most convictions and the longest sentences in order to maximize the effect of the juries' verdicts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="143604" data-sentence-id="144365" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892273921" data-vids="892273921" class="ldml-reference" data-prop-ids="sentence_144129"&gt;&lt;span class="ldml-refname"&gt;Glover&lt;/span&gt;, &lt;span class="ldml-cite"&gt;893 P.2d at 1315&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="143604" data-sentence-id="144391" class="ldml-sentence"&gt;Although the three conspiracies of which Rodriguez was convicted are each punishable as a class 5 felony, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 18-2-201&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, retention of the conviction for conspiracy to commit murder would likely produce the longest sentence due to the greater applicability of the aggravating factors found in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_144391"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="144723" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="144723" data-sentence-id="144731" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_144731"&gt;&lt;span class="ldml-refname"&gt;Clemons v. Mississippi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;494 U.S. 738&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 1441&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 L.Ed.2d 725&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_144731"&gt;&lt;span class="ldml-refname"&gt;Zant v. Stephens&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. 862&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. 2733&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 L.Ed.2d 235&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, do not support the argument that Rodriguez' death sentence must be set aside due to the vacation of his convictions for felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="144723" data-sentence-id="145123" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;These cases&lt;/span&gt; are inapposite because both &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; dealt with a death sentence imposed by a jury that had relied upon a constitutionally invalid statutory aggravating factor.&lt;/span&gt; &lt;span data-paragraph-id="144723" data-sentence-id="145293" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="embeddedsentence_145348,sentence_145123"&gt;&lt;span class="ldml-refname"&gt;Clemons&lt;/span&gt;, &lt;span class="ldml-cite"&gt;494 U.S. at 742-43&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1444-45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;jury relied upon the aggravating circumstance that the murder was &lt;span class="ldml-quotation quote"&gt;"especially heinous, atrocious or cruel,"&lt;/span&gt; which the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; determined was unconstitutionally vague&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="embeddedsentence_145588,sentence_145123"&gt;&lt;span class="ldml-refname"&gt;Stephens&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. at 885-87&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2747-49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;jury relied upon the aggravating circumstance that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had a &lt;span class="ldml-quotation quote"&gt;"substantial history of serious assaultive criminal convictions,"&lt;/span&gt; which the &lt;span class="ldml-entity"&gt;Georgia Supreme Court&lt;/span&gt; invalidated as unconstitutionally vague&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="144723" data-sentence-id="145799" class="ldml-sentence"&gt;By contrast, the aggravating factors at issue here are neither unconstitutional per se nor supported by evidence unconstitutionally obtained or admitted.&lt;/span&gt; &lt;span data-paragraph-id="144723" data-sentence-id="145953" class="ldml-sentence"&gt;Rodriguez' three vacated convictions were not unconstitutionally entered or obtained and are vacated only because of their duplicity.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="146087" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="146087" data-sentence-id="146095" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; need not vacate Rodriguez' death sentence due to the vacation of his convictions for felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="146087" data-sentence-id="146315" class="ldml-sentence"&gt;The evidence supporting both the vacated convictions and the challenged aggravating factors was properly before&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="146427" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="146427" data-sentence-id="146427" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 286&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="146435" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="146435" data-sentence-id="146436" class="ldml-sentence"&gt;the sentencing jury.&lt;/span&gt; &lt;span data-paragraph-id="146435" data-sentence-id="146457" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_146480,sentence_146436"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;allowing the capital sentencer to consider &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;ll evidence ... that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; deems relevant to the nature of the crime, ... including any evidence presented in the guilt phase of the trial"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="146435" data-sentence-id="146673" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s handling of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is far from ideal, its failure to earlier vacate the duplicative convictions affected neither the aggravating factors which the jury applied nor the resultant sentence of death.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="146903" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="146903" data-sentence-id="146911" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_146911"&gt;&lt;span class="ldml-cite"&gt;part IX&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remand Rodriguez' conviction for first-degree sexual assault as a class 2 felony to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; with directions to vacate that judgment and sentence and to enter judgment and sentence for the lesser included offense of first-degree sexual assault as a class 3 felony.&lt;/span&gt; &lt;span data-paragraph-id="146903" data-sentence-id="147220" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that this remand also does not affect Rodriguez' death sentence for reasons analogous to those stated above.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="XV. Merger" data-id="heading_147341" data-ordinal_start="15" data-ordinal_end="15" data-specifier="XV" id="heading_147341" data-content-heading-label="XV
Merger
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="147341" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="147341" data-sentence-id="147341" class="ldml-sentence"&gt;XV&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="147344" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="147344" data-sentence-id="147344" class="ldml-sentence"&gt;Merger&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="147351" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="147351" data-sentence-id="147359" class="ldml-sentence"&gt;In Issues 143, 144, and 145, Rodriguez argues that various of his convictions should &lt;span class="ldml-quotation quote"&gt;"merge"&lt;/span&gt; together.&lt;/span&gt; &lt;span data-paragraph-id="147351" data-sentence-id="147462" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that these arguments are meritless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="147510" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="147510" data-sentence-id="147518" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; can be convicted of multiple offenses arising out of a single transaction.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="147605" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_147518"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-408, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="147639" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; cannot be convicted of an offense which is a lesser included offense of another crime of which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is convicted.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="147772" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_147639"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888054899" data-vids="888054899" class="ldml-reference" data-prop-ids="sentence_147639"&gt;&lt;span class="ldml-refname"&gt;People v. Henderson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;810 P.2d 1058, 1061&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="147835" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"A lesser offense is included within a greater offense when the establishment of the essential elements of the greater offense necessarily establishes all the elements required to prove the lesser offense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="148042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889510630" data-vids="889510630" class="ldml-reference" data-prop-ids="sentence_147835"&gt;&lt;span class="ldml-refname"&gt;People v. Nhan Dao Van&lt;/span&gt;, &lt;span class="ldml-cite"&gt;681 P.2d 932, 934&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="148097" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; is convicted of both a greater offense and a lesser included offense, the convictions &lt;span class="ldml-quotation quote"&gt;"merge."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="148207" class="ldml-sentence"&gt;Merger in Colorado requires a comparison of the elements of the applicable &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;, not of the evidence presented on those elements.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="148341" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888054899" data-vids="888054899" class="ldml-reference" data-prop-ids="sentence_148207"&gt;&lt;span class="ldml-refname"&gt;Henderson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;810 P.2d at 1063&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="148374" class="ldml-sentence"&gt;For example, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; cannot be convicted of both felony murder and of the underlying causal felony because proof of the felony murder necessarily includes the very same elements required for the underlying felony.&lt;/span&gt; &lt;span data-paragraph-id="147510" data-sentence-id="148592" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890822761" data-vids="890822761" class="ldml-reference" data-prop-ids="sentence_148374"&gt;&lt;span class="ldml-refname"&gt;Callis v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;692 P.2d 1045, 1054-55&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888006639" data-vids="888006639" class="ldml-reference" data-prop-ids="sentence_148374"&gt;&lt;span class="ldml-refname"&gt;People v. Bartowsheski&lt;/span&gt;, &lt;span class="ldml-cite"&gt;661 P.2d 235, 245-47&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="148704" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="148704" data-sentence-id="148712" class="ldml-sentence"&gt;In Issue 143, Rodriguez contends that his convictions for the underlying felonies merge into his conviction for felony murder.&lt;/span&gt; &lt;span data-paragraph-id="148704" data-sentence-id="148839" class="ldml-sentence"&gt;In light of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s vacation of Rodriguez' felony murder conviction and our affirmance of that vacation, Issue 143 is rendered moot.&lt;/span&gt; &lt;span data-paragraph-id="148704" data-sentence-id="148985" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_148839"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt; &lt;span class="ldml-cite"&gt;part XIV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="149005" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="149005" data-sentence-id="149013" class="ldml-sentence"&gt;In Issue 144, Rodriguez argues that his first-degree sexual assault conviction merged into his second-degree kidnapping conviction because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;ne of the essential elements of the second degree kidnapping allegation ... was that the victim was sexually assaulted."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="149005" data-sentence-id="149277" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_149013"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 393&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="149005" data-sentence-id="149310" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have held that convictions for kidnapping and for sexual assault do not merge.&lt;/span&gt; &lt;span data-paragraph-id="149005" data-sentence-id="149392" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888054899" data-vids="888054899" class="ldml-reference" data-prop-ids="embeddedsentence_149428,sentence_149310"&gt;&lt;span class="ldml-refname"&gt;Henderson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;810 P.2d at 1063-64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that merger did not apply because sexual assault was not a lesser included offense of second-degree kidnapping involving sexual assault&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="149005" data-sentence-id="149574" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that Rodriguez' convictions for second-degree kidnapping and for first-degree sexual assault do not merge and that, accordingly, Issue 144 is meritless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="149739" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="149739" data-sentence-id="149747" class="ldml-sentence"&gt;In Issue 145, Rodriguez argues that his convictions for first-degree murder, first-degree sexual assault, and second-degree kidnapping all merge into his conviction for first-degree aggravated motor vehicle theft because those convictions were predicate &lt;span class="ldml-quotation quote"&gt;"elements"&lt;/span&gt; of first-degree aggravated motor vehicle theft and because the Double Jeopardy Clauses in the United States and Colorado Constitutions prohibit multiple punishments for the same or included offenses.&lt;/span&gt; &lt;span data-paragraph-id="149739" data-sentence-id="150212" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_150238,sentence_149747"&gt;&lt;span class="ldml-cite"&gt;U.S. Const. Amend. V&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(as applied to the states through &lt;/span&gt;&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_149747"&gt;&lt;span class="ldml-cite"&gt;U.S. Const. Amend. XIV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_149747"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, § 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="149739" data-sentence-id="150333" class="ldml-sentence"&gt;As charged, Rodriguez' conviction for first-degree aggravated motor vehicle theft as a class 4 felony required that the jury find that Rodriguez &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[u]&lt;/span&gt;se&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; the motor vehicle in the commission of a crime other than a traffic offense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="149739" data-sentence-id="150566" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_150333"&gt;&lt;span class="ldml-cite"&gt;§ 18-4-409&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_150333"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="149739" data-sentence-id="150620" class="ldml-sentence"&gt;Both the information and the guilt phase jury instruction&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="150678" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="150678" data-sentence-id="150678" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 287&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="150686" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="150686" data-sentence-id="150687" class="ldml-sentence"&gt;stated the predicate crime as either first-degree murder, first-degree sexual assault, or second-degree kidnapping.&lt;/span&gt; &lt;span data-paragraph-id="150686" data-sentence-id="150803" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_150687"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_150687"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 578&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="150835" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="150835" data-sentence-id="150843" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; such as this, where &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; receives multiple sentences in a single criminal trial, the constitutional guarantee against double jeopardy is &lt;span class="ldml-quotation quote"&gt;"designed to ensure that the sentencing discretion of &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; is confined to the limits established by &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="150835" data-sentence-id="151117" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895593818" data-vids="895593818" class="ldml-reference" data-prop-ids="sentence_150843"&gt;&lt;span class="ldml-refname"&gt;Ohio v. Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;467 U.S. 493, 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2536, 2540-41&lt;/span&gt;, &lt;span class="ldml-cite"&gt;81 L.Ed.2d 425&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889484226" data-vids="889484226" class="ldml-reference" data-prop-ids="sentence_150843"&gt;&lt;span class="ldml-refname"&gt;Jones v. Thomas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;491 U.S. 376, 381&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. 2522, 2525-26&lt;/span&gt;, &lt;span class="ldml-cite"&gt;105 L.Ed.2d 322&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="150835" data-sentence-id="151290" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; employ an &lt;span class="ldml-quotation quote"&gt;"identical analysis ... to determine whether an offense is the same or lesser included for purposes of both double jeopardy and merger,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888054899" data-vids="888054899" class="ldml-reference" data-prop-ids="sentence_151290"&gt;&lt;span class="ldml-refname"&gt;Henderson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;810 P.2d at 1061&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-quotation quote"&gt;"may properly look to double jeopardy analysis for guidance."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="150835" data-sentence-id="151535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894867076" data-vids="894867076" class="ldml-reference" data-prop-ids="sentence_151290"&gt;&lt;span class="ldml-refname"&gt;People v. Moore&lt;/span&gt;, &lt;span class="ldml-cite"&gt;877 P.2d 840, 843&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="150835" data-sentence-id="151583" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The purpose is to ensure that sentencing &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; do not exceed, by the device of multiple punishments, the limits prescribed by the legislative branch of government, in which lies the substantive power to define crimes and prescribe punishments."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="150835" data-sentence-id="151830" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889484226" data-vids="889484226" class="ldml-reference" data-prop-ids="sentence_151583"&gt;&lt;span class="ldml-refname"&gt;Thomas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;491 U.S. at 381&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. at 2525-26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="150835" data-sentence-id="151877" class="ldml-sentence"&gt;Thus, our task is to construe &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_151877"&gt;&lt;span class="ldml-cite"&gt;section 18-1-408&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"is essentially one of &lt;span class="ldml-parenthetical"&gt;[determining]&lt;/span&gt; &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="150835" data-sentence-id="151989" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895593818" data-vids="895593818" class="ldml-reference" data-prop-ids="sentence_151877"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;467 U.S. at 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2541&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="152034" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152042" class="ldml-sentence"&gt;Rodriguez' argument does not analogize to that requiring the merger of the conviction for the underlying causal felony into the conviction for felony murder.&lt;/span&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152200" class="ldml-sentence"&gt;In felony murder, the underlying offenses are less serious than felony murder itself.&lt;/span&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152286" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894867076" data-vids="894867076" class="ldml-reference" data-prop-ids="sentence_152200"&gt;&lt;span class="ldml-cite"&gt;id. at 845&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152302" class="ldml-sentence"&gt;Such need not be &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with aggravated motor vehicle theft, nor is it &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; here.&lt;/span&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152390" class="ldml-sentence"&gt;Simply put, Rodriguez' convictions for first-degree murder, first-degree sexual assault, and second-degree kidnapping are not &lt;span class="ldml-quotation quote"&gt;"lesser"&lt;/span&gt; offenses than the offense of aggravated motor vehicle theft but, rather, are significantly more serious.&lt;/span&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152630" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894867076" data-vids="894867076" class="ldml-reference" data-prop-ids="sentence_152390"&gt;&lt;span class="ldml-cite"&gt;id. at 845-46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152649" class="ldml-sentence"&gt;As such, a different analysis is required than that employed by &lt;span class="ldml-entity"&gt;this court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888006639" data-vids="888006639" class="ldml-reference" data-prop-ids="sentence_152649"&gt;&lt;span class="ldml-refname"&gt;Bartowsheski&lt;/span&gt;, &lt;span class="ldml-cite"&gt;661 P.2d at 235&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="152034" data-sentence-id="152759" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894867076" data-vids="894867076" class="ldml-reference" data-prop-ids="sentence_152649"&gt;&lt;span class="ldml-refname"&gt;Moore&lt;/span&gt;, &lt;span class="ldml-cite"&gt;877 P.2d at 845&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="152787" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="152787" data-sentence-id="152795" class="ldml-sentence"&gt;If, as Rodriguez argues, his convictions for crimes of greater degree merged into his conviction for aggravated motor vehicle theft, the result would be not only anomalous, but absurd.&lt;/span&gt; &lt;span data-paragraph-id="152787" data-sentence-id="152980" class="ldml-sentence"&gt;Such a result is not favored.&lt;/span&gt; &lt;span data-paragraph-id="152787" data-sentence-id="153010" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:higginsvpeopleofthestateofcoloradoandtheundersheriffdavidwooleyno93sa75868p2d371jan10,1994" data-prop-ids="sentence_152980"&gt;&lt;span class="ldml-refname"&gt;Higgins v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;868 P.2d 371, 373&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_153109,sentence_152980"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, 8B C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that one purpose of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_152980"&gt;&lt;span class="ldml-cite"&gt;Colorado Criminal Code&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;o differentiate on reasonable grounds between serious and minor offenses"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_153284,sentence_152980"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-102.5&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that another purpose of the Code is &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;o punish a convicted offender by assuring the imposition of a sentence &lt;span class="ldml-entity"&gt;he&lt;/span&gt; deserves in relation to the seriousness of his offense"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="152787" data-sentence-id="153464" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[N]&lt;/span&gt;either the Double Jeopardy Clause nor any other constitutional provision exists to provide unjustified windfalls."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="152787" data-sentence-id="153583" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889484226" data-vids="889484226" class="ldml-reference" data-prop-ids="sentence_153464"&gt;&lt;span class="ldml-refname"&gt;Thomas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;491 U.S. at 387&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. at 2529&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="153627" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="153627" data-sentence-id="153635" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_153635"&gt;&lt;span class="ldml-cite"&gt;section 18-1-408&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not require that Rodriguez' convictions merge.&lt;/span&gt; &lt;span data-paragraph-id="153627" data-sentence-id="153724" class="ldml-sentence"&gt;First, the motor vehicle theft is an offense against property whereas the underlying felonies are offenses against a person.&lt;/span&gt; &lt;span data-paragraph-id="153627" data-sentence-id="153849" class="ldml-sentence"&gt;Thus, as in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894867076" data-vids="894867076" class="ldml-reference" data-prop-ids="sentence_153849"&gt;&lt;span class="ldml-refname"&gt;Moore&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the crimes have different objects or victims.&lt;/span&gt; &lt;span data-paragraph-id="153627" data-sentence-id="153915" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894867076" data-vids="894867076" class="ldml-reference" data-prop-ids="sentence_153849"&gt;&lt;span class="ldml-refname"&gt;Moore&lt;/span&gt;, &lt;span class="ldml-cite"&gt;877 P.2d at 845&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="153627" data-sentence-id="153939" class="ldml-sentence"&gt;Second, as discussed above, this situation is not analogous to that of felony murder.&lt;/span&gt; &lt;span data-paragraph-id="153627" data-sentence-id="154025" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894867076" data-vids="894867076" class="ldml-reference" data-prop-ids="sentence_153939"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="153627" data-sentence-id="154033" class="ldml-sentence"&gt;Merger in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; would provide Rodriguez with an &lt;span class="ldml-quotation quote"&gt;"unjustified windfall&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt;,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889484226" data-vids="889484226" class="ldml-reference" data-prop-ids="sentence_154033"&gt;&lt;span class="ldml-refname"&gt;Thomas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;491 U.S. at 387&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. at 2529&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and, accordingly, merger does not apply.&lt;/span&gt; &lt;span data-paragraph-id="153627" data-sentence-id="154201" class="ldml-sentence"&gt;Rodriguez stands legally convicted of all four crimes.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="XVI" data-id="heading_154256" data-ordinal_start="16" data-ordinal_end="16" data-specifier="XVI" id="heading_154256" data-content-heading-label="XVI
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="154256" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="154256" data-sentence-id="154256" class="ldml-sentence"&gt;XVI&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="154260" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="154260" data-sentence-id="154260" class="ldml-sentence"&gt;Miscellaneous Postconviction Rulings&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A" data-id="heading_154297" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_154297" data-content-heading-label="A
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="154297" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="154297" data-sentence-id="154297" class="ldml-sentence"&gt;A&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="154299" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="154299" data-sentence-id="154307" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;January 2, 1991&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;motion for reduction of sentence&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="154299" data-sentence-id="154393" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_154307"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 788-808&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="154299" data-sentence-id="154417" class="ldml-sentence"&gt;On that same day, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; granted Rodriguez an extension until &lt;span class="ldml-entity"&gt;February 11, 1991&lt;/span&gt;, to file an amended &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="154299" data-sentence-id="154551" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_154417"&gt;&lt;span class="ldml-cite"&gt;Id. at 780&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="154299" data-sentence-id="154563" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;February 11, 1991&lt;/span&gt;, Rodriguez filed an amended &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, and, on &lt;span class="ldml-entity"&gt;February 21, 1991&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied the motion.&lt;/span&gt; &lt;span data-paragraph-id="154299" data-sentence-id="154699" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_154563"&gt;&lt;span class="ldml-cite"&gt;Id. at 823&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="154299" data-sentence-id="154711" class="ldml-sentence"&gt;In Issues 15, 16, and 18, Rodriguez challenges &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="154779" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="154779" data-sentence-id="154779" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 288&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="154787" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="154787" data-sentence-id="154788" class="ldml-sentence"&gt;denial of his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr57" class="ldml-noteanchor" id="note-ref-fr57"&gt;57&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="154825" class="ldml-paragraph "&gt;&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_154825" data-val="1" data-page_type="bare_number"&gt;&lt;/span&gt; &lt;span data-paragraph-id="154825" data-sentence-id="154833" class="ldml-sentence"&gt;In Issue 15, Rodriguez contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s failure to conduct a hearing on his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; constitutes reversible error.&lt;/span&gt; &lt;span data-paragraph-id="154825" data-sentence-id="154978" class="ldml-sentence"&gt;Rodriguez concedes that normally &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; need not conduct a hearing on &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, but asserts that, because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is a capital &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is entitled to a hearing.&lt;/span&gt; &lt;span data-paragraph-id="154825" data-sentence-id="155157" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_154978"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="155190" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="155190" data-sentence-id="155198" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; seeking postconviction relief pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is entitled to a prompt evidentiary hearing &lt;span class="ldml-quotation quote"&gt;"unless the motion, the files and record clearly establish that the allegations presented in &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s motion are without merit and do not warrant postconviction relief."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="155190" data-sentence-id="155484" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891995016" data-vids="891995016" class="ldml-reference" data-prop-ids="sentence_155198"&gt;&lt;span class="ldml-refname"&gt;People v. Trujillo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. 497, 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 P.2d 1312, 1313&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887018129" data-vids="887018129" class="ldml-reference" data-prop-ids="sentence_155198"&gt;&lt;span class="ldml-refname"&gt;White v. Denver Dist. Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;766 P.2d 632, 634&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="155664" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="155664" data-sentence-id="155672" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; determined that the facts asserted as a basis for relief did not warrant a reduction in sentence.&lt;/span&gt; &lt;span data-paragraph-id="155664" data-sentence-id="155795" class="ldml-sentence"&gt;Rodriguez offers only a bare assertion that his status as a capital &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; mandates a hearing and fails to identify any specific facts which show that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was entitled to a reduction in sentence.&lt;/span&gt; &lt;span data-paragraph-id="155664" data-sentence-id="155993" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; uphold &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s refusal to conduct a hearing.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_156067" data-val="2" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="156067" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="156067" data-sentence-id="156075" class="ldml-sentence"&gt;Prior to Rodriguez' filing of either his original or amended &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; stated that its &lt;span class="ldml-quotation quote"&gt;"primary concern"&lt;/span&gt; in a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; proceeding would be with &lt;span class="ldml-quotation quote"&gt;"changes in Mr. Rodriguez' circumstances since the sentencing trial and with information not then reasonably available through the exercise of due diligence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="156067" data-sentence-id="156411" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_156075"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 690&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="156067" data-sentence-id="156431" class="ldml-sentence"&gt;In its order denying Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; noted that the information contained in the motion relating to Rodriguez' background was available to the jury at the sentencing trial and that the information supplied in &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; which was not available to the sentencing jury did not warrant a reduction in sentence.&lt;/span&gt; &lt;span data-paragraph-id="156067" data-sentence-id="156780" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_156431"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 823&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="156067" data-sentence-id="156800" class="ldml-sentence"&gt;In Issue 16, Rodriguez contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in refusing to consider any reasons for reducing his sentence which were available at the penalty phase.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="156967" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="156967" data-sentence-id="156975" class="ldml-sentence"&gt;In reviewing &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must consider all relevant and material factors which could affect its decision to modify &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s sentence, including new evidence and facts known at the time the original sentence was imposed.&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157222" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894881715" data-vids="894881715" class="ldml-reference" data-prop-ids="sentence_156975"&gt;&lt;span class="ldml-refname"&gt;Spann v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;193 Colo. 53, 55&lt;/span&gt;, &lt;span class="ldml-cite"&gt;561 P.2d 1268, 1269&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157285" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A court&lt;/span&gt; must then exercise its discretion in deciding whether to modify a previously imposed sentence and, absent an abuse of such discretion, its decision will not be disturbed on review.&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157474" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894881715" data-vids="894881715" class="ldml-reference" data-prop-ids="sentence_157285"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157478" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly exercised its discretion in stating that it would focus primarily on evidence not available at the sentencing trial.&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_157478"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 690&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157649" class="ldml-sentence"&gt;The motion included evidence available to the jury at the penalty phase and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; stated that it examined the entire motion before denying it.&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157805" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_157649"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 823&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="156967" data-sentence-id="157825" class="ldml-sentence"&gt;Rodriguez fails to show that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; confined its review to evidence that was not available to the jury at sentencing, and, accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issue 16.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-confidence="low" data-id="pagenumber_157993" data-val="3" data-page_type="bare_number"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="157993" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="157993" data-sentence-id="158001" class="ldml-sentence"&gt;Rodriguez contends &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; files did not contain a copy of Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; when &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denied the motion on &lt;span class="ldml-entity"&gt;February 21, 1991&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr58" class="ldml-noteanchor" id="note-ref-fr58"&gt;58&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="157993" data-sentence-id="158159" class="ldml-sentence"&gt;In Issue 18, Rodriguez states: "&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not have&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="158217" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="158217" data-sentence-id="158217" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 289&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="158225" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="158225" data-sentence-id="158226" class="ldml-sentence"&gt;that motion before it at that time, and it did not exercise its discretion appropriately because it did not know what the arguments and evidence in support of the motion were."&lt;/span&gt; &lt;span data-paragraph-id="158225" data-sentence-id="158403" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_158226"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 118&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="158436" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="158436" data-sentence-id="158444" class="ldml-sentence"&gt;In its &lt;span class="ldml-entity"&gt;February 21, 1994&lt;/span&gt;, order, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; specifically denied Rodriguez' &lt;span class="ldml-entity"&gt;motion for reconsideration&lt;/span&gt; of sentence of &lt;span class="ldml-entity"&gt;February 11, 1994&lt;/span&gt;, and stated that it had examined the motion.&lt;/span&gt; &lt;span data-paragraph-id="158436" data-sentence-id="158632" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_158444"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 823&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="158436" data-sentence-id="158652" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;'s order shows that it reviewed the motion and considered the arguments contained therein in refusing to reduce Rodriguez' sentence.&lt;/span&gt; &lt;span data-paragraph-id="158436" data-sentence-id="158803" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the alleged absence in the record of Rodriguez' amended &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; constitutes harmless error.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B" data-id="heading_158938" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_158938" data-content-heading-label="B
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="158938" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="158938" data-sentence-id="158938" class="ldml-sentence"&gt;B&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="158940" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="158940" data-sentence-id="158948" class="ldml-sentence"&gt;In Issues 17 and 19, Rodriguez collectively claims that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erroneously denied him assistance in the investigation and preparation of his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motions&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="158940" data-sentence-id="159121" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; contests &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; his motions for release of records relating to his background and upbringing, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_159121"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 778&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; his motions relating to investigative expenses which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; requested &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; to incur to research his childhood.&lt;/span&gt; &lt;span data-paragraph-id="158940" data-sentence-id="159412" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_159121"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 679&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="158940" data-sentence-id="159443" class="ldml-sentence"&gt;Our review of the record reveals no error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="159486" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="159486" data-sentence-id="159494" class="ldml-sentence"&gt;In Rodriguez' motions for release of records, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; requested information relating to his childhood that had already been presented at the penalty phase of trial.&lt;/span&gt; &lt;span data-paragraph-id="159486" data-sentence-id="159654" class="ldml-sentence"&gt;Furthermore, Rodriguez' motions to incur investigative expenses failed to establish either that the funds requested would be used to gather any new mitigating evidence or to indicate what evidence defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; hoped to uncover by such investigation.&lt;/span&gt; &lt;span data-paragraph-id="159486" data-sentence-id="159907" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; had an adequate basis upon which to conclude that Rodriguez' motions sought cumulative information and were not relevant to the determination of his &lt;span class="ldml-entity"&gt;postconviction motions&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="160112" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="160112" data-sentence-id="160120" class="ldml-sentence"&gt;Rodriguez also contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s refusal to conduct hearings on these motions constitutes reversible error.&lt;/span&gt; &lt;span data-paragraph-id="160112" data-sentence-id="160245" class="ldml-sentence"&gt;The record supports &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s determination that Rodriguez' motions did not allege facts sufficient to warrant a hearing, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find no error.&lt;/span&gt; &lt;span data-paragraph-id="160112" data-sentence-id="160400" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891995016" data-vids="891995016" class="ldml-reference" data-prop-ids="sentence_160245"&gt;&lt;span class="ldml-refname"&gt;Trujillo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. at 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 P.2d at 1313-14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C" data-id="heading_160453" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_160453" data-content-heading-label="C
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="160453" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="160453" data-sentence-id="160453" class="ldml-sentence"&gt;C&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="160455" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="160455" data-sentence-id="160463" class="ldml-sentence"&gt;In Issue 12, Rodriguez asserts that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of his &lt;span class="ldml-entity"&gt;motion to strike&lt;/span&gt; the death penalty and appoint a special &lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt; requires that his death sentence be vacated.&lt;/span&gt; &lt;span data-paragraph-id="160455" data-sentence-id="160647" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly exercised its discretion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="160718" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="160718" data-sentence-id="160726" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Motion to Strike&lt;/span&gt; the Death Penalty, for Appointment of a Special &lt;span class="ldml-entity"&gt;Prosecutor&lt;/span&gt;, and for Additional Appropriate Relief"&lt;/span&gt; based on a newspaper &lt;span class="ldml-entity"&gt;article&lt;/span&gt; written by former Colorado Governor &lt;span class="ldml-entity"&gt;Richard Lamm&lt;/span&gt; which criticized the judiciary for its failure to enforce the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161035" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_160726"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 261-272&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161056" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The article&lt;/span&gt; used Rodriguez' case as an example of the protracted length of death penalty litigation and criticized certain &lt;span class="ldml-entity"&gt;Colorado Supreme Court&lt;/span&gt; justices as well as certain &lt;span class="ldml-entity"&gt;district court&lt;/span&gt; judges based on their involvement in Rodriguez' case.&lt;/span&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161299" class="ldml-sentence"&gt;In his motion, Rodriguez alleged that &lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt; &lt;span class="ldml-entity"&gt;Craig Silverman&lt;/span&gt; served as a primary source for Lamm's &lt;span class="ldml-entity"&gt;article&lt;/span&gt; and that &lt;span class="ldml-entity"&gt;the article&lt;/span&gt; was an attempt by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to intimidate the judiciary regarding delays in Rodriguez' case.&lt;/span&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161530" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_161299"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161534" class="ldml-sentence"&gt;Rodriguez also claimed that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s overt attempts to influence the judiciary irreparably tainted the entire legal process and necessitated that his death sentence be vacated.&lt;/span&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161720" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_161534"&gt;&lt;span class="ldml-cite"&gt;Id. at 261-62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161735" class="ldml-sentence"&gt;After hearing &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s arguments, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied Rodriguez' motion.&lt;/span&gt; &lt;a href="#note-fr59" class="ldml-noteanchor" id="note-ref-fr59"&gt;59&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="160718" data-sentence-id="161816" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_161735"&gt;&lt;span class="ldml-refname"&gt;R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 18-22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="161836" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="161836" data-sentence-id="161836" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 290&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="161845" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="161845" data-sentence-id="161853" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 20-1-107, 8B C.R.S&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f the district attorney is interested or has been employed as &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in any case which it is his duty to prosecute or defend, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ... may appoint a special &lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="161845" data-sentence-id="162081" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886265790" data-vids="886265790" class="ldml-reference" data-prop-ids="sentence_162081"&gt;&lt;span class="ldml-refname"&gt;People v. Garcia&lt;/span&gt;, &lt;span class="ldml-cite"&gt;698 P.2d 801&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; set forth the standard for evaluating a &lt;span class="ldml-entity"&gt;motion to disqualify a district attorney&lt;/span&gt;:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="162214" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="162214" data-sentence-id="162214" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he determination of whether a district attorney and his staff should be disqualified is a matter largely within the discretion of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="162214" data-sentence-id="162367" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; should consider whether disqualification appears reasonably necessary to insure the integrity of the fact-finding process, the fairness or appearance of fairness of trial, the orderly or efficient administration of justice, or public trust or confidence in the criminal justice system.&lt;/span&gt; &lt;span data-paragraph-id="162214" data-sentence-id="162669" class="ldml-sentence"&gt;The goal of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should be to shape a remedy which will assure fairness to &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; and the integrity of the judicial process.&lt;/span&gt; &lt;span data-paragraph-id="162214" data-sentence-id="162804" class="ldml-sentence"&gt;Among the relevant factors to be considered by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; are the nature, relevance and necessity of the testimony, the size and degree of integration of the district attorney's staff, and the degree to which the testimony is contested.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="163040" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="163040" data-sentence-id="163048" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886265790" data-vids="886265790" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 806-07&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="163112" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="163112" data-sentence-id="163120" class="ldml-sentence"&gt;At the hearing on newly discovered evidence on &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, Silverman informed &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that former Governor Lamm wrote &lt;span class="ldml-entity"&gt;the article&lt;/span&gt; at issue on his own initiative, without influence or pressure from &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, and that any information Silverman provided Lamm was a matter of public record.&lt;/span&gt; &lt;span data-paragraph-id="163112" data-sentence-id="163429" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_163120"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 16-17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="163112" data-sentence-id="163452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that Lamm's &lt;span class="ldml-entity"&gt;article&lt;/span&gt; expressed his personal beliefs regarding the propriety of actions taken by the judiciary and did not establish that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; held an interest in Rodriguez' case apart from its professional responsibility of upholding the law.&lt;/span&gt; &lt;span data-paragraph-id="163112" data-sentence-id="163717" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradoanddaletooleyvthedistrictcourtno26864538p2d887,189colo159july21,1975" data-prop-ids="embeddedsentence_163793,sentence_163452"&gt;&lt;span class="ldml-refname"&gt;People v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;189 Colo. 159, 162&lt;/span&gt;, &lt;span class="ldml-cite"&gt;538 P.2d 887, 889&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that paid political advertisement which contained editorial indicating a belief that district attorney, who was candidate for mayor, was properly prosecuting criminal case against named &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; did not warrant disqualification of district attorney from continuing to prosecute that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s case&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="163112" data-sentence-id="164104" class="ldml-sentence"&gt;In his motion and argument to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;, Rodriguez failed to demonstrate that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s continued involvement would deny him a fair trial, and, accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; uphold &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s order denying relief.&lt;/span&gt; &lt;span data-paragraph-id="163112" data-sentence-id="164331" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887001323" data-vids="887001323" class="ldml-reference" data-prop-ids="sentence_164104"&gt;&lt;span class="ldml-refname"&gt;Wheeler v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;180 Colo. 275, 279&lt;/span&gt;, &lt;span class="ldml-cite"&gt;504 P.2d 1094, 1096&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="164410" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="164410" data-sentence-id="164418" class="ldml-sentence"&gt;Rodriguez also contends that the denial of his motion without a hearing violated due process of law.&lt;/span&gt; &lt;span data-paragraph-id="164410" data-sentence-id="164519" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A court&lt;/span&gt; may rule on a motion without a hearing if the facts contained in the &lt;span class="ldml-entity"&gt;motion fail to establish&lt;/span&gt; a sufficient basis for relief.&lt;/span&gt; &lt;span data-paragraph-id="164410" data-sentence-id="164652" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891995016" data-vids="891995016" class="ldml-reference" data-prop-ids="sentence_164519"&gt;&lt;span class="ldml-refname"&gt;Trujillo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. at 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 P.2d at 1314&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="164410" data-sentence-id="164698" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; properly refused to conduct a hearing based on its determination that Rodriguez' motion did not establish a sufficient basis for disqualifying &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, and, accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find no abuse of discretion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="D" data-id="heading_164927" data-ordinal_start="4" data-ordinal_end="4" data-specifier="D" id="heading_164927" data-content-heading-label="D
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="164927" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="164927" data-sentence-id="164927" class="ldml-sentence"&gt;D&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="164929" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="164929" data-sentence-id="164937" class="ldml-sentence"&gt;In Issue 14, Rodriguez contends that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was denied his right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; due to &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s obstruction of the attorney-client relationship.&lt;/span&gt; &lt;span data-paragraph-id="164929" data-sentence-id="165077" class="ldml-sentence"&gt;Rodriguez filed numerous motions with &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; concerning the conditions surrounding his imprisonment and his inability to communicate confidentially with his attorney.&lt;/span&gt; &lt;span data-paragraph-id="164929" data-sentence-id="165256" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_165077"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 100-112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="164929" data-sentence-id="165297" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also asserts that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of these motions without a hearing constitutes reversible error.&lt;/span&gt; &lt;span data-paragraph-id="164929" data-sentence-id="165411" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_165297"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="164929" data-sentence-id="165419" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that Rodriguez is not entitled to any relief.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="165477" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="165477" data-sentence-id="165485" class="ldml-sentence"&gt;The supervision and management of the internal procedures of correctional institutions is within the discretion of institutional officials and is not subject to judicial scrutiny absent exceptional circumstances.&lt;/span&gt; &lt;span data-paragraph-id="165477" data-sentence-id="165698" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888135779" data-vids="888135779" class="ldml-reference" data-prop-ids="sentence_165485"&gt;&lt;span class="ldml-refname"&gt;Johnson v. Heggie&lt;/span&gt;, &lt;span class="ldml-cite"&gt;362 F.Supp. 851, 853&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="165477" data-sentence-id="165757" class="ldml-sentence"&gt;In denying one of Rodriguez' numerous motions, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly held that, &lt;span class="ldml-quotation quote"&gt;"I'm going to continue to allow the custodian and law enforcement authorities to determine the appropriate procedures for the confinement of &lt;span class="ldml-parenthetical"&gt;[Rodriguez]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="165477" data-sentence-id="165998" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_165757"&gt;&lt;span class="ldml-refname"&gt;R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 24-25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="165477" data-sentence-id="166018" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; noted that the &lt;span class="ldml-entity"&gt;Colorado State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;'s Office&lt;/span&gt; had already&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="166117" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="166117" data-sentence-id="166117" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 291&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="166125" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="166125" data-sentence-id="166126" class="ldml-sentence"&gt;brought a civil action in the &lt;span class="ldml-entity"&gt;Eleventh Judicial District&lt;/span&gt; on behalf of Rodriguez and another death row inmate, alleging that prison procedures in &lt;span class="ldml-entity"&gt;Fremont County&lt;/span&gt; prevented free and effective contact between the inmates and their attorneys.&lt;/span&gt; &lt;span data-paragraph-id="166125" data-sentence-id="166364" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_166126"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 220-21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_166126"&gt;&lt;span class="ldml-refname"&gt;R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 27-29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="166125" data-sentence-id="166408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; concluded that the issues repeatedly presented in Rodriguez' numerous motions had been previously litigated in the &lt;span class="ldml-entity"&gt;Eleventh Judicial District&lt;/span&gt; and that it could not properly review another judicial &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;'s action.&lt;/span&gt; &lt;span data-paragraph-id="166125" data-sentence-id="166649" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_166408"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 220-21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_166408"&gt;&lt;span class="ldml-refname"&gt;R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 24-26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtno25643503p2d154,180colo88oct30,1972" data-prop-ids="sentence_166408"&gt;&lt;span class="ldml-refname"&gt;People ex rel. Wyse v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;180 Colo. 88, 94&lt;/span&gt;, &lt;span class="ldml-cite"&gt;503 P.2d 154, 157&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="166125" data-sentence-id="166776" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly analyzed and disposed of Rodriguez' claims regarding &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s alleged obstruction of his right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="166927" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="166927" data-sentence-id="166935" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also reject Rodriguez' assertion that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of these motions without a hearing constitutes reversible error.&lt;/span&gt; &lt;span data-paragraph-id="166927" data-sentence-id="167069" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; is not entitled to a hearing on a postconviction claim under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; if &lt;span class="ldml-quotation quote"&gt;"the motion, the files and record clearly establish that the allegations presented in &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s motion are without merit and do not warrant postconviction relief."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="166927" data-sentence-id="167326" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891995016" data-vids="891995016" class="ldml-reference" data-prop-ids="sentence_167069"&gt;&lt;span class="ldml-refname"&gt;Trujillo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 Colo. at 499&lt;/span&gt;, &lt;span class="ldml-cite"&gt;549 P.2d at 1313&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="166927" data-sentence-id="167372" class="ldml-sentence"&gt;Based on its recognition that it should not intervene in matters of prison administration and its determination that Rodriguez had previously litigated such claims in the &lt;span class="ldml-entity"&gt;Eleventh Judicial District&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly found that Rodriguez' claims lacked merit and did not warrant a hearing.&lt;/span&gt; &lt;span data-paragraph-id="166927" data-sentence-id="167672" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; refuse to disturb this decision.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="XVII. Newly Discovered Evidence" data-id="heading_167708" data-ordinal_start="17" data-ordinal_end="17" data-specifier="XVII" id="heading_167708" data-content-heading-label="XVII
Newly Discovered Evidence
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="167708" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="167708" data-sentence-id="167708" class="ldml-sentence"&gt;XVII&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="167713" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="167713" data-sentence-id="167713" class="ldml-sentence"&gt;Newly Discovered Evidence&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="167739" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="167739" data-sentence-id="167747" class="ldml-sentence"&gt;In Issues 20, 22, and 149, Rodriguez asserts that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in denying his &lt;span class="ldml-entity"&gt;motion for a new trial based on newly discovered evidence&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="167739" data-sentence-id="167896" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that each of these issues is meritless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="167948" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="167948" data-sentence-id="167956" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; conducted a hearing on Rodriguez' claims of newly discovered evidence.&lt;/span&gt; &lt;span data-paragraph-id="167948" data-sentence-id="168065" class="ldml-sentence"&gt;The newly discovered evidence consisted of letters from &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; to a prison inmate in Texas in which &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt;, rather than &lt;span class="ldml-entity"&gt;Frank Rodriguez&lt;/span&gt;, killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="167948" data-sentence-id="168261" class="ldml-sentence"&gt;At the newly discovered evidence hearing, &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; using two knives.&lt;/span&gt; &lt;span data-paragraph-id="167948" data-sentence-id="168399" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_168261"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 44-45, 72-73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="167948" data-sentence-id="168429" class="ldml-sentence"&gt;As discussed below, Martinez also testified at the hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="168489" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="168489" data-sentence-id="168497" class="ldml-sentence"&gt;In Issue 20, Rodriguez asserts that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s refusal to allow him to call witnesses and to present evidence to rebut Martinez' testimony at the &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, hearing constituted prejudicial error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="168708" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="168708" data-sentence-id="168716" class="ldml-sentence"&gt;Martinez was brought to the hearing as a witness for Rodriguez, but Rodriguez decided not to call him as a witness.&lt;/span&gt; &lt;span data-paragraph-id="168708" data-sentence-id="168832" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; did call Martinez as a witness.&lt;/span&gt; &lt;span data-paragraph-id="168708" data-sentence-id="168889" class="ldml-sentence"&gt;Martinez testified that neither &lt;span class="ldml-entity"&gt;he&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;, nor &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; stabbed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="168708" data-sentence-id="168989" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtno25643503p2d154,180colo88oct30,1972" data-prop-ids="sentence_168889"&gt;&lt;span class="ldml-cite"&gt;Id. at 101-102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="168708" data-sentence-id="169005" class="ldml-sentence"&gt;Martinez refused to specifically testify that Rodriguez stabbed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; feared being labeled a &lt;span class="ldml-quotation quote"&gt;"snitch"&lt;/span&gt; in prison.&lt;/span&gt; &lt;span data-paragraph-id="168708" data-sentence-id="169141" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtno25643503p2d154,180colo88oct30,1972" data-prop-ids="sentence_169005"&gt;&lt;span class="ldml-cite"&gt;Id. at 101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="168708" data-sentence-id="169153" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; later called two law enforcement officials who testified that, while Martinez was sitting in the jury box waiting to be called as a witness at the &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, hearing, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; told &lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt; &lt;span class="ldml-entity"&gt;Craig Silverman&lt;/span&gt; that Rodriguez was the only person who stabbed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="168708" data-sentence-id="169451" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtno25643503p2d154,180colo88oct30,1972" data-prop-ids="sentence_169153"&gt;&lt;span class="ldml-cite"&gt;Id. at 142-44, 146-148&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="169475" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="169475" data-sentence-id="169483" class="ldml-sentence"&gt;On cross-examination by Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; &lt;span class="ldml-entity"&gt;Michael Heher&lt;/span&gt;, Martinez denied killing &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; and testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; cut his hands while handling the knife which Rodriguez later used to kill the victim.&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="169691" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtno25643503p2d154,180colo88oct30,1972" data-prop-ids="sentence_169483"&gt;&lt;span class="ldml-cite"&gt;Id. at 114-15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="169706" class="ldml-sentence"&gt;After cross-examination, Heher requested that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; allow him to call Detectives &lt;span class="ldml-entity"&gt;Raymond Estrada&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Donald Gabel&lt;/span&gt; to rebut Martinez' testimony regarding the cuts on his hands, his relationship with &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;, and the bloody condition of his clothes at the time of his arrest.&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="170001" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtno25643503p2d154,180colo88oct30,1972" data-prop-ids="sentence_169706"&gt;&lt;span class="ldml-cite"&gt;Id. at 150-53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="170016" class="ldml-sentence"&gt;Both detectives had testified at the guilt phase of Rodriguez' trial.&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="170086" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_170016"&gt;&lt;span class="ldml-refname"&gt;R., v. 28&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 111-24, 133-61, 178-79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="170127" class="ldml-sentence"&gt;The detectives were not present at the hearing, and Heher indicated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would need a subpoena for the physical evidence as to which the detectives would testify.&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="170293" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_170127"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="169475" data-sentence-id="170297" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; denied Heher's request and declined to continue the hearing on the basis that it had adequate evidence before it upon which to&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="170443" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="170443" data-sentence-id="170443" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 292&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="170451" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="170451" data-sentence-id="170452" class="ldml-sentence"&gt;assess Martinez' credibility and to rule on the issue of newly discovered evidence.&lt;/span&gt; &lt;span data-paragraph-id="170451" data-sentence-id="170536" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_170452"&gt;&lt;span class="ldml-cite"&gt;Id. at 153-54, 158&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="170556" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="170556" data-sentence-id="170564" class="ldml-sentence"&gt;The admission of rebuttal testimony lies within the discretion of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; and is not subject to review absent an abuse of discretion.&lt;/span&gt; &lt;span data-paragraph-id="170556" data-sentence-id="170709" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895632315" data-vids="895632315" class="ldml-reference" data-prop-ids="embeddedsentence_170776,sentence_170564"&gt;&lt;span class="ldml-refname"&gt;Wertz v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;160 Colo. 260, 264&lt;/span&gt;, &lt;span class="ldml-cite"&gt;418 P.2d 169, 171&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1966&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing same in context of rebuttal testimony at trial&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="170556" data-sentence-id="170836" class="ldml-sentence"&gt;The record shows that Rodriguez intended to offer the excluded rebuttal witness testimony for the purpose of impeaching Martinez' credibility.&lt;/span&gt; &lt;span data-paragraph-id="170556" data-sentence-id="170979" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_170836"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 155-58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="170556" data-sentence-id="171003" class="ldml-sentence"&gt;This conclusion is further supported by Rodriguez' argument on this appeal that&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="171083" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="171083" data-sentence-id="171083" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he evidence which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; would not allow Mr. Rodriguez to present would have affirmatively refuted numerous specific factual allegations made by &lt;span class="ldml-entity"&gt;the State&lt;/span&gt;'s witness about the incident which led to Mr. Rodriguez' conviction and sentence.&lt;/span&gt; &lt;span data-paragraph-id="171083" data-sentence-id="171326" class="ldml-sentence"&gt;His credibility would thus have been shown to be nil.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="171380" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="171380" data-sentence-id="171388" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="171421" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="171421" data-sentence-id="171429" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not abuse its discretion by refusing to allow Rodriguez to present rebuttal evidence to impeach Martinez.&lt;/span&gt; &lt;span data-paragraph-id="171421" data-sentence-id="171575" class="ldml-sentence"&gt;At his trial, Rodriguez presented evidence to support his theory that the presence of cuts on Martinez' hands conclusively demonstrated that Martinez, not Rodriguez, killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="171421" data-sentence-id="171767" class="ldml-sentence"&gt;The jury rejected this theory at the guilt phase of the trial and, at the penalty phase, returned a sentence of death.&lt;/span&gt; &lt;span data-paragraph-id="171421" data-sentence-id="171886" class="ldml-sentence"&gt;At the &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, hearing, Martinez did not testify as to any newly discovered evidence which could have materially affected the validity of Rodriguez' conviction and sentence.&lt;/span&gt; &lt;span data-paragraph-id="171421" data-sentence-id="172068" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; had &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; record before it and could sufficiently assess Martinez' credibility without hearing Rodriguez' proffered rebuttal evidence which merely would have repeated testimony and physical evidence presented at trial.&lt;/span&gt; &lt;span data-paragraph-id="171421" data-sentence-id="172316" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will not disturb &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s decision&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="172380" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="172380" data-sentence-id="172388" class="ldml-sentence"&gt;In Issue 22, Rodriguez asserts that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; applied an incorrect standard in ruling on his &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt; based on newly discovered evidence, and, in Issue 149, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; contends that the evidence presented at the &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, hearing warranted the requested relief.&lt;/span&gt; &lt;span data-paragraph-id="172380" data-sentence-id="172670" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="172683" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="172683" data-sentence-id="172691" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895801302" data-vids="895801302" class="ldml-reference" data-prop-ids="sentence_172691"&gt;&lt;span class="ldml-refname"&gt;People v. Gutierrez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;622 P.2d 547&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; set forth the standard for evaluating a &lt;span class="ldml-entity"&gt;motion for a new trial based on newly discovered evidence&lt;/span&gt;:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="172844" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="172844" data-sentence-id="172844" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"To succeed on a &lt;span class="ldml-entity"&gt;motion for a new trial&lt;/span&gt; on this ground, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; should show that the evidence was discovered after the trial; that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; and his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; exercised diligence to discover all possible evidence favorable to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; prior to and during the trial; that the newly discovered evidence is material to the issues involved, and not merely cumulative or impeaching; and that on retrial the newly discovered evidence would probably produce an acquittal."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="173322" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="173322" data-sentence-id="173330" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895801302" data-vids="895801302" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 559&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888959662" data-vids="888959662" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;People v. Scheidt&lt;/span&gt;, &lt;span class="ldml-cite"&gt;187 Colo. 20, 22&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 P.2d 232, 233&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="173322" data-sentence-id="173414" class="ldml-sentence"&gt;Rodriguez relies on &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890192291" data-vids="890192291" class="ldml-reference" data-prop-ids="sentence_173414"&gt;&lt;span class="ldml-refname"&gt;People v. Estep&lt;/span&gt;, &lt;span class="ldml-cite"&gt;799 P.2d 405&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_173414"&gt;&lt;span class="ldml-cite"&gt;No. 90SC367&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;Nov. 13, 1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and argues that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; relied completely on its own evaluations of the credibility of witnesses in denying his motion.&lt;/span&gt; &lt;span data-paragraph-id="173322" data-sentence-id="173662" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890192291" data-vids="890192291" class="ldml-reference" data-prop-ids="sentence_173662"&gt;&lt;span class="ldml-refname"&gt;Estep&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion for a new trial based on newly discovered evidence&lt;/span&gt;, stating:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="173818" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="173818" data-sentence-id="173818" class="ldml-sentence"&gt;In our view, the determination of the character of the new evidence to probably produce an acquittal in a new trial is not to be based on &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s experience in evaluating the credibility of witnesses.&lt;/span&gt; &lt;span data-paragraph-id="173818" data-sentence-id="174023" class="ldml-sentence"&gt;Rather that determination should be premised on whether the new evidence, as developed in trial, when considered with all the other evidence is such that a reasonable jury would probably conclude that there existed a reasonable doubt as to &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s guilt and thereby bring about an acquittal verdict.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="174327" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="174327" data-sentence-id="174335" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890192291" data-vids="890192291" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895801302" data-vids="895801302" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Gutierrez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;622 P.2d at 559-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="174387" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="174387" data-sentence-id="174395" class="ldml-sentence"&gt;Here, the record contains no evidence that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; relied completely on its own evaluation of the credibility of the witnesses in denying Rodriguez' &lt;span class="ldml-entity"&gt;motion for a new trial&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="174387" data-sentence-id="174579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; noted that the standard articulated in Gutierrez and Estep controlled its determination of Rodriguez' motion.&lt;/span&gt; &lt;span data-paragraph-id="174387" data-sentence-id="174710" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_174579"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 67&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 171&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="174387" data-sentence-id="174731" class="ldml-sentence"&gt;In accordance&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="174745" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="174745" data-sentence-id="174745" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 293&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="174753" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="174753" data-sentence-id="174754" class="ldml-sentence"&gt;with that standard, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; first determined that the evidence presented by Rodriguez was discovered after trial and that Rodriguez and his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; exercised diligence to discover such evidence prior to and during the trial.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="174981" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_174754"&gt;&lt;span class="ldml-cite"&gt;Id. at 171-72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="174996" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then assessed whether the newly discovered evidence was material to the validity of Rodriguez' conviction and sentence by considering factors which would affect the credibility of both Martinez and &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; from the standpoint of a reasonable juror, not from the standpoint of its own judicial experience.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="175319" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_174996"&gt;&lt;span class="ldml-cite"&gt;Id. at 173-184&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="175335" class="ldml-sentence"&gt;In assessing the credibility of &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; considered how a reasonable juror would view the fact that &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, but also stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not recall any other major details of the events surrounding and leading up to the murder.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="175634" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_175335"&gt;&lt;span class="ldml-cite"&gt;Id. at 177-82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="175649" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also considered how a reasonable juror would view the fact that &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; maintained at his trial that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not kill &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; and the fact that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; refused to testify at Rodriguez' trial.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="175863" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_175649"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="175867" class="ldml-sentence"&gt;With regard to the credibility of Martinez' testimony, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; considered how a reasonable juror would view Martinez' fear of being regarded as a &lt;span class="ldml-quotation quote"&gt;"snitch"&lt;/span&gt; and the fact that Martinez had a discretionary parole hearing coming up shortly after the &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, hearing, at which time &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could potentially be released from prison.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="176199" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_175867"&gt;&lt;span class="ldml-cite"&gt;Id. at 174-77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="174753" data-sentence-id="176214" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; applied a proper standard for the evaluation of Rodriguez' claims of newly discovered evidence and reject Issue 22.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="176366" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="176366" data-sentence-id="176374" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Motions for new trial based on newly discovered evidence&lt;/span&gt; are not looked on with favor, and a denial of such a motion will not be overturned absent a showing of clear abuse of discretion."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="176366" data-sentence-id="176563" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895801302" data-vids="895801302" class="ldml-reference" data-prop-ids="sentence_176374"&gt;&lt;span class="ldml-refname"&gt;Gutierrez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;622 P.2d at 559&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="176366" data-sentence-id="176591" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;'s conclusion&lt;/span&gt; that the newly discovered evidence presented at the &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, hearing did not entitle Rodriguez to relief is amply supported by the testimony at that hearing.&lt;/span&gt; &lt;span data-paragraph-id="176366" data-sentence-id="176788" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issue 149.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="XVIII. Ineffective Assistance of Counsel" data-id="heading_176822" data-ordinal_start="18" data-ordinal_end="18" data-specifier="XVIII" id="heading_176822" data-content-heading-label="XVIII
Ineffective Assistance of Counsel
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="176822" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="176822" data-sentence-id="176822" class="ldml-sentence"&gt;XVIII&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="176828" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="176828" data-sentence-id="176828" class="ldml-sentence"&gt;Ineffective Assistance of &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="176862" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="176862" data-sentence-id="176870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; denied Rodriguez' postconviction claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr60" class="ldml-noteanchor" id="note-ref-fr60"&gt;60&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="176862" data-sentence-id="176968" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; affirm.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A" data-id="heading_176979" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_176979" data-content-heading-label="A
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="176979" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="176979" data-sentence-id="176979" class="ldml-sentence"&gt;A&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="176981" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="176981" data-sentence-id="176989" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;David Eisner&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Robin Desmond&lt;/span&gt; of the &lt;span class="ldml-entity"&gt;Colorado State &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;'s Office&lt;/span&gt; represented Rodriguez at his initial advisement after his arrest in &lt;span class="ldml-entity"&gt;1984&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="176981" data-sentence-id="177141" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion to disqualify&lt;/span&gt; &lt;span class="ldml-entity"&gt;the public defender&lt;/span&gt;'s office due to a conflict of interest and appointed private &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to represent Rodriguez.&lt;/span&gt; &lt;span data-paragraph-id="176981" data-sentence-id="177329" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_177141"&gt;&lt;span class="ldml-refname"&gt;Rodriguez v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;719 P.2d 699, 703&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez I&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="176981" data-sentence-id="177408" class="ldml-sentence"&gt;In Rodriguez I, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that Rodriguez could waive conflict-free representation, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_177408"&gt;&lt;span class="ldml-cite"&gt;id. at 705-09&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the public defender&lt;/span&gt;'s office then resumed its representation of Rodriguez.&lt;/span&gt; &lt;span data-paragraph-id="176981" data-sentence-id="177585" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirmed the judgments of conviction and the death penalty sentence in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_177585"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_177585"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;motion for postconviction relief&lt;/span&gt;, claiming that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; received ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; at the penalty phase of trial and on direct appeal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="177961" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="177961" data-sentence-id="177969" class="ldml-sentence"&gt;At a hearing limited to Rodriguez' postconviction claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, Rodriguez called four witnesses to testify: appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; &lt;span class="ldml-entity"&gt;Michael Heher&lt;/span&gt;; trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; &lt;span class="ldml-entity"&gt;Robin Desmond&lt;/span&gt;; defense investigator &lt;span class="ldml-entity"&gt;Judith Sholl&lt;/span&gt;; and expert witness &lt;span class="ldml-entity"&gt;Clive Stafford-Smith&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr61" class="ldml-noteanchor" id="note-ref-fr61"&gt;61&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="177961" data-sentence-id="178251" class="ldml-sentence"&gt;Heher testified that, subsequent to trial, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; discovered evidence that Rodriguez had been physically and sexually abused as a child and that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; failed to discover this mitigating evidence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="178451" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="178451" data-sentence-id="178451" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 294&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="178459" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="178459" data-sentence-id="178460" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 62&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 68, 84-89, 93-94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="178491" class="ldml-sentence"&gt;Defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Hostetler attempted to question Heher about this potentially mitigating evidence to demonstrate that Rodriguez' trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; failed to adequately investigate that evidence in accordance with the standard of practice in capital &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="178742" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_178491"&gt;&lt;span class="ldml-refname"&gt;R., v. 62&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 91-99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="178762" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; sustained &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s objections to Heher's testimony on the basis that Rodriguez' failure to inform his trial attorneys about the alleged abuse foreclosed further investigation into the subject.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="178983" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_178762"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="178987" class="ldml-sentence"&gt;In accordance with Heher's testimony, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Desmond testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; and co-&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Eisner failed to adequately investigate potential mitigating factors and that, in her opinion, presentation to the jury of child abuse allegations would have resulted in the imposition of a life sentence instead of the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="179315" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_178987"&gt;&lt;span class="ldml-refname"&gt;R., v. 65&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 32-39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="179335" class="ldml-sentence"&gt;Defense investigator Sholl explained that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had no formal training in interviewing &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; concerning physical or sexual child abuse.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="179474" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_179335"&gt;&lt;span class="ldml-refname"&gt;R., v. 63&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 8-10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="179493" class="ldml-sentence"&gt;Sholl stated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had asked Rodriguez if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had been abused and that, after &lt;span class="ldml-entity"&gt;he&lt;/span&gt; answered in the negative, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"doubted"&lt;/span&gt; that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had pressed the issue.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="179648" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_179493"&gt;&lt;span class="ldml-refname"&gt;R., v. 63&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 16-17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="179668" class="ldml-sentence"&gt;Finally, expert witness Stafford-Smith testified that, in his view, Rodriguez' trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance fell outside the range of professionally competent assistance and violated Rodriguez' constitutional right to effective representation.&lt;/span&gt; &lt;span data-paragraph-id="178459" data-sentence-id="179911" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_179668"&gt;&lt;span class="ldml-refname"&gt;R., v. 63&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 106-123&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="179933" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="179933" data-sentence-id="179941" class="ldml-sentence"&gt;Applying the test set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_179941"&gt;&lt;span class="ldml-refname"&gt;Strickland v. Washington&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. 668&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 L.Ed.2d 674&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Rodriguez'&lt;/span&gt; &lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, finding that Rodriguez failed to demonstrate deficient performance by trial or appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; which had a reasonable probability of having affected the result.&lt;/span&gt; &lt;span data-paragraph-id="179933" data-sentence-id="180274" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_179941"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 7&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1762-68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="180298" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="180298" data-sentence-id="180306" class="ldml-sentence"&gt;On this appeal, Rodriguez contends that the following actions denied him his constitutional right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to discover and present mitigating evidence of child abuse; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to &lt;span class="ldml-quotation quote"&gt;"follow through"&lt;/span&gt; on evidence of Rodriguez' mental illness; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s interference with the function of defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="180298" data-sentence-id="180692" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not have a complete record before it when it denied Rodriguez' claims of ineffective assistance and committed reversible error by refusing to enter into evidence the record on direct appeal or to hear testimony from appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Heher regarding ineffective assistance on appeal.&lt;/span&gt; &lt;span data-paragraph-id="180298" data-sentence-id="181021" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; address each of Rodriguez' claims in turn.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B" data-id="heading_181067" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_181067" data-content-heading-label="B
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="181067" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="181067" data-sentence-id="181067" class="ldml-sentence"&gt;B&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="181069" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="181069" data-sentence-id="181077" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt;'s right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is guaranteed by the United States and Colorado Constitutions.&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="181195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_181195"&gt;&lt;span class="ldml-cite"&gt;U.S. Const. amend. VI&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, XIV&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_181195"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, § 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="181254" class="ldml-sentence"&gt;To obtain relief on a claim of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must satisfy the test adopted by the &lt;span class="ldml-entity"&gt;United States Supreme Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_181254"&gt;&lt;span class="ldml-refname"&gt;Strickland v. Washington&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. 668&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2052&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 L.Ed.2d 674&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="181480" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895617089" data-vids="895617089" class="ldml-reference" data-prop-ids="embeddedsentence_181535,sentence_181254"&gt;&lt;span class="ldml-refname"&gt;Davis v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;871 P.2d 769, 772-73&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;applying the constitutional standards set forth in Strickland &lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894403027" data-vids="894403027" class="ldml-reference" data-prop-ids="sentence_181254"&gt;&lt;span class="ldml-refname"&gt;People v. Garcia&lt;/span&gt;, &lt;span class="ldml-cite"&gt;815 P.2d 937, 941&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(same)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:502us1121,112sct1242,117led2d4751992" data-prop-ids="sentence_181254"&gt;&lt;span class="ldml-cite"&gt;502 U.S. 1121&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 S.Ct. 1242&lt;/span&gt;, &lt;span class="ldml-cite"&gt;117 L.Ed.2d 475&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="181726" class="ldml-sentence"&gt;Under Strickland, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must first demonstrate that &lt;span class="ldml-entity"&gt;the acts&lt;/span&gt; or omissions of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; fell outside the range of professionally competent assistance.&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="181881" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_181726"&gt;&lt;span class="ldml-cite"&gt;466 U.S. at 690&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2066&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="181917" class="ldml-sentence"&gt;In making such a determination, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; are directed to &lt;span class="ldml-quotation quote"&gt;"indulge a strong presumption that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s conduct falls within the wide range of reasonable professional assistance; that is, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; must overcome the presumption that, under the circumstances, the challenged action might be considered sound trial strategy."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="182242" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_181917"&gt;&lt;span class="ldml-cite"&gt;Id. at 689&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2065&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="182321" class="ldml-sentence"&gt;A fair assessment of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance &lt;span class="ldml-quotation quote"&gt;"requires that every effort be made to eliminate the distorting effects of hindsight, to reconstruct &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;&lt;/span&gt;'s challenged conduct, and to evaluate the conduct from &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s perspective at the time."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="181069" data-sentence-id="182585" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_182321"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="182589" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="182589" data-sentence-id="182597" class="ldml-sentence"&gt;In addition to showing that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance fell below the prevailing professional norms, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must also affirmatively prove that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; suffered prejudice as a result of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s deficient performance.&lt;/span&gt; &lt;span data-paragraph-id="182589" data-sentence-id="182810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_182597"&gt;&lt;span class="ldml-cite"&gt;Id. at 691&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2066&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="182589" data-sentence-id="182841" class="ldml-sentence"&gt;To establish prejudice, "&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; must&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="182887" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="182887" data-sentence-id="182887" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 295&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="182895" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="182895" data-sentence-id="182896" class="ldml-sentence"&gt;show that there is a reasonable probability that, but for &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s unprofessional errors, the result of the proceeding would have been different."&lt;/span&gt; &lt;span data-paragraph-id="182895" data-sentence-id="183044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_182896"&gt;&lt;span class="ldml-cite"&gt;Id. at 694&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2068&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="182895" data-sentence-id="183075" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"A reasonable probability is a probability sufficient to undermine confidence in the outcome."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="182895" data-sentence-id="183170" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_183075"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="182895" data-sentence-id="183174" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; challenges a death sentence, the question to be asked in assessing the prejudice from &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s errors is &lt;span class="ldml-quotation quote"&gt;"whether there is a reasonable probability that, absent the errors, the sentencer including &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt;, to the extent it independently reweighs the evidence would have concluded that the balance of aggravating and mitigating circumstances did not warrant death."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="182895" data-sentence-id="183568" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_183174"&gt;&lt;span class="ldml-cite"&gt;Id. at 695&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2068-69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C" data-id="heading_183602" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_183602" data-content-heading-label="C
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="183602" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="183602" data-sentence-id="183602" class="ldml-sentence"&gt;C&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="183604" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="183604" data-sentence-id="183612" class="ldml-sentence"&gt;Rodriguez contends that his trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; performed an untimely and inadequate investigation of potential mitigating evidence of physical and sexual child abuse and that presentation of such evidence would have led the jury to impose a life sentence rather than a death sentence.&lt;/span&gt; &lt;span data-paragraph-id="183604" data-sentence-id="183892" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="183905" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="183905" data-sentence-id="183913" class="ldml-sentence"&gt;In order to ascertain whether trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to discover and present mitigating evidence of Rodriguez' child abuse constituted ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="184084" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="184084" data-sentence-id="184084" class="ldml-sentence"&gt;it must be determined whether a reasonable investigation should have uncovered such mitigating evidence.&lt;/span&gt; &lt;span data-paragraph-id="184084" data-sentence-id="184189" class="ldml-sentence"&gt;If so, then a determination must be made whether the failure to put this evidence before the jury was a tactical choice by trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="184084" data-sentence-id="184327" class="ldml-sentence"&gt;If so, such a choice must be given a strong presumption of correctness, and the inquiry is generally at an end....&lt;/span&gt; &lt;span data-paragraph-id="184084" data-sentence-id="184442" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[If not]&lt;/span&gt;, it must be determined that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; suffered actual prejudice due to the ineffectiveness of his trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; before relief will be granted.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="184594" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="184594" data-sentence-id="184602" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893654302" data-vids="893654302" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Middleton v. Dugger&lt;/span&gt;, &lt;span class="ldml-cite"&gt;849 F.2d 491, 493&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="embeddedsentence_184710"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. at 691&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2066&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; has a duty to make reasonable investigations or to make a reasonable decision that makes particular investigations unnecessary"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="184594" data-sentence-id="184862" class="ldml-sentence"&gt;The reasonableness of an attorney's decision to forego investigation or to limit investigation into potentially mitigating evidence is &lt;span class="ldml-quotation quote"&gt;"directly related to the information &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; has supplied."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="184594" data-sentence-id="185063" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892377074" data-vids="892377074" class="ldml-reference" data-prop-ids="sentence_184862"&gt;&lt;span class="ldml-refname"&gt;United States v. Rhodes&lt;/span&gt;, &lt;span class="ldml-cite"&gt;913 F.2d 839, 844&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation and internal quotation marks omitted&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:498us1122,111sct1079,112led2d11841991" data-prop-ids="sentence_184862"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1122&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 1079&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 1184&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892281631" data-vids="892281631" class="ldml-reference" data-prop-ids="embeddedsentence_185305,sentence_184862"&gt;&lt;span class="ldml-refname"&gt;United States v. Miller&lt;/span&gt;, &lt;span class="ldml-cite"&gt;907 F.2d 994, 998&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he adequacy or reasonableness of an attorney's actions is necessarily conditioned by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s own actions or inaction"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="184594" data-sentence-id="185450" class="ldml-sentence"&gt;Where &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; completely fails to conduct any investigation of a client's background or where &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s strategy for not investigating or submitting such mitigating evidence is remarkably deficient, a claim for ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; will be sustained.&lt;/span&gt; &lt;span data-paragraph-id="184594" data-sentence-id="185714" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890638550" data-vids="890638550" class="ldml-reference" data-prop-ids="sentence_185450"&gt;&lt;span class="ldml-refname"&gt;Baxter v. Thomas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;45 F.3d 1501, 1512-15&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to conduct investigation which would have uncovered existing records of &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s long history of mental illness fell outside the range of professional competence)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:---us----,116sct385,133led2d3071995" data-prop-ids="sentence_185450"&gt;&lt;span class="ldml-cite"&gt;--- U.S. ----&lt;/span&gt;, &lt;span class="ldml-cite"&gt;116 S.Ct. 385&lt;/span&gt;, &lt;span class="ldml-cite"&gt;133 L.Ed.2d 307&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891358759" data-vids="891358759" class="ldml-reference" data-prop-ids="embeddedsentence_186085,sentence_185450"&gt;&lt;span class="ldml-refname"&gt;Brewer v. Aiken&lt;/span&gt;, &lt;span class="ldml-cite"&gt;935 F.2d 850, 857-59&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;7th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s almost complete lack of investigation into &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s mental and family history as well as failure to argue mitigating factors to jury at penalty phase amounted to ineffective assistance&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893654302" data-vids="893654302" class="ldml-reference" data-prop-ids="embeddedsentence_186316,sentence_185450"&gt;&lt;span class="ldml-refname"&gt;Middleton&lt;/span&gt;, &lt;span class="ldml-cite"&gt;849 F.2d at 493-95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to uncover mitigating evidence of mental illness, physical and sexual child abuse, and drug abuse chronicled in psychiatric, family &lt;span class="ldml-entity"&gt;court&lt;/span&gt;, youth services, and prison records, fell outside scope of professionally competent assistance&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="186569" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="186569" data-sentence-id="186577" class="ldml-sentence"&gt;Rodriguez faults trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for failing to discover mitigating evidence which Rodriguez declined to divulge prior to the penalty phase.&lt;/span&gt; &lt;span data-paragraph-id="186569" data-sentence-id="186716" class="ldml-sentence"&gt;Trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged failure to investigate or present mitigating evidence does not constitute ineffective assistance &lt;span class="ldml-quotation quote"&gt;"when the essential and foundational information required to trigger such an investigation is withheld from &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s attorney by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; himself."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="186569" data-sentence-id="186997" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892281631" data-vids="892281631" class="ldml-reference" data-prop-ids="sentence_186716"&gt;&lt;span class="ldml-refname"&gt;Miller&lt;/span&gt;, &lt;span class="ldml-cite"&gt;907 F.2d at 999&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:dooleyvpetsock,816f2d885,891-923dcir1987" data-prop-ids="sentence_186716"&gt;&lt;span class="ldml-refname"&gt;Dooley v. Petsock&lt;/span&gt;, &lt;span class="ldml-cite"&gt;816 F.2d 885, 890-91&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;3d Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; cannot be ineffective for failing to raise claims to which his client has neglected to supply the essential underlying facts ... clairvoyance is not required of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:484us863,108sct182,98" data-prop-ids="sentence_186716"&gt;&lt;span class="ldml-cite"&gt;484 U.S. 863&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. 182, 98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="187323" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="187323" data-sentence-id="187323" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 296&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="187331" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="187331" data-sentence-id="187332" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;L.Ed.2d 135&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893139815" data-vids="893139815" class="ldml-reference" data-prop-ids="embeddedsentence_187400"&gt;&lt;span class="ldml-refname"&gt;Mitchell v. Kemp&lt;/span&gt;, &lt;span class="ldml-cite"&gt;762 F.2d 886&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that the reasonableness of the scope of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s investigation often depends upon what information &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; communicates to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894981731" data-vids="894981731" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;483 U.S. 1026&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 S.Ct. 3248&lt;/span&gt;, &lt;span class="ldml-cite"&gt;97 L.Ed.2d 774&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="187612" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="187612" data-sentence-id="187620" class="ldml-sentence"&gt;Here, the record discloses that, prior to the penalty phase, both trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Desmond and defense investigator Sholl specifically asked Rodriguez whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had suffered abuse as a child and that Rodriguez denied any abuse.&lt;/span&gt; &lt;span data-paragraph-id="187612" data-sentence-id="187846" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_187620"&gt;&lt;span class="ldml-refname"&gt;R., v. 63&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 16-17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_187620"&gt;&lt;span class="ldml-refname"&gt;R., v. 65&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="187612" data-sentence-id="187883" class="ldml-sentence"&gt;In addition, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; conducted a comprehensive investigation of Rodriguez' background, including interviewing Rodriguez and his family members and obtaining records of Rodriguez' history in the &lt;span class="ldml-entity"&gt;Department of Corrections&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="187612" data-sentence-id="188112" class="ldml-sentence"&gt;At trial, the defense presented the results of their background investigation in a document entitled &lt;span class="ldml-quotation quote"&gt;"A Life History of &lt;span class="ldml-entity"&gt;Frank Rodriguez&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="187612" data-sentence-id="188250" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_188112"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 971&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="187612" data-sentence-id="188285" class="ldml-sentence"&gt;Nothing in their investigation led trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to believe that Rodriguez had suffered physical and sexual child abuse.&lt;/span&gt; &lt;span data-paragraph-id="187612" data-sentence-id="188406" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that Rodriguez' trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; conducted a reasonable investigation into potentially mitigating evidence and that Rodriguez' affirmative denials that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; suffered child abuse foreclosed further investigation into the subject.&lt;/span&gt; &lt;span data-paragraph-id="187612" data-sentence-id="188642" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892377074" data-vids="892377074" class="ldml-reference" data-prop-ids="embeddedsentence_188674,sentence_188406"&gt;&lt;span class="ldml-refname"&gt;Rhodes&lt;/span&gt;, &lt;span class="ldml-cite"&gt;913 F.2d at 844-45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to conduct independent investigation into client's criminal history did not constitute ineffective assistance where client failed to give attorney any indication that investigation was warranted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892281631" data-vids="892281631" class="ldml-reference" data-prop-ids="embeddedsentence_188917,sentence_188406"&gt;&lt;span class="ldml-refname"&gt;Miller&lt;/span&gt;, &lt;span class="ldml-cite"&gt;907 F.2d at 998-99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to investigate or discover evidence of client's mental illness does not amount to ineffective assistance because client never revealed his problems to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894154029" data-vids="894154029" class="ldml-reference" data-prop-ids="embeddedsentence_189155,sentence_188406"&gt;&lt;span class="ldml-refname"&gt;Funchess v. Wainwright&lt;/span&gt;, &lt;span class="ldml-cite"&gt;772 F.2d 683, 689&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was not ineffective for failing to investigate evidence of mental illness because &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; never told &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; of any psychological problems&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:475us1031,106sct1242,89led2d3491986" data-prop-ids="sentence_188406"&gt;&lt;span class="ldml-cite"&gt;475 U.S. 1031&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 1242&lt;/span&gt;, &lt;span class="ldml-cite"&gt;89 L.Ed.2d 349&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="189382" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="189382" data-sentence-id="189390" class="ldml-sentence"&gt;Rodriguez contends that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s use of a defense investigator of a different race than Rodriguez was unreasonable and that mitigating evidence of child abuse would have more likely been disclosed by Rodriguez had the investigator been of the same race.&lt;/span&gt; &lt;span data-paragraph-id="189382" data-sentence-id="189651" class="ldml-sentence"&gt;Before trial, defense investigator Sholl replaced &lt;span class="ldml-entity"&gt;Jose Martinez&lt;/span&gt;, an Hispanic investigator.&lt;/span&gt; &lt;span data-paragraph-id="189382" data-sentence-id="189742" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find Rodriguez' claim wholly lacking in merit.&lt;/span&gt; &lt;span data-paragraph-id="189382" data-sentence-id="189792" class="ldml-sentence"&gt;Rodriguez' assertion that race is a determinative factor in the preparation and discovery of mitigating evidence is pure speculation, and Rodriguez cannot blame his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for failing to discover evidence of child abuse that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; himself withheld prior to trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="190054" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="190054" data-sentence-id="190062" class="ldml-sentence"&gt;Even assuming that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; rendered ineffective assistance in failing to discover evidence of Rodriguez' child abuse, Rodriguez has failed to demonstrate actual prejudice.&lt;/span&gt; &lt;span data-paragraph-id="190054" data-sentence-id="190240" class="ldml-sentence"&gt;Given the brutal circumstances surrounding the murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; and the overwhelming evidence of aggravation against Rodriguez, &lt;a href="#note-fr62" class="ldml-noteanchor" id="note-ref-fr62"&gt;62&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are not persuaded that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to present the proposed mitigating evidence of child abuse materially affected the imposition of Rodriguez' death sentence.&lt;/span&gt; &lt;span data-paragraph-id="190054" data-sentence-id="190554" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895605626" data-vids="895605626" class="ldml-reference" data-prop-ids="embeddedsentence_190611,sentence_190240"&gt;&lt;span class="ldml-refname"&gt;Andrews v. Collins&lt;/span&gt;, &lt;span class="ldml-cite"&gt;21 F.3d 612, 624&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that, in light of evidence that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; stood over victim and shot him directly in the forehead and that &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; altered bullet to cause more severe devastation on impact, &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; failed to show actual prejudice suffered from &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged deficiency&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:513us1114,115sct908,130led2d7901995" data-prop-ids="sentence_190240"&gt;&lt;span class="ldml-cite"&gt;513 U.S. 1114&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 S.Ct. 908&lt;/span&gt;, &lt;span class="ldml-cite"&gt;130 L.Ed.2d 790&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891662231" data-vids="891662231" class="ldml-reference" data-prop-ids="embeddedsentence_191009,sentence_190240"&gt;&lt;span class="ldml-refname"&gt;Glass v. Blackburn&lt;/span&gt;, &lt;span class="ldml-cite"&gt;791 F.2d 1165, 1170-71&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that the jury would not have rendered a different verdict had mitigating evidence been offered because the murders were calculated and cold-blooded and the victims suffered severe mental anguish both before and during the murders&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:481us1042,107sct1985,95led2d8241987" data-prop-ids="sentence_190240"&gt;&lt;span class="ldml-cite"&gt;481 U.S. 1042&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 S.Ct. 1985&lt;/span&gt;, &lt;span class="ldml-cite"&gt;95 L.Ed.2d 824&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="191317" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="191317" data-sentence-id="191317" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 297&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="191325" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="191325" data-sentence-id="191326" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged deficiency in failing to investigate and present evidence of child abuse did not rise to the level of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="D" data-id="heading_191517" data-ordinal_start="4" data-ordinal_end="4" data-specifier="D" id="heading_191517" data-content-heading-label="D
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="191517" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="191517" data-sentence-id="191517" class="ldml-sentence"&gt;D&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="191519" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="191519" data-sentence-id="191527" class="ldml-sentence"&gt;Rodriguez claims that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; rendered ineffective assistance by failing to &lt;span class="ldml-quotation quote"&gt;"follow through"&lt;/span&gt; and to present evidence of Rodriguez' mental illness.&lt;/span&gt; &lt;span data-paragraph-id="191519" data-sentence-id="191680" class="ldml-sentence"&gt;Again, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="191700" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="191700" data-sentence-id="191708" class="ldml-sentence"&gt;In a capital case, the decision to present evidence of mental illness is within the sound strategic judgment of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="191700" data-sentence-id="191829" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886020887" data-vids="886020887" class="ldml-reference" data-prop-ids="sentence_191708"&gt;&lt;span class="ldml-refname"&gt;Whitmore v. Lockhart&lt;/span&gt;, &lt;span class="ldml-cite"&gt;8 F.3d 614, 617&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;8th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893878474" data-vids="893878474" class="ldml-reference" data-prop-ids="sentence_191708"&gt;&lt;span class="ldml-refname"&gt;Laws v. Armontrout&lt;/span&gt;, &lt;span class="ldml-cite"&gt;863 F.2d 1377, 1387-89&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;8th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895471571" data-vids="895471571" class="ldml-reference" data-prop-ids="sentence_191708"&gt;&lt;span class="ldml-cite"&gt;490 U.S. 1040&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. 1944&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 L.Ed.2d 415&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="191700" data-sentence-id="192015" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"An attorney is not obligated to present mitigation evidence if, after reasonable investigation, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; determines that such evidence may do more harm than good."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="191700" data-sentence-id="192181" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893578416" data-vids="893578416" class="ldml-reference" data-prop-ids="sentence_192015"&gt;&lt;span class="ldml-refname"&gt;Harris v. Dugger&lt;/span&gt;, &lt;span class="ldml-cite"&gt;874 F.2d 756, 763&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:493us1011,110sct573,107led2d5681989" data-prop-ids="sentence_192015"&gt;&lt;span class="ldml-cite"&gt;493 U.S. 1011&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 573&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 L.Ed.2d 568&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895617089" data-vids="895617089" class="ldml-reference" data-prop-ids="embeddedsentence_192350,sentence_192015"&gt;&lt;span class="ldml-refname"&gt;Davis v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;871 P.2d 769, 773&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;hen faced with overwhelming aggravating circumstances, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; reasonably may conclude that the testimony of certain character witnesses would be of little help to the defense."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="191700" data-sentence-id="192540" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893878474" data-vids="893878474" class="ldml-reference" data-prop-ids="sentence_192540"&gt;&lt;span class="ldml-refname"&gt;Laws&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the Eighth Circuit held that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to present psychiatric evidence at the penalty phase of a capital murder &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; did not amount to ineffective assistance:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="192724" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="192724" data-sentence-id="192724" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt; could easily have concluded that the decision to present psychological testimony would have disastrous consequences.&lt;/span&gt; &lt;span data-paragraph-id="192724" data-sentence-id="192849" class="ldml-sentence"&gt;Skillful cross-examination could have revealed that although &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;]&lt;/span&gt; suffered from no mental impairment that would negate responsibility for the murders &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had committed, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was nonetheless a maladjusted man with a propensity for violence.&lt;/span&gt; &lt;span data-paragraph-id="192724" data-sentence-id="193097" class="ldml-sentence"&gt;Such cross-examination could have alienated the jury against his client.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="193170" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="193170" data-sentence-id="193178" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893878474" data-vids="893878474" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;863 F.2d at 1389&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="193196" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="193196" data-sentence-id="193204" class="ldml-sentence"&gt;Rodriguez claims that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; knew about Rodriguez' mental illness, but failed to present such evidence in mitigation.&lt;/span&gt; &lt;span data-paragraph-id="193196" data-sentence-id="193329" class="ldml-sentence"&gt;However, the record reflects that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; called &lt;span class="ldml-entity"&gt;Kent Wilson&lt;/span&gt;, director of Psychological Services for the Denver &lt;span class="ldml-entity"&gt;Juvenile Court&lt;/span&gt;, as a witness at the penalty phase.&lt;/span&gt; &lt;span data-paragraph-id="193196" data-sentence-id="193498" class="ldml-sentence"&gt;Wilson testified about two evaluations &lt;span class="ldml-entity"&gt;he&lt;/span&gt; performed on Rodriguez in &lt;span class="ldml-entity"&gt;1973&lt;/span&gt; and &lt;span class="ldml-entity"&gt;1974&lt;/span&gt; in which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; concluded that Rodriguez had an &lt;span class="ldml-quotation quote"&gt;"anti-social personality."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="193196" data-sentence-id="193651" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_193498"&gt;&lt;span class="ldml-refname"&gt;R., v. 34&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 254-61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_193498"&gt;&lt;span class="ldml-refname"&gt;R., v. 35&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 12-17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="193692" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="193692" data-sentence-id="193700" class="ldml-sentence"&gt;The record also reflects that, at the penalty phase, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; contemplated calling &lt;span class="ldml-entity"&gt;Dr. Kathy Morall&lt;/span&gt;, Rodriguez' prison psychiatrist, as a witness to testify regarding prescribed medications taken by Rodriguez, but declined to do so when it became apparent that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s cross-examination could produce results detrimental to Rodriguez' defense.&lt;/span&gt; &lt;span data-paragraph-id="193692" data-sentence-id="194059" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_193700"&gt;&lt;span class="ldml-refname"&gt;R., v. 34&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 145-48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="193692" data-sentence-id="194080" class="ldml-sentence"&gt;Trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; knew of Rodriguez' psychiatric problems and prescribed medications and made an informed judgment that presentation of such testimony would do more harm than good.&lt;/span&gt; &lt;span data-paragraph-id="193692" data-sentence-id="194257" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_194080"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. at 690-91&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2065-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887674564" data-vids="887674564" class="ldml-reference" data-prop-ids="sentence_194080"&gt;&lt;span class="ldml-refname"&gt;Smith v. Dugger&lt;/span&gt;, &lt;span class="ldml-cite"&gt;840 F.2d 787, 795&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748515" data-vids="892748515" class="ldml-reference" data-prop-ids="sentence_194080"&gt;&lt;span class="ldml-cite"&gt;494 U.S. 1047&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 1511&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 L.Ed.2d 647&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895617089" data-vids="895617089" class="ldml-reference" data-prop-ids="sentence_194080"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt; &lt;span class="ldml-cite"&gt;871 P.2d at 773&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="194459" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="194459" data-sentence-id="194467" class="ldml-sentence"&gt;Rodriguez failed to make any showing at the postconviction hearing that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; suffered actual prejudice from trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged failure to present evidence of mental illness.&lt;/span&gt; &lt;span data-paragraph-id="194459" data-sentence-id="194644" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; acted well within the bounds of professional competency in deciding not to present further evidence of Rodriguez' mental illness.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="E" data-id="heading_194818" data-ordinal_start="5" data-ordinal_end="5" data-specifier="E" id="heading_194818" data-content-heading-label="E
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="194818" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="194818" data-sentence-id="194818" class="ldml-sentence"&gt;E&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="194820" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="194820" data-sentence-id="194828" class="ldml-sentence"&gt;Rodriguez contends that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; performed deficiently by: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; wrongfully conceding guilt at trial; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; failing to object to certain evidence which proved damaging at the penalty phase; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; presenting damaging evidence at the penalty phase.&lt;/span&gt; &lt;span data-paragraph-id="194820" data-sentence-id="195081" class="ldml-sentence"&gt;Rodriguez has established no error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="195117" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="195117" data-sentence-id="195125" class="ldml-sentence"&gt;At trial, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; presented strong evidence of Rodriguez' guilt.&lt;/span&gt; &lt;span data-paragraph-id="195117" data-sentence-id="195198" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;, a participant in the kidnapping of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, testified that Rodriguez raped &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; and then killed her.&lt;/span&gt; &lt;span data-paragraph-id="195117" data-sentence-id="195339" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_195198"&gt;&lt;span class="ldml-refname"&gt;R., v. 25&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 208, 210&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_195198"&gt;&lt;span class="ldml-refname"&gt;R., v. 26&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="195117" data-sentence-id="195379" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; also introduced letters written by Rodriguez to &lt;span class="ldml-entity"&gt;Margie Marquez&lt;/span&gt; in which Rodriguez&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="195477" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="195477" data-sentence-id="195477" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 298&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="195485" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="195485" data-sentence-id="195486" class="ldml-sentence"&gt;admitted that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="195485" data-sentence-id="195529" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_195486"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 970&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="195485" data-sentence-id="195560" class="ldml-sentence"&gt;The forensic serologist confirmed the presence of Martelli's blood on Rodriguez' underwear, jacket, and jeans after his arrest.&lt;/span&gt; &lt;span data-paragraph-id="195485" data-sentence-id="195688" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_195560"&gt;&lt;span class="ldml-refname"&gt;R., v. 28&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 193-97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="195709" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="195709" data-sentence-id="195717" class="ldml-sentence"&gt;At the guilt phase of trial, the defense conceded Rodriguez' participation in the events leading to &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;'s death, but disputed Rodriguez' culpability for deliberated first-degree murder by arguing that &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; killed the victim.&lt;/span&gt; &lt;span data-paragraph-id="195709" data-sentence-id="195986" class="ldml-sentence"&gt;Defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; carried this theory into the penalty phase in the form of an &lt;span class="ldml-quotation quote"&gt;"equity defense,"&lt;/span&gt; arguing that sentencing Rodriguez to death would be extremely inequitable because neither &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt; nor &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; were sentenced to death.&lt;/span&gt; &lt;span data-paragraph-id="195709" data-sentence-id="196231" class="ldml-sentence"&gt;The defense also argued that Rodriguez wrote the letters to Marquez so that Marquez could turn the letters over to the district attorney and seek reduction of the criminal charges pending against her.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="196432" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="196432" data-sentence-id="196440" class="ldml-sentence"&gt;Based on the strength of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s evidence, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; could have lost credibility with the jury by arguing Rodriguez' innocence in the guilt phase.&lt;/span&gt; &lt;span data-paragraph-id="196432" data-sentence-id="196603" class="ldml-sentence"&gt;Given Rodriguez' three prior convictions, &lt;a href="#note-fr63" class="ldml-noteanchor" id="note-ref-fr63"&gt;63&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; a guilty verdict on any of the several charged offenses relating to the abduction, rape, and murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; would have resulted in a mandatory sentence of life imprisonment.&lt;/span&gt; &lt;span data-paragraph-id="196432" data-sentence-id="196833" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_196603"&gt;&lt;span class="ldml-cite"&gt;§ 16-13-103, 8 C.R.S. &lt;span class="ldml-parenthetical"&gt;(1984 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="196432" data-sentence-id="196874" class="ldml-sentence"&gt;Accordingly, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; might reasonably have concluded that, in light of the evidence of guilt presented, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could not save Rodriguez from a life sentence and focused instead on precluding the imposition of a death sentence.&lt;/span&gt; &lt;span data-paragraph-id="196432" data-sentence-id="197105" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891575983" data-vids="891575983" class="ldml-reference" data-prop-ids="embeddedsentence_197162,sentence_196874"&gt;&lt;span class="ldml-refname"&gt;Romero v. Lynaugh&lt;/span&gt;, &lt;span class="ldml-cite"&gt;884 F.2d 871, 877&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s decision&lt;/span&gt; not to argue the absurd or burden the jury with the obvious did not amount to ineffective assistance&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:494us1012,110sct1311,108led2d4871990" data-prop-ids="sentence_196874"&gt;&lt;span class="ldml-cite"&gt;494 U.S. 1012&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 1311&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 L.Ed.2d 487&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895617089" data-vids="895617089" class="ldml-reference" data-prop-ids="embeddedsentence_197390,sentence_196874"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;871 P.2d at 769&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"rather than attempt to argue the absurd,"&lt;/span&gt; trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; conceded the obvious strength of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s case and instead focused on preventing a death sentence&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="196432" data-sentence-id="197569" class="ldml-sentence"&gt;In addition, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s strategy of contesting only the charge of deliberated first-degree murder at the guilt phase strengthened their penalty phase argument that it would be inequitable to sentence Rodriguez to death when &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; received only a life sentence.&lt;/span&gt; &lt;span data-paragraph-id="196432" data-sentence-id="197845" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[S]&lt;/span&gt;trategic choices made after thorough investigation of law and facts relevant to plausible options are virtually unchallengeable,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_197845"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. at 690&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2066&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and, accordingly, Rodriguez' second guessing of trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s strategy will not support a claim of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="196432" data-sentence-id="198163" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895617089" data-vids="895617089" class="ldml-reference" data-prop-ids="sentence_197845"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;871 P.2d at 773&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895816266" data-vids="895816266" class="ldml-reference" data-prop-ids="sentence_197845"&gt;&lt;span class="ldml-refname"&gt;People v. Bossert&lt;/span&gt;, &lt;span class="ldml-cite"&gt;722 P.2d 998, 1010&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="198249" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="198249" data-sentence-id="198257" class="ldml-sentence"&gt;Rodriguez also asserts that, at the guilt and penalty phases, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; failed to object to evidence which ultimately proved damaging at the penalty phase.&lt;/span&gt; &lt;span data-paragraph-id="198249" data-sentence-id="198417" class="ldml-sentence"&gt;However, Rodriguez failed to show that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s conduct did not relate to a reasonable trial strategy of contesting only the deliberated first-degree murder charge and establishing the &lt;span class="ldml-quotation quote"&gt;"equity defense"&lt;/span&gt; at the penalty phase.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="198648" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="198648" data-sentence-id="198656" class="ldml-sentence"&gt;In addition, Rodriguez failed to show actual prejudice.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="198712" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; presented overwhelming evidence of aggravation at the penalty phase.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="198797" class="ldml-sentence"&gt;For example, a woman testified that Rodriguez and &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; raped and sodomized her in &lt;span class="ldml-entity"&gt;1978&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_198797"&gt;&lt;span class="ldml-refname"&gt;R., v. 34&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 59-99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and that, following that assault, Rodriguez stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; wanted to kill her so that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could not identify them, but that &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt; convinced Rodriguez to let her go.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="199091" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_198797"&gt;&lt;span class="ldml-cite"&gt;Id. at 70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="199102" class="ldml-sentence"&gt;A man testified that, ten days before the murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, Rodriguez shot him four times in the head during an attempted robbery.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="199244" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_199102"&gt;&lt;span class="ldml-cite"&gt;Id. at 122-127&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="199260" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; also informed the jury that Rodriguez was on parole when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; robbed, raped, and killed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="199381" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_199260"&gt;&lt;span class="ldml-refname"&gt;R., v. 35&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 107&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="198648" data-sentence-id="199399" class="ldml-sentence"&gt;Given the strength of &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s evidence of guilt and aggravation, Rodriguez cannot demonstrate that, but for &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to object, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have received a life sentence instead of the death penalty.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="199615" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="199615" data-sentence-id="199615" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 299&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="199624" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="199624" data-sentence-id="199632" class="ldml-sentence"&gt;Finally, Rodriguez contends that trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; presented damaging evidence at the penalty phase regarding Rodriguez' criminal history, his acts of misconduct in prison, and his attempts to escape.&lt;/span&gt; &lt;span data-paragraph-id="199624" data-sentence-id="199829" class="ldml-sentence"&gt;Again, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="199858" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="199858" data-sentence-id="199866" class="ldml-sentence"&gt;At the penalty phase, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; chose the strategy of portraying Rodriguez as an underprivileged youth from a broken home who had been betrayed by the juvenile justice system.&lt;/span&gt; &lt;span data-paragraph-id="199858" data-sentence-id="200046" class="ldml-sentence"&gt;In their efforts to humanize Rodriguez to the jury, &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; presented a candid life history and personality profile of Rodriguez which informed the jury of his offenses as a juvenile and his violations in prison.&lt;/span&gt; &lt;span data-paragraph-id="199858" data-sentence-id="200259" class="ldml-sentence"&gt;Given the strength of the aggravating evidence, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; made a reasonable decision that a credible picture of Rodriguez could not be presented without revealing his extensive history with the criminal justice system.&lt;/span&gt; &lt;span data-paragraph-id="199858" data-sentence-id="200482" class="ldml-sentence"&gt;Thus, trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s strategy cannot be viewed as either incompetent or prejudicial.&lt;/span&gt; &lt;span data-paragraph-id="199858" data-sentence-id="200568" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895617089" data-vids="895617089" class="ldml-reference" data-prop-ids="sentence_200482"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;871 P.2d at 773&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895816266" data-vids="895816266" class="ldml-reference" data-prop-ids="sentence_200482"&gt;&lt;span class="ldml-refname"&gt;Bossert&lt;/span&gt;, &lt;span class="ldml-cite"&gt;722 P.2d at 1010&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="F" data-id="heading_200623" data-ordinal_start="6" data-ordinal_end="6" data-specifier="F" id="heading_200623" data-content-heading-label="F
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="200623" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="200623" data-sentence-id="200623" class="ldml-sentence"&gt;F&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="200625" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="200625" data-sentence-id="200633" class="ldml-sentence"&gt;Next, Rodriguez argues that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s failure to provide him with a complete and adequate record to use in preparing his appeal violated his constitutional right to effective assistance of appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="200625" data-sentence-id="200843" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject this argument.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="200868" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="200868" data-sentence-id="200876" class="ldml-sentence"&gt;Our examination of the record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; reveals the following sequence of events.&lt;/span&gt; &lt;span data-paragraph-id="200868" data-sentence-id="200958" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;October 7, 1993&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Rodriguez'&lt;/span&gt; &lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; regarding ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="200868" data-sentence-id="201083" class="ldml-sentence"&gt;Subsequent to this ruling and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of Rodriguez' remaining postconviction claims on &lt;span class="ldml-entity"&gt;February 14, 1994&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;, Rodriguez filed a notice of appeal with &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="200868" data-sentence-id="201281" class="ldml-sentence"&gt;Upon consideration of the notice of appeal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; ordered that the record of Rodriguez' case be filed with &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="200868" data-sentence-id="201397" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;October 20, 1994&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to determine whether and to what extent the record required correction or modification.&lt;/span&gt; &lt;span data-paragraph-id="200868" data-sentence-id="201549" class="ldml-sentence"&gt;Upon remand, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; found that several boxes of material relevant to the record were not transmitted as part of the record on appeal of the denial of Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_201549"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; and directed a recertification of the entire record.&lt;/span&gt; &lt;span data-paragraph-id="200868" data-sentence-id="201798" class="ldml-sentence"&gt;In November and &lt;span class="ldml-entity"&gt;December 1994&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; delivered a recertified record to &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="200868" data-sentence-id="201894" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; did not have the documents contained in the recertified record when &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denied Rodriguez' &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt; relating to claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; on &lt;span class="ldml-entity"&gt;October 7, 1993&lt;/span&gt;, or when it denied Rodriguez' remaining postconviction claims on &lt;span class="ldml-entity"&gt;February 14, 1994&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;March 17, 1994&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="202210" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="202210" data-sentence-id="202218" class="ldml-sentence"&gt;Rodriguez now contends that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; denied him his right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; by failing to provide a complete and adequate record for &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to use in preparing his direct appeal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="202416" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="202416" data-sentence-id="202424" class="ldml-sentence"&gt;Ordinarily, to prevail on an ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; claim, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must show that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance was deficient"&lt;/span&gt; and that &lt;span class="ldml-quotation quote"&gt;"the deficient performance prejudiced the defense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="202620" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_202424"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. at 687&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2064&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="202668" class="ldml-sentence"&gt;However, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891654054" data-vids="891654054" class="ldml-reference" data-prop-ids="sentence_202668"&gt;&lt;span class="ldml-refname"&gt;Perry v. Leeke&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; expressly noted that &lt;span class="ldml-quotation quote"&gt;"direct governmental interference with &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is a different matter."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="202846" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891654054" data-vids="891654054" class="ldml-reference" data-prop-ids="sentence_202668"&gt;&lt;span class="ldml-cite"&gt;488 U.S. 272, 279&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. 594, 599&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 L.Ed.2d 624&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="202909" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; stated: &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;ctual or constructive denial of the assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; altogether'&lt;/span&gt; is not subject to the kind of prejudice analysis that is appropriate in determining whether the quality of a lawyer's performance itself has been constitutionally ineffective."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="203181" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891654054" data-vids="891654054" class="ldml-reference" data-prop-ids="sentence_202909"&gt;&lt;span class="ldml-cite"&gt;Id. at 280&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. at 600&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_202909"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. at 692&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2067&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="203285" class="ldml-sentence"&gt;In these limited circumstances, a showing of prejudice is not required to establish a violation of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s constitutional right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="203455" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891654054" data-vids="891654054" class="ldml-reference" data-prop-ids="sentence_203285"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="203459" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Supreme Court&lt;/span&gt; has found a violation of the constitutional right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; without any showing of prejudice only when &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was either totally absent or altogether prevented from assisting &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; during a critical stage of the proceeding.&lt;/span&gt; &lt;span data-paragraph-id="202416" data-sentence-id="203735" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768492" data-vids="886768492" class="ldml-reference" data-prop-ids="sentence_203735"&gt;&lt;span class="ldml-refname"&gt;United States v. Cronic&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. 648, 659 n. 25&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. 2039, 2047 n. 25&lt;/span&gt;, &lt;span class="ldml-cite"&gt;80 L.Ed.2d 657&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886149732" data-vids="886149732" class="ldml-reference" data-prop-ids="sentence_203735"&gt;&lt;span class="ldml-refname"&gt;Geders v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;425 U.S. 80, 91&lt;/span&gt;, &lt;span class="ldml-cite"&gt;96 S.Ct. 1330, 1336-37&lt;/span&gt;, &lt;span class="ldml-cite"&gt;47 L.Ed.2d 592&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; (&lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; prevented &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; from consulting with his&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="203994" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="203994" data-sentence-id="203994" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 300&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="204002" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="204002" data-sentence-id="204003" class="ldml-sentence"&gt;attorney during a 17-hour overnight recess during trial)&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888564075" data-vids="888564075" class="ldml-reference" data-prop-ids="sentence_204003"&gt;&lt;span class="ldml-refname"&gt;Herring v. New York&lt;/span&gt;, &lt;span class="ldml-cite"&gt;422 U.S. 853, 863-64&lt;/span&gt;, &lt;span class="ldml-cite"&gt;95 S.Ct. 2550, 2555-56&lt;/span&gt;, &lt;span class="ldml-cite"&gt;45 L.Ed.2d 593&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; refused to allow defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to make closing arguments in a bench trial&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889492068" data-vids="889492068" class="ldml-reference" data-prop-ids="sentence_204003"&gt;&lt;span class="ldml-refname"&gt;Davis v. Alaska&lt;/span&gt;, &lt;span class="ldml-cite"&gt;415 U.S. 308, 318&lt;/span&gt;, &lt;span class="ldml-cite"&gt;94 S.Ct. 1105, 1111&lt;/span&gt;, &lt;span class="ldml-cite"&gt;39 L.Ed.2d 347&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1974&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; prohibited defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; from cross-examining &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; witness as to potential bias&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890838419" data-vids="890838419" class="ldml-reference" data-prop-ids="sentence_204003"&gt;&lt;span class="ldml-refname"&gt;Brooks v. Tennessee&lt;/span&gt;, &lt;span class="ldml-cite"&gt;406 U.S. 605, 612-13&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 S.Ct. 1891, 1895-96&lt;/span&gt;, &lt;span class="ldml-cite"&gt;32 L.Ed.2d 358&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; required &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; to be first defense witness&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888309748" data-vids="888309748" class="ldml-reference" data-prop-ids="sentence_204003"&gt;&lt;span class="ldml-refname"&gt;Ferguson v. Georgia&lt;/span&gt;, &lt;span class="ldml-cite"&gt;365 U.S. 570, 593-96&lt;/span&gt;, &lt;span class="ldml-cite"&gt;81 S.Ct. 756, 768-70&lt;/span&gt;, &lt;span class="ldml-cite"&gt;5 L.Ed.2d 783&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1961&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; prohibited defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; from conducting direct examination of &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="204751" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="204751" data-sentence-id="204759" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The cases&lt;/span&gt; cited above are inapposite to Rodriguez' case.&lt;/span&gt; &lt;span data-paragraph-id="204751" data-sentence-id="204816" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;the present case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; of the record did not altogether prevent Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; from assisting Rodriguez in the preparation of his appeal.&lt;/span&gt; &lt;span data-paragraph-id="204751" data-sentence-id="204966" class="ldml-sentence"&gt;On direct appeal, Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; filed a 138-page brief and an appendix listing 102 additional issues.&lt;/span&gt; &lt;span data-paragraph-id="204751" data-sentence-id="205073" class="ldml-sentence"&gt;According, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the incompleteness of the record did not amount to an actual or constructive denial of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for which prejudice would be presumed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="205235" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="205235" data-sentence-id="205243" class="ldml-sentence"&gt;Thus, in order to prevail on his claim of state interference with the right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, Rodriguez must show that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s performance was deficient"&lt;/span&gt; and that &lt;span class="ldml-quotation quote"&gt;"the deficient performance prejudiced the defense."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="205235" data-sentence-id="205479" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886768367" data-vids="886768367" class="ldml-reference" data-prop-ids="sentence_205243"&gt;&lt;span class="ldml-refname"&gt;Strickland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. at 687&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 S.Ct. at 2064&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="205235" data-sentence-id="205527" class="ldml-sentence"&gt;However, Rodriguez merely asserts that the existence of an incomplete record, standing alone, denied him effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="205235" data-sentence-id="205665" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; makes no attempt to identify how &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; performed deficiently in preparing his appeal or how the incomplete record prejudiced his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s ability to raise any issue on appeal.&lt;/span&gt; &lt;span data-paragraph-id="205235" data-sentence-id="205847" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that Rodriguez' vague and unsupported claim of error does not establish a violation of his right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="206005" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="206005" data-sentence-id="206013" class="ldml-sentence"&gt;Rodriguez also tangentially asserts that the absence of a complete record for use on appeal violated his due process rights and mandates reversal of his convictions and death sentence.&lt;/span&gt; &lt;span data-paragraph-id="206005" data-sentence-id="206198" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="206211" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="206211" data-sentence-id="206219" class="ldml-sentence"&gt;As a general &lt;span class="ldml-entity"&gt;proposition&lt;/span&gt;, a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; is entitled to a record on appeal which includes a complete transcript of the proceedings at trial.&lt;/span&gt; &lt;span data-paragraph-id="206211" data-sentence-id="206366" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890085827" data-vids="890085827" class="ldml-reference" data-prop-ids="sentence_206219"&gt;&lt;span class="ldml-refname"&gt;Hardy v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;375 U.S. 277, 279-82&lt;/span&gt;, &lt;span class="ldml-cite"&gt;84 S.Ct. 424, 426-28&lt;/span&gt;, &lt;span class="ldml-cite"&gt;11 L.Ed.2d 331&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1964&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="206211" data-sentence-id="206461" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have not previously identified the standard for determining whether an incomplete trial record entitles &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to a new trial.&lt;/span&gt; &lt;a href="#note-fr64" class="ldml-noteanchor" id="note-ref-fr64"&gt;64&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="206211" data-sentence-id="206597" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893549503" data-vids="893549503" class="ldml-reference" data-prop-ids="sentence_206597"&gt;&lt;span class="ldml-refname"&gt;United States v. Selva&lt;/span&gt;, &lt;span class="ldml-cite"&gt;559 F.2d 1303&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the Fifth Circuit provided the following standard of review:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="206716" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="206716" data-sentence-id="206716" class="ldml-sentence"&gt;When ... a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; is represented on appeal by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; other than the attorney at trial, the absence of a substantial and significant portion of the record, even absent any showing of specific prejudice or error, is sufficient to mandate reversal.&lt;/span&gt; &lt;span data-paragraph-id="206716" data-sentence-id="206975" class="ldml-sentence"&gt;The wisdom of this rule is apparent.&lt;/span&gt; &lt;span data-paragraph-id="206716" data-sentence-id="207012" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; is represented on appeal by the same attorney who defended him at trial, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may properly require &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to articulate the prejudice that may have resulted from the failure to record a portion of the proceedings.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="207249" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="207249" data-sentence-id="207257" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893549503" data-vids="893549503" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 1306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnote and citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313699" data-vids="895313699" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;United States v. Preciado-Cordobas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;981 F.2d 1206, 1212&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(applying the Selva standard)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895286699" data-vids="895286699" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;United States v. Valdez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;861 F.2d 427, 431&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:489us1083,109sct1539,103led2d8441989"&gt;&lt;span class="ldml-cite"&gt;489 U.S. 1083&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. 1539&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 L.Ed.2d 844&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892644469" data-vids="892644469" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;United States v. Renton&lt;/span&gt;, &lt;span class="ldml-cite"&gt;700 F.2d 154, 157&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr65" class="ldml-noteanchor" id="note-ref-fr65"&gt;65&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="207249" data-sentence-id="207599" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; decline to&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="207613" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="207613" data-sentence-id="207613" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 301&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="207621" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="207621" data-sentence-id="207622" class="ldml-sentence"&gt;adopt a rigid approach that turns on whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is represented by new &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; on appeal and hold that, to obtain relief on a due process claim arising from an incomplete record, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; must always demonstrate specific prejudice resulting from &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; of that record.&lt;/span&gt; &lt;span data-paragraph-id="207621" data-sentence-id="207907" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895341616" data-vids="895341616" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;United States v. Wilson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;16 F.3d 1027, 1031&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;9th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887267589" data-vids="887267589" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;United States v. Sierra&lt;/span&gt;, &lt;span class="ldml-cite"&gt;981 F.2d 123, 125-26&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;3d Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:508us967,113sct2949,124led2d6961993" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-cite"&gt;508 U.S. 967&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 S.Ct. 2949&lt;/span&gt;, &lt;span class="ldml-cite"&gt;124 L.Ed.2d 696&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:unitedstatesvgallo,763f2d1504,1530-31,1531n406thcir1985" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;United States v. Gallo&lt;/span&gt;, &lt;span class="ldml-cite"&gt;763 F.2d 1504, 1531&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;6th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:475us1017,106sct1200,89led2d3141986" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-cite"&gt;475 U.S. 1017&lt;/span&gt;, &lt;span class="ldml-cite"&gt;106 S.Ct. 1200&lt;/span&gt;, &lt;span class="ldml-cite"&gt;89 L.Ed.2d 314&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890625669" data-vids="890625669" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;State v. Williams&lt;/span&gt;, &lt;span class="ldml-cite"&gt;227 Conn. 101&lt;/span&gt;, &lt;span class="ldml-cite"&gt;629 A.2d 402, 405-07&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894059482" data-vids="894059482" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;Smith v. State&lt;/span&gt;, &lt;span class="ldml-cite"&gt;291 Md. 125&lt;/span&gt;, &lt;span class="ldml-cite"&gt;433 A.2d 1143, 1146-48&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899798233" data-vids="899798233" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;State v. Borden&lt;/span&gt;, &lt;span class="ldml-cite"&gt;605 S.W.2d 88, 92&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Mo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892613449" data-vids="892613449" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;State v. Madera&lt;/span&gt;, &lt;span class="ldml-cite"&gt;206 Mont. 140&lt;/span&gt;, &lt;span class="ldml-cite"&gt;670 P.2d 552, 565&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894429232" data-vids="894429232" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;State v. Dupris&lt;/span&gt;, &lt;span class="ldml-cite"&gt;373 N.W.2d 446, 449&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;S.D.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895153366" data-vids="895153366" class="ldml-reference" data-prop-ids="sentence_207622"&gt;&lt;span class="ldml-refname"&gt;State v. Helmick&lt;/span&gt;, &lt;span class="ldml-cite"&gt;169 W.Va. 94&lt;/span&gt;, &lt;span class="ldml-cite"&gt;286 S.E.2d 245, 249&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="207621" data-sentence-id="208564" class="ldml-sentence"&gt;Rodriguez' bare assertion that the incomplete record prejudiced &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s ability to prepare Rodriguez' appeal does not amount to a showing of specific prejudice, and, accordingly, Rodriguez is not entitled to relief.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="G" data-id="heading_208782" data-ordinal_start="7" data-ordinal_end="7" data-specifier="G" id="heading_208782" data-content-heading-label="G
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="208782" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="208782" data-sentence-id="208782" class="ldml-sentence"&gt;G&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="208784" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="208784" data-sentence-id="208792" class="ldml-sentence"&gt;Next, Rodriguez contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not have a complete record of Rodriguez' mental illness when it denied his postconviction claim of ineffective assistance.&lt;/span&gt; &lt;span data-paragraph-id="208784" data-sentence-id="208968" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject this argument.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="208993" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="208993" data-sentence-id="209001" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;October 7, 1993&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied Rodriguez' postconviction claim that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to investigate and present mitigating evidence of mental illness constituted ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="208993" data-sentence-id="209214" class="ldml-sentence"&gt;At that time, the record did not contain a transcript of a hearing held on &lt;span class="ldml-entity"&gt;October 28, 1986&lt;/span&gt;, between District Judge &lt;span class="ldml-entity"&gt;Connie Peterson&lt;/span&gt; and Rodriguez' trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, Desmond and Eisner.&lt;/span&gt; &lt;a href="#note-fr66" class="ldml-noteanchor" id="note-ref-fr66"&gt;66&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="208993" data-sentence-id="209397" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Peterson&lt;/span&gt;&lt;/span&gt; called the hearing to understand the effects of prescribed medication taken by Rodriguez and to address any issue that might later be raised on appeal because of Rodriguez' medicated state at trial.&lt;/span&gt; &lt;span data-paragraph-id="208993" data-sentence-id="209611" class="ldml-sentence"&gt;See Sealed Tr. of Hearing &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Oct. 28, 1986&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="208993" data-sentence-id="209654" class="ldml-sentence"&gt;At the hearing, &lt;span class="ldml-entity"&gt;Drs. Kathy Morall&lt;/span&gt; and Seymoure Sundell, who treated Rodriguez in jail, testified concerning the effects of Rodriguez' prescribed medication.&lt;/span&gt; &lt;span data-paragraph-id="208993" data-sentence-id="209811" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895153366" data-vids="895153366" class="ldml-reference" data-prop-ids="sentence_209654"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="209815" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="209815" data-sentence-id="209823" class="ldml-sentence"&gt;Rodriguez contends that a transcript of the &lt;span class="ldml-entity"&gt;October 28, 1986&lt;/span&gt;, hearing was crucial to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s determination of whether trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; rendered ineffective assistance by failing to &lt;span class="ldml-quotation quote"&gt;"follow through"&lt;/span&gt; on evidence of mental illness.&lt;/span&gt; &lt;span data-paragraph-id="209815" data-sentence-id="210062" class="ldml-sentence"&gt;However, our examination of the transcript reveals that the hearing related solely to the effects that prescribed medications had on Rodriguez and did not contain testimony regarding &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s decision&lt;/span&gt; to further investigate or present a claim of mental illness.&lt;/span&gt; &lt;span data-paragraph-id="209815" data-sentence-id="210325" class="ldml-sentence"&gt;As discussed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_210325"&gt;&lt;span class="ldml-cite"&gt;part VII&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion, Rodriguez' trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; reasonably decided not to call Dr. Morall to testify at trial regarding Rodriguez' mental illness after concluding that Dr. Morall's testimony might prejudice Rodriguez' defense.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="210574" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="210574" data-sentence-id="210582" class="ldml-sentence"&gt;Prior to its denial of Rodriguez' postconviction claims alleging ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; reviewed the record, which included a transcript of the bench conference at which defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; decided not to call Dr. Morall.&lt;/span&gt; &lt;span data-paragraph-id="210574" data-sentence-id="210831" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_210582"&gt;&lt;span class="ldml-refname"&gt;R., v. 34&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 145-48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_210582"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt; &lt;span class="ldml-cite"&gt;part VII&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="210574" data-sentence-id="210875" class="ldml-sentence"&gt;Rodriguez fails to establish that the lack of a transcript of the &lt;span class="ldml-entity"&gt;October 28, 1986&lt;/span&gt;, hearing prejudicially affected &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s determination that Rodriguez received effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; at trial.&lt;/span&gt; &lt;span data-paragraph-id="210574" data-sentence-id="211091" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; had an adequate record upon which to deny Rodriguez' claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for failure to present evidence of Rodriguez' mental illness.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="211299" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="211299" data-sentence-id="211307" class="ldml-sentence"&gt;In Issue 148, Rodriguez contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s failure to provide him with a transcript of the &lt;span class="ldml-entity"&gt;October 28, 1986&lt;/span&gt;, hearing violated his constitutional right to rebut &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s arguments at the penalty phase&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="211532" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="211532" data-sentence-id="211532" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 302&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="211540" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="211540" data-sentence-id="211541" class="ldml-sentence"&gt;relating to Rodriguez' future dangerousness.&lt;/span&gt; &lt;span data-paragraph-id="211540" data-sentence-id="211586" class="ldml-sentence"&gt;Specifically, Rodriguez alleges that:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="211624" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="211624" data-sentence-id="211624" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;his transcript would have significantly bolstered Mr. Rodriguez' claim on direct appeal that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; being permitted to make these arguments after &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; assured defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would not be allowed to do so, thus fooling defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; into not presenting evidence on those issues, and after having suppressed other proposed evidence concerning such issues, violated Mr. Rodriguez' rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="212040" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="212040" data-sentence-id="212048" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 403-04&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="212040" data-sentence-id="212084" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject this argument.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="212109" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="212109" data-sentence-id="212117" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; notified Rodriguez that, pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_212117"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, it intended to present evidence relevant to establish Rodriguez' character, background, and history.&lt;/span&gt; &lt;span data-paragraph-id="212109" data-sentence-id="212296" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_212117"&gt;&lt;span class="ldml-refname"&gt;R., v. 38&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 253&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="212109" data-sentence-id="212314" class="ldml-sentence"&gt;Rodriguez notified &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not intend to rely on the statutory mitigating factor that &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; is not a continuing threat to society."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="212109" data-sentence-id="212475" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_212314"&gt;&lt;span class="ldml-cite"&gt;Id. at 255&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_212314"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(k)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="212109" data-sentence-id="212510" class="ldml-sentence"&gt;Rodriguez' claim that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; needed the transcript to rebut &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s charges of future dangerousness is entitled to little weight.&lt;/span&gt; &lt;span data-paragraph-id="212109" data-sentence-id="212646" class="ldml-sentence"&gt;Furthermore, Rodriguez fails to establish that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was prevented from calling Dr. Morall or Dr. Sundell to testify at the penalty phase regarding their testimony at the &lt;span class="ldml-entity"&gt;October 28, 1986&lt;/span&gt;, hearing.&lt;/span&gt; &lt;span data-paragraph-id="212109" data-sentence-id="212841" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that the unavailability of the transcript did not prevent Rodriguez from presenting mitigating evidence to rebut &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s arguments.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="H" data-id="heading_212995" data-ordinal_start="8" data-ordinal_end="8" data-specifier="H" id="heading_212995" data-content-heading-label="H
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="212995" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="212995" data-sentence-id="212995" class="ldml-sentence"&gt;H&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="212997" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="212997" data-sentence-id="213005" class="ldml-sentence"&gt;At &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; hearing&lt;/span&gt; on ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; refused to admit the record on appeal, &lt;a href="#note-fr67" class="ldml-noteanchor" id="note-ref-fr67"&gt;67&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; holding that Rodriguez' claim did not necessitate a review of the record because our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_213005"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, foreclosed any claims of ineffective assistance based on appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged inability to raise all available issues on appeal.&lt;/span&gt; &lt;span data-paragraph-id="212997" data-sentence-id="213393" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_213005"&gt;&lt;span class="ldml-refname"&gt;R., v. 62&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 10-12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="212997" data-sentence-id="213413" class="ldml-sentence"&gt;Here, Rodriguez claims that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s refusal to admit into evidence the record on direct appeal and to hear testimony from appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; Heher regarding his alleged inability to raise certain issues precluded Rodriguez from demonstrating ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; on appeal.&lt;/span&gt; &lt;span data-paragraph-id="212997" data-sentence-id="213712" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject this argument.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="213737" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="213737" data-sentence-id="213745" class="ldml-sentence"&gt;The record reveals that Rodriguez attempted to enter the record on appeal into evidence specifically to show that the procedural limitations imposed by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; impaired Heher's ability to raise all available issues on appeal.&lt;/span&gt; &lt;span data-paragraph-id="213737" data-sentence-id="213974" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_213745"&gt;&lt;span class="ldml-cite"&gt;Id. at 9-10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="213737" data-sentence-id="213987" class="ldml-sentence"&gt;At &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; hearing&lt;/span&gt;, Hostetler stated:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="214035" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="214035" data-sentence-id="214035" class="ldml-sentence"&gt;As I indicated in the motion, there are two what I call species of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="214035" data-sentence-id="214137" class="ldml-sentence"&gt;There is that ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; that is caused by some sort of state interference.&lt;/span&gt; &lt;span data-paragraph-id="214035" data-sentence-id="214236" class="ldml-sentence"&gt;There is a second species of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; that deals with substandard performance.&lt;/span&gt; &lt;span data-paragraph-id="214035" data-sentence-id="214340" class="ldml-sentence"&gt;What I think &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were trying to get into when &lt;span class="ldml-entity"&gt;we&lt;/span&gt; subpoenaed the records from the &lt;span class="ldml-entity"&gt;Colorado Supreme Court&lt;/span&gt; was &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were getting into that first species of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, some sort of rulings by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; either on time limitations, page limitations or what have you, that may have impacted upon Mr. Heher's ability to file a complete brief.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="214696" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="214696" data-sentence-id="214704" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 65&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 95-96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="214741" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="214741" data-sentence-id="214749" class="ldml-sentence"&gt;Rodriguez did not try to enter the record into evidence to show that the claims appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; did present were substandard.&lt;/span&gt; &lt;span data-paragraph-id="214741" data-sentence-id="214877" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; did not need to admit the record on appeal in order to determine whether the limitations imposed by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; prejudiced Rodriguez' right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="214741" data-sentence-id="215071" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_215071"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 971&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; noted that Heher submitted a &lt;span class="ldml-quotation quote"&gt;"Partial Opening Brief"&lt;/span&gt; more than quadruple the length permitted by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, received several extensions of time beyond the forty days allowed by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 31&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and filed Rodriguez' brief nearly two years after &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; had been docketed.&lt;/span&gt; &lt;span data-paragraph-id="214741" data-sentence-id="215378" class="ldml-sentence"&gt;Based on its review of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_215378"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and a recognition that meritless attacks on the requirements&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="215491" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="215491" data-sentence-id="215491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 303&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="215499" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="215499" data-sentence-id="215500" class="ldml-sentence"&gt;imposed by the Colorado Appellate Rules will not support a claim for relief, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; had an adequate basis to address Rodriguez' claim of ineffective assistance of appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr68" class="ldml-noteanchor" id="note-ref-fr68"&gt;68&lt;/a&gt;&lt;/p&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;
&lt;p data-paragraph-id="215695" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="215695" data-sentence-id="215703" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; sustained &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s objections to Heher's testimony that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; rendered ineffective assistance by failing to raise all available issues on appeal.&lt;/span&gt; &lt;span data-paragraph-id="215695" data-sentence-id="215874" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find no error in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt;.&lt;/span&gt; &lt;a href="#note-fr69" class="ldml-noteanchor" id="note-ref-fr69"&gt;69&lt;/a&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt; &lt;span data-paragraph-id="215695" data-sentence-id="215915" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895131715" data-vids="895131715" class="ldml-reference" data-prop-ids="sentence_215915"&gt;&lt;span class="ldml-refname"&gt;Jones v. Barnes&lt;/span&gt;, &lt;span class="ldml-cite"&gt;463 U.S. 745, 754&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. 3308, 3314&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 L.Ed.2d 987&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; held that appellate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s failure to include every conceivable issue available for appeal does not amount to ineffective assistance.&lt;/span&gt; &lt;span data-paragraph-id="215695" data-sentence-id="216169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; reasoned that &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s duty to render effective advocacy requires prioritizing issues on appeal based upon their strength so as to avoid &lt;span class="ldml-quotation quote"&gt;"burying good arguments ... in a verbal mound made up of strong and weak contentions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="215695" data-sentence-id="216404" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895131715" data-vids="895131715" class="ldml-reference" data-prop-ids="sentence_216169"&gt;&lt;span class="ldml-cite"&gt;Id. at 753&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 3313&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887658220" data-vids="887658220" class="ldml-reference" data-prop-ids="embeddedsentence_216495,sentence_216169"&gt;&lt;span class="ldml-refname"&gt;People v. Galimanis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;728 P.2d 761, 763&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Effective advocacy requires the recognition that if there are one or two strong arguments for reversal, these should be presented forcefully and others of less merit eliminated."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="216677" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="216677" data-sentence-id="216685" class="ldml-sentence"&gt;In his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, Rodriguez asserted the same argument which &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; rejected in Jones, stating: &lt;span class="ldml-quotation quote"&gt;"The failure of &lt;span class="ldml-entity"&gt;Defendant&lt;/span&gt; Rodriguez' attorney to raise all available issues on appeal including issues relative to the guilt phase denied &lt;span class="ldml-entity"&gt;Defendant&lt;/span&gt; Rodriguez his constitutional right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="216677" data-sentence-id="217025" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_216685"&gt;&lt;span class="ldml-refname"&gt;Am.R., v. 7&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 1638&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="216677" data-sentence-id="217046" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; did not need to hear testimony from Heher admitting that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; failed to raise all available issues in preparing Rodriguez' appeal.&lt;/span&gt; &lt;span data-paragraph-id="216677" data-sentence-id="217194" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will not disturb &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s ruling&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="I" data-id="heading_217256" data-ordinal_start="9" data-ordinal_end="9" data-specifier="I" id="heading_217256" data-content-heading-label="I
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="217256" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="217256" data-sentence-id="217256" class="ldml-sentence"&gt;I&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="217258" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="217258" data-sentence-id="217266" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly denied Rodriguez' postconviction claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_end="19" data-specifier="XIX" data-confidences="very_high" data-id="heading_217389" data-ordinal_start="19" data-types="conclusion" data-value="XIX. Conclusion" id="heading_217389" data-content-heading-label="XIX
Conclusion
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="217389" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="217389" data-sentence-id="217389" class="ldml-sentence"&gt;XIX&lt;/span&gt;
&lt;/span&gt;&lt;span data-paragraph-id="217393" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="217393" data-sentence-id="217393" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="217404" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="217404" data-sentence-id="217412" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have reviewed all remaining arguments in Rodriguez' appeal of the denial of his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motions&lt;/span&gt; and conclude that these arguments do not merit relief or discussion.&lt;/span&gt; &lt;span data-paragraph-id="217404" data-sentence-id="217586" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm in part &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s denial of Rodriguez' postconviction claims and affirm the denial of his postconviction claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="217404" data-sentence-id="217770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also affirm &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s vacation of Rodriguez' convictions for first-degree felony murder, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft and its subsequent refusal to vacate Rodriguez' sentence of death.&lt;/span&gt; &lt;span data-paragraph-id="217404" data-sentence-id="218043" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; remand Rodriguez' conviction for first-degree sexual assault as a class 2 felony to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; with directions to vacate that judgment and sentence and enter judgment and sentence for the offense of first-degree sexual assault as a class 3 felony.&lt;/span&gt; &lt;span data-paragraph-id="217404" data-sentence-id="218302" class="ldml-sentence"&gt;On remand, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; shall also set a date for the execution of &lt;span class="ldml-entity"&gt;Frank Rodriguez&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="218392" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="218392" data-sentence-id="218400" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SCOTT&lt;/span&gt;&lt;/span&gt;, J., concurs&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="218420" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="218420" data-sentence-id="218428" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;KIRSHBAUM&lt;/span&gt;&lt;/span&gt;, J., concurs in part and &lt;span class="ldml-opiniontype"&gt;dissents in part&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="218481" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (LOHR)"&gt;&lt;span data-paragraph-id="218481" data-sentence-id="218489" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;LOHR&lt;/span&gt;&lt;/span&gt;, J., &lt;span class="ldml-opiniontype"&gt;dissents&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="218509" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="218509" data-sentence-id="218509" class="ldml-sentence"&gt;APPENDIX A&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" id="heading_218520" data-id="heading_218520" data-value="RODRIGUEZ' ISSUES ON APPEAL OF CLAIMS FOR POSTCONVICTION RELIEF" data-specifier="" data-content-heading-label=" RODRIGUEZ' ISSUES ON APPEAL OF CLAIMS FOR POSTCONVICTION RELIEF
" data-format="upper_case_lacks_specifier" data-parsed="true"&gt;&lt;span data-paragraph-id="218520" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="218520" data-sentence-id="218521" class="ldml-sentence"&gt;RODRIGUEZ' ISSUES ON APPEAL OF CLAIMS FOR POSTCONVICTION RELIEF&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="218585" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="218585" data-sentence-id="218585" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="218585" data-sentence-id="218588" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT MR. RODRIGUEZ HAD ALREADY HAD APPELLATE REVIEW OF MANY CLAIMS IN HIS&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="218690" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="218690" data-sentence-id="218690" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 304&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="218698" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="218698" data-sentence-id="218699" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;POSTCONVICTION MOTIONS&lt;/span&gt; WAS ERRONEOUS.&lt;/span&gt; &lt;span data-paragraph-id="218698" data-sentence-id="218737" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;*&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="218739" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="218739" data-sentence-id="218739" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="218739" data-sentence-id="218742" class="ldml-sentence"&gt;MR. RODRIGUEZ DID NOT FORFEIT HIS RIGHT TO POSTCONVICTION REVIEW BY NOT RAISING THE SAME CLAIMS ON DIRECT APPEAL.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="218856" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="218856" data-sentence-id="218856" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="218856" data-sentence-id="218859" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT &lt;span class="ldml-entity"&gt;THIS COURT&lt;/span&gt; DECIDED SEVERAL OF MR. RODRIGUEZ' CLAIMS &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_218859"&gt;&lt;span class="ldml-refname"&gt;AGAINST HIM IN PEOPLE V. TENNESON&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d 786&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;AND&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_218859"&gt;&lt;span class="ldml-refname"&gt;PEOPLE V. DAVIS&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, IS INCORRECT.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="219067" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="219067" data-sentence-id="219067" class="ldml-sentence"&gt;4.&lt;/span&gt; &lt;span data-paragraph-id="219067" data-sentence-id="219070" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; ERRED BY REFUSING TO GRANT THE MOTION TO DEATH QUALIFY THE JUDGE.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="219146" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="219146" data-sentence-id="219146" class="ldml-sentence"&gt;5.&lt;/span&gt; &lt;span data-paragraph-id="219146" data-sentence-id="219149" class="ldml-sentence"&gt;THE DEATH PENALTY IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt; AND &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S DECISION&lt;/span&gt; TO SEEK IT ARE BASED UPON INVIDIOUS DISCRIMINATION, ARE UNGUIDED BY RATIONAL, RELEVANT AND CONSISTENT STANDARDS, AND ARE BASED ON IRRATIONAL AND ILLEGAL CRITERIA.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="219368" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="219368" data-sentence-id="219368" class="ldml-sentence"&gt;6.&lt;/span&gt; &lt;span data-paragraph-id="219368" data-sentence-id="219371" class="ldml-sentence"&gt;THE SENTENCE OF DEATH IS DISPROPORTIONATE TO SENTENCES IMPOSED IN &lt;span class="ldml-entity"&gt;OTHER CASES&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="219368" data-sentence-id="219450" class="ldml-sentence"&gt;THIS DEATH SENTENCE IS ARBITRARY AND CAPRICIOUS AND VIOLATES THE CRUEL AND UNUSUAL PUNISHMENT AND DUE PROCESS CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS AND THE DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="219633" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="219633" data-sentence-id="219633" class="ldml-sentence"&gt;7.&lt;/span&gt; &lt;span data-paragraph-id="219633" data-sentence-id="219636" class="ldml-sentence"&gt;THE &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;APPELLATE REVIEW PURSUANT TO&lt;/span&gt; &lt;span class="ldml-cite"&gt;C.R.S. § 16-11-103&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt; MUST&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; BE ADVERSARIAL IN NATURE OR &lt;span class="ldml-entity"&gt;THE STATUTE&lt;/span&gt; VIOLATES THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS, AND COLORADO'S RIGHT TO APPEAL CLAUSE; THUS, THE &lt;span class="ldml-quotation quote"&gt;"NON-ADVERSARY"&lt;/span&gt; PROCEEDING IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt; VIOLATED THOSE PROVISIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="219962" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="219962" data-sentence-id="219962" class="ldml-sentence"&gt;8.&lt;/span&gt; &lt;span data-paragraph-id="219962" data-sentence-id="219965" class="ldml-sentence"&gt;THE DEATH PENALTY &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt; AND THE DEATH PENALTY ITSELF IS UNCONSTITUTIONAL FOR THE REASONS SET FORTH IN MR. RODRIGUEZ' &lt;span class="ldml-entity"&gt;MOTIONS TO STRIKE&lt;/span&gt; DEATH PENALTY AND THE ACCOMPANYING PLEADINGS AND MATERIALS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="220162" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="220162" data-sentence-id="220162" class="ldml-sentence"&gt;9.&lt;/span&gt; &lt;span data-paragraph-id="220162" data-sentence-id="220165" class="ldml-sentence"&gt;COLORADO'S DEATH PENALTY &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt; MUST PROVIDE FOR &lt;span class="ldml-entity"&gt;TRIAL COURT&lt;/span&gt; AND APPELLATE PROPORTIONALITY REVIEW OF DEATH SENTENCES OR IT VIOLATES THE CRUEL AND UNUSUAL PUNISHMENT, DUE PROCESS, AND EQUAL PROTECTION CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt; &lt;span data-paragraph-id="220162" data-sentence-id="220417" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO ALLOW MR. RODRIGUEZ TO PRESENT HIS EVIDENCE OR TO EVEN CONSIDER THE ISSUES VIOLATED THE DUE PROCESS, EQUAL PROTECTION, CRUEL AND UNUSUAL PUNISHMENT, COMPULSORY PROCESS AND CONFRONTATION CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS AND THE DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="220705" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="220705" data-sentence-id="220705" class="ldml-sentence"&gt;10.&lt;/span&gt; &lt;span data-paragraph-id="220705" data-sentence-id="220709" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUDGE &lt;span class="ldml-entity"&gt;PHILLIPS&lt;/span&gt;&lt;/span&gt; WAS BIASED AGAINST MR. RODRIGUEZ AND MR. RODRIGUEZ' LAWYERS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="220785" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="220785" data-sentence-id="220785" class="ldml-sentence"&gt;11.&lt;/span&gt; &lt;span data-paragraph-id="220785" data-sentence-id="220789" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO DISCLOSE THE COMMUNICATIONS BETWEEN JUDGES PETERSON, &lt;span class="ldml-entity"&gt;PHILLIPS AND ALVAREZ&lt;/span&gt; ABOUT &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt;, THE REFUSAL OF &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; TO RULE ON THE &lt;span class="ldml-entity"&gt;MOTION TO RECUSE JUDGE&lt;/span&gt; PETERSON, CHIEF JUDGE PETERSON'S SIGNIFICANT INVOLVEMENT IN &lt;span class="ldml-entity"&gt;THE CASE&lt;/span&gt;, AND &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO HAVE A JUDGE FROM A &lt;span class="ldml-entity"&gt;DIFFERENT DISTRICT HEAR MR. RODRIGUEZ&lt;/span&gt;' MOTIONS, WERE ALL PREJUDICIAL ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="221159" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="221159" data-sentence-id="221159" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 305&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="221168" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="221168" data-sentence-id="221168" class="ldml-sentence"&gt;12.&lt;/span&gt; &lt;span data-paragraph-id="221168" data-sentence-id="221172" class="ldml-sentence"&gt;THE DENIAL OF THE &lt;span class="ldml-entity"&gt;MOTION TO STRIKE&lt;/span&gt; THE DEATH PENALTY, FOR APPOINTMENT OF A SPECIAL &lt;span class="ldml-entity"&gt;PROSECUTOR&lt;/span&gt;, AND FOR ADDITIONAL APPROPRIATE RELIEF WITHOUT A HEARING AND WITHOUT INTELLIGIBLE FINDINGS WAS ERROR, ESPECIALLY WHERE &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; APOLOGIZED FOR ITS FAILURE TO HURRY THE PROCESS ALONG WHERE ONE OF THE ISSUES WAS THE VITRIOLIC CHARGES MADE AGAINST IT AND &lt;span class="ldml-entity"&gt;THE SUPREME COURT&lt;/span&gt; ABOUT &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt; IN THE MEDIA BY EX-GOVERNOR LAMM AND &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="221168" data-sentence-id="221607" class="ldml-sentence"&gt;THE MOTION SHOULD HAVE BEEN GRANTED DESPITE THE DENIAL OF A HEARING.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="221676" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="221676" data-sentence-id="221676" class="ldml-sentence"&gt;13.&lt;/span&gt; &lt;span data-paragraph-id="221676" data-sentence-id="221680" class="ldml-sentence"&gt;THE ILLEGALITY OF THE FIRST DEGREE MURDER AND TWO CONSPIRACY CONVICTIONS REQUIRES THAT THE DEATH SENTENCE BASED UPON THEM BE VACATED.&lt;/span&gt; &lt;span data-paragraph-id="221676" data-sentence-id="221814" class="ldml-sentence"&gt;THE MOTOR VEHICLE THEFT AND &lt;span class="ldml-quotation quote"&gt;"CRIME OF VIOLENCE"&lt;/span&gt; CONVICTIONS, AND THE DEATH SENTENCE BASED ON THEM, ARE ALSO ILLEGAL SINCE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; ARE BASED ON THE MURDER CONVICTION.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="221977" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="221977" data-sentence-id="221977" class="ldml-sentence"&gt;14.&lt;/span&gt; &lt;span data-paragraph-id="221977" data-sentence-id="221981" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED THE RIGHT TO &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; AND HIS OTHER RIGHTS DURING APPEAL AND POSTCONVICTION PROCEEDINGS DUE TO THE LACK OF CONFIDENTIALITY AND &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S OBSTRUCTION OF THE ATTORNEY-CLIENT RELATIONSHIP.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="222193" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="222193" data-sentence-id="222193" class="ldml-sentence"&gt;15.&lt;/span&gt; &lt;span data-paragraph-id="222193" data-sentence-id="222197" class="ldml-sentence"&gt;THE DENIAL OF MR. RODRIGUEZ' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_222197"&gt;&lt;span class="ldml-cite"&gt;CRIM.P. 35&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; MOTION&lt;/span&gt; WITHOUT A HEARING WAS ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="222276" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="222276" data-sentence-id="222276" class="ldml-sentence"&gt;16.&lt;/span&gt; &lt;span data-paragraph-id="222276" data-sentence-id="222280" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;REFUSAL TO CONSIDER ANY REASONS FOR REDUCING THE DEATH SENTENCE WHICH WERE OR WHICH MIGHT HAVE BEEN PRESENTED TO THE ORIGINAL SENTENCER IN ITS DECISION ON THE&lt;/span&gt; &lt;span class="ldml-cite"&gt;CRIM.P. 35&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt; MOTION, WAS ERRONEOUS.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="222497" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="222497" data-sentence-id="222497" class="ldml-sentence"&gt;17.&lt;/span&gt; &lt;span data-paragraph-id="222497" data-sentence-id="222501" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;DENIAL OF ANY ASSISTANCE FOR MR. RODRIGUEZ IN THE INVESTIGATION AND PREPARATION OF HIS&lt;/span&gt; &lt;span class="ldml-cite"&gt;CRIM.P. 35&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt; MOTION WAS ERRONEOUS.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="222645" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="222645" data-sentence-id="222645" class="ldml-sentence"&gt;18.&lt;/span&gt; &lt;span data-paragraph-id="222645" data-sentence-id="222649" class="ldml-sentence"&gt;THE DENIAL OF THE &lt;span class="ldml-entity"&gt;MOTION FOR RECONSIDERATION&lt;/span&gt; WAS ERROR ON ITS MERITS AND BECAUSE &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; DID NOT HAVE THE MOTION BEFORE IT WHEN IT RULED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="222789" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="222789" data-sentence-id="222789" class="ldml-sentence"&gt;19.&lt;/span&gt; &lt;span data-paragraph-id="222789" data-sentence-id="222793" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;MR. RODRIGUEZ WAS DENIED DUE PROCESS, EFFECTIVE ASSISTANCE OF COUNSEL, EQUAL PROTECTION, COMPULSORY PROCESS AND HIS RIGHTS UNDER&lt;/span&gt; &lt;span class="ldml-cite"&gt;CRIM.P. 35&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt; AND THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; BY &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S &lt;span class="ldml-entity"&gt;REFUSAL TO PROVIDE HIM WITH ADEQUATE OUT-OF-STATE INVESTIGATION FUNDS&lt;/span&gt;, ITS REFUSAL TO ALLOW HIM ACCESS TO ESSENTIAL RECORDS, AND ITS REFUSAL TO ALLOW HEARINGS ON MOTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="223167" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="223167" data-sentence-id="223167" class="ldml-sentence"&gt;20.&lt;/span&gt; &lt;span data-paragraph-id="223167" data-sentence-id="223171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO ALLOW MR. RODRIGUEZ TO REBUT THE TESTIMONY OF &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt;'S WITNESS AT THE HEARING WAS ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="223298" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="223298" data-sentence-id="223298" class="ldml-sentence"&gt;21.&lt;/span&gt; &lt;span data-paragraph-id="223298" data-sentence-id="223302" class="ldml-sentence"&gt;THE CUMULATIVE EFFECT OF THE ERRORS COMMITTED BY &lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt; BEFORE, DURING AND AFTER TRIAL AND DURING POSTCONVICTION PROCEEDINGS DENIED MR. RODRIGUEZ HIS FUNDAMENTAL RIGHTS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="223484" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="223484" data-sentence-id="223484" class="ldml-sentence"&gt;22.&lt;/span&gt; &lt;span data-paragraph-id="223484" data-sentence-id="223488" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; APPLIED AN INCORRECT STANDARD IN RULING ON MR. RODRIGUEZ' &lt;span class="ldml-entity"&gt;MOTION FOR RELIEF BASED ON NEWLY DISCOVERED EVIDENCE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="223610" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="223610" data-sentence-id="223610" class="ldml-sentence"&gt;23.&lt;/span&gt; &lt;span data-paragraph-id="223610" data-sentence-id="223614" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-referencenote"&gt;OMITTED&lt;/span&gt;.]&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="223625" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="223625" data-sentence-id="223625" class="ldml-sentence"&gt;24.&lt;/span&gt; &lt;span data-paragraph-id="223625" data-sentence-id="223629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO REQUIRE THAT THE &lt;span class="ldml-entity"&gt;STATE PROVIDE DISCOVERY REGARDING&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="223709" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="223709" data-sentence-id="223709" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="223717" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="223717" data-sentence-id="223718" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;JOSEPH COUNCIL VIOLATED RULE&lt;/span&gt; &lt;span class="ldml-cite"&gt;16 AND THE DUE PROCESS CLAUSES.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="223779" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="223779" data-sentence-id="223779" class="ldml-sentence"&gt;25.&lt;/span&gt; &lt;span data-paragraph-id="223779" data-sentence-id="223783" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S FAILURE TO REVEAL THAT THE EXTREMELY LENIENT PLEA BARGAIN IT AFFORDED TO &lt;span class="ldml-entity"&gt;DAVID MARTINEZ&lt;/span&gt; WAS DONE IN ORDER TO OBTAIN THE TESTIMONY OF &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt;, AND ITS MISREPRESENTATION THAT SUCH WAS NOT &lt;span class="ldml-entity"&gt;THE CASE&lt;/span&gt;, DENIED MR. RODRIGUEZ DUE PROCESS OF LAW AND HIS CONFRONTATION RIGHTS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="224069" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="224069" data-sentence-id="224069" class="ldml-sentence"&gt;26.&lt;/span&gt; &lt;span data-paragraph-id="224069" data-sentence-id="224073" class="ldml-sentence"&gt;THE UNJUSTIFIABLE FAILURE OF THE POLICE TO OBTAIN APPARENTLY MATERIAL AND EXCULPATORY EVIDENCE FROM &lt;span class="ldml-entity"&gt;DAVID MARTINEZ&lt;/span&gt; AND &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; DENIED MR. RODRIGUEZ HIS RIGHTS UNDER THE DUE PROCESS, CONFRONTATION AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt; &lt;span data-paragraph-id="224069" data-sentence-id="224319" class="ldml-sentence"&gt;THE POLICE REFUSED TO FOLLOW STANDARD PROCEDURES DURING THE ARREST OF &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; AND &lt;span class="ldml-entity"&gt;DAVID MARTINEZ&lt;/span&gt;, AND REFUSED TO COLLECT THAT EVIDENCE AT THE SCENE OF THAT ARREST.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="224491" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="224491" data-sentence-id="224491" class="ldml-sentence"&gt;27.&lt;/span&gt; &lt;span data-paragraph-id="224491" data-sentence-id="224495" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S DESTRUCTION OF THE EXCULPATORY EVIDENCE OF THE PHOTOGRAPHS OF &lt;span class="ldml-entity"&gt;DAVID MARTINEZ&lt;/span&gt;, SHOWING BRUISES AND CUTS SUSTAINED DURING HIS RAPE AND KILLING OF THE VICTIM, VIOLATED THE CONFRONTATION, DUE PROCESS, COMPULSORY PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS AND &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_224495"&gt;&lt;span class="ldml-cite"&gt;CRIM.P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="224822" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="224822" data-sentence-id="224822" class="ldml-sentence"&gt;28.&lt;/span&gt; &lt;span data-paragraph-id="224822" data-sentence-id="224826" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S DESTRUCTION OF THE EXCULPATORY EVIDENCE OF THE PHOTOGRAPH OF &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt;' BRUISES, CAUSED BY HER PARTICIPATION IN THE MURDER, VIOLATED THE DUE PROCESS, CONFRONTATION, COMPULSORY PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS AND &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_224826"&gt;&lt;span class="ldml-cite"&gt;CRIM.P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="225127" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="225127" data-sentence-id="225127" class="ldml-sentence"&gt;29.&lt;/span&gt; &lt;span data-paragraph-id="225127" data-sentence-id="225131" class="ldml-sentence"&gt;THE FAILURE OF &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; TO ORDER THE &lt;span class="ldml-entity"&gt;STATE TO PROVIDE MR. RODRIGUEZ WITH ORAL STATEMENTS OF &lt;span class="ldml-entity"&gt;PROSECUTION&lt;/span&gt; WITNESSES VIOLATED THE DUE PROCESS&lt;/span&gt;, CONFRONTATION, COMPULSORY PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE UNITED STATES AND COLORADO CONSTITUTIONS AND &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_225131"&gt;&lt;span class="ldml-cite"&gt;CRIM.P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="225417" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="225417" data-sentence-id="225417" class="ldml-sentence"&gt;30.&lt;/span&gt; &lt;span data-paragraph-id="225417" data-sentence-id="225421" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S UNJUSTIFIABLE REFUSAL TO GRANT A CONTINUANCE IN ORDER FOR &lt;span class="ldml-entity"&gt;DAVID MARTINEZ&lt;/span&gt; TO BE AN AVAILABLE WITNESS, OR TO ASSIST MR. RODRIGUEZ IN OBTAINING HIS PRESENCE FOR TRIAL, OR TO ALLOW THE PRESENTATION OF EVIDENCE OF HIS STATEMENTS TO THE POLICE AND OTHERS THROUGH OTHER MEANS, VIOLATED MR. RODRIGUEZ' RIGHT TO CONFRONTATION, RIGHT TO &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;, DUE PROCESS, COMPULSORY PROCESS AND THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="225847" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="225847" data-sentence-id="225847" class="ldml-sentence"&gt;31.&lt;/span&gt; &lt;span data-paragraph-id="225847" data-sentence-id="225851" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED HIS RIGHTS TO DUE PROCESS, COMPULSORY PROCESS, CONFRONTATION AND THE PROHIBITION OF CRUEL AND UNUSUAL PUNISHMENT BY &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO ALLOW A CONTINUANCE SO THAT MR. RODRIGUEZ COULD OBTAIN THE PRESENCE AND TESTIMONY OF A CRITICAL, SUBPOENAED WITNESS AT TRIAL.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="226141" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="226141" data-sentence-id="226141" class="ldml-sentence"&gt;32.&lt;/span&gt; &lt;span data-paragraph-id="226141" data-sentence-id="226145" class="ldml-sentence"&gt;THE NUMEROUS DISCOVERY VIOLATIONS BY THE &lt;span class="ldml-entity"&gt;STATE AND &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;&lt;/span&gt;'S REFUSAL TO IMPOSE ANY SANCTIONS AS A RESULT DENIED MR. RODRIGUEZ DUE PROCESS OF LAW&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="226298" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="226298" data-sentence-id="226298" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="226306" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="226306" data-sentence-id="226307" class="ldml-sentence"&gt;AND A FAIR TRIAL AND HIS RIGHTS TO CONFRONTATION AND THE PROHIBITIONS OF CRUEL AND UNUSUAL PUNISHMENT AS WELL AS HIS RIGHTS UNDER THE RULES AND &lt;span class="ldml-entity"&gt;STATUTES&lt;/span&gt; GOVERNING DISCOVERY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="226481" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="226481" data-sentence-id="226481" class="ldml-sentence"&gt;33.&lt;/span&gt; &lt;span data-paragraph-id="226481" data-sentence-id="226485" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE SUPREME COURT&lt;/span&gt;'S REFUSAL TO ALLOW MR. RODRIGUEZ AN ADEQUATE OPPORTUNITY TO PREPARE AND FILE A COMPLETE AND ADEQUATE BRIEF ON APPEAL DENIED MR. RODRIGUEZ DUE PROCESS, EQUAL PROTECTION, HIS RIGHT TO APPEAL, AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES AND &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_226485"&gt;&lt;span class="ldml-cite"&gt;COLORADO STATUTES&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="226778" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="226778" data-sentence-id="226778" class="ldml-sentence"&gt;34.&lt;/span&gt; &lt;span data-paragraph-id="226778" data-sentence-id="226782" class="ldml-sentence"&gt;THE &lt;span class="ldml-entity"&gt;COLORADO SUPREME COURT&lt;/span&gt;'S GIVING PREFERENTIAL TREATMENT TO &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt; AND ITS SUPPORTERS DURING ORAL ARGUMENTS IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt;, ARRANGING EXPANDED MEDIA COVERAGE OF THOSE ARGUMENTS CONTRARY TO ITS OWN RULES AND PROCEDURES, WHICH COVERAGE NATURALLY FOCUSSED ON &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt;, DENIED MR. RODRIGUEZ DUE PROCESS, A FAIR TRIBUNAL, A FAIR APPEAL AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="227192" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="227192" data-sentence-id="227192" class="ldml-sentence"&gt;35.&lt;/span&gt; &lt;span data-paragraph-id="227192" data-sentence-id="227196" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT SEVERAL CLAIMS CONCERNED ONLY &lt;span class="ldml-quotation quote"&gt;"CREDIBILITY OF &lt;span class="ldml-entity"&gt;PROSECUTION&lt;/span&gt; WITNESSES"&lt;/span&gt; AND THUS THAT &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE NOT &lt;span class="ldml-quotation quote"&gt;"AVAILABLE"&lt;/span&gt; WAS ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="227340" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="227340" data-sentence-id="227340" class="ldml-sentence"&gt;36.&lt;/span&gt; &lt;span data-paragraph-id="227340" data-sentence-id="227344" class="ldml-sentence"&gt;THE ABSOLUTE IMMUNITY GRANTED BY THE PROTECTION TO &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; WAS ILLEGAL.&lt;/span&gt; &lt;span data-paragraph-id="227340" data-sentence-id="227424" class="ldml-sentence"&gt;HER TESTIMONY WAS THUS OBTAINED BY ILLEGAL MEANS AND SHOULD NOT HAVE BEEN ALLOWED.&lt;/span&gt; &lt;span data-paragraph-id="227340" data-sentence-id="227507" class="ldml-sentence"&gt;THE &lt;span class="ldml-quotation quote"&gt;"LICENSE TO LIE"&lt;/span&gt; SUBVERTED THE TRIAL PROCESS AND DENIED MR. RODRIGUEZ HIS MOST FUNDAMENTAL RIGHTS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="227610" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="227610" data-sentence-id="227610" class="ldml-sentence"&gt;37.&lt;/span&gt; &lt;span data-paragraph-id="227610" data-sentence-id="227614" class="ldml-sentence"&gt;THE TESTIMONY OF &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; WAS THE RESULT OF MANIFEST PROSECUTORIAL MISCONDUCT AND ITS USE AGAINST MR. RODRIGUEZ DENIED HIS DUE PROCESS OF LAW AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="227826" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="227826" data-sentence-id="227826" class="ldml-sentence"&gt;38.&lt;/span&gt; &lt;span data-paragraph-id="227826" data-sentence-id="227830" class="ldml-sentence"&gt;THE RESTRICTIONS ON DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;'S CROSS-EXAMINATION AND IMPEACHMENT OF &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; VIOLATED THE CONFRONTATION, CRUEL AND UNUSUAL PUNISHMENT AND DUE PROCESS CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="228045" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="228045" data-sentence-id="228045" class="ldml-sentence"&gt;39.&lt;/span&gt; &lt;span data-paragraph-id="228045" data-sentence-id="228049" class="ldml-sentence"&gt;THE GRANTING OF &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S &lt;span class="ldml-entity"&gt;MOTION IN LIMINE&lt;/span&gt; RE: PROPER IMPEACHMENT OF &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; DENIED MR. RODRIGUEZ HIS RIGHTS TO CONFRONT, CROSS-EXAMINE AND IMPEACH &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S EVIDENCE AGAINST HIM, AND HIS RIGHT TO PRESENT MITIGATION EVIDENCE, ALL UNDER THE U.S.&lt;/span&gt; &lt;span data-paragraph-id="228045" data-sentence-id="228307" class="ldml-sentence"&gt;AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="228335" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="228335" data-sentence-id="228335" class="ldml-sentence"&gt;40.&lt;/span&gt; &lt;span data-paragraph-id="228335" data-sentence-id="228339" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO ALLOW &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; TO BE IMPEACHED WITH THE VIDEOTAPE OF HER INCONSISTENT STATEMENTS DENIED MR. RODRIGUEZ HIS RIGHTS TO CONFRONTATION, COMPULSORY PROCESS, DUE PROCESS AND A FAIR TRIAL, AND DEMONSTRATED A DOUBLE STANDARD BY &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; ON SUCH MATTERS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="228621" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="228621" data-sentence-id="228621" class="ldml-sentence"&gt;41.&lt;/span&gt; &lt;span data-paragraph-id="228621" data-sentence-id="228625" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT SEVERAL CLAIMS CONCERNED ONLY &lt;span class="ldml-quotation quote"&gt;"INADEQUATE FOUNDATION FOR EXHIBITS"&lt;/span&gt; AND THUS THAT &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE NOT &lt;span class="ldml-quotation quote"&gt;"AVAILABLE"&lt;/span&gt; WAS ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="228767" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="228767" data-sentence-id="228767" class="ldml-sentence"&gt;42.&lt;/span&gt; &lt;span data-paragraph-id="228767" data-sentence-id="228771" class="ldml-sentence"&gt;THE ADMISSION OF THE &lt;span class="ldml-quotation quote"&gt;"PROBABILITY"&lt;/span&gt; AND &lt;span class="ldml-quotation quote"&gt;"RELIABILITY"&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="228824" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="228824" data-sentence-id="228824" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 308&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="228832" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="228832" data-sentence-id="228833" class="ldml-sentence"&gt;EVIDENCE CONCERNING THE HAIRS AND FIBERS WAS IMPROPER.&lt;/span&gt; &lt;span data-paragraph-id="228832" data-sentence-id="228888" class="ldml-sentence"&gt;THAT EVIDENCE WAS MANIFESTLY UNRELIABLE AND OUTSIDE THE SCOPE OF THE WITNESS' AREA OF KNOWLEDGE.&lt;/span&gt; &lt;span data-paragraph-id="228832" data-sentence-id="228985" class="ldml-sentence"&gt;THERE WAS NOT A SUFFICIENT FOUNDATION FOR THE RELIABILITY OF THAT EVIDENCE, AND IT WAS IN FACT COMPLETELY UNRELIABLE.&lt;/span&gt; &lt;span data-paragraph-id="228832" data-sentence-id="229103" class="ldml-sentence"&gt;ITS ADMISSION DENIED MR. RODRIGUEZ DUE PROCESS OF LAW AND HIS RIGHT TO A FAIR TRIAL BY IMPARTIAL JURY, AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES, UNDER THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="229315" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="229315" data-sentence-id="229315" class="ldml-sentence"&gt;43.&lt;/span&gt; &lt;span data-paragraph-id="229315" data-sentence-id="229319" class="ldml-sentence"&gt;THE &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;ADMISSION OF THE STATE'S IRRELEVANT, BASELESS EVIDENCE CONCERNING HOW DAVID MARTINEZ COULD HAVE OBTAINED THE TWO CUTS ON HIS HANDS VIOLATED THE RULES OF EVIDENCE REQUIRING A FOUNDATION, PERSONAL KNOWLEDGE, AND RELEVANCE FOR EVIDENCE, AND&lt;/span&gt; &lt;span class="ldml-cite"&gt;CRE 403 AND DENIED MR. RODRIGUEZ DUE PROCESS&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; OF LAW.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="229614" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="229614" data-sentence-id="229614" class="ldml-sentence"&gt;44.&lt;/span&gt; &lt;span data-paragraph-id="229614" data-sentence-id="229618" class="ldml-sentence"&gt;OFFICER BROWN'S TESTIMONY CONCERNING THE &lt;span class="ldml-quotation quote"&gt;"LIKELIHOOD"&lt;/span&gt; OF WHETHER THERE WAS SEMINAL FLUID ON MR. RODRIGUEZ' UNDERSHORTS WAS IMPROPERLY ADMITTED.&lt;/span&gt; &lt;span data-paragraph-id="229614" data-sentence-id="229762" class="ldml-sentence"&gt;IT WAS IRRELEVANT AND LACKED ANY FOUNDATION OR RELIABILITY.&lt;/span&gt; &lt;span data-paragraph-id="229614" data-sentence-id="229822" class="ldml-sentence"&gt;ITS ADMISSION ALSO DENIED MR. RODRIGUEZ DUE PROCESS OF LAW AND HIS RIGHT TO A FAIR TRIAL BY IMPARTIAL JURY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="229930" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="229930" data-sentence-id="229930" class="ldml-sentence"&gt;45.&lt;/span&gt; &lt;span data-paragraph-id="229930" data-sentence-id="229934" class="ldml-sentence"&gt;THE ADMISSION OF EXHIBITS G-13, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;G-14, AND&lt;/span&gt; &lt;span class="ldml-cite"&gt;G-15 WAS ERROR. THERE WAS&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; NO ADEQUATE FOUNDATION FOR THE EXHIBITS AND &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE IRRELEVANT AND MISLEADING.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="230084" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="230084" data-sentence-id="230084" class="ldml-sentence"&gt;46.&lt;/span&gt; &lt;span data-paragraph-id="230084" data-sentence-id="230088" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED HIS RIGHTS TO MAKE MOTIONS, OBJECTIONS AND RECORDS ON THE TRIAL PROCEEDINGS, AND &lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S DENIAL OF A HEARING ON THESE MATTERS AND ITS FINDINGS ON THE ISSUES ARE ERRONEOUS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="230298" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="230298" data-sentence-id="230298" class="ldml-sentence"&gt;47.&lt;/span&gt; &lt;span data-paragraph-id="230298" data-sentence-id="230302" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO COMPLY WITH BATSON AND FIELDS WHEN MR. RODRIGUEZ MADE AN OBJECTION TO &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S EXCUSAL OF BLACK JURORS VIOLATED THE DUE PROCESS, EQUAL PROTECTION, TRIAL BY JURY AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES, AS DID &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S USE OF ITS PEREMPTORY CHALLENGES IN THAT FASHION.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="230602" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="230602" data-sentence-id="230602" class="ldml-sentence"&gt;48.&lt;/span&gt; &lt;span data-paragraph-id="230602" data-sentence-id="230606" class="ldml-sentence"&gt;THE &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;UNREASONABLE RESTRICTIONS PLACED ON DEFENSE COUNSEL'S VOIR DIRE REGARDING THE DEATH PENALTY, AND THE ORDER THAT HE COULD NOT OBJECT TO THE COURT'S CONDUCTING OF&lt;/span&gt; &lt;span class="ldml-cite"&gt;VOIR DIRE, DENIED MR. RODRIGUEZ HIS RIGHTS UNDER RULE 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, HIS RIGHTS TO A FAIR TRIAL BY IMPARTIAL JURY, TO APPEAL, TO DUE PROCESS OF LAW, TO &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;, TO BE ABLE TO INTELLIGENTLY EXERCISE HIS PEREMPTORY AND CAUSE CHALLENGES, AND RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="231054" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="231054" data-sentence-id="231054" class="ldml-sentence"&gt;49.&lt;/span&gt; &lt;span data-paragraph-id="231054" data-sentence-id="231058" class="ldml-sentence"&gt;THE DEATH QUALIFICATION OF THE JURY DENIED &lt;span class="ldml-entity"&gt;MR. RODRIGUEZ A FAIR&lt;/span&gt; TRIAL BY IMPARTIAL JURY, A JURY DRAWN FROM A FAIR CROSS-&lt;span class="ldml-entity"&gt;SECTION&lt;/span&gt; OF THE COMMUNITY, AND DUE PROCESS OF LAW, AND HIS RIGHTS UNDER CRUEL AND UNUSUAL PUNISHMENT CLAUSES AND &lt;span class="ldml-entity"&gt;THE STATUTES&lt;/span&gt; AND RULES GOVERNING JURY SELECTION IN COLORADO.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="231351" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="231351" data-sentence-id="231351" class="ldml-sentence"&gt;50.&lt;/span&gt; &lt;span data-paragraph-id="231351" data-sentence-id="231355" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO ALLOW TWO JURIES, ONE&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="231406" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="231406" data-sentence-id="231406" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="231414" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="231414" data-sentence-id="231415" class="ldml-sentence"&gt;DEATH-QUALIFIED AND ONE NOT DEATH-QUALIFIED, DENIED MR. RODRIGUEZ AN OPPORTUNITY TO MAKE A RECORD IN THE MATTERS RELATING TO THE EFFECTS OF DEATH-QUALIFICATION.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="231576" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="231576" data-sentence-id="231576" class="ldml-sentence"&gt;51.&lt;/span&gt; &lt;span data-paragraph-id="231576" data-sentence-id="231580" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS ORDER THAT ANY RECORD OF A JUROR'S DEMEANOR BY &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; MUST BE SUBMITTED TO &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; IN WRITING.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="231707" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="231707" data-sentence-id="231707" class="ldml-sentence"&gt;52.&lt;/span&gt; &lt;span data-paragraph-id="231707" data-sentence-id="231711" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY REFUSING TO EXCUSE FOR CAUSE PROSPECTIVE JURORS WHO KNEW THAT &lt;span class="ldml-entity"&gt;CHRIS RODRIGUEZ&lt;/span&gt; HAD BEEN CONVICTED FOR, AND/OR SENTENCED TO LIFE IN PRISON FOR, THE SAME CASE.&lt;/span&gt; &lt;span data-paragraph-id="231707" data-sentence-id="231893" class="ldml-sentence"&gt;THIS INCLUDED SEVERAL JURORS WHO ACTUALLY SAT AS JURORS ON &lt;span class="ldml-entity"&gt;THE CASE&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="231707" data-sentence-id="231962" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; ALSO REFUSED TO INSTRUCT THOSE JURORS AND PROSPECTIVE JURORS NOT TO DIVULGE THAT INFORMATION TO OTHERS AND NOT TO CONSIDER THAT INFORMATION IN DECIDING &lt;span class="ldml-entity"&gt;THE CASE&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="231707" data-sentence-id="232134" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS THEREBY DENIED A FAIR TRIAL BY IMPARTIAL JURY AND DUE PROCESS OF LAW.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="232222" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="232222" data-sentence-id="232222" class="ldml-sentence"&gt;53.&lt;/span&gt; &lt;span data-paragraph-id="232222" data-sentence-id="232226" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S FAILURE TO HAVE THE PROSPECTIVE JURORS TAKE THEIR OATH TO TELL THE TRUTH BEFORE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE GIVEN AND TOLD TO FILL OUT THE JURORS QUESTIONNAIRES, AND ITS COMPLETE FAILURE TO HAVE MANY PROSPECTIVE JURORS EVER TAKE THEIR OATH, VIOLATED THE CONTROLLING &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt; AND RULE AND DENIED MR. RODRIGUEZ DUE PROCESS AND A FAIR TRIAL BY IMPARTIAL JURY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="232582" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="232582" data-sentence-id="232582" class="ldml-sentence"&gt;54.&lt;/span&gt; &lt;span data-paragraph-id="232582" data-sentence-id="232586" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S FAILURE TO ORDER MANY OF THE PROSPECTIVE JURORS NOT TO BE EXPOSED TO, OR BE AFFECTED BY, ANY PUBLICITY IN &lt;span class="ldml-entity"&gt;THE CASE&lt;/span&gt;, NOT TO DISCUSS &lt;span class="ldml-entity"&gt;THE CASE&lt;/span&gt; &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE INVOLVED IN WITH ANYONE ELSE, ON THE FIRST DAY OF TRIAL BEFORE THOSE PROSPECTIVE JURORS WENT HOME, VIOLATED THE CONTROLLING RULES AND DENIED MR. RODRIGUEZ DUE PROCESS OF LAW AND A FAIR TRIAL BY IMPARTIAL JURY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="232964" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="232964" data-sentence-id="232964" class="ldml-sentence"&gt;55.&lt;/span&gt; &lt;span data-paragraph-id="232964" data-sentence-id="232968" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S FAILURE TO EXCUSE FOR CAUSE PROSPECTIVE JUROR &lt;span class="ldml-parenthetical"&gt;[R.K.]&lt;/span&gt; BECAUSE, INTER ALIA, &lt;span class="ldml-entity"&gt;HE&lt;/span&gt; WAS AWARE OF THE ALLEGED CONFESSION OF MR. RODRIGUEZ, WAS ERROR AND DENIED &lt;span class="ldml-entity"&gt;MR. RODRIGUEZ A FAIR&lt;/span&gt; TRIAL BY AN IMPARTIAL JURY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="233187" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="233187" data-sentence-id="233187" class="ldml-sentence"&gt;56.&lt;/span&gt; &lt;span data-paragraph-id="233187" data-sentence-id="233191" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO ALLOW INDIVIDUAL SEQUESTERED VOIR DIRE ON DEATH PENALTY ISSUES DENIED MR. RODRIGUEZ DUE PROCESS AND A FAIR TRIAL BY IMPARTIAL JURY.&lt;/span&gt; &lt;span data-paragraph-id="233187" data-sentence-id="233346" class="ldml-sentence"&gt;THIS WAS PARTICULARLY SO IN LIGHT OF THE INADEQUATE AND UNREASONABLE TIME ALLOWED FOR DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;'S VOIR DIRE ON THOSE ISSUES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="233477" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="233477" data-sentence-id="233477" class="ldml-sentence"&gt;57.&lt;/span&gt; &lt;span data-paragraph-id="233477" data-sentence-id="233481" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO VIDEOTAPE THE JURY SELECTION PROCESS DENIED MR. RODRIGUEZ HIS RIGHTS UNDER THE DUE PROCESS, RIGHT TO APPEAL, CRUEL AND UNUSUAL PUNISHMENT AND TRIAL BY JURY CLAUSES.&lt;/span&gt; &lt;span data-paragraph-id="233477" data-sentence-id="233669" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DEPRIVED OF AN OPPORTUNITY TO MAKE AN ADEQUATE RECORD ON THE DEMEANOR OF THE PROSPECTIVE JURORS, ESPECIALLY SINCE &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; PREVENTED HIM FROM MAKING A CONTEMPORANEOUS ORAL RECORD ON THAT MATTER.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="233883" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="233883" data-sentence-id="233883" class="ldml-sentence"&gt;58.&lt;/span&gt; &lt;span data-paragraph-id="233883" data-sentence-id="233887" class="ldml-sentence"&gt;THE GROUNDS AND ALLEGATIONS CONTAINED IN THE OBJECTIONS&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="233943" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="233943" data-sentence-id="233943" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 310&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="233951" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="233951" data-sentence-id="233952" class="ldml-sentence"&gt;AND OBSERVATIONS, &lt;span class="ldml-entity"&gt;MOTION TO QUASH&lt;/span&gt; JURY &lt;span class="ldml-entity"&gt;PANEL&lt;/span&gt; AND MOTION FOR ADDITIONAL SPECIFIED AND OTHER APPROPRIATE RELIEF, ENTITLE MR. RODRIGUEZ TO HAVE THE DEATH SENTENCE AND CONVICTIONS VACATED, AS DOES &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S FAILURE TO ALLOW A HEARING AND &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S FAILURE TO GRANT RELIEF.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="234231" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="234231" data-sentence-id="234231" class="ldml-sentence"&gt;59.&lt;/span&gt; &lt;span data-paragraph-id="234231" data-sentence-id="234235" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO ALLOW DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; TO RE-OPEN VOIR DIRE OF &lt;span class="ldml-entity"&gt;THE PANEL&lt;/span&gt; OF PROSPECTIVE JURORS FIRST QUESTIONED BY MS. DESMOND WAS PREJUDICIAL ERROR SINCE THE ORIGINAL VOIR DIRE WAS INADEQUATE DUE TO THAT &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;'S &lt;span class="ldml-entity"&gt;INEXPERIENCE AND MENTAL AND PHYSICAL STATE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="234500" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="234500" data-sentence-id="234500" class="ldml-sentence"&gt;60.&lt;/span&gt; &lt;span data-paragraph-id="234500" data-sentence-id="234504" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S UNDISCLOSED COMMUNICATIONS WITH JURORS DURING TRIAL VIOLATED THE DUE PROCESS, CRUEL AND UNUSUAL PUNISHMENT AND TRIAL BY JURY CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS AS DID &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO ALLOW MR. RODRIGUEZ A HEARING AND A RECORD ON APPEAL ON THIS MATTER.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="234796" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="234796" data-sentence-id="234796" class="ldml-sentence"&gt;61.&lt;/span&gt; &lt;span data-paragraph-id="234796" data-sentence-id="234800" class="ldml-sentence"&gt;MR. RODRIGUEZ ASSERTS ALL OF THE CLAIMS PRESENTED IN HIS &lt;span class="ldml-entity"&gt;MOTION TO QUASH&lt;/span&gt; INFORMATION, &lt;span class="ldml-entity"&gt;MOTION TO QUASH&lt;/span&gt; JURY &lt;span class="ldml-entity"&gt;PANEL&lt;/span&gt;, &lt;span class="ldml-entity"&gt;MOTION TO STAY PROCEEDINGS&lt;/span&gt;, &lt;span class="ldml-entity"&gt;MOTION FOR HEARING&lt;/span&gt;, FILED &lt;span class="ldml-entity"&gt;NOVEMBER 25, 1986&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="234796" data-sentence-id="234987" class="ldml-sentence"&gt;THE DEATH SENTENCE AND CONVICTIONS SHOULD ALSO BE VACATED DUE TO &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S INEXCUSABLE FAILURES TO ALLOW HEARINGS ON THE ISSUES RAISED THEREIN AND TO GRANT RELIEF AT THE TIME.&lt;/span&gt; &lt;span data-paragraph-id="234796" data-sentence-id="235171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO ALLOW THE ACCUSED AN OPPORTUNITY TO MAKE AN ADEQUATE RECORD OR SHOWING CONCERNING THE MANNER IN WHICH THE JURY &lt;span class="ldml-entity"&gt;PANEL&lt;/span&gt; WAS SELECTED AND CHOSEN, INCLUDING THE DECISIONS OF THE JURY COMMISSIONER EXCUSING PROSPECTIVE JURORS, DENIED MR. RODRIGUEZ DUE PROCESS OF LAW AND HIS RIGHT TO A FAIR TRIAL BY IMPARTIAL JURY.&lt;/span&gt; &lt;span data-paragraph-id="234796" data-sentence-id="235503" class="ldml-sentence"&gt;THE JURY SUMMONING AND SELECTION PROCESS IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt; VIOLATED THE DUE PROCESS AND TRIAL BY JURY CLAUSES OF THE FEDERAL AND &lt;span class="ldml-entity"&gt;STATE CONSTITUTIONS&lt;/span&gt;, AND THE CONTROLLING &lt;span class="ldml-entity"&gt;STATUTES&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="235678" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="235678" data-sentence-id="235678" class="ldml-sentence"&gt;62.&lt;/span&gt; &lt;span data-paragraph-id="235678" data-sentence-id="235682" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED HIS FUNDAMENTAL RIGHTS BECAUSE &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; EMPLOYED INCONSISTENT STANDARDS FOR EXCUSING PROSPECTIVE JURORS WHO WERE SUPPOSEDLY UNABLE TO FOLLOW THE LAW BECAUSE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE OPPOSED TO THE DEATH PENALTY AND THOSE WHO WERE UNABLE TO DO SO BECAUSE OF SOME BIAS IN FAVOR OF THE DEATH PENALTY.&lt;/span&gt; &lt;span data-paragraph-id="235678" data-sentence-id="235997" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; TENDED TO EXCUSE THOSE WHO WERE OPPOSED TO DEATH MORE EASILY THAN THOSE PRONE TO KILL.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="236094" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="236094" data-sentence-id="236094" class="ldml-sentence"&gt;63.&lt;/span&gt; &lt;span data-paragraph-id="236094" data-sentence-id="236098" class="ldml-sentence"&gt;THE JURY SUMMONING AND SELECTION PROCESS IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt; VIOLATED THE DUE PROCESS AND TRIAL BY JURY CLAUSES OF THE FEDERAL AND &lt;span class="ldml-entity"&gt;STATE CONSTITUTIONS AND THE CONTROLLING &lt;span class="ldml-entity"&gt;STATUTES&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="236272" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="236272" data-sentence-id="236272" class="ldml-sentence"&gt;64.&lt;/span&gt; &lt;span data-paragraph-id="236272" data-sentence-id="236276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;MR. RODRIGUEZ' RIGHTS UNDER THE TRIAL BY JURY, RIGHT TO COUNSEL, CRUEL AND UNUSUAL PUNISHMENT AND DUE PROCESS CLAUSES OF THE UNITED STATES AND COLORADO CONSTITUTIONS, AND&lt;/span&gt; &lt;span class="ldml-cite"&gt;CRIM.P. 24 WERE VIOLATED&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; BY THE TRIAL&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="236485" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="236485" data-sentence-id="236485" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 311&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="236493" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="236493" data-sentence-id="236494" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;COURT&lt;/span&gt;'S TOTAL PRECLUSION OF VOIR DIRE BY DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; ON CLAIMED HARDSHIPS, AND BY &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S INADEQUATE VOIR DIRE ON CLAIMED HARDSHIPS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="236635" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="236635" data-sentence-id="236635" class="ldml-sentence"&gt;65.&lt;/span&gt; &lt;span data-paragraph-id="236635" data-sentence-id="236639" class="ldml-sentence"&gt;THE EXCLUSION OF DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; FROM VOIR DIRE ON PUBLICITY AND CHALLENGE FOR CAUSE ISSUES AND &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S OWN INADEQUATE VOIR DIRE AND INSTRUCTIONS ON THOSE ISSUES WAS PREJUDICIAL ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="236834" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="236834" data-sentence-id="236834" class="ldml-sentence"&gt;66.&lt;/span&gt; &lt;span data-paragraph-id="236834" data-sentence-id="236838" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO VOIR DIRE ON THE MATTER OF THE FRONT-PAGE NEWS OF THE GOVERNOR OF NEW MEXICO'S COMMUTATION OF ALL DEATH ROW INMATES IN THAT &lt;span class="ldml-entity"&gt;STATE WAS AN ABUSE OF DISCRETION AND DENIED MR. RODRIGUEZ DUE PROCESS&lt;/span&gt;, A FAIR TRIAL BY IMPARTIAL JURY AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES AND &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_236838"&gt;&lt;span class="ldml-cite"&gt;CRIM.P. 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="237165" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="237165" data-sentence-id="237165" class="ldml-sentence"&gt;67.&lt;/span&gt; &lt;span data-paragraph-id="237165" data-sentence-id="237169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO EXCUSE JUROR &lt;span class="ldml-parenthetical"&gt;[J.A.]&lt;/span&gt; FOR &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;CAUSE WAS ERROR WHERE VOIR DIRE ESTABLISHED THAT THE POTENTIAL JUROR REFUSED TO BELIEVE THAT LIFE IN PRISON MEANT AT LEAST&lt;/span&gt; &lt;span class="ldml-cite"&gt;20 YEARS&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; OF INCARCERATION UNDER THE LAW.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="237380" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="237380" data-sentence-id="237380" class="ldml-sentence"&gt;68.&lt;/span&gt; &lt;span data-paragraph-id="237380" data-sentence-id="237384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR J.B.]&lt;/span&gt; WHERE VOIR DIRE ESTABLISHED THAT THAT POTENTIAL JUROR WAS BIASED AGAINST MR. RODRIGUEZ.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="237551" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="237551" data-sentence-id="237551" class="ldml-sentence"&gt;69.&lt;/span&gt; &lt;span data-paragraph-id="237551" data-sentence-id="237555" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR D.L.]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="237635" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="237635" data-sentence-id="237635" class="ldml-sentence"&gt;70.&lt;/span&gt; &lt;span data-paragraph-id="237635" data-sentence-id="237639" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR D.G.]&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="237718" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="237718" data-sentence-id="237718" class="ldml-sentence"&gt;71.&lt;/span&gt; &lt;span data-paragraph-id="237718" data-sentence-id="237722" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR R.M.]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="237802" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="237802" data-sentence-id="237802" class="ldml-sentence"&gt;72.&lt;/span&gt; &lt;span data-paragraph-id="237802" data-sentence-id="237806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR R.K.]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="237886" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="237886" data-sentence-id="237886" class="ldml-sentence"&gt;73.&lt;/span&gt; &lt;span data-paragraph-id="237886" data-sentence-id="237890" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR K.G.]&lt;/span&gt;, AND ITS REFUSAL TO ALLOW DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; TO QUESTION HER AGAIN.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="238034" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="238034" data-sentence-id="238034" class="ldml-sentence"&gt;74.&lt;/span&gt; &lt;span data-paragraph-id="238034" data-sentence-id="238038" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR A.R.]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="238118" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="238118" data-sentence-id="238118" class="ldml-sentence"&gt;75.&lt;/span&gt; &lt;span data-paragraph-id="238118" data-sentence-id="238122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO &lt;span class="ldml-parenthetical"&gt;[JUROR J.D.]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="238202" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="238202" data-sentence-id="238202" class="ldml-sentence"&gt;76.&lt;/span&gt; &lt;span data-paragraph-id="238202" data-sentence-id="238206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY ITS DENIAL OF THE CHALLENGE FOR CAUSE TO JUROR &lt;span class="ldml-parenthetical"&gt;[G.P.]&lt;/span&gt;, AND BY ITS REFUSAL TO INSTRUCT HER AND THE OTHER JURORS NOT TO DISCUSS OR CONSIDER THAT FACT IN THEIR DELIBERATIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="238403" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="238403" data-sentence-id="238403" class="ldml-sentence"&gt;77.&lt;/span&gt; &lt;span data-paragraph-id="238403" data-sentence-id="238407" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S EXCUSALS OF JURORS FOR THEIR VIEWS CONCERNING THE DEATH PENALTY WERE IMPROPER AND CONTRARY TO THE LAW, AND MR. RODRIGUEZ WAS THEREBY DENIED DUE PROCESS OF LAW, A FAIR TRIAL BY IMPARTIAL JURY AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="238679" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="238679" data-sentence-id="238679" class="ldml-sentence"&gt;78.&lt;/span&gt; &lt;span data-paragraph-id="238679" data-sentence-id="238683" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; ERRED BY REFUSING TO EXCUSE FOR CAUSE THE JURORS WHO WERE AWARE OF THE CONVICTION AND SENTENCE OF MR. RODRIGUEZ' &lt;span class="ldml-entity"&gt;BROTHER&lt;/span&gt; FOR THE SAME CHARGES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="238836" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="238836" data-sentence-id="238836" class="ldml-sentence"&gt;79.&lt;/span&gt; &lt;span data-paragraph-id="238836" data-sentence-id="238840" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO INSTRUCT THE SEVERAL PROSPECTIVE AND ACTUAL JURORS WHO WERE AWARE OF THE&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="238936" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="238936" data-sentence-id="238936" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 312&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="238944" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="238944" data-sentence-id="238945" class="ldml-sentence"&gt;CONVICTION OF MR. RODRIGUEZ' &lt;span class="ldml-entity"&gt;BROTHER&lt;/span&gt; NOT TO CONSIDER THAT FACT AND NOT TO DISCUSS THAT CONVICTION WITH OTHER JURORS WAS PREJUDICIAL ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="239084" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="239084" data-sentence-id="239084" class="ldml-sentence"&gt;80.&lt;/span&gt; &lt;span data-paragraph-id="239084" data-sentence-id="239088" class="ldml-sentence"&gt;THE UNREASONABLE TIME AND SUBJECT MATTER LIMITATIONS PLACED ON DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;'&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;S VOIR DIRE VIOLATED CRIM.P. 24 AND THE DUE PROCESS AND TRIAL&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; BY JURY CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS, AND DENIED MR. RODRIGUEZ HIS RIGHT TO THE INTELLIGENT EXERCISE OF PEREMPTORY AND CAUSE CHALLENGES.&lt;/span&gt; &lt;span data-paragraph-id="239084" data-sentence-id="239387" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S ORDER THAT NO CONTEMPORANEOUS OBJECTIONS TO THE LIMITATIONS COULD BE MADE PREVENTED THE ACCUSED FROM MAKING A RECORD ON THE EFFECTS OF &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S ORDERS AND DENIED THE ACCUSED HIS FUNDAMENTAL RIGHTS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="239600" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="239600" data-sentence-id="239600" class="ldml-sentence"&gt;81.&lt;/span&gt; &lt;span data-paragraph-id="239600" data-sentence-id="239604" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED A FAIR TRIAL BY IMPARTIAL JURY, DUE PROCESS, A JURY DRAWN FROM A RANDOM CROSS &lt;span class="ldml-entity"&gt;SECTION&lt;/span&gt; OF THE COMMUNITY, AND HIS RIGHTS UNDER THE JURY SELECTION ACT, BY &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S MANNER OF ARBITRARILY AND UNFAIRLY DISTRIBUTING JURORS WHO UNSUCCESSFULLY CLAIMED HARDSHIPS AMONG &lt;span class="ldml-entity"&gt;THE PANELS&lt;/span&gt; OF THOSE WHO HAD NOT, BY ITS FAILURE TO ADEQUATELY ADVISE THE PROSPECTIVE JURORS OF THE MEANING OF AND MINIMAL REQUIREMENTS OF A HARDSHIP MERITING AN EXCUSE FROM JURY DUTY BEFORE ASKING THE ENTIRE VENIRE TO SEPARATE THEMSELVES ON THE BASIS OF CLAIMED HARDSHIPS, AND BY ITS FAILURE TO COMPLETE THE PROCESS OF EXAMINING AND QUALIFYING POTENTIAL JURORS WHO CLAIMED HARDSHIPS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="240275" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="240275" data-sentence-id="240275" class="ldml-sentence"&gt;82.&lt;/span&gt; &lt;span data-paragraph-id="240275" data-sentence-id="240279" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO STRIKE &lt;span class="ldml-entity"&gt;THE PANEL&lt;/span&gt; OF PROSPECTIVE JURORS TO WHOM THE &lt;span class="ldml-entity"&gt;STATE ARGUED THAT MR. RODRIGUEZ TRIED TO GET SENTENCED AROUND CHRISTMAS FOR SYMPATHY PURPOSES&lt;/span&gt;, OR TO GRANT ANY OTHER RELIEF WAS ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="240494" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="240494" data-sentence-id="240494" class="ldml-sentence"&gt;83.&lt;/span&gt; &lt;span data-paragraph-id="240494" data-sentence-id="240498" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; USED AN INCORRECT LEGAL STANDARD IN ITS DECISIONS TO EXCLUDE JURORS BECAUSE OF THEIR SCRUPLES AGAINST THE DEATH PENALTY.&lt;/span&gt; &lt;span data-paragraph-id="240494" data-sentence-id="240635" class="ldml-sentence"&gt;THE DEATH SENTENCE MUST THUS BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="240676" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="240676" data-sentence-id="240676" class="ldml-sentence"&gt;84.&lt;/span&gt; &lt;span data-paragraph-id="240676" data-sentence-id="240680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S USE OF AN IMPROPER STANDARD FOR EXCUSING SCRUPLED PROSPECTIVE JURORS VIOLATED MR. RODRIGUEZ' RIGHTS TO A FAIR AND IMPARTIAL JURY, DUE PROCESS OF LAW AND THE PROHIBITIONS OF CRUEL AND UNUSUAL PUNISHMENT.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="240901" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="240901" data-sentence-id="240901" class="ldml-sentence"&gt;85.&lt;/span&gt; &lt;span data-paragraph-id="240901" data-sentence-id="240905" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY REFUSING TO PRECLUDE &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt; FROM ARGUING OR PRESENTING EVIDENCE ON THEORIES INCONSISTENT WITH FACTS OR THEORIES ARGUED WITH RESPECT TO THE CO-&lt;span class="ldml-entity"&gt;DEFENDANTS&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="241093" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="241093" data-sentence-id="241093" class="ldml-sentence"&gt;86.&lt;/span&gt; &lt;span data-paragraph-id="241093" data-sentence-id="241097" class="ldml-sentence"&gt;THE EXCLUSION OF RELEVANT AND EXCULPATORY EVIDENCE OF &lt;span class="ldml-entity"&gt;DAVID MARTINEZ&lt;/span&gt;' PHYSICAL CONDITION AFTER HIS ARREST VIOLATED THE DUE PROCESS, COMPULSORY PROCESS, CONFRONTATION AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="241305" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="241305" data-sentence-id="241305" class="ldml-sentence"&gt;87.&lt;/span&gt; &lt;span data-paragraph-id="241305" data-sentence-id="241309" class="ldml-sentence"&gt;THE DUE PROCESS, CRUEL AND UNUSUAL PUNISHMENT AND EQUAL PROTECTION CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS, AND THE DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt;, WERE VIOLATED&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="241464" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="241464" data-sentence-id="241464" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 313&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="241472" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="241472" data-sentence-id="241473" class="ldml-sentence"&gt;BY &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO PUT A BURDEN OF PROOF ON &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt; TO PROVE THAT MITIGATING FACTORS DID NOT EXIST.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="241594" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="241594" data-sentence-id="241594" class="ldml-sentence"&gt;88.&lt;/span&gt; &lt;span data-paragraph-id="241594" data-sentence-id="241598" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S ALLOWING DR. OGURA TO TESTIFY AS TO PHOTOGRAPHS NOT OFFERED OR ADMITTED INTO EVIDENCE WAS ERROR.&lt;/span&gt; &lt;span data-paragraph-id="241594" data-sentence-id="241713" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS THUS DENIED DUE PROCESS OF LAW AND HIS RIGHT TO A FAIR AND IMPARTIAL JURY AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES, ALL UNDER BOTH THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="241923" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="241923" data-sentence-id="241923" class="ldml-sentence"&gt;89.&lt;/span&gt; &lt;span data-paragraph-id="241923" data-sentence-id="241927" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS NOT ADEQUATELY ADVISED OF AND DID NOT MAKE ADEQUATE WAIVERS OF HIS CONSTITUTIONAL RIGHT TO TESTIFY AT ANY OF THE THREE PARTS OF THE TRIAL IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="242097" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="242097" data-sentence-id="242097" class="ldml-sentence"&gt;90.&lt;/span&gt; &lt;span data-paragraph-id="242097" data-sentence-id="242101" class="ldml-sentence"&gt;THE ADMISSION OF THE CUMULATIVE, INFLAMMATORY PHOTOGRAPHS OF THE VICTIM AND THE SCENE WHERE THE CAR WAS LOCATED VIOLATED THE DUE PROCESS AND TRIAL BY JURY CLAUSES AND THE &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_242101"&gt;&lt;span class="ldml-cite"&gt;RULES OF EVIDENCE&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="242097" data-sentence-id="242291" class="ldml-sentence"&gt;THE SHOWING OF THOSE PHOTOS TO THE JURY BEFORE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE ADMITTED INTO EVIDENCE WAS ALSO ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="242387" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="242387" data-sentence-id="242387" class="ldml-sentence"&gt;91.&lt;/span&gt; &lt;span data-paragraph-id="242387" data-sentence-id="242391" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S PERMITTING OF &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S EXAMINATION OF &lt;span class="ldml-entity"&gt;MARGIE MARQUEZ&lt;/span&gt; AS TO THE &lt;span class="ldml-quotation quote"&gt;"STYLE"&lt;/span&gt; OF LETTERS FROM MR. RODRIGUEZ, AFTER SUSTAINING &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S OBJECTION TO THE SAME INQUIRY BY DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;, IS INDICATIVE OF &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S BIAS AND WAS ONE-SIDED AND UNFAIR.&lt;/span&gt; &lt;span data-paragraph-id="242387" data-sentence-id="242651" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED HIS RIGHTS TO DUE PROCESS OF LAW AND COMPULSORY PROCESS AND TO PRESENT EVIDENCE IN MITIGATION.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="242771" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="242771" data-sentence-id="242771" class="ldml-sentence"&gt;92.&lt;/span&gt; &lt;span data-paragraph-id="242771" data-sentence-id="242775" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S CROSS-EXAMINATION OF &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;DENVER COUNTY JAIL CHAPLAIN&lt;/span&gt;]&lt;/span&gt;, AN IMPORTANT MITIGATION WITNESS, CONCERNING HIS TESTIMONY IN THE TRIAL OF MR. RODRIGUEZ' &lt;span class="ldml-entity"&gt;BROTHER&lt;/span&gt;, CHRIS, THE LAWYER WHO REPRESENTED CHRIS, AND THE PHYSICAL CONDITIONS OF THE &lt;span class="ldml-entity"&gt;DENVER COUNTY JAIL&lt;/span&gt;, WAS IMPROPER, ALLOWED THE INTRODUCTION OF PREJUDICIAL AND IRRELEVANT MATTERS, AND WAS UNFAIR BECAUSE &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; HAD SUPPRESSED EVIDENCE OF THE ACTUAL CONDITIONS IN PRISON OFFERED BY MR. RODRIGUEZ.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="243229" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="243229" data-sentence-id="243229" class="ldml-sentence"&gt;93.&lt;/span&gt; &lt;span data-paragraph-id="243229" data-sentence-id="243233" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT THE STATEMENTS OF MR. RODRIGUEZ WERE VOLUNTARY WAS ERRONEOUS AND ALSO DENIED MR. RODRIGUEZ HIS RIGHT TO TESTIFY IN HIS OWN DEFENSE AND AT THE PENALTY PHASE.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="243420" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="243420" data-sentence-id="243420" class="ldml-sentence"&gt;94.&lt;/span&gt; &lt;span data-paragraph-id="243420" data-sentence-id="243424" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO REQUIRE &lt;span class="ldml-entity"&gt;DAVID MARTINEZ&lt;/span&gt; TO COOPERATE WITH DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;'S INVESTIGATION UNDER PENALTY OF CONTEMPT DENIED MR. RODRIGUEZ DUE PROCESS OF LAW AND HIS RIGHTS TO COMPULSORY PROCESS AND CONFRONTATION AND THE PROHIBITIONS OF CRUEL AND UNUSUAL PUNISHMENT.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="243695" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="243695" data-sentence-id="243695" class="ldml-sentence"&gt;95.&lt;/span&gt; &lt;span data-paragraph-id="243695" data-sentence-id="243699" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO ALLOW THE JAIL PSYCHIATRIST TO TESTIFY CONCERNING THE PSYCHOTROPIC DRUGS MR. RODRIGUEZ WAS TAKING DURING TRIAL, WHICH AFFECTED HIS DEMEANOR, WITHOUT A TOTAL WAIVER OF THE DOCTOR-PATIENT PRIVILEGE, AND WITHOUT ALLOWING THE &lt;span class="ldml-entity"&gt;STATE TO INQUIRE INTO THOSE&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="243978" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="243978" data-sentence-id="243978" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 314&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="243986" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="243986" data-sentence-id="243987" class="ldml-sentence"&gt;PRIVILEGED MATTERS, VIOLATED THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS AND THE DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="244138" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="244138" data-sentence-id="244138" class="ldml-sentence"&gt;96.&lt;/span&gt; &lt;span data-paragraph-id="244138" data-sentence-id="244142" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO ALLOW MR. RODRIGUEZ TO CALL &lt;span class="ldml-entity"&gt;THE PROSECUTOR&lt;/span&gt; AS A WITNESS AFTER THE &lt;span class="ldml-entity"&gt;STATE INTENTIONALLY CREATED A FALSE AND EXTREMELY PREJUDICIAL IMPRESSION OF COLLUSION AND MISCONDUCT BY DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;&lt;/span&gt; THROUGH ITS QUESTIONING OF &lt;span class="ldml-entity"&gt;MARGIE MARQUEZ&lt;/span&gt;, DENIED MR. RODRIGUEZ HIS CONSTITUTIONAL RIGHTS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="244448" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="244448" data-sentence-id="244448" class="ldml-sentence"&gt;97.&lt;/span&gt; &lt;span data-paragraph-id="244448" data-sentence-id="244452" class="ldml-sentence"&gt;MR. RODRIGUEZ' STATEMENTS AND LETTERS TO &lt;span class="ldml-entity"&gt;MARGIE MARQUEZ&lt;/span&gt; WERE INVOLUNTARY AND WERE OBTAINED IN VIOLATION OF MR. RODRIGUEZ' RIGHTS TO DUE PROCESS, &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; AND THE PRIVILEGE AGAINST SELF INCRIMINATION, ALL UNDER BOTH THE FEDERAL AND COLORADO CONSTITUTIONS AND SHOULD HAVE BEEN SUPPRESSED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="244738" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="244738" data-sentence-id="244738" class="ldml-sentence"&gt;98.&lt;/span&gt; &lt;span data-paragraph-id="244738" data-sentence-id="244742" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S ACTIONS RESULTING IN MR. RODRIGUEZ NOT BEING REPRESENTED BY &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; AT THE FIRST DAY OF TRIAL DENIED MR. RODRIGUEZ DUE PROCESS OF LAW, A FAIR TRIAL BY IMPARTIAL JURY, AND HIS RIGHTS TO &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;, EQUAL PROTECTION OF THE LAWS, AND THE PROHIBITIONS OF CRUEL AND UNUSUAL PUNISHMENT.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="245032" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="245032" data-sentence-id="245032" class="ldml-sentence"&gt;99.&lt;/span&gt; &lt;span data-paragraph-id="245032" data-sentence-id="245036" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S &lt;span class="ldml-quotation quote"&gt;"ORDER RE: TRIAL SCHEDULE"&lt;/span&gt; AND &lt;span class="ldml-quotation quote"&gt;"AMENDED ORDER"&lt;/span&gt; VIOLATED MR. RODRIGUEZ' FUNDAMENTAL RIGHTS IN ALL OF THE RESPECTS NOTED IN THE OBJECTIONS TO ORDER REGARDING TRIAL SCHEDULE AND AMENDED ORDER, AND IN ADDITION THOSE ORDERS DENIED MR. RODRIGUEZ ALL OF THE RIGHTS NOTED HEREIN.&lt;/span&gt; &lt;span data-paragraph-id="245032" data-sentence-id="245321" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO ALLOW A HEARING ON THOSE CLAIMS ALSO VIOLATED THE FUNDAMENTAL RIGHTS NOTED HEREIN.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="245427" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="245427" data-sentence-id="245427" class="ldml-sentence"&gt;100.&lt;/span&gt; &lt;span data-paragraph-id="245427" data-sentence-id="245432" class="ldml-sentence"&gt;THE ORDER PROHIBITING &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;DENVER COUNTY JAIL CHAPLAIN&lt;/span&gt;]&lt;/span&gt; FROM WEARING HIS ECCLESIASTICAL COLLAR IF &lt;span class="ldml-entity"&gt;HE&lt;/span&gt; SAT WITH THE FAMILY OF MR. RODRIGUEZ DURING TRIAL WAS AN OUTRAGEOUS EXHIBITION OF &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S FAVORITISM TOWARD &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt; AND BIAS AGAINST THE ACCUSED.&lt;/span&gt; &lt;span data-paragraph-id="245427" data-sentence-id="245693" class="ldml-sentence"&gt;THIS FAVORITISM AND BIAS WAS DEMONSTRATED THROUGHOUT THE TRIAL BY &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S DISPARATE TREATMENT OF THE FAMILY OF MR. RODRIGUEZ AND THE SUPPORTERS OF &lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="245861" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="245861" data-sentence-id="245861" class="ldml-sentence"&gt;101.&lt;/span&gt; &lt;span data-paragraph-id="245861" data-sentence-id="245866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO SENTENCE MR. RODRIGUEZ ON THE HABITUAL CRIMINAL COUNTS BEFORE THE PENALTY PHASE WAS PREJUDICIAL ERROR.&lt;/span&gt; &lt;span data-paragraph-id="245861" data-sentence-id="245998" class="ldml-sentence"&gt;THIS DENIAL OF THE RIGHT TO PRESENT EVIDENCE IN MITIGATION VIOLATED THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES AND THE DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="246146" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="246146" data-sentence-id="246146" class="ldml-sentence"&gt;102.&lt;/span&gt; &lt;span data-paragraph-id="246146" data-sentence-id="246151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO COMPLY WITH &lt;span class="ldml-entity"&gt;THE SUPREME COURT&lt;/span&gt;'S ORDER REGARDING THE FIRST DAY OF TRIAL, AFTER &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; CONFESSED THE SHOW CAUSE ORDER ARISING FROM THE ORIGINAL PROCEEDING, VIOLATED THE DUE PROCESS, TRIAL BY JURY AND RIGHT TO &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; CLAUSES, AS WELL AS THE ORDER OF &lt;span class="ldml-entity"&gt;THE SUPREME COURT&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" id="heading_246450" data-id="heading_246450" data-value="103. THE TRIAL COURT ERRED BY IMPOSING AN UNREALISTIC AND UNDULY HARSH TRIAL" data-specifier="" data-content-heading-label="103. THE TRIAL COURT ERRED BY IMPOSING AN UNREALISTIC AND UNDULY HARSH TRIAL
" data-format="upper_case_lacks_specifier" data-parsed="true"&gt;&lt;span data-paragraph-id="246450" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="246450" data-sentence-id="246450" class="ldml-sentence"&gt;&lt;span class="ldml-embeddedsentence"&gt;103.&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="246450" data-sentence-id="246455" class="ldml-sentence"&gt;&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY IMPOSING AN UNREALISTIC AND UNDULY HARSH TRIAL&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="246527" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="246527" data-sentence-id="246527" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 315&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="246535" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="246535" data-sentence-id="246536" class="ldml-sentence"&gt;SCHEDULE.&lt;/span&gt; &lt;span data-paragraph-id="246535" data-sentence-id="246546" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;MANNER OF PROCEEDING DURING JURY SELECTION, FORCING DEFENSE COUNSEL TO WORK&lt;/span&gt; &lt;span class="ldml-cite"&gt;12 TO 14 HOURS DAILY&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; IN &lt;span class="ldml-entity"&gt;COURT&lt;/span&gt;, WITH NO OPPORTUNITY FOR EVEN A DECENT MEAL, INTERFERED WITH AND DESTROYED DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;'S ABILITY TO BE PREPARED AND TO PROVIDE ASSISTANCE OF &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; FOR MR. RODRIGUEZ AND DENIED MR. RODRIGUEZ THOSE RIGHTS AND DUE PROCESS OF LAW.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="246903" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="246903" data-sentence-id="246903" class="ldml-sentence"&gt;104.&lt;/span&gt; &lt;span data-paragraph-id="246903" data-sentence-id="246908" class="ldml-sentence"&gt;THE CHARGES AND DEATH SENTENCE SHOULD BE DISMISSED DUE TO THE PROSECUTIONS VIOLATIONS OF DUE PROCESS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="247010" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="247010" data-sentence-id="247010" class="ldml-sentence"&gt;105.&lt;/span&gt; &lt;span data-paragraph-id="247010" data-sentence-id="247015" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE PROSECUTION&lt;/span&gt;'S OUTRAGEOUS MISCONDUCT REGARDING ITS DEALINGS WITH &lt;span class="ldml-entity"&gt;MARGIE MARQUEZ&lt;/span&gt; WHEN &lt;span class="ldml-entity"&gt;SHE&lt;/span&gt; WAS REPRESENTED BY &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; FOR MR. RODRIGUEZ VIOLATED THE DUE PROCESS AND RIGHT TO &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="247207" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="247207" data-sentence-id="247207" class="ldml-sentence"&gt;106.&lt;/span&gt; &lt;span data-paragraph-id="247207" data-sentence-id="247212" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;'S EGREGIOUS AND PERVASIVE MISCONDUCT DURING CLOSING ARGUMENTS AT THE GUILT/INNOCENCE PHASE DENIED MR. RODRIGUEZ HIS RIGHTS UNDER THE DUE PROCESS, TRIAL BY JURY AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES, ESPECIALLY WHEN COMBINED WITH &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S ORDER THAT DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; NOT OBJECT AND THE JURY INSTRUCTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="247531" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="247531" data-sentence-id="247531" class="ldml-sentence"&gt;107.&lt;/span&gt; &lt;span data-paragraph-id="247531" data-sentence-id="247536" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY REQUIRING THAT THE JURY FIND THAT MR. RODRIGUEZ WAS NOT GUILTY OF FIRST DEGREE MURDER AFTER DELIBERATION BEFORE IT WAS PERMITTED TO CONSIDER WHETHER &lt;span class="ldml-entity"&gt;HE&lt;/span&gt; WAS GUILTY OF SECOND DEGREE MURDER.&lt;/span&gt; &lt;span data-paragraph-id="247531" data-sentence-id="247749" class="ldml-sentence"&gt;THIS COERCED THE JURY INTO RETURNING A VERDICT OF GUILTY OF THE GREATER CHARGE AND VIOLATED &lt;span class="ldml-entity"&gt;THE PRINCIPLES SET FORTH IN &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888114212" data-vids="888114212" class="ldml-reference" data-prop-ids="sentence_247749"&gt;&lt;span class="ldml-refname"&gt;BECK V. ALABAMA&lt;/span&gt;, &lt;span class="ldml-cite"&gt;447 U.S. 625&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 2382&lt;/span&gt;, &lt;span class="ldml-cite"&gt;65 L.Ed.2d 392&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="247940" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="247940" data-sentence-id="247940" class="ldml-sentence"&gt;108.&lt;/span&gt; &lt;span data-paragraph-id="247940" data-sentence-id="247945" class="ldml-sentence"&gt;THE JURY INSTRUCTIONS PERMITTED THE JURY TO FIND MR. RODRIGUEZ GUILTY FOR CONDUCT &lt;span class="ldml-entity"&gt;HE&lt;/span&gt; WAS NOT CHARGED WITH COMMITTING.&lt;/span&gt; &lt;span data-paragraph-id="247940" data-sentence-id="248063" class="ldml-sentence"&gt;THIS VIOLATED THE DUE PROCESS AND TRIAL BY JURY CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="248120" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="248120" data-sentence-id="248120" class="ldml-sentence"&gt;109.&lt;/span&gt; &lt;span data-paragraph-id="248120" data-sentence-id="248125" class="ldml-sentence"&gt;THE JURY INSTRUCTIONS FAILED TO EXPLAIN SEVERAL OF THE ESSENTIAL ELEMENTS OF FIRST DEGREE SEXUAL ASSAULT, AND THE INSTRUCTIONS ALLOWED A GUILTY VERDICT AND DEATH SENTENCE BASED UPON AN UNCHARGED CRIME SUPPLIED TO THE JURY BY &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; IN THE INSTRUCTIONS.&lt;/span&gt; &lt;span data-paragraph-id="248120" data-sentence-id="248381" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS THEREBY DENIED HIS RIGHT TO TRIAL BY JURY.&lt;/span&gt; &lt;span data-paragraph-id="248120" data-sentence-id="248442" class="ldml-sentence"&gt;THE FELONY MURDER, KIDNAPPING AND MOTOR VEHICLE THEFT CONVICTIONS, AND THE DEATH PENALTY BASED UPON ALL OF THOSE CONVICTIONS SHOULD BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="248586" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="248586" data-sentence-id="248586" class="ldml-sentence"&gt;110.&lt;/span&gt; &lt;span data-paragraph-id="248586" data-sentence-id="248591" class="ldml-sentence"&gt;THE CONVICTION FOR FIRST DEGREE SEXUAL ASSAULT VIOLATES THE DUE PROCESS AND TRIAL BY JURY CLAUSES BECAUSE THE JURY WAS NOT REQUIRED TO UNANIMOUSLY DECIDE ON EITHER THE FACTS OR LEGAL THEORY BEHIND THE CHARGE.&lt;/span&gt; &lt;span data-paragraph-id="248586" data-sentence-id="248800" class="ldml-sentence"&gt;THE SEXUAL ASSAULT CONVICTION, AND THE FELONY MURDER, KIDNAPPING, AND FIRST DEGREE AGGRAVATED MOTOR VEHICLE THEFT CONVICTIONS PRESUMABLY BASED THEREUPON, ARE ALSO INVALID, AS IS THE DEATH SENTENCE.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="248998" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="248998" data-sentence-id="248998" class="ldml-sentence"&gt;111.&lt;/span&gt; &lt;span data-paragraph-id="248998" data-sentence-id="249003" class="ldml-sentence"&gt;THE JURY INSTRUCTIONS FAILED TO EXPLAIN SEVERAL OF THE ESSENTIAL ELEMENTS OF FIRST DEGREE SEXUAL ASSAULT.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="249109" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="249109" data-sentence-id="249109" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 316&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="249117" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="249117" data-sentence-id="249118" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS THEREBY DENIED DUE PROCESS.&lt;/span&gt; &lt;span data-paragraph-id="249117" data-sentence-id="249164" class="ldml-sentence"&gt;THE FELONY MURDER, KIDNAPPING AND MOTOR VEHICLE THEFT CONVICTIONS, AND THE DEATH PENALTY BASED UPON THE SEXUAL ASSAULT, FELONY MURDER AND OTHER CONVICTIONS SHOULD ALSO BE VACATED, SINCE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; ALSO VIOLATE THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="249426" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="249426" data-sentence-id="249426" class="ldml-sentence"&gt;112.&lt;/span&gt; &lt;span data-paragraph-id="249426" data-sentence-id="249431" class="ldml-sentence"&gt;THERE WAS INSUFFICIENT EVIDENCE TO SUPPORT THE CONVICTION FOR FIRST DEGREE SEXUAL ASSAULT.&lt;/span&gt; &lt;span data-paragraph-id="249426" data-sentence-id="249522" class="ldml-sentence"&gt;THE CONVICTION FOR THAT OFFENSE, AND THE MURDER, KIDNAPPING AND MOTOR VEHICLE THEFT CONVICTIONS BASED ON THAT ALLEGATION SHOULD ALSO BE VACATED.&lt;/span&gt; &lt;span data-paragraph-id="249426" data-sentence-id="249667" class="ldml-sentence"&gt;THE DEATH SENTENCE SHOULD ALSO BE VACATED, SINCE IT WAS BASED ON ALL OF THESE UNCONSTITUTIONAL CONVICTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="249775" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="249775" data-sentence-id="249775" class="ldml-sentence"&gt;113.&lt;/span&gt; &lt;span data-paragraph-id="249775" data-sentence-id="249780" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED DUE PROCESS BECAUSE THE INSTRUCTIONS TO THE JURY OMITTED ESSENTIAL ELEMENTS OF THE SECOND DEGREE KIDNAPPING CHARGE.&lt;/span&gt; &lt;span data-paragraph-id="249775" data-sentence-id="249921" class="ldml-sentence"&gt;FURTHER, MR. RODRIGUEZ WAS DENIED DUE PROCESS AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES BY THE JURY'S CONSIDERATION OF THE UNCONSTITUTIONAL KIDNAPPING CONVICTION AS TO THE PENALTY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="250122" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="250122" data-sentence-id="250122" class="ldml-sentence"&gt;114.&lt;/span&gt; &lt;span data-paragraph-id="250122" data-sentence-id="250127" class="ldml-sentence"&gt;THE INSTRUCTIONS CONCERNING THE CHARGE OF SECOND DEGREE KIDNAPPING OMITTED SEVERAL ESSENTIAL ELEMENTS OF THE OFFENSE AND DENIED MR. RODRIGUEZ A TRIAL BY JURY UNDER THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt; &lt;span data-paragraph-id="250122" data-sentence-id="250331" class="ldml-sentence"&gt;FURTHER, MR. RODRIGUEZ WAS DENIED DUE PROCESS AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES BY THE JURY'S CONSIDERATION OF THE UNCONSTITUTIONAL CONVICTION FOR SECOND DEGREE KIDNAPPING AND RELATED CONVICTIONS AS TO THE PENALTY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="250574" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="250574" data-sentence-id="250574" class="ldml-sentence"&gt;115.&lt;/span&gt; &lt;span data-paragraph-id="250574" data-sentence-id="250579" class="ldml-sentence"&gt;THE INSTRUCTIONS TO THE JURY CONCERNING THE AGGRAVATED ROBBERY CHARGE OMITTED ESSENTIAL ELEMENTS OF THE OFFENSE AND THUS DENIED MR. RODRIGUEZ A TRIAL BY JURY.&lt;/span&gt; &lt;span data-paragraph-id="250574" data-sentence-id="250738" class="ldml-sentence"&gt;FURTHER, MR. RODRIGUEZ WAS DENIED DUE PROCESS, A TRIAL BY JURY AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES BY THE JURY'S CONSIDERATION OF THE UNCONSTITUTIONAL AGGRAVATED ROBBERY CONVICTION AND RELATED CONVICTIONS AS TO THE PENALTY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="250988" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="250988" data-sentence-id="250988" class="ldml-sentence"&gt;116.&lt;/span&gt; &lt;span data-paragraph-id="250988" data-sentence-id="250993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S INSTRUCTIONS TO THE JURY CONCERNING THE AGGRAVATED ROBBERY CHARGE OMITTED ESSENTIAL ELEMENTS OF THE OFFENSE AND THUS DENIED MR. RODRIGUEZ DUE PROCESS UNDER THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt; &lt;span data-paragraph-id="250988" data-sentence-id="251207" class="ldml-sentence"&gt;FURTHER, MR. RODRIGUEZ WAS DENIED DUE PROCESS OF LAW AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES BY THE JURY'S CONSIDERATION OF THE UNCONSTITUTIONAL AGGRAVATED ROBBERY CONVICTION AS TO THE PENALTY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="251423" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="251423" data-sentence-id="251423" class="ldml-sentence"&gt;117.&lt;/span&gt; &lt;span data-paragraph-id="251423" data-sentence-id="251428" class="ldml-sentence"&gt;THE INSTRUCTIONS TO THE JURY REGARDING FIRST DEGREE AGGRAVATED MOTOR VEHICLE THEFT OMITTED NUMEROUS ESSENTIAL ELEMENTS OF THAT OFFENSE, THUS DENYING MR. RODRIGUEZ DUE PROCESS.&lt;/span&gt; &lt;span data-paragraph-id="251423" data-sentence-id="251604" class="ldml-sentence"&gt;THAT CONVICTION AND THE&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="251628" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="251628" data-sentence-id="251628" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 317&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="251636" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="251636" data-sentence-id="251637" class="ldml-sentence"&gt;DEATH SENTENCE BASED THEREUPON SHOULD BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="251687" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="251687" data-sentence-id="251687" class="ldml-sentence"&gt;118.&lt;/span&gt; &lt;span data-paragraph-id="251687" data-sentence-id="251692" class="ldml-sentence"&gt;THE INSTRUCTIONS TO THE JURY CONCERNING FIRST-DEGREE AGGRAVATED MOTOR VEHICLE THEFT OMITTED ESSENTIAL ELEMENTS OF THE OFFENSE AND DENIED MR. RODRIGUEZ A TRIAL BY JURY UNDER THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt; &lt;span data-paragraph-id="251687" data-sentence-id="251905" class="ldml-sentence"&gt;FURTHER, MR. RODRIGUEZ WAS DENIED DUE PROCESS AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT AND TRIAL BY JURY CLAUSES BY THE JURY'S CONSIDERATION OF THE UNCONSTITUTIONAL FIRST-DEGREE AGGRAVATED MOTOR VEHICLE THEFT CONVICTION AND THE PRESUMABLY RELATED CONSPIRACY CONVICTION AS TO THE PENALTY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="252206" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="252206" data-sentence-id="252206" class="ldml-sentence"&gt;119.&lt;/span&gt; &lt;span data-paragraph-id="252206" data-sentence-id="252211" class="ldml-sentence"&gt;THE CIRCULAR CHARGES AND CONVICTIONS FOR FIRST DEGREE MURDER, FIRST DEGREE SEXUAL ASSAULT AND SECOND DEGREE KIDNAPPING, AND FIRST DEGREE AGGRAVATED MOTOR VEHICLE THEFT, AND THE CONSPIRACY CHARGES, VIOLATE THE DUE PROCESS AND DOUBLE JEOPARDY CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS, AND &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; AND THE DEATH SENTENCE SHOULD BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="252554" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="252554" data-sentence-id="252554" class="ldml-sentence"&gt;120.&lt;/span&gt; &lt;span data-paragraph-id="252554" data-sentence-id="252559" class="ldml-sentence"&gt;THE INSTRUCTIONS ON THE FELONY-MURDER CHARGE FAILED TO PROVIDE MANY OF THE ESSENTIAL ELEMENTS OF THE ALLEGED OFFENSE; THUS, THE DUE PROCESS CLAUSES WERE VIOLATED AND THE DEATH SENTENCE BASED ON THAT CONVICTION SHOULD BE VACATED UNDER THE DUE PROCESS, TRIAL BY JURY AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="252867" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="252867" data-sentence-id="252867" class="ldml-sentence"&gt;121.&lt;/span&gt; &lt;span data-paragraph-id="252867" data-sentence-id="252872" class="ldml-sentence"&gt;THE FELONY-MURDER CONVICTION IS INVALID BECAUSE THE INSTRUCTIONS FAIL TO REQUIRE THAT THE JURY UNANIMOUSLY AGREE ON AT LEAST ONE OF THE THREE DIFFERENT THEORIES OF LIABILITY THAT WERE PUT FORTH BY &lt;span class="ldml-entity"&gt;THE STATE&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="252867" data-sentence-id="253080" class="ldml-sentence"&gt;THE DEATH SENTENCE BASED THEREUPON SHOULD THUS BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="253139" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="253139" data-sentence-id="253139" class="ldml-sentence"&gt;122.&lt;/span&gt; &lt;span data-paragraph-id="253139" data-sentence-id="253144" class="ldml-sentence"&gt;THE INSTRUCTIONS ON THE FELONY-MURDER CHARGE FAILED TO PROVIDE MANY OF THE ESSENTIAL ELEMENTS OF THE ALLEGED OFFENSE; THUS, THE TRIAL BY JURY CLAUSES WERE VIOLATED AND THE DEATH SENTENCE BASED ON THAT CONVICTION SHOULD BE VACATED UNDER THE DUE PROCESS, TRIAL BY JURY AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="253454" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="253454" data-sentence-id="253454" class="ldml-sentence"&gt;123.&lt;/span&gt; &lt;span data-paragraph-id="253454" data-sentence-id="253459" class="ldml-sentence"&gt;THE JURY INSTRUCTIONS ON THE CHARGE OF CONSPIRACY TO COMMIT FIRST DEGREE MURDER WERE DEFICIENT AND DENIED MR. RODRIGUEZ HIS RIGHT TO A TRIAL BY JURY.&lt;/span&gt; &lt;span data-paragraph-id="253454" data-sentence-id="253609" class="ldml-sentence"&gt;THE DEATH SENTENCE BASED UPON THAT CONVICTION MUST ALSO BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="253677" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="253677" data-sentence-id="253677" class="ldml-sentence"&gt;124.&lt;/span&gt; &lt;span data-paragraph-id="253677" data-sentence-id="253682" class="ldml-sentence"&gt;THE JURY INSTRUCTIONS ON THE CHARGE OF CONSPIRACY TO COMMIT FIRST DEGREE MURDER WERE DEFICIENT AND DENIED MR. RODRIGUEZ HIS RIGHTS TO DUE PROCESS OF LAW.&lt;/span&gt; &lt;span data-paragraph-id="253677" data-sentence-id="253836" class="ldml-sentence"&gt;THE DEATH SENTENCE BASED UPON THAT CONVICTION MUST ALSO BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="253904" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="253904" data-sentence-id="253904" class="ldml-sentence"&gt;125.&lt;/span&gt; &lt;span data-paragraph-id="253904" data-sentence-id="253909" class="ldml-sentence"&gt;THE JURY INSTRUCTIONS ON THE CHARGE OF CONSPIRACY TO COMMIT SECOND DEGREE KIDNAPPING WERE DEFICIENT AND DENIED MR. RODRIGUEZ HIS RIGHT TO A TRIAL BY JURY.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" id="heading_254064" data-id="heading_254064" data-value="126. THE JURY INSTRUCTIONS ON THE CHARGE OF CONSPIRACY" data-specifier="" data-content-heading-label="126. THE JURY INSTRUCTIONS ON THE CHARGE OF CONSPIRACY
" data-format="upper_case_lacks_specifier" data-parsed="true"&gt;&lt;span data-paragraph-id="254064" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="254064" data-sentence-id="254064" class="ldml-sentence"&gt;&lt;span class="ldml-embeddedsentence"&gt;126.&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="254064" data-sentence-id="254069" class="ldml-sentence"&gt;&lt;span class="ldml-embeddedsentence"&gt;THE JURY INSTRUCTIONS ON THE CHARGE OF CONSPIRACY&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="254119" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="254119" data-sentence-id="254119" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 318&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="254127" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="254127" data-sentence-id="254128" class="ldml-sentence"&gt;TO COMMIT SECOND DEGREE KIDNAPPING WERE DEFICIENT AND DENIED MR. RODRIGUEZ HIS RIGHTS TO DUE PROCESS OF LAW.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="254237" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="254237" data-sentence-id="254237" class="ldml-sentence"&gt;127.&lt;/span&gt; &lt;span data-paragraph-id="254237" data-sentence-id="254242" class="ldml-sentence"&gt;THE JURY INSTRUCTIONS ON THE CHARGE OF CONSPIRACY TO COMMIT MOTOR VEHICLE THEFT WERE DEFICIENT AND DENIED MR. RODRIGUEZ HIS RIGHT TO A TRIAL BY JURY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="254392" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="254392" data-sentence-id="254392" class="ldml-sentence"&gt;128.&lt;/span&gt; &lt;span data-paragraph-id="254392" data-sentence-id="254397" class="ldml-sentence"&gt;THE INSTRUCTIONS ON THE CHARGE OF CONSPIRACY TO COMMIT MOTOR VEHICLE THEFT WERE DEFICIENT AND DENIED MR. RODRIGUEZ HIS RIGHT TO DUE PROCESS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="254538" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="254538" data-sentence-id="254538" class="ldml-sentence"&gt;129.&lt;/span&gt; &lt;span data-paragraph-id="254538" data-sentence-id="254543" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S FAILURE TO DEFINE THE ESSENTIAL ELEMENT OF THE THREE CONSPIRACY CHARGES OF &lt;span class="ldml-quotation quote"&gt;"ATTEMPT"&lt;/span&gt; FOR THE JURY DENIED MR. RODRIGUEZ DUE PROCESS AND HIS RIGHT TO A TRIAL BY JURY AS TO THOSE ESSENTIAL ELEMENTS OF THE CHARGED OFFENSES, UNDER THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="254821" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="254821" data-sentence-id="254821" class="ldml-sentence"&gt;130.&lt;/span&gt; &lt;span data-paragraph-id="254821" data-sentence-id="254826" class="ldml-sentence"&gt;THE ERRONEOUS INSTRUCTION ON COMPLICITY DENIED MR. RODRIGUEZ HIS RIGHTS TO DUE PROCESS AND TO A TRIAL BY JURY AND CAUSED THE JURY TO RETURN A DEATH VERDICT.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="254983" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="254983" data-sentence-id="254983" class="ldml-sentence"&gt;131.&lt;/span&gt; &lt;span data-paragraph-id="254983" data-sentence-id="254988" class="ldml-sentence"&gt;THE COMPLICITY INSTRUCTION GIVEN AT THE GUILT/INNOCENCE TRIAL WAS AN INCORRECT STATEMENT OF THE LAW AND ALLOWED THE JURY TO CONVICT MR. RODRIGUEZ WHEN &lt;span class="ldml-entity"&gt;HE&lt;/span&gt; WAS, IN FACT, NOT GUILTY OF THE CHARGED OFFENSES.&lt;/span&gt; &lt;span data-paragraph-id="254983" data-sentence-id="255192" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS THEREBY DENIED DUE PROCESS OF LAW, A TRIAL BY JURY, AND HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt; &lt;span data-paragraph-id="254983" data-sentence-id="255325" class="ldml-sentence"&gt;THE CONVICTIONS AND SENTENCES BASED THEREUPON, INCLUDING THE DEATH SENTENCE, SHOULD THUS BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="255426" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="255426" data-sentence-id="255426" class="ldml-sentence"&gt;132.&lt;/span&gt; &lt;span data-paragraph-id="255426" data-sentence-id="255431" class="ldml-sentence"&gt;THE CONVICTION FOR FIRST DEGREE SEXUAL ASSAULT VIOLATES THE DUE PROCESS AND TRIAL BY JURY CLAUSES BECAUSE THE JURY WAS NOT REQUIRED TO UNANIMOUSLY DECIDE ON EITHER THE FACTS OR LEGAL THEORY BEHIND THE CHARGE.&lt;/span&gt; &lt;span data-paragraph-id="255426" data-sentence-id="255640" class="ldml-sentence"&gt;THE SEXUAL ASSAULT CONVICTION, AND THE MURDER, KIDNAPPING, AND MOTOR VEHICLE THEFT CONVICTIONS, AND THE DEATH PENALTY PRESUMABLY BASED THEREUPON, ARE ALSO INVALID.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="255804" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="255804" data-sentence-id="255804" class="ldml-sentence"&gt;133.&lt;/span&gt; &lt;span data-paragraph-id="255804" data-sentence-id="255809" class="ldml-sentence"&gt;THE CONVICTION FOR FIRST DEGREE AGGRAVATED MOTOR VEHICLE THEFT VIOLATES THE DUE PROCESS AND TRIAL BY JURY CLAUSES BECAUSE THE JURY WAS NOT REQUIRED TO UNANIMOUSLY DECIDE ON EITHER THE FACTS OR LEGAL THEORY BEHIND THE CHARGE.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="256034" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="256034" data-sentence-id="256034" class="ldml-sentence"&gt;134.&lt;/span&gt; &lt;span data-paragraph-id="256034" data-sentence-id="256039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S SUA SPONTE SUBMISSION OF THE UNCHARGED ALLEGATION THAT MR. RODRIGUEZ COMMITTED A &lt;span class="ldml-quotation quote"&gt;"CRIME OF VIOLENCE"&lt;/span&gt; DURING THE AGGRAVATED MOTOR VEHICLE THEFT, VIOLATED THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES AND DENIED &lt;span class="ldml-entity"&gt;MR. RODRIGUEZ A FAIR&lt;/span&gt; TRIAL BY IMPARTIAL JURY.&lt;/span&gt; &lt;span data-paragraph-id="256034" data-sentence-id="256324" class="ldml-sentence"&gt;THE RESULTING VERDICT AND SENTENCE SHOULD BE VACATED, AS SHOULD THE DEATH PENALTY WHICH IS BASED ON THAT &lt;span class="ldml-quotation quote"&gt;"CONVICTION"&lt;/span&gt; FOR A SERIOUS CRIMINAL OFFENSE.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" id="heading_256474" data-id="heading_256474" data-value="135. THERE WAS INSUFFICIENT EVIDENCE TO SUPPORT THE JURY FINDINGS ON THE CRIME OF VIOLENCE ALLEGATIONS, AND THE DEATH SENTENCE AND THE OTHER SENTENCES SHOULD THUS BE VACATED" data-specifier="" data-content-heading-label="135. THERE WAS INSUFFICIENT EVIDENCE TO SUPPORT THE JURY FINDINGS ON THE CRIME OF VIOLENCE ALLEGATIONS, AND THE DEATH SENTENCE AND THE OTHER SENTENCES SHOULD THUS BE VACATED
" data-format="upper_case_lacks_specifier" data-parsed="true"&gt;&lt;span data-paragraph-id="256474" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="256474" data-sentence-id="256474" class="ldml-sentence"&gt;&lt;span class="ldml-embeddedsentence"&gt;135.&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="256474" data-sentence-id="256479" class="ldml-sentence"&gt;&lt;span class="ldml-embeddedsentence"&gt;THERE WAS INSUFFICIENT EVIDENCE TO SUPPORT THE JURY FINDINGS ON THE CRIME OF VIOLENCE ALLEGATIONS, AND THE DEATH SENTENCE AND THE OTHER SENTENCES SHOULD THUS BE VACATED&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="256648" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="256648" data-sentence-id="256648" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 319&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="256656" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="256656" data-sentence-id="256657" class="ldml-sentence"&gt;SINCE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; VIOLATE THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="256776" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="256776" data-sentence-id="256776" class="ldml-sentence"&gt;136.&lt;/span&gt; &lt;span data-paragraph-id="256776" data-sentence-id="256781" class="ldml-sentence"&gt;THE INSTRUCTIONS TO THE JURY THAT THE &lt;span class="ldml-quotation quote"&gt;"CRIME OF VIOLENCE"&lt;/span&gt; ALLEGATION WAS A CRIMINAL OFFENSE DENIED MR. RODRIGUEZ HIS RIGHTS UNDER THE CRUEL AND UNUSUAL PUNISHMENT, DUE PROCESS AND TRIAL BY JURY CLAUSES AND COLORADO'S DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="257013" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="257013" data-sentence-id="257013" class="ldml-sentence"&gt;137.&lt;/span&gt; &lt;span data-paragraph-id="257013" data-sentence-id="257018" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S ACTION IN PROVIDING FIVE VERDICT FORMS ON ONE CRIME OF VIOLENCE ALLEGATION WAS PREJUDICIAL ERROR.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="257134" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="257134" data-sentence-id="257134" class="ldml-sentence"&gt;138.&lt;/span&gt; &lt;span data-paragraph-id="257134" data-sentence-id="257139" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S INSTRUCTIONS TO THE JURY OMITTED SEVERAL ESSENTIAL ELEMENTS OF THE &lt;span class="ldml-quotation quote"&gt;"CRIME OF VIOLENCE"&lt;/span&gt; ALLEGATIONS, THUS DENYING MR. RODRIGUEZ A TRIAL BY JURY AS TO THOSE ALLEGATIONS AND DUE PROCESS.&lt;/span&gt; &lt;span data-paragraph-id="257134" data-sentence-id="257335" class="ldml-sentence"&gt;THE SENTENCES AND DEATH SENTENCE BASED UPON THOSE CONVICTIONS FOR &lt;span class="ldml-quotation quote"&gt;"OFFENSES"&lt;/span&gt; VIOLATE THOSE PROVISIONS AND THE CRUEL AND UNUSUAL PUNISHMENT CLAUSES AND SHOULD BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="257505" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="257505" data-sentence-id="257505" class="ldml-sentence"&gt;139.&lt;/span&gt; &lt;span data-paragraph-id="257505" data-sentence-id="257510" class="ldml-sentence"&gt;THE CRIME OF VIOLENCE ALLEGATION WAS DUPLICITOUS AND VIOLATED THE DUE PROCESS CLAUSES AND THE CONTROLLING &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="257625" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="257625" data-sentence-id="257625" class="ldml-sentence"&gt;140.&lt;/span&gt; &lt;span data-paragraph-id="257625" data-sentence-id="257630" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED DUE PROCESS OF LAW UNDER THE FEDERAL AND COLORADO CONSTITUTIONS BECAUSE THE INFORMATION PURPORTING TO CHARGE HIM WITH CRIMES WAS DEFECTIVE, FAILED TO CHARGE HIM WITH OFFENSES, AND DID NOT GIVE JURISDICTION TO &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="257625" data-sentence-id="257875" class="ldml-sentence"&gt;THE CONVICTIONS AND THE RESULTING DEATH SENTENCE SHOULD BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="257943" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="257943" data-sentence-id="257943" class="ldml-sentence"&gt;141.&lt;/span&gt; &lt;span data-paragraph-id="257943" data-sentence-id="257948" class="ldml-sentence"&gt;THE EVIDENCE WAS INSUFFICIENT TO SUPPORT THE CONVICTIONS OF AGGRAVATED ROBBERY AND FELONY MURDER, AND THOSE CONVICTIONS AND THE DEATH SENTENCE BASED THEREUPON MUST BE VACATED, SINCE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; VIOLATE THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="258201" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="258201" data-sentence-id="258201" class="ldml-sentence"&gt;142.&lt;/span&gt; &lt;span data-paragraph-id="258201" data-sentence-id="258206" class="ldml-sentence"&gt;THERE WAS INSUFFICIENT EVIDENCE TO SUPPORT THE CONVICTION FOR FIRST DEGREE SEXUAL ASSAULT.&lt;/span&gt; &lt;span data-paragraph-id="258201" data-sentence-id="258297" class="ldml-sentence"&gt;THE CONVICTION FOR THAT OFFENSE, AND THE MURDER, KIDNAPPING AND MOTOR VEHICLE THEFT CONVICTIONS BASED ON THAT ALLEGATION SHOULD ALSO BE VACATED.&lt;/span&gt; &lt;span data-paragraph-id="258201" data-sentence-id="258442" class="ldml-sentence"&gt;THE DEATH SENTENCE SHOULD ALSO BE VACATED, SINCE IT WAS BASED ON ALL OF THESE UNCONSTITUTIONAL CONVICTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="258550" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="258550" data-sentence-id="258550" class="ldml-sentence"&gt;143.&lt;/span&gt; &lt;span data-paragraph-id="258550" data-sentence-id="258555" class="ldml-sentence"&gt;THE UNDERLYING FELONIES MERGED INTO THE FELONY MURDER.&lt;/span&gt; &lt;span data-paragraph-id="258550" data-sentence-id="258610" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY FAILING TO INSTRUCT THE JURY ON THIS CRITICAL FACT, AND BY IMPOSING LIFE SENTENCES FOR THE UNDERLYING FELONIES, AND THE CONVICTIONS AND SENTENCES, AND THE DEATH SENTENCE BASED THEREON, SHOULD BE VACATED SINCE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; VIOLATE THE DUE PROCESS, DOUBLE JEOPARDY, TRIAL BY JURY AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE U.S.&lt;/span&gt; &lt;span data-paragraph-id="258550" data-sentence-id="258958" class="ldml-sentence"&gt;AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="258986" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="258986" data-sentence-id="258986" class="ldml-sentence"&gt;144.&lt;/span&gt; &lt;span data-paragraph-id="258986" data-sentence-id="258991" class="ldml-sentence"&gt;THE SEXUAL ASSAULT CONVICTION MERGED INTO THE KIDNAPPING CONVICTION.&lt;/span&gt; &lt;span data-paragraph-id="258986" data-sentence-id="259060" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; ERRED BY FAILING TO INSTRUCT THE JURY ON THIS CRITICAL FACT, AND BY IMPOSING A LIFE SENTENCE&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="259169" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="259169" data-sentence-id="259169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 320&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="259177" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="259177" data-sentence-id="259178" class="ldml-sentence"&gt;FOR THE SEXUAL ASSAULT CONVICTION, AND THE CONVICTION AND SENTENCE, AND THE DEATH SENTENCE BASED THEREON, SHOULD BE VACATED SINCE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; VIOLATE THE DUE PROCESS, DOUBLE JEOPARDY, TRIAL BY JURY AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE U.S.&lt;/span&gt; &lt;span data-paragraph-id="259177" data-sentence-id="259422" class="ldml-sentence"&gt;AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="259450" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="259450" data-sentence-id="259450" class="ldml-sentence"&gt;145.&lt;/span&gt; &lt;span data-paragraph-id="259450" data-sentence-id="259455" class="ldml-sentence"&gt;THE FIRST DEGREE MURDER CONVICTION MERGED INTO THE CONVICTION FOR FIRST DEGREE AGGRAVATED MOTOR VEHICLE THEFT, SINCE PRESUMABLY THAT FIRST DEGREE MURDER WAS AN ELEMENT OF, AND AN INCLUDED OFFENSE TO, THE FIRST DEGREE AGGRAVATED MOTOR VEHICLE THEFT.&lt;/span&gt; &lt;span data-paragraph-id="259450" data-sentence-id="259704" class="ldml-sentence"&gt;THE SEXUAL ASSAULT AND KIDNAPPING CONVICTIONS ALSO MERGE.&lt;/span&gt; &lt;span data-paragraph-id="259450" data-sentence-id="259762" class="ldml-sentence"&gt;MR. RODRIGUEZ HAS THUS BEEN DENIED DUE PROCESS OF LAW AND HIS RIGHTS UNDER THE DOUBLE JEOPARDY CLAUSES AND THE MURDER CONVICTION AND DEATH SENTENCE THUS SHOULD BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="259934" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="259934" data-sentence-id="259934" class="ldml-sentence"&gt;146.&lt;/span&gt; &lt;span data-paragraph-id="259934" data-sentence-id="259939" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S INSTRUCTION THAT THE POSSIBILITY OF THE DEATH PENALTY SHOULD NOT ENTER INTO THE JURY'S CONSIDERATION OF THE CHARGES AGAINST THE ACCUSED VIOLATED THE PRINCIPLES RECOGNIZED IN &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893930176" data-vids="893930176" class="ldml-reference" data-prop-ids="sentence_259939"&gt;&lt;span class="ldml-refname"&gt;ADAMS V. TEXAS&lt;/span&gt;, &lt;span class="ldml-cite"&gt;448 U.S. 38&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 S.Ct. 2521&lt;/span&gt;, &lt;span class="ldml-cite"&gt;65 L.Ed.2d 581&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; AND DENIED THE ACCUSED DUE PROCESS AND A FAIR TRIAL BY IMPARTIAL JURY.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="260264" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="260264" data-sentence-id="260264" class="ldml-sentence"&gt;147.&lt;/span&gt; &lt;span data-paragraph-id="260264" data-sentence-id="260269" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S REFUSAL TO INSTRUCT THE JURY THAT IT SHOULD NOT CONSIDER SYMPATHY FOR THE VICTIM OR PREJUDICE AGAINST THE ACCUSED AT THE TRIAL ON THE NOT GUILTY PLEA WAS ERROR AND DENIED &lt;span class="ldml-entity"&gt;MR. RODRIGUEZ A FAIR&lt;/span&gt; TRIAL BY IMPARTIAL JURY, DUE PROCESS OF LAW AND VIOLATED THE PROHIBITIONS OF CRUEL AND UNUSUAL PUNISHMENT UNDER THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt; &lt;span data-paragraph-id="260264" data-sentence-id="260631" class="ldml-sentence"&gt;THE DEATH SENTENCE AND THE CONVICTIONS SHOULD BE VACATED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="260689" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="260689" data-sentence-id="260689" class="ldml-sentence"&gt;148.&lt;/span&gt; &lt;span data-paragraph-id="260689" data-sentence-id="260694" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S REFUSAL TO PROVIDE MR. RODRIGUEZ WITH THE TRANSCRIPT OF THE &lt;span class="ldml-entity"&gt;OCTOBER 28, 1986&lt;/span&gt;, HEARING, IN THE FACE OF ORDERS FROM &lt;span class="ldml-entity"&gt;THIS COURT&lt;/span&gt; AND DESIGNATIONS OF RECORD DEMANDS AN INQUIRY FROM &lt;span class="ldml-entity"&gt;THIS COURT&lt;/span&gt; AND DENIED MR. RODRIGUEZ HIS FUNDAMENTAL RIGHTS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="260951" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="260951" data-sentence-id="260951" class="ldml-sentence"&gt;149.&lt;/span&gt; &lt;span data-paragraph-id="260951" data-sentence-id="260956" class="ldml-sentence"&gt;THE NEWLY DISCOVERED EVIDENCE CLAIM SHOULD HAVE BEEN GRANTED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="261018" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="261018" data-sentence-id="261018" class="ldml-sentence"&gt;150.&lt;/span&gt; &lt;span data-paragraph-id="261018" data-sentence-id="261023" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUDGE &lt;span class="ldml-entity"&gt;PETERSON&lt;/span&gt;&lt;/span&gt;'S BIAS AGAINST MR. RODRIGUEZ AND HIS &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt; DENIED MR. RODRIGUEZ HIS RIGHT TO DUE PROCESS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="261130" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="261130" data-sentence-id="261130" class="ldml-sentence"&gt;151.&lt;/span&gt; &lt;span data-paragraph-id="261130" data-sentence-id="261135" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS NOT COMPETENT TO STAND TRIAL.&lt;/span&gt; &lt;span data-paragraph-id="261130" data-sentence-id="261183" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;HE&lt;/span&gt; WAS THUS DENIED DUE PROCESS OF LAW, TO EQUAL PROTECTION OF THE LAW, TO THE PROHIBITIONS OF CRUEL AND UNUSUAL PUNISHMENT, AND TO EFFECTIVE ASSISTANCE OF &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="261347" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (SCOTT)"&gt;&lt;span data-paragraph-id="261347" data-sentence-id="261355" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SCOTT&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;concurring&lt;/span&gt;&lt;/span&gt;:&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="261381" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="261381" data-sentence-id="261389" class="ldml-sentence"&gt;I concur in the reasoning and judgment of the majority.&lt;/span&gt; &lt;span data-paragraph-id="261381" data-sentence-id="261445" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; sentence of death is qualitatively unlike any other punishment and &lt;span class="ldml-parenthetical"&gt;[thus]&lt;/span&gt; a corresponding need exists for reliability in the death sentencing procedure."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="261381" data-sentence-id="261604" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_261445"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 253&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="261381" data-sentence-id="261641" class="ldml-sentence"&gt;Because a sentence of death is uniquely severe and final, Justice Lohr dissenting op. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_261641"&gt;&lt;span class="ldml-cite"&gt;at 323&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I write separately to further address the ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; argument.&lt;/span&gt; &lt;span data-paragraph-id="261381" data-sentence-id="261821" class="ldml-sentence"&gt;In the briefs and at oral argument, Rodriguez posits that a direct correlation exists between the delivery of professional services and race, or defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s ability to represent a&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="262007" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="262007" data-sentence-id="262007" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 321&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="262015" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="262015" data-sentence-id="262016" class="ldml-sentence"&gt;client and defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s racial or ethnic attributes.&lt;/span&gt; &lt;span data-paragraph-id="262015" data-sentence-id="262074" class="ldml-sentence"&gt;Without addressing the merits of any such claim, I find the argument, as made today, unacceptable.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="262173" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="262173" data-sentence-id="262181" class="ldml-sentence"&gt;Rodriguez contends that the use of &lt;span class="ldml-entity"&gt;a public defender&lt;/span&gt; or defense investigator of a race or ethnic background that differs from that of Rodriguez is patently unreasonable.&lt;/span&gt; &lt;span data-paragraph-id="262173" data-sentence-id="262351" class="ldml-sentence"&gt;Rodriguez reaches that conclusion by asserting that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have more likely disclosed mitigating evidence of child abuse had &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and those enlisted to serve him been of the same race.&lt;/span&gt; &lt;span data-paragraph-id="262173" data-sentence-id="262536" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_262351"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 296&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="262173" data-sentence-id="262553" class="ldml-sentence"&gt;During the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; hearing, Rodriguez' initial &lt;span class="ldml-entity"&gt;public defender&lt;/span&gt; attempted to substantiate the unreasonableness of the employee selection.&lt;/span&gt; &lt;span data-paragraph-id="262173" data-sentence-id="262722" class="ldml-sentence"&gt;When asked whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had received mitigating evidence from Rodriguez during the course of their meetings, &lt;span class="ldml-entity"&gt;the public defender&lt;/span&gt; responded:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="262861" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="262861" data-sentence-id="262861" class="ldml-sentence"&gt;I was aware, even at the time that I asked him that, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not going to tell me that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had been sexually abused.&lt;/span&gt; &lt;span data-paragraph-id="262861" data-sentence-id="262981" class="ldml-sentence"&gt;Our backgrounds were very incredibly different, and although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; got along, I don't believe it would have been possible for him to tell me....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="263123" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="263123" data-sentence-id="263131" class="ldml-sentence"&gt;... I come from an upper middle-class Anglo background from Southport, Connecticut, where there are no racial problems because there is no one but Anglos....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="263289" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="263289" data-sentence-id="263297" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[Rodriguez']&lt;/span&gt; background was from the west side projects of Denver, a Chicano background.&lt;/span&gt; &lt;span data-paragraph-id="263289" data-sentence-id="263386" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; got along, but there was nothing about the relationship that would have ever let me believe that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have been able to give me the type of personal information that I realized it was necessary to have.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="263596" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="263596" data-sentence-id="263604" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 65&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 35-36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="263596" data-sentence-id="263624" class="ldml-sentence"&gt;Neither Rodriguez' briefs nor his arguments provide a further basis for his claim.&lt;/span&gt; &lt;span data-paragraph-id="263596" data-sentence-id="263707" class="ldml-sentence"&gt;Without more, his argument is unpersuasive.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="263751" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="263751" data-sentence-id="263759" class="ldml-sentence"&gt;It is insightful, however, to contextualize the circumstances in which &lt;span class="ldml-entity"&gt;the public defender&lt;/span&gt; asserts Rodriguez' ineffective assistance claim and to evaluate the integrity of the argument within that framework.&lt;/span&gt; &lt;span data-paragraph-id="263751" data-sentence-id="263967" class="ldml-sentence"&gt;The claim strains credulity when measured against the racial characteristics of the attorney now presenting the argument or, for that matter, the hiring or contracting practices of &lt;span class="ldml-entity"&gt;the Public Defender&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="263751" data-sentence-id="264169" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt; The diversity in the &lt;span class="ldml-entity"&gt;Public Defender's Office&lt;/span&gt; is strikingly negligible, especially when, presumably, significant members of &lt;span class="ldml-entity"&gt;the Public Defender&lt;/span&gt;'s clientele are &lt;span class="ldml-entity"&gt;people&lt;/span&gt; of color.&lt;/span&gt; &lt;span data-paragraph-id="263751" data-sentence-id="264349" class="ldml-sentence"&gt;This paucity is more clearly highlighted, however, when &lt;span class="ldml-entity"&gt;the public defender&lt;/span&gt; contends that a client received ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; because an absence of commonality prohibited the delivery of effective legal services, including the collection of mitigating evidence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="264627" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="264627" data-sentence-id="264635" class="ldml-sentence"&gt;I assume the initial &lt;span class="ldml-entity"&gt;public defender&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Nora Kelly&lt;/span&gt;, Rodriguez' current attorney, both of whom are apparently not of the same race or ethnic background as &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, have given Rodriguez' ineffective assistance claim great consideration before &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; asserting the argument, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; continuing to represent him, a person of different racial or ethnic background.&lt;/span&gt; &lt;span data-paragraph-id="264627" data-sentence-id="264999" class="ldml-sentence"&gt;Because both attorneys appearing on behalf of Rodriguez fail to reflect the very racial or ethnic characteristics Rodriguez posits as necessary to his effective representation, I can only question the integrity of the argument here.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="265232" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="265232" data-sentence-id="265240" class="ldml-sentence"&gt;In any event, based on the facts set forth in the record and legal argument offered, I remain unpersuaded that race provides a basis for Rodriguez' claim of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="265232" data-sentence-id="265432" class="ldml-sentence"&gt;While the majority accurately concludes that this issue is without merit, I write separately to raise my concerns and join the judgment of the majority.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="265585" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (KIRSHBAUM)"&gt;&lt;span data-paragraph-id="265585" data-sentence-id="265593" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;KIRSHBAUM&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;concurring in part&lt;/span&gt; and &lt;span class="ldml-opiniontype"&gt;dissenting in part&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="265654" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="265654" data-sentence-id="265662" class="ldml-sentence"&gt;I concur in the majority's resolution of the issues it addresses.&lt;/span&gt; &lt;span data-paragraph-id="265654" data-sentence-id="265728" class="ldml-sentence"&gt;Although it might initially&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="265756" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="265756" data-sentence-id="265756" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 322&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="265764" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="265764" data-sentence-id="265765" class="ldml-sentence"&gt;appear that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in denying Rodriguez' &lt;span class="ldml-entity"&gt;requests for evidentiary hearings&lt;/span&gt; on the allegations contained in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; that the jury commissioner acted in violation of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_265765"&gt;&lt;span class="ldml-cite"&gt;Uniform Jury Selection and Service Act, §§ 13-71-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -122, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;6 C.R.S. &lt;span class="ldml-parenthetical"&gt;(1973 &amp; 1986 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;Act&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, in selecting prospective jurors &lt;span class="ldml-parenthetical"&gt;(Issue 61)&lt;/span&gt; and that Rodriguez was not properly advised of and did not adequately waive his constitutional right to testify at trial &lt;span class="ldml-parenthetical"&gt;(Issue 89)&lt;/span&gt;, careful examination of the record as a whole supports the majority's conclusion that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not err in its denial of those &lt;span class="ldml-entity"&gt;requests for evidentiary hearings&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="265764" data-sentence-id="266421" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="266423" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="266423" data-sentence-id="266431" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;November 25, 1986&lt;/span&gt;, Rodriguez filed a &lt;span class="ldml-entity"&gt;motion to quash&lt;/span&gt; jury &lt;span class="ldml-entity"&gt;panel&lt;/span&gt; with &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="266423" data-sentence-id="266520" class="ldml-sentence"&gt;The motion contains allegations, supported by an accompanying affidavit, that the jury commissioner improperly excused several classes of potential jurors from the final jury pool, in violation of &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="266423" data-sentence-id="266726" class="ldml-sentence"&gt;However, neither that motion nor Rodriguez' stated argument in his brief filed here contains allegations that the jury pool as ultimately constituted did not represent a random cross-&lt;span class="ldml-entity"&gt;section&lt;/span&gt; of the general public.&lt;/span&gt; &lt;span data-paragraph-id="266423" data-sentence-id="266940" class="ldml-sentence"&gt;Absent such allegations, evidence establishing the impropriety of the jury commissioner's conduct would not establish a violation of Rodriguez' due process rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="267104" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="267104" data-sentence-id="267112" class="ldml-sentence"&gt;Similarly, an allegation that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; did not knowingly waive the right to testify at trial could in some circumstances require an evidentiary hearing for resolution of that issue.&lt;/span&gt; &lt;span data-paragraph-id="267104" data-sentence-id="267297" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;2&lt;/sup&gt; However, Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; contains the following conclusional assertion:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="267388" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="267388" data-sentence-id="267396" class="ldml-sentence"&gt;Mr. Rodriguez was not adequately advised of and did not make adequate waivers of his constitutional right to testify at any of the three parts of the trial in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="267566" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="267566" data-sentence-id="267574" class="ldml-sentence"&gt;Rodriguez' motion does not allege any facts in support of those conclusions.&lt;/span&gt; &lt;span data-paragraph-id="267566" data-sentence-id="267651" class="ldml-sentence"&gt;In view of this state of the record, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not abuse its discretion in determining this issue solely on the basis of the transcripts of the trial proceedings.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="267827" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="267827" data-sentence-id="267835" class="ldml-sentence"&gt;While I concur in the majority's resolution of the issues it addresses, I cannot join the majority's conclusion in part IIA of its opinion that in his appeal to &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; Rodriguez has consciously relinquished over eighty of the issues &lt;span class="ldml-entity"&gt;he&lt;/span&gt; raised in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="267827" data-sentence-id="268111" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_267835"&gt;&lt;span class="ldml-refname"&gt;Maj.op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 248&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="267827" data-sentence-id="268131" class="ldml-sentence"&gt;I do not speculate whether Rodriguez would or would not prevail on the merits of such issues.&lt;/span&gt; &lt;span data-paragraph-id="267827" data-sentence-id="268225" class="ldml-sentence"&gt;I simply do not agree that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has forfeited the procedural right to have the merits of those issues addressed by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="268350" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="268350" data-sentence-id="268358" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; dismissed approximately 110 issues contained in Rodriguez' &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; on the ground that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had been previously litigated.&lt;/span&gt; &lt;span data-paragraph-id="268350" data-sentence-id="268512" class="ldml-sentence"&gt;Stating that Rodriguez &lt;span class="ldml-quotation quote"&gt;"specifically asserts"&lt;/span&gt; some eighteen of those issues in this appeal, the Majority addresses those eighteen issues.&lt;/span&gt; &lt;span data-paragraph-id="268350" data-sentence-id="268650" class="ldml-sentence"&gt;See Maj. op.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="268663" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="268663" data-sentence-id="268663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 323&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="268671" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="268671" data-sentence-id="268672" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at 248-49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="268671" data-sentence-id="268683" class="ldml-sentence"&gt;However, Rodriguez asserts in his very first issue on appeal that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in dismissing and therefore not addressing all of the 110 issues raised by his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="268671" data-sentence-id="268875" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;3&lt;/sup&gt; Rodriguez thus expressly requests &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; to review the merits of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s ruling&lt;/span&gt; that it need not consider those 110 issues.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="269019" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="269019" data-sentence-id="269027" class="ldml-sentence"&gt;In his brief filed in &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; Rodriguez illustrates &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s alleged error by way of example and asserts that, contrary to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s conclusions&lt;/span&gt;, most of those 110 issues had not been previously litigated.&lt;/span&gt; &lt;span data-paragraph-id="269019" data-sentence-id="269259" class="ldml-sentence"&gt;Rodriguez then states that there are &lt;span class="ldml-quotation quote"&gt;"many other obvious examples"&lt;/span&gt; of issues which had not been previously litigated, that &lt;span class="ldml-quotation quote"&gt;"the merits of the claims presented under the approximately one hundred and nine headings should be considered,"&lt;/span&gt; and that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"failure to allow hearings and to make findings and conclusions as to all of the claims covered by the ruling at issue here violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_269259"&gt;&lt;span class="ldml-cite"&gt;Rule 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and Mr. Rodriguez' right to due process under the federal and Colorado Constitutions."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="269756" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="269756" data-sentence-id="269764" class="ldml-sentence"&gt;Despite Rodriguez' statement that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; seeks &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s review of all of the issues asserted in his &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-cert"&gt;motion and dismissed by&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; as previously litigated, the majority states that &lt;span class="ldml-quotation quote"&gt;"Rodriguez' failure to specifically reassert on this appeal all of the claims which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; disposed of as previously litigated on direct appeal constitutes a conscious relinquishment of those claims which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; does not reassert."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="269756" data-sentence-id="270211" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_269764"&gt;&lt;span class="ldml-refname"&gt;Maj.op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 249&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="269756" data-sentence-id="270227" class="ldml-sentence"&gt;The majority cites no authority for the apparent rule that specific issues raised in post-conviction proceedings by &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; will be deemed abandoned on appeal if &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s appellate brief refers to all such issues instead of restating each such issue.&lt;/span&gt; &lt;span data-paragraph-id="269756" data-sentence-id="270512" class="ldml-sentence"&gt;Such a rule would of course require more lengthy briefs.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="270569" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="270569" data-sentence-id="270577" class="ldml-sentence"&gt;The language of Rodriguez' brief refutes the majority's conclusion.&lt;/span&gt; &lt;span data-paragraph-id="270569" data-sentence-id="270645" class="ldml-sentence"&gt;While silence may in some circumstances constitute a relinquishment of a right, the assertion of a general &lt;span class="ldml-entity"&gt;proposition&lt;/span&gt; does not indicate relinquishment of the specific components necessarily included within the general &lt;span class="ldml-entity"&gt;proposition&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="270569" data-sentence-id="270877" class="ldml-sentence"&gt;Rodriguez asserts in Issue 1 that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erroneously dismissed 110 of the issues Rodriguez presented in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="270569" data-sentence-id="271016" class="ldml-sentence"&gt;Resolution of the issue as stated by Rodriguez requires determination of the propriety of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; and hence review of all of the issues affected by that ruling.&lt;/span&gt; &lt;span data-paragraph-id="270569" data-sentence-id="271194" class="ldml-sentence"&gt;Rodriguez is entitled to the appellate review &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has requested of all aspects of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; dismissing 110 of the issues &lt;span class="ldml-entity"&gt;he&lt;/span&gt; raised in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="271368" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="271368" data-sentence-id="271376" class="ldml-sentence"&gt;For the foregoing reasons, I respectfully dissent from the majority's &lt;span class="ldml-entity"&gt;conclusion in &lt;span class="ldml-entity"&gt;section&lt;/span&gt;&lt;/span&gt; IIA of its opinion that Rodriguez has consciously relinquished his right to appellate review of all of the claims contained in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; dismissed on the ground that such claims had previously been litigated.&lt;/span&gt; &lt;span data-paragraph-id="271368" data-sentence-id="271713" class="ldml-sentence"&gt;I concur in the remainder of the majority opinion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="271764" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (LOHR)"&gt;&lt;span data-paragraph-id="271764" data-sentence-id="271772" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;LOHR&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;dissenting&lt;/span&gt;&lt;/span&gt;:&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="271797" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="271797" data-sentence-id="271805" class="ldml-sentence"&gt;In this proceeding for postconviction relief under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the majority upholds the death sentence imposed on &lt;span class="ldml-entity"&gt;Frank D. Rodriguez&lt;/span&gt; for conviction of first-degree murder stemming from the killing of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="271797" data-sentence-id="272024" class="ldml-sentence"&gt;I would hold that the proceedings that led up to the jury determination that the death penalty should be imposed were fatally flawed and that the sentence to death must be vacated.&lt;/span&gt; &lt;span data-paragraph-id="271797" data-sentence-id="272205" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;1&lt;/sup&gt; I therefore respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="I." data-id="heading_272242" data-ordinal_start="1" data-ordinal_end="1" data-specifier="I" id="heading_272242" data-content-heading-label="I.
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="272242" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="272242" data-sentence-id="272242" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A." data-id="heading_272245" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_272245" data-content-heading-label="A.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="272245" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="272245" data-sentence-id="272245" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="272248" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="272248" data-sentence-id="272256" class="ldml-sentence"&gt;A sentence to death is qualitatively different from any other punishment because of its unique severity and finality.&lt;/span&gt; &lt;span data-paragraph-id="272248" data-sentence-id="272374" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;E.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890982058" data-vids="890982058" class="ldml-reference" data-prop-ids="sentence_272374"&gt;&lt;span class="ldml-refname"&gt;Lockett v. Ohio&lt;/span&gt;, &lt;span class="ldml-cite"&gt;438 U.S. 586, 604&lt;/span&gt;, &lt;span class="ldml-cite"&gt;98 S.Ct. 2954, 2964-65&lt;/span&gt;, &lt;span class="ldml-cite"&gt;57 L.Ed.2d 973&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; Woodson v. North&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="272481" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="272481" data-sentence-id="272481" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 324&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="272489" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="272489" data-sentence-id="272490" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:carolina,428us280,303-05,96sct2978,2990-92,49led2d9441976"&gt;&lt;span class="ldml-refname"&gt;Carolina&lt;/span&gt;, &lt;span class="ldml-cite"&gt;428 U.S. 280, 303-05&lt;/span&gt;, &lt;span class="ldml-cite"&gt;96 S.Ct. 2978, 2990-92&lt;/span&gt;, &lt;span class="ldml-cite"&gt;49 L.Ed.2d 944&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;People v. Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d 786, 791-92&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895064975" data-vids="895064975" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;People v. Drake&lt;/span&gt;, &lt;span class="ldml-cite"&gt;748 P.2d 1237, 1254&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="272489" data-sentence-id="272673" class="ldml-sentence"&gt;For this reason, both the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891760947" data-vids="891760947" class="ldml-reference" data-prop-ids="sentence_272673"&gt;&lt;span class="ldml-refname"&gt;Mills v. Maryland&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. 367, 383-84&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. 1860, 1869-70&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 L.Ed.2d 384&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_272673"&gt;&lt;span class="ldml-refname"&gt;Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d at 791-92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895064975" data-vids="895064975" class="ldml-reference" data-prop-ids="sentence_272673"&gt;&lt;span class="ldml-refname"&gt;Drake&lt;/span&gt;, &lt;span class="ldml-cite"&gt;748 P.2d at 1254&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, have repeatedly emphasized the heightened need for sentencing reliability in capital &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="272489" data-sentence-id="273003" class="ldml-sentence"&gt;Yet, after acknowledging that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly vacated certain of the convictions upon which the jury may have relied in arriving at the sentence to death, the majority upholds that sentence.&lt;/span&gt; &lt;span data-paragraph-id="272489" data-sentence-id="273206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_273003"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 283, 285-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="272489" data-sentence-id="273231" class="ldml-sentence"&gt;The majority's holding, in my opinion, violates the general, constitutionally-based requirement of sentencing reliability and misapplies relevant &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; precedent&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B." data-id="heading_273416" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_273416" data-content-heading-label="B.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="273416" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="273416" data-sentence-id="273416" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="273419" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="273419" data-sentence-id="273427" class="ldml-sentence"&gt;In post-trial proceedings under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; vacated Rodriguez's convictions for felony murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, conspiracy to commit second-degree kidnapping, and conspiracy to commit aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="273419" data-sentence-id="273666" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; vacated the felony murder conviction because Rodriguez had also been convicted of first-degree murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; after deliberation, and two murder convictions cannot be imposed for the killing of a single victim.&lt;/span&gt; &lt;span data-paragraph-id="273419" data-sentence-id="273900" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;E.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892273921" data-vids="892273921" class="ldml-reference" data-prop-ids="sentence_273666"&gt;&lt;span class="ldml-refname"&gt;People v. Glover&lt;/span&gt;, &lt;span class="ldml-cite"&gt;893 P.2d 1311, 1314&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="273419" data-sentence-id="273957" class="ldml-sentence"&gt;The conspiracy convictions were vacated because Rodriguez had been convicted on another conspiracy charge relating to the chain of events in question, and, as the majority notes, &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'conspiracy constitutes a single offense, although the agreement upon which the charge is founded contemplates the performance of several criminal acts.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="273419" data-sentence-id="274294" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_273957"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 283&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbradley,169colo262,264-265,455p2d199,2001969" data-prop-ids="sentence_273957"&gt;&lt;span class="ldml-refname"&gt;People v. Bradley&lt;/span&gt;, &lt;span class="ldml-cite"&gt;169 Colo. 262, 265&lt;/span&gt;, &lt;span class="ldml-cite"&gt;455 P.2d 199, 200&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="273419" data-sentence-id="274385" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, as the majority observes, the conspiracy extended to several criminal acts and therefore could support only a single conviction for conspiracy rather than the three that were imposed.&lt;/span&gt; &lt;span data-paragraph-id="273419" data-sentence-id="274583" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_274385"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 283&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C." data-id="heading_274600" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_274600" data-content-heading-label="C.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="274600" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="274600" data-sentence-id="274600" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="274603" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="274603" data-sentence-id="274611" class="ldml-sentence"&gt;The jury was permitted to consider the felony murder conviction as part of the evidence at the penalty phase of Rodriguez's trial.&lt;/span&gt; &lt;span data-paragraph-id="274603" data-sentence-id="274742" class="ldml-sentence"&gt;Specifically, the jury was instructed that the felony murder conviction did not in itself constitute an aggravating factor &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;xcept as required by the alleged &lt;span class="ldml-parenthetical"&gt;[felony murder]&lt;/span&gt; aggravating factor...."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="274603" data-sentence-id="274942" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_274972,sentence_274742"&gt;&lt;span class="ldml-refname"&gt;&lt;sup class="ldml-superscript"&gt;2&lt;/sup&gt; R. at v. IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;pp. 774, 777&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;this form of reference will be used throughout to cite to the volume and page number of the record in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="274603" data-sentence-id="275086" class="ldml-sentence"&gt;Nevertheless, the majority reasons that Rodriguez's death sentence need not be overturned, even after admitting that the evidence supporting the vacated felony murder conviction &lt;span class="ldml-quotation quote"&gt;"also supports"&lt;/span&gt; one of the aggravating factors found by the jury, i.e., &lt;span class="ldml-quotation quote"&gt;"intentionally causing the death of a person in the course of or in furtherance of a felony or in his immediate flight therefrom, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_275086"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="274603" data-sentence-id="275486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_275086"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 284&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="274603" data-sentence-id="275503" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;3&lt;/sup&gt; The majority supports its conclusion by hypothetically reconstructing the jury's deliberation process and distinguishing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_275503"&gt;&lt;span class="ldml-refname"&gt;Johnson v. Mississippi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. 578&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. 1981&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 L.Ed.2d 575&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="274603" data-sentence-id="275706" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_275503"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 284-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="274603" data-sentence-id="275726" class="ldml-sentence"&gt;Because it is impossible for &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; to reconstruct a jury's deliberation process, and because the majority misreads the Johnson precedent in view of the statutory role of jurors in Colorado, I must respectfully dissent from &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_275726"&gt;&lt;span class="ldml-cite"&gt;parts IX&lt;span class="ldml-parenthetical"&gt;(F)&lt;/span&gt; and XIV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="275999" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="275999" data-sentence-id="275999" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 325&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="276007" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="276007" data-sentence-id="276008" class="ldml-sentence"&gt;opinion and its resolution of the corresponding issues 13, 130, and 131. &lt;sup class="ldml-superscript"&gt;4&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="276083" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="276083" data-sentence-id="276083" class="ldml-sentence"&gt;1.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="276086" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="276086" data-sentence-id="276094" class="ldml-sentence"&gt;First, the majority notes that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_276094"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not require a conviction for either felony murder or conspiracy to commit murder before those aggravating factors are found,"&lt;/span&gt; maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 284&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;ven after the vacation of the felony murder conviction, Rodriguez meets the requirements of the aggravating factor found in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_276094"&gt;&lt;span class="ldml-cite"&gt;section 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,"&lt;/span&gt; maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 284&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="276086" data-sentence-id="276467" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;5&lt;/sup&gt; However, the majority has no way of knowing what weight the jury gave to the felony murder conviction in determining the existence of that aggravating factor, nor can the majority accurately assess the importance of any potentially invalid aggravating factor in the jury's weighing process.&lt;/span&gt; &lt;span data-paragraph-id="276086" data-sentence-id="276761" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;Cf.&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891760947" data-vids="891760947" class="ldml-reference" data-prop-ids="embeddedsentence_276814,sentence_276467"&gt;&lt;span class="ldml-refname"&gt;Mills&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. at 376-77&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. at 1866-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he jury's verdict must be set aside if it could be supported on one ground but not on another, and the reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; was uncertain which of the two grounds was relied upon by the jury in reaching the verdict.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;In reviewing death sentences, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; has demanded even greater certainty that the jury's conclusions rested on proper grounds.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Unless &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can rule out the substantial possibility that the jury may have rested its verdict on the &lt;span class="ldml-quotation quote"&gt;'improper'&lt;/span&gt; ground, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must remand for resentencing."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="277334" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="277334" data-sentence-id="277342" class="ldml-sentence"&gt;Second, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_277342"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. at 586&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. at 1986-87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; vacated a death penalty that was based on an aggravating factor stemming from a subsequently overturned felony conviction.&lt;/span&gt; &lt;span data-paragraph-id="277334" data-sentence-id="277557" class="ldml-sentence"&gt;The majority distinguishes Johnson as &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; where the evidence relating to the felony conviction was otherwise inadmissible, whereas in Rodriguez's case &lt;span class="ldml-quotation quote"&gt;"the evidence supporting the convictions was properly before the sentencing jury"&lt;/span&gt; and was constitutionally obtained.&lt;/span&gt; &lt;span data-paragraph-id="277334" data-sentence-id="277829" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_277557"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 285-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="277334" data-sentence-id="277849" class="ldml-sentence"&gt;Although the majority does not reference any specific &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; in distinguishing Johnson, see maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 285&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, its reasoning apparently is based on footnote nine of that opinion:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="278054" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="278054" data-sentence-id="278062" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_278062"&gt;&lt;span class="ldml-refname"&gt;Zant v. Stephens&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. 862&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. 2733&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 L.Ed.2d 235&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that on &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;/span&gt; the invalidation of an aggravating circumstance did not, under Georgia's capital sentencing scheme, require vacation of the death sentence.&lt;/span&gt; &lt;span data-paragraph-id="278054" data-sentence-id="278316" class="ldml-sentence"&gt;In reaching this holding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; specifically relied on the fact that the evidence adduced in support of the invalid aggravating circumstance was nonetheless properly admissible at the sentencing hearing.&lt;/span&gt; &lt;span data-paragraph-id="278054" data-sentence-id="278517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_278316"&gt;&lt;span class="ldml-cite"&gt;Id., at 887&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2748&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="278549" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="278549" data-sentence-id="278557" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. at 590 n. 9&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. at 1989 n. 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="278549" data-sentence-id="278612" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;6&lt;/sup&gt; Thus, the majority's dismissal of&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="278649" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="278649" data-sentence-id="278649" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 326&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="278657" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="278657" data-sentence-id="278658" class="ldml-sentence"&gt;the Johnson precedent, maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 285&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, finds support in that opinion's reference, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_278658"&gt;&lt;span class="ldml-refname"&gt;Johnson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. at 590 n. 9&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. at 1989 n. 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, to &lt;span class="ldml-entity"&gt;the holding of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_278658"&gt;&lt;span class="ldml-refname"&gt;Zant v. Stephens&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. 862, 887&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. 2733, 2748&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 L.Ed.2d 235&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, which affirmed a death penalty conviction despite invalidation of an aggravating circumstance where the underlying evidence supporting the questionable aggravating circumstance was otherwise admissible and another aggravating circumstance remained undisturbed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="279160" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="279160" data-sentence-id="279168" class="ldml-sentence"&gt;However, the distinction between Johnson and Zant does not support an application of the Zant precedent to Rodriguez's case.&lt;/span&gt; &lt;span data-paragraph-id="279160" data-sentence-id="279296" class="ldml-sentence"&gt;It is true that in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_279296"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; held that although &lt;span class="ldml-quotation quote"&gt;"the fact that the &lt;span class="ldml-parenthetical"&gt;[invalid aggravating circumstance]&lt;/span&gt; instruction gave added weight to &lt;span class="ldml-parenthetical"&gt;[otherwise admissible prior felony convictions]&lt;/span&gt; no doubt played some role in the deliberations of some jurors,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_279296"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. at 904&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2757&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Rehnquist, J., concurring)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, invalidation of an aggravating circumstance that was based on otherwise admissible evidence would not result in vacation of the death penalty under Georgia's death penalty &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; where other aggravating circumstances remained intact, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_279296"&gt;&lt;span class="ldml-cite"&gt;id. at 889&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2749&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(majority opinion)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="279160" data-sentence-id="279936" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; began its assessment by noting that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he answer depends on the function of the jury's finding of an aggravating circumstance under Georgia's capital sentencing &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;...."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="279160" data-sentence-id="280130" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_279936"&gt;&lt;span class="ldml-cite"&gt;Id. at 864&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2736&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="279160" data-sentence-id="280178" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;7&lt;/sup&gt; &lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; then described the jury's function in finding aggravating circumstances under Georgia law as limited:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="280292" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="280292" data-sentence-id="280300" class="ldml-sentence"&gt;In Georgia, unlike some other States, the jury is not instructed to give any special weight to any aggravating circumstance, to consider multiple aggravating circumstances any more significant than a single such circumstance, or to balance aggravating against mitigating circumstances pursuant to any special standard....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="280622" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="280622" data-sentence-id="280630" class="ldml-sentence"&gt;....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="280635" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="280635" data-sentence-id="280643" class="ldml-sentence"&gt;... Instead, as the &lt;span class="ldml-entity"&gt;Georgia Supreme Court&lt;/span&gt; has unambiguously advised &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, the aggravating circumstance merely performs the function of narrowing the category of persons convicted of murder who are eligible for the death penalty.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="280870" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="280870" data-sentence-id="280878" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 873-75&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2740-42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnotes omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;id. at 871-72&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2739-40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="280870" data-sentence-id="280981" class="ldml-sentence"&gt;Indeed, as noted in Justice Marshall's dissent in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_280981"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he very premise of the &lt;span class="ldml-quotation quote"&gt;'threshold'&lt;/span&gt; theory adopted today is that statutory aggravating circumstances are not relied upon by the jury in reaching its ultimate sentencing decision, but are considered only in deciding whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is eligible to receive the death penalty."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="280870" data-sentence-id="281321" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_280981"&gt;&lt;span class="ldml-cite"&gt;Id. at 914&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2762&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Marshall, J., dissenting)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis in original&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="281402" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="281402" data-sentence-id="281410" class="ldml-sentence"&gt;In other words, under the Georgia death penalty &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; under review in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_281410"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the only purpose of a jury's finding of an aggravating circumstance was to make &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; death eligible.&lt;/span&gt; &lt;span data-paragraph-id="281402" data-sentence-id="281608" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_281410"&gt;&lt;span class="ldml-cite"&gt;Id. at 871-72, 873-75, 914&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2739-40, 2740-42, 2762&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="281402" data-sentence-id="281673" class="ldml-sentence"&gt;Therefore, where an aggravating circumstance was invalidated or questioned, but the underlying evidence was otherwise admissible, and where the jury made independent findings of other valid aggravating factors, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_281673"&gt;&lt;span class="ldml-cite"&gt;id. at 868&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2738&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, there was no reason to invalidate the death penalty; the jury made the requisite finding of one aggravating factor notwithstanding the invalidation of another aggravating factor, and the jury never considered any evidence in voting for the death penalty that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; otherwise would not have considered.&lt;/span&gt; &lt;span data-paragraph-id="281402" data-sentence-id="282221" class="ldml-sentence"&gt;The&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="282225" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="282225" data-sentence-id="282225" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 327&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="282233" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="282233" data-sentence-id="282234" class="ldml-sentence"&gt;majority's &lt;span class="ldml-entity"&gt;reasoning in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; mirrors the result in Zant.&lt;/span&gt; &lt;span data-paragraph-id="282233" data-sentence-id="282297" class="ldml-sentence"&gt;See maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 285-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="282321" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="282321" data-sentence-id="282329" class="ldml-sentence"&gt;However, because &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;'s rationale&lt;/span&gt; in Zant was based fundamentally on Georgia's death penalty statutory framework, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; took pains to limit its holding to &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; where a jury's finding of aggravating factors simply served the death eligibility function, and questioned any applicability to &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; where a jury was further instructed to weigh aggravating factors against mitigating factors:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="282727" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="282727" data-sentence-id="282735" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that in deciding &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not express any opinion concerning the possible significance of a holding that a particular aggravating circumstance is &lt;span class="ldml-quotation quote"&gt;'invalid'&lt;/span&gt; under &lt;span class="ldml-entity"&gt;a statutory scheme&lt;/span&gt; in which the judge or jury is specifically instructed to weigh statutory aggravating and mitigating circumstances in exercising its discretion whether to impose the death penalty....&lt;/span&gt; &lt;span data-paragraph-id="282727" data-sentence-id="283123" class="ldml-sentence"&gt;Under Georgia's sentencing scheme, and under the trial judge's instructions in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, no suggestion is made that the presence of more than one aggravating circumstance should be given special weight.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="283327" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="283327" data-sentence-id="283335" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 890-91&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2750&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="283327" data-sentence-id="283369" class="ldml-sentence"&gt;Indeed, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; compared the Georgia death penalty &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; to the approaches of other states, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_283369"&gt;&lt;span class="ldml-cite"&gt;id. at 873 n. 12&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2741 n. 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and distinguished those other &lt;span class="ldml-entity"&gt;statutory schemes&lt;/span&gt;:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="283570" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="283570" data-sentence-id="283578" class="ldml-sentence"&gt;In each of &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;State Supreme Court&lt;/span&gt; set aside a death sentence based on both valid and invalid aggravating circumstances.&lt;/span&gt; &lt;span data-paragraph-id="283570" data-sentence-id="283712" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Respondent&lt;/span&gt; advances &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt; in support of his contention that a similar result is required here.&lt;/span&gt; &lt;span data-paragraph-id="283570" data-sentence-id="283813" class="ldml-sentence"&gt;However, examination of the relevant state &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; shows that in each of these States, not only must the jury find at least one aggravating circumstance in order to have the power to impose the death sentence; in addition, the law requires the jury to weigh the aggravating circumstances against the mitigating circumstances when it decides whether or not the death penalty should be imposed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="284208" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="284208" data-sentence-id="284216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 873 n. 12&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2741 n. 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="284208" data-sentence-id="284259" class="ldml-sentence"&gt;Unlike the death penalty &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; under examination in Zant, Colorado does require jurors to determine &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hether sufficient mitigating factors exist which outweigh any aggravating factor or factors found to exist."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="284208" data-sentence-id="284484" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_284259"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="284208" data-sentence-id="284525" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;8&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="284527" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="284527" data-sentence-id="284535" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; reviewed the question reserved in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_284535"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. at 890-91&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2749-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_284535"&gt;&lt;span class="ldml-refname"&gt;Clemons v. Mississippi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;494 U.S. 738&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 1441&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 L.Ed.2d 725&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and left no doubt that the majority's resolution of issue thirteen is incorrect.&lt;/span&gt; &lt;span data-paragraph-id="284527" data-sentence-id="284813" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;9&lt;/sup&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_284813"&gt;&lt;span class="ldml-refname"&gt;Clemons&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;Mississippi Supreme Court&lt;/span&gt; upheld a death penalty despite questions surrounding one of several aggravating circumstances.&lt;/span&gt; &lt;span data-paragraph-id="284527" data-sentence-id="284954" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_284813"&gt;&lt;span class="ldml-cite"&gt;494 U.S. at 743-44&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1445-46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="284527" data-sentence-id="284996" class="ldml-sentence"&gt;On review, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; noted the question reserved in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_284996"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. at 890&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2749-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and prefaced its discussion by distinguishing Mississippi's statutory death penalty scheme:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="285208" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="285208" data-sentence-id="285208" class="ldml-sentence"&gt;In Mississippi, unlike the Georgia scheme considered in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_285208"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the finding of aggravating factors is part of the jury's sentencing determination, and the jury is required to weigh any mitigating factors against the aggravating circumstances.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="285450" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="285450" data-sentence-id="285458" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Clemons&lt;/span&gt;, &lt;span class="ldml-cite"&gt;494 U.S. at 745&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1446&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnote omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="285450" data-sentence-id="285522" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; then explicitly rejected the rationale upon which the majority resolves issue thirteen in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, see maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 284, 285-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and held that where an aggravating factor is invalidated but another aggravating factor remains, "&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;n automatic rule of affirmance in a weighing State would be invalid under Lockett v. Ohio, 438&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="285858" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="285858" data-sentence-id="285858" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 328&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="285866" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="285866" data-sentence-id="285867" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:us586,98sct2954,57led2d9731978" data-prop-ids="sentence_285867"&gt;&lt;span class="ldml-refname"&gt;U.S. 586&lt;/span&gt;, &lt;span class="ldml-cite"&gt;98 S.Ct. 2954&lt;/span&gt;, &lt;span class="ldml-cite"&gt;57 L.Ed.2d 973&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888803284" data-vids="888803284" class="ldml-reference" data-prop-ids="sentence_285867"&gt;&lt;span class="ldml-refname"&gt;Eddings v. Oklahoma&lt;/span&gt;, &lt;span class="ldml-cite"&gt;455 U.S. 104&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 S.Ct. 869&lt;/span&gt;, &lt;span class="ldml-cite"&gt;71 L.Ed.2d 1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, for it would not give &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; the individualized treatment that would result from actual reweighing of the mix of mitigating factors and aggravating circumstances."&lt;/span&gt; &lt;span data-paragraph-id="285866" data-sentence-id="286158" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_285867"&gt;&lt;span class="ldml-refname"&gt;Clemons&lt;/span&gt;, &lt;span class="ldml-cite"&gt;494 U.S. at 752&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1450&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="285866" data-sentence-id="286203" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; approved the constitutionality of harmless error analysis or actual reweighing of aggravating and mitigating circumstances by &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt; reviewing death sentences, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_286203"&gt;&lt;span class="ldml-cite"&gt;id. at 748-50&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1448-49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; vacated the death penalty judgment and remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for a proper reweighing, if appropriate under Mississippi law, by the &lt;span class="ldml-entity"&gt;Mississippi Supreme Court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_286203"&gt;&lt;span class="ldml-cite"&gt;id. at 752&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1450&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="285866" data-sentence-id="286626" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; took care to note that the permissibility of &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt;'s reweighing of aggravating and mitigating circumstances was for &lt;span class="ldml-entity"&gt;state supreme courts&lt;/span&gt; to decide, and recognized that such &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; might conclude that reweighing or harmless error analysis was &lt;span class="ldml-quotation quote"&gt;"extremely speculative or impossible."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="285866" data-sentence-id="286930" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_286626"&gt;&lt;span class="ldml-cite"&gt;Id. at 754&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1451&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="286961" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="286961" data-sentence-id="286969" class="ldml-sentence"&gt;In a concurrence and dissent, four members of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; took issue with the majority's approval of the reweighing of aggravating and mitigating circumstances by &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="286961" data-sentence-id="287148" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_286969"&gt;&lt;span class="ldml-cite"&gt;Id. at 756-74&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1452-62&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Blackmun, J., dissenting)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="286961" data-sentence-id="287212" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;Blackmun&lt;/span&gt;&lt;/span&gt; cogently wrote:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="287245" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="287245" data-sentence-id="287253" class="ldml-sentence"&gt;If a jury's verdict rests in part upon a constitutionally impermissible aggravating factor, and &lt;span class="ldml-entity"&gt;the State&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;appellate court&lt;/span&gt; upholds the death sentence based upon its own reweighing of legitimate aggravating and mitigating circumstances, &lt;span class="ldml-entity"&gt;the appellate court&lt;/span&gt;, in any real sense, has not approved or affirmed the verdict of the jury.&lt;/span&gt; &lt;span data-paragraph-id="287245" data-sentence-id="287584" class="ldml-sentence"&gt;Rather, the reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; in that situation has assumed for itself the role of sentencer.&lt;/span&gt; &lt;span data-paragraph-id="287245" data-sentence-id="287676" class="ldml-sentence"&gt;The logical implication of the majority's approach is that no trial-level sentencing procedure need be conducted at all.&lt;/span&gt; &lt;span data-paragraph-id="287245" data-sentence-id="287797" class="ldml-sentence"&gt;Instead, the record of a capital trial &lt;span class="ldml-parenthetical"&gt;(including a sentencing hearing conducted before &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; reporter)&lt;/span&gt; might as well be shipped to &lt;span class="ldml-entity"&gt;the appellate court&lt;/span&gt;, which then would determine the appropriate sentence in the first instance.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="288027" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="288027" data-sentence-id="288035" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 762-63&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1455-56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="288027" data-sentence-id="288072" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;Blackmun&lt;/span&gt;&lt;/span&gt; then pointed out the fundamental flaw in allowing &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt; to reweigh aggravating and mitigating factors, emphasizing that &lt;span class="ldml-quotation quote"&gt;"both &lt;span class="ldml-entity"&gt;this Court&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the Supreme Court of Mississippi&lt;/span&gt; repeatedly have emphasized that &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt; are institutionally incapable of fulfilling the distinct functions performed by trial judges and juries,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_288072"&gt;&lt;span class="ldml-cite"&gt;id. at 765&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1457&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnote omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, and concluding that the majority's approval of appellate reweighing of aggravating and mitigating circumstances &lt;span class="ldml-quotation quote"&gt;"flies in the face of &lt;span class="ldml-entity"&gt;this Court&lt;/span&gt;'s prior warnings concerning the institutional limitations of &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt;,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_288072"&gt;&lt;span class="ldml-cite"&gt;id. at 773&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. at 1461&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnote omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="288027" data-sentence-id="288754" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;10&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="288757" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="288757" data-sentence-id="288765" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Mississippi Supreme Court&lt;/span&gt; apparently found Justice Blackmun's concurrence and dissent convincing in view of Mississippi's statutory death penalty scheme.&lt;/span&gt; &lt;span data-paragraph-id="288757" data-sentence-id="288923" class="ldml-sentence"&gt;On remand for a better articulation of the &lt;span class="ldml-entity"&gt;Mississippi Supreme Court&lt;/span&gt;'s reweighing of the aggravating and mitigating circumstances or other rationale, that &lt;span class="ldml-entity"&gt;court&lt;/span&gt; began by delineating a threshold question:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="289127" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="289127" data-sentence-id="289127" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[P]&lt;/span&gt;reliminary to any attempt &lt;span class="ldml-entity"&gt;we&lt;/span&gt; make on remand to clarify our analysis in upholding the death sentence, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must decide, as a matter of state law, our authority to reweigh aggravating and mitigating circumstances in order to uphold a death sentence which is based in part upon an improperly defined aggravating circumstance.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="289451" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="289451" data-sentence-id="289459" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894811603" data-vids="894811603" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Clemons v. State&lt;/span&gt;, &lt;span class="ldml-cite"&gt;593 So.2d 1004, 1005&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Miss.&lt;/span&gt;&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="289451" data-sentence-id="289511" class="ldml-sentence"&gt;After citing the statutory requirement that a jury impose the death penalty and reviewing other elements of the Mississippi statutory death penalty scheme, the&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="289671" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="289671" data-sentence-id="289671" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 329&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="289679" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="289679" data-sentence-id="289680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt; found &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;'s invitation to reweigh aggravating and mitigating circumstances precluded and held:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="289795" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="289795" data-sentence-id="289795" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;wo things are clear: only the jury, by unanimous decision, can impose the death penalty; as to aggravating circumstances, &lt;span class="ldml-entity"&gt;this Court&lt;/span&gt; only has the authority to determine whether the evidence supports the jury's or judge's finding of a statutory aggravating circumstance.&lt;/span&gt; &lt;span data-paragraph-id="289795" data-sentence-id="290070" class="ldml-sentence"&gt;There is no authority for &lt;span class="ldml-entity"&gt;this Court&lt;/span&gt; to reweigh remaining aggravating circumstances when it finds one or more to be invalid or improperly defined, nor is there authority for &lt;span class="ldml-entity"&gt;this Court&lt;/span&gt; to find evidence to support a proper definition of an aggravating circumstance in order to uphold a death sentence by reweighing.&lt;/span&gt; &lt;span data-paragraph-id="289795" data-sentence-id="290385" class="ldml-sentence"&gt;Finding aggravating and mitigating circumstances, weighing them, and ultimately imposing a death sentence are, by &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, left to a properly instructed jury.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="290544" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="290544" data-sentence-id="290552" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894811603" data-vids="894811603" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;593 So.2d at 1006&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;accord, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895520632" data-vids="895520632" class="ldml-reference" data-prop-ids="embeddedsentence_290630"&gt;&lt;span class="ldml-refname"&gt;State v. Moore&lt;/span&gt;, &lt;span class="ldml-cite"&gt;614 S.W.2d 348, 352&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Tenn.&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"While proof of these convictions was admissible for purposes other than mere reflection upon credibility, these crimes were not properly shown to qualify as aggravating circumstances under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_290844"&gt;&lt;span class="ldml-cite"&gt;T.C.A. § 39-2404&lt;span class="ldml-parenthetical"&gt;(i)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Yet &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were offered for that very purpose and the jury was instructed that one of them did qualify.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; has no way of knowing whether the jury would have imposed the death penalty had &lt;span class="ldml-entity"&gt;they&lt;/span&gt; not been permitted to so consider this evidence in their weighing process."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:454us970,102sct517,70led2d3881981"&gt;&lt;span class="ldml-cite"&gt;454 U.S. 970&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 S.Ct. 517&lt;/span&gt;, &lt;span class="ldml-cite"&gt;70 L.Ed.2d 388&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="290544" data-sentence-id="291185" class="ldml-sentence"&gt;In my opinion, the Colorado statutory death penalty scheme merits the same conclusion as that reached in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894811603" data-vids="894811603" class="ldml-reference" data-prop-ids="sentence_291185"&gt;&lt;span class="ldml-refname"&gt;Clemons&lt;/span&gt;, &lt;span class="ldml-cite"&gt;593 So.2d at 1006&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="291319" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="291319" data-sentence-id="291319" class="ldml-sentence"&gt;2.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="291322" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="291322" data-sentence-id="291330" class="ldml-sentence"&gt;On another occasion, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; described Colorado's death penalty &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; as a multi-step process, where the jury must determine first &lt;span class="ldml-quotation quote"&gt;"if at least one of the statutory aggravating factors exists,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_291330"&gt;&lt;span class="ldml-refname"&gt;Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d at 789&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;, -103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, so as to narrow the group of persons who may be subjected to the death sentence, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_291330"&gt;&lt;span class="ldml-cite"&gt;id. at 791&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="291322" data-sentence-id="291716" class="ldml-sentence"&gt;However, unlike &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; under scrutiny in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_291716"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. at 871-72, 874-75, 914&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2739-40, 2741-42, 2762&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Colorado's death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; aims not just to narrow the class of death-eligible prisoners, but requires the additional step that the jury then weigh aggravating against mitigating factors, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_291716"&gt;&lt;span class="ldml-refname"&gt;Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d at 789, 791&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and precludes a jury verdict of death unless &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;here are insufficient mitigating factors to outweigh the aggravating factor or factors that were proved,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="291322" data-sentence-id="292283" class="ldml-sentence"&gt;In the final analysis, the Colorado death penalty &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; is like that of Mississippi, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894811603" data-vids="894811603" class="ldml-reference" data-prop-ids="sentence_292283"&gt;&lt;span class="ldml-refname"&gt;Clemons&lt;/span&gt;, &lt;span class="ldml-cite"&gt;593 So.2d at 1006&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, in that after weighing aggravating and mitigating factors &lt;span class="ldml-quotation quote"&gt;"the jury makes the ultimate individualized decision on whether death is the appropriate penalty."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="291322" data-sentence-id="292568" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_292283"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez &lt;span class="ldml-parenthetical"&gt;(Rodriguez IV )&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965, 973&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_292283"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="embeddedsentence_292740,sentence_292283"&gt;&lt;span class="ldml-refname"&gt;Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d at 795&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"All of the foregoing considerations and authorities contribute to support the conclusion that Colorado's death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; must be construed to require that the jury must be convinced beyond a reasonable doubt that any mitigating factors do not outweigh the proven statutory aggravating factors before a sentence to death can be imposed."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnote omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="291322" data-sentence-id="293105" class="ldml-sentence"&gt;Under the death penalty process applicable to Rodriguez, the weighing process and decision to implement a death sentence are firmly within the jurors' hands, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;, -103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and a judge that considers the jury's verdict to be clearly erroneous only has the authority to sentence &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to life imprisonment, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="293501" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="293501" data-sentence-id="293509" class="ldml-sentence"&gt;The jury in Rodriguez's case found six aggravating factors.&lt;/span&gt; &lt;span data-paragraph-id="293501" data-sentence-id="293569" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_293509"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 284&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="293501" data-sentence-id="293586" class="ldml-sentence"&gt;In Rodriguez IV, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; invalidated the aggravating factor that the commission of the crime was &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'especially heinous, cruel or depraved.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="293501" data-sentence-id="293732" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_293586"&gt;&lt;span class="ldml-cite"&gt;794 P.2d at 965, 982-83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_293586"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(j)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="293501" data-sentence-id="293803" class="ldml-sentence"&gt;Nevertheless, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; concluded that inclusion of the invalid aggravating factor was harmless error, after emphasizing that the evidence was otherwise admissible and noting that the jury had found five other aggravating factors.&lt;/span&gt; &lt;span data-paragraph-id="293501" data-sentence-id="294035" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_294035"&gt;&lt;span class="ldml-cite"&gt;Id. at 983-84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; see also maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 246&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;-&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="294077" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="294077" data-sentence-id="294077" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 330&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="294085" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="294085" data-sentence-id="294086" class="ldml-sentence"&gt;47 n. 4.&lt;/span&gt; &lt;span data-paragraph-id="294085" data-sentence-id="294095" class="ldml-sentence"&gt;I continue to adhere to my dissent in Rodriguez IV that the majority's harmless error analysis amounted to &lt;span class="ldml-quotation quote"&gt;"no more than a guess as to what the jury might have decided had it been properly instructed."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="294085" data-sentence-id="294298" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_294095"&gt;&lt;span class="ldml-cite"&gt;Id. at 1000&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Lohr, J., dissenting)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;internal quotation marks and citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="embeddedsentence_294461,sentence_294095"&gt;&lt;span class="ldml-refname"&gt;Zant&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. at 916&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2763&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Marshall, J., dissenting)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"There is simply no way for &lt;span class="ldml-entity"&gt;this Court&lt;/span&gt; to know whether the jury would have sentenced &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; to death if the unconstitutional statutory aggravating circumstance had not been included in the judge's charge.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;If it is important for &lt;span class="ldml-entity"&gt;the State&lt;/span&gt; to authorize and for &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to request the submission of a particular statutory aggravating circumstance to the jury, &lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-entity"&gt;we&lt;/span&gt; must assume that in some &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[that circumstance]&lt;/span&gt; will be decisive in the &lt;span class="ldml-parenthetical"&gt;[jury's]&lt;/span&gt; choice between a life sentence and a death sentence.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885597135" data-vids="885597135" class="ldml-reference" data-prop-ids="sentence_294095"&gt;&lt;span class="ldml-refname"&gt;Gardner v. Florida&lt;/span&gt;, &lt;span class="ldml-cite"&gt;430 U.S. 349, 359&lt;/span&gt;, &lt;span class="ldml-cite"&gt;97 S.Ct. 1197, 1205&lt;/span&gt;, &lt;span class="ldml-cite"&gt;51 L.Ed.2d 393&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Stevens, J.)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="295082" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="295082" data-sentence-id="295090" class="ldml-sentence"&gt;Regardless, the majority mistakenly insists that only benign implications stem from &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s vacation of Rodriguez' duplicative convictions and the majority's affirmance of that vacation.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="295287" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_295090"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 284-85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="295307" class="ldml-sentence"&gt;The majority characterizes the vacation of Rodriguez' duplicative convictions as an innocuous technicality, in that all of the underlying evidence supporting the vacated convictions was otherwise admissible.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="295515" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_295307"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 285-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="295535" class="ldml-sentence"&gt;As I have indicated however, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_295535"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt; &lt;span class="ldml-cite"&gt;part I&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the majority's analysis ignores the responsibility of jurors in capital &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; in Colorado to weigh aggravating factors against mitigating factors.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="295731" class="ldml-sentence"&gt;The existence of a conviction can in itself result in a jury concluding that an aggravating factor exists, regardless of the general admissibility of the underlying evidence.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="295906" class="ldml-sentence"&gt;For example, the jury in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; was instructed specifically that convictions did not in themselves constitute aggravating circumstances, &lt;span class="ldml-quotation quote"&gt;"except as required "&lt;/span&gt; by the alleged felony murder aggravating factor.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="296117" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="296135" class="ldml-sentence"&gt;The jury may have interpreted this instruction alone to require that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; find the existence of a felony murder aggravating factor based solely on Rodriguez's subsequently vacated felony murder conviction.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="296341" class="ldml-sentence"&gt;Although the jurors may have reached their aggravating factor conclusions independently, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will never know whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; arrived at their felony murder aggravating factor conclusion based on full analysis and discussion or whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; simply found the automatic existence of that aggravating factor based on the aforementioned jury instruction.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="296687" class="ldml-sentence"&gt;Even assuming that the jury did not read the relevant instruction to require an automatic finding of the existence of a felony murder aggravating factor, the convictions themselves may have been considered by the jury during their decisions to lend certain aggravating factors greater importance in the weighing process.&lt;/span&gt; &lt;span data-paragraph-id="295082" data-sentence-id="297008" class="ldml-sentence"&gt;For these reasons, the majority errs in focusing on the admissibility of the underlying evidence and disregarding the potency of the actual convictions.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="297161" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="297161" data-sentence-id="297169" class="ldml-sentence"&gt;In short, &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s existing invalidation of one of the aggravating factors in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_297169"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 982-83, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; the admitted questions surrounding two other aggravating factors and their potential invalidity, maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 284&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt;'s suggestion in Zant, Johnson, and Clemons, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see discussion in&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_297169"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt; &lt;span class="ldml-cite"&gt;part I&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, that a potentially erroneous aggravating circumstance finding, even when based on otherwise admissible evidence, renders a death sentence infirm when the jurors' statutory role is to weigh aggravating circumstances against mitigating circumstances, together preclude the continued disregard of the fundamental errors of law in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; under the banner of &lt;span class="ldml-quotation quote"&gt;"harmless error,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_297169"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 983-84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="297161" data-sentence-id="297952" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;11&lt;/sup&gt; After all, the jury instruction in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; directed that &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f one or more jurors finds sufficient mitigating factor or factors exist that outweigh a specified aggravating factor or factors, then the result is a sentence of life imprisonment.'&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="297161" data-sentence-id="298206" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_297952"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 981-82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_297952"&gt;&lt;span class="ldml-refname"&gt;Jury Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="297161" data-sentence-id="298274" class="ldml-sentence"&gt;In Rodriguez's case, with one aggravating factor invalidated and the validity of another two aggravating factors preserved only by hypothesizing&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="298419" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="298419" data-sentence-id="298419" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 331&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="298427" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="298427" data-sentence-id="298428" class="ldml-sentence"&gt;the jury's deliberation process, only three aggravating factors remain and it is unreasonable for &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; to reweigh aggravating and mitigating factors or continue to dismiss this impact as harmless error considering the jurors' mandate to weigh aggravating factors against mitigating factors before &lt;span class="ldml-entity"&gt;they&lt;/span&gt; impose a sentence of death.&lt;/span&gt; &lt;span data-paragraph-id="298427" data-sentence-id="298764" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;12&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="298767" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="298767" data-sentence-id="298775" class="ldml-sentence"&gt;Even if the evidence was otherwise admissible, it is the jurors' role to weigh aggravating factors, and &lt;span class="ldml-entity"&gt;an appellate court&lt;/span&gt; has no way of discerning what use the jury made of improper convictions in finding the existence of certain aggravating factors.&lt;/span&gt; &lt;span data-paragraph-id="298767" data-sentence-id="299027" class="ldml-sentence"&gt;This fundamental problem is particularly acute in the context of a capital case, which requires a heightened degree of sentencing reliability.&lt;/span&gt; &lt;span data-paragraph-id="298767" data-sentence-id="299170" class="ldml-sentence"&gt;In view of the applicable &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; precedent&lt;/span&gt;, the questions surrounding several aggravating factors in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, the invalidation of the &lt;span class="ldml-quotation quote"&gt;"especially heinous, cruel, or depraved"&lt;/span&gt; aggravating factor relied upon by the jurors, and this state's statutory death penalty requirement that jurors exclusively must weigh aggravating factors against mitigating factors before &lt;span class="ldml-entity"&gt;they&lt;/span&gt; reach a death sentence verdict, I would vacate Rodriguez's death penalty and remand for the imposition of a sentence to life imprisonment.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="II." data-id="heading_299700" data-ordinal_start="2" data-ordinal_end="2" data-specifier="II" id="heading_299700" data-content-heading-label="II.
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="299700" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="299700" data-sentence-id="299700" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="299704" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="299704" data-sentence-id="299712" class="ldml-sentence"&gt;The General Assembly mandated that jurors in capital &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; weigh aggravating factors against mitigating factors before rendering a death sentence.&lt;/span&gt; &lt;span data-paragraph-id="299704" data-sentence-id="299859" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_299712"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="299704" data-sentence-id="299900" class="ldml-sentence"&gt;Where jurors are obligated to weigh aggravating and mitigating factors before imposing a death sentence, the balance can be tipped when an aggravating factor is invalidated or questioned, even if another valid aggravating factor remains and the underlying evidence is otherwise admissible.&lt;/span&gt; &lt;span data-paragraph-id="299704" data-sentence-id="300190" class="ldml-sentence"&gt;In such circumstances, there are qualitatively different implications in comparison to &lt;span class="ldml-entity"&gt;a statutory scheme&lt;/span&gt; that simply requires jurors to determine whether one aggravating circumstance exists in order for a criminal to become death eligible.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="300431" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="300431" data-sentence-id="300439" class="ldml-sentence"&gt;Although this distinction does not attract the support of a majority of &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="300524" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="300524" data-sentence-id="300524" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 332&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="300532" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="300532" data-sentence-id="300533" class="ldml-sentence"&gt;members, it is not the only issue of concern in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="300532" data-sentence-id="300592" class="ldml-sentence"&gt;Absent the requested relief of vacation of the death penalty, &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; should be remanded to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for evidentiary hearings and the resolution of several issues.&lt;/span&gt; &lt;span data-paragraph-id="300532" data-sentence-id="300768" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[u]&lt;/span&gt;nless the motion and the files and record of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; show to the satisfaction of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that the prisoner is not entitled to relief, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall cause a copy of said motion to be served on the prosecuting attorney, grant a prompt hearing thereon, and take whatever evidence is necessary for the disposition of the motion."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="300532" data-sentence-id="301134" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="300532" data-sentence-id="301152" class="ldml-sentence"&gt;I recognize that efficiency is a concern, but the penalty of death is irrevocable and must not be imposed in absence of adherence to those procedures presented by our rules to assure full and fair consideration of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s contentions of error.&lt;/span&gt; &lt;span data-paragraph-id="300532" data-sentence-id="301402" class="ldml-sentence"&gt;In my opinion, the following issues warrant more thorough discussions on the merits or a remand for evidentiary hearings pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A." data-id="heading_301553" data-ordinal_start="1" data-ordinal_end="1" data-specifier="A" id="heading_301553" data-content-heading-label="A.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="301553" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="301553" data-sentence-id="301553" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="301556" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="301556" data-sentence-id="301564" class="ldml-sentence"&gt;The majority considers as a group 110 of the postconviction claims raised by Rodriguez and rejected by &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; on the basis that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had been previously raised and resolved on direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="301556" data-sentence-id="301767" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_301564"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 248&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="301556" data-sentence-id="301784" class="ldml-sentence"&gt;It disposes of ninety-two of those claims by concluding that Rodriguez decided not to reassert them on this appeal and therefore consciously relinquished them.&lt;/span&gt; &lt;span data-paragraph-id="301556" data-sentence-id="301944" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_301784"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 248-49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="301556" data-sentence-id="301964" class="ldml-sentence"&gt;This overlooks the basis of Rodriguez's assertion of error, which is simply that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in concluding, without a hearing on the merits of the claim, that the claims had been previously raised and resolved on direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="301556" data-sentence-id="302205" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;13&lt;/sup&gt; It is not the merit of the claims that is at issue here; it is the correctness of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s ruling&lt;/span&gt; that the claims were previously raised and resolved on direct appeal that is now before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="301556" data-sentence-id="302412" class="ldml-sentence"&gt;This issue has been properly raised by Rodriguez in the present appeal, and I dissent to the majority's refusal to address it.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="302539" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="302539" data-sentence-id="302547" class="ldml-sentence"&gt;In relying on its reassertion rule, the majority avoids addressing several claims that were dismissed by &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; as raised and resolved on direct appeal even though &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not addressed by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; on such appeal.&lt;/span&gt; &lt;span data-paragraph-id="302539" data-sentence-id="302777" class="ldml-sentence"&gt;For example, in ruling on the &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; rejected as raised and resolved on direct appeal Rodriguez's contentions that:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="302928" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="302928" data-sentence-id="302936" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt; VIOLATED THE DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt; AND DENIED MR. RODRIGUEZ DUE PROCESS OF LAW BY GRANTING THE &lt;span class="ldml-entity"&gt;STATE REBUTTAL CLOSING ARGUMENT AND BY REFUSING TO ALLOW MR. RODRIGUEZ SURREBUTTAL ARGUMENT ARGUMENT&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[sic]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="303147" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="303147" data-sentence-id="303147" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="303169" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="303169" data-sentence-id="303177" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS DENIED HIS RIGHTS UNDER THE DUE PROCESS, TRIAL BY JURY, CRUEL AND UNUSUAL PUNISHMENT CLAUSES AND THE DEATH &lt;span class="ldml-entity"&gt;STATUTE&lt;/span&gt; BECAUSE &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; SUBMITTED THE &lt;span class="ldml-quotation quote"&gt;"KILLING A WITNESS"&lt;/span&gt; AGGRAVATING FACTOR TO THE JURY, SINCE THAT FACTOR WAS NEITHER FACTUALLY NOR LEGALLY APPLICABLE TO &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt;, AND SINCE THE INSTRUCTIONS TO THE JURY ON THAT FACTOR WERE MANIFESTLY INCORRECT.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="303552" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="303552" data-sentence-id="303552" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 163&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="303574" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="303574" data-sentence-id="303582" class="ldml-sentence"&gt;THE SUBMISSION OF THE &lt;span class="ldml-quotation quote"&gt;"UNDER SENTENCE OF IMPRISONMENT"&lt;/span&gt; AGGRAVATING FACTOR WAS IMPROPER, SINCE IT DOES NOT APPLY LEGALLY OR FACTUALLY TO &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt;, AND IF IT IS SO INTERPRETED AS TO ARGUABLY APPLY IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt;, IT VIOLATES THE DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="303904" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="303904" data-sentence-id="303904" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 163&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="303926" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="303926" data-sentence-id="303926" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 333&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="303935" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="303935" data-sentence-id="303943" class="ldml-sentence"&gt;THE REFUSAL OF &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; TO CHANGE VENUE IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt; DENIED &lt;span class="ldml-entity"&gt;MR. RODRIGUEZ A FAIR&lt;/span&gt; TRIAL BY IMPARTIAL JURY AND DUE PROCESS OF LAW.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="304073" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="304073" data-sentence-id="304073" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 171&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="304095" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="304095" data-sentence-id="304103" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; dismissed the first of these listed claims by ruling that &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; generally &lt;span class="ldml-quotation quote"&gt;"resolved closing argument claims."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="304095" data-sentence-id="304237" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_304103"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 155&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="304095" data-sentence-id="304257" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; rejected the second and third of these listed claims by holding that &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"resolved against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; all his other claims regarding the jury instructions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="304095" data-sentence-id="304443" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_304257"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 159&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="304095" data-sentence-id="304463" class="ldml-sentence"&gt;Similarly, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; dismissed the last listed claim, a venue assertion, by declaring broadly and without further explanation:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="304599" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="304599" data-sentence-id="304607" class="ldml-sentence"&gt;The &lt;span class="ldml-parenthetical"&gt;[Supreme]&lt;/span&gt; Court also found that &lt;span class="ldml-parenthetical"&gt;[Rodriguez's]&lt;/span&gt; sentence was appropriate.&lt;/span&gt; &lt;span data-paragraph-id="304599" data-sentence-id="304683" class="ldml-sentence"&gt;It found that the evidence against him was overwhelming, that it amply supported the jury's aggravating factors, and that the mitigating factors did not outweigh the aggravating factors.&lt;/span&gt; &lt;span data-paragraph-id="304599" data-sentence-id="304870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also found that the murder was particularly brutal and pitiless, that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; demonstrated no remorse, that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had a serious criminal record, and that the jury did not impose the sentence under the influence of passion, prejudice, or any other arbitrary factor.&lt;/span&gt; &lt;span data-paragraph-id="304599" data-sentence-id="305159" class="ldml-sentence"&gt;As a result, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; concludes that the following claims are not available to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; in &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="305281" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="305281" data-sentence-id="305289" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 169&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="305281" data-sentence-id="305309" class="ldml-sentence"&gt;None of the aforementioned examples was in fact raised and resolved by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; on direct appeal in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890082330" data-vids="890082330" class="ldml-reference" data-prop-ids="sentence_305309"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 964, 964-65&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez III&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_305309"&gt;&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 965-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the only &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; referenced by &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; in dismissing Rodriguez's 110 claims as raised and resolved, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_305309"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 155&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="305651" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="305651" data-sentence-id="305659" class="ldml-sentence"&gt;These examples illustrate the need for more specific findings detailing &lt;span class="ldml-entity"&gt;the holdings of &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;&lt;/span&gt; that are relied upon to establish whether each of the 110 claims has been raised and resolved.&lt;/span&gt; &lt;span data-paragraph-id="305651" data-sentence-id="305853" class="ldml-sentence"&gt;A hearing should be permitted to assist &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; in determining whether particular claims have been raised and resolved.&lt;/span&gt; &lt;span data-paragraph-id="305651" data-sentence-id="305984" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; contemplates just such a procedure:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="306031" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="306031" data-sentence-id="306031" class="ldml-sentence"&gt;Unless the motion and the files and record of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; show to the satisfaction of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that the prisoner is not entitled to relief, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall cause a copy of said motion to be served on the prosecuting attorney, grant a prompt hearing thereon, and take whatever evidence is necessary for the disposition of the motion.&lt;/span&gt; &lt;span data-paragraph-id="306031" data-sentence-id="306362" class="ldml-sentence"&gt;In all &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall determine the issues and make findings of fact and conclusions of law with respect thereto.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="306484" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="306484" data-sentence-id="306492" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_306510"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;quoted in relevant parts&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="306484" data-sentence-id="306537" class="ldml-sentence"&gt;For these reasons, I would remand issue one for a more detailed and accurate analysis or address the remaining ninety-two issues contained within issue one on the merits after dismissing those that were indeed raised and resolved on direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="306484" data-sentence-id="306785" class="ldml-sentence"&gt;As a result, I respectfully dissent from &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_306785"&gt;&lt;span class="ldml-cite"&gt;part II&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority opinion and its disposition of Rodriguez's issue one.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B." data-id="heading_306907" data-ordinal_start="2" data-ordinal_end="2" data-specifier="B" id="heading_306907" data-content-heading-label="B.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="306907" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="306907" data-sentence-id="306907" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="306910" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="306910" data-sentence-id="306918" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_306918"&gt;&lt;span class="ldml-cite"&gt;section II&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of its opinion, the majority dismisses issue three as an attack on the constitutionality of the death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;sup class="ldml-superscript"&gt;14&lt;/sup&gt; an issue previously resolved by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="306910" data-sentence-id="307101" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_306918"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 249-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="306910" data-sentence-id="307121" class="ldml-sentence"&gt;However, although the majority correctly dismisses issues 6, 7, 8, and 87 as attacks on the constitutionality of the death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, maj. op. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_307121"&gt;&lt;span class="ldml-cite"&gt;at ----&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the majority incorrectly assumes that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly characterized the questions contained within issue three as redundant attacks on the constitutionality of the death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="306910" data-sentence-id="307478" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; again swept away discrete issues by generalizing broadly:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="307555" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="307555" data-sentence-id="307563" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Colorado Supreme Court&lt;/span&gt; has previously construed &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.S. 16-11-103, 8A &lt;span class="ldml-parenthetical"&gt;(1986 Repl.Vol.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, applicable here and as it existed prior to the July 1, &lt;span class="ldml-entity"&gt;1988 &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt;&lt;/span&gt;, consistent with the United States and Colorado constitutions.&lt;/span&gt; &lt;span data-paragraph-id="307555" data-sentence-id="307788" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;People&lt;/span&gt; v. Tenneson,&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="307808" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="307808" data-sentence-id="307808" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 334&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="307816" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="307816" data-sentence-id="307817" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;788 P.2d 786&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;People v. Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:498us1018111sct662,112led2d6561991"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1018&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-cite"&gt;111 S.Ct. 662&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 656&lt;/span&gt;]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="307816" data-sentence-id="307955" class="ldml-sentence"&gt;As a result, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s attacks on the constitutionality of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; are denied, as &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; has previously resolved them against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s position....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="308123" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="308123" data-sentence-id="308131" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 209&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="308123" data-sentence-id="308151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; then detailed the specific claims asserted by Rodriguez in his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; determined to have been previously resolved.&lt;/span&gt; &lt;span data-paragraph-id="308123" data-sentence-id="308314" class="ldml-sentence"&gt;In doing so, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; included assertions by Rodriguez that were not addressed in either &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_308314"&gt;&lt;span class="ldml-refname"&gt;Tenneson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d at 786-800&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_308314"&gt;&lt;span class="ldml-refname"&gt;People v. Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159, 159-213&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:498us1018111sct662,112led2d6561991" data-prop-ids="sentence_308314"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1018&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 662&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 656&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, including case-specific attacks on motion denials.&lt;/span&gt; &lt;span data-paragraph-id="308123" data-sentence-id="308611" class="ldml-sentence"&gt;For example, Rodriguez unsuccessfully argued that, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;court&lt;/span&gt; erred by refusing to grant the motion to death qualify the judge."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="308123" data-sentence-id="308742" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_308611"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 209&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="308123" data-sentence-id="308762" class="ldml-sentence"&gt;The correctness of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s characterization of the questions contained within issue three as attacks on the constitutionality of the death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; is precisely the issue that Rodriguez is concerned with, and &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; should have reviewed that characterization for accuracy, rejecting those claims settled in Tenneson and Davis and addressing the remainder on the merits or remanding for such consideration, rather than accepting &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s characterization at face value and rejecting issue three as an attack on the constitutionality of the death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="308123" data-sentence-id="309362" class="ldml-sentence"&gt;As a result, I respectfully dissent from the majority's disposition of Rodriguez's issue three in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_309362"&gt;&lt;span class="ldml-cite"&gt;part II&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority opinion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C." data-id="heading_309496" data-ordinal_start="3" data-ordinal_end="3" data-specifier="C" id="heading_309496" data-content-heading-label="C.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="309496" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="309496" data-sentence-id="309496" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="309499" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="309499" data-sentence-id="309507" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_309507"&gt;&lt;span class="ldml-cite"&gt;part III&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of its opinion, the majority rejects issues 41, 42, 43, 44, 45, and 88 as inadequately raised.&lt;/span&gt; &lt;span data-paragraph-id="309499" data-sentence-id="309614" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_309507"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 252&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="309499" data-sentence-id="309631" class="ldml-sentence"&gt;The majority describes its reasoning in dismissing claims forty-four and eighty-eight:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="309718" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="309718" data-sentence-id="309718" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; can summarily dismiss claims inadequately presented to it, our consideration of such issues on appeal of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s order would effectively grant Rodriguez a successive &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; without also burdening him with the harsher standard of review appropriate to a successive motion.&lt;/span&gt; &lt;span data-paragraph-id="309718" data-sentence-id="310036" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; decline to grant Rodriguez this deference and, instead, uphold &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s dismissal of these claims, regardless of the adequacy of their presentation upon this appeal.&lt;/span&gt; &lt;span data-paragraph-id="309718" data-sentence-id="310217" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; refuse to review the following issues &lt;span class="ldml-parenthetical"&gt;[including forty-four and eighty-eight]&lt;/span&gt; because of Rodriguez' failure to adequately specify the errors and legal grounds for relief at &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; level....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="310422" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="310422" data-sentence-id="310430" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 251&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="310422" data-sentence-id="310467" class="ldml-sentence"&gt;The majority inexplicably never mentions issues 42, 43, or 45 in its litany of claims that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; allegedly dismissed as inadequately raised and yet nevertheless concludes:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="310652" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="310652" data-sentence-id="310660" class="ldml-sentence"&gt;In issue 41, Rodriguez alleges error in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s dismissal of postconviction claims which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; now reasserts in Issues 42, 43, 44, 45, and 88.&lt;/span&gt; &lt;span data-paragraph-id="310652" data-sentence-id="310813" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold these underlying issues to be inadequately presented, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Issue 41.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="310903" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="310903" data-sentence-id="310911" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 252&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="310903" data-sentence-id="310928" class="ldml-sentence"&gt;Notwithstanding the failure to include issues 42, 43, and 45 in the discussion of those claims that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; allegedly dismissed as inadequately raised, the majority affirms &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s alleged dismissal of issues 42, 43, 44, 45, and 88 as inadequately raised.&lt;/span&gt; &lt;span data-paragraph-id="310903" data-sentence-id="311208" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_310928"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 251-52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="311228" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="311228" data-sentence-id="311236" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; did not dismiss issues 42, 43, 44, 45, and 88 as inadequately raised.&lt;/span&gt; &lt;span data-paragraph-id="311228" data-sentence-id="311334" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; dismissed these claims on other grounds, &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; dismissing issues forty-four and eighty-eight as evidentiary issues that were &lt;span class="ldml-quotation quote"&gt;"forfeited"&lt;/span&gt; for failing to raise the issues on direct appeal, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_311334"&gt;&lt;span class="ldml-refname"&gt;R. at v. I&lt;/span&gt;, &lt;span class="ldml-cite"&gt;pp. 191, 190&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and then &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; apparently in the alternative, rejecting both of these claims as well as issues 42, 43, and 45 as nonconstitutional issues, R. at v. I, 212-13.&lt;/span&gt; &lt;span data-paragraph-id="311228" data-sentence-id="311730" class="ldml-sentence"&gt;The majority mistakenly dismisses issues 42, 43, 44, 45 and 88 as inadequately raised, unless the majority's characterization is an independent conclusion in which case at least a modicum of analysis or explanation is warranted.&lt;/span&gt; &lt;span data-paragraph-id="311228" data-sentence-id="311959" class="ldml-sentence"&gt;See maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 250-51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="311228" data-sentence-id="311983" class="ldml-sentence"&gt;Since the majority explicitly rejects &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s waiver rule, maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 253-54 &amp; n. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, issues forty-four and eighty-eight should be remanded for consideration in view of the majority's waiver&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="312188" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="312188" data-sentence-id="312188" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 335&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="312196" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="312196" data-sentence-id="312197" class="ldml-sentence"&gt;pronouncements or &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; should review issue forty-one on the merits &lt;sup class="ldml-superscript"&gt;15&lt;/sup&gt; and determine whether issues 42, 43, 44, 45, and 88 were properly dismissed in the alternative as nonconstitutional issues.&lt;/span&gt; &lt;span data-paragraph-id="312196" data-sentence-id="312397" class="ldml-sentence"&gt;For these reasons, I respectfully dissent from the majority's disposition of issues 41, 42, 43, 44, 45, and 88, as set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_312397"&gt;&lt;span class="ldml-cite"&gt;part III&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority opinion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="D." data-id="heading_312559" data-ordinal_start="4" data-ordinal_end="4" data-specifier="D" id="heading_312559" data-content-heading-label="D.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="312559" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="312559" data-sentence-id="312559" class="ldml-sentence"&gt;D.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="312562" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="312562" data-sentence-id="312570" class="ldml-sentence"&gt;The majority acknowledges that failure to raise an issue on direct appeal will not result in waiver absent an abuse of process, and that abuse of process is an affirmative defense to be pleaded and proved by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="312789" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_312570"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 253 &amp; n. 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="312814" class="ldml-sentence"&gt;However, the majority does not require &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; to meet this burden and instead creates an analytical framework whereby &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s failure to reassert claims in &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;, even where &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; correctly challenges the claims as incorrectly dismissed at &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; level based on faulty waiver principles, constitutes a &lt;span class="ldml-quotation quote"&gt;"conscious relinquishment"&lt;/span&gt; by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="313195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_312814"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 254&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="313212" class="ldml-sentence"&gt;The majority's &lt;span class="ldml-quotation quote"&gt;"conscious relinquishment"&lt;/span&gt; rule, maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 254&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, is particularly surprising considering the majority's admission that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;we&lt;/span&gt; have had little occasion to address &lt;span class="ldml-parenthetical"&gt;[the waiver standard]&lt;/span&gt;,"&lt;/span&gt; and indeed &lt;span class="ldml-quotation quote"&gt;"have addressed the &lt;span class="ldml-parenthetical"&gt;[waiver]&lt;/span&gt; standard only obliquely, through dicta and dismissals of claims."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="313516" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_313212"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 252&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="313533" class="ldml-sentence"&gt;Considering that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he case law and dicta which do address the &lt;span class="ldml-parenthetical"&gt;[waiver]&lt;/span&gt; standard are not easily synthesized,"&lt;/span&gt; maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 252&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, it cannot reasonably be maintained that Rodriguez's understanding of the standard was such that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could consciously decide to relinquish certain claims in failing to reassert them now.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="313847" class="ldml-sentence"&gt;In my opinion, the better course would be to clarify the waiver standard and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to allow &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; to meet the &lt;span class="ldml-quotation quote"&gt;"abuse of process"&lt;/span&gt; burden, or to determine whether &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; satisfied the abuse of process burden based on already submitted materials.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="314108" class="ldml-sentence"&gt;As a result, I respectfully dissent from the majority's rejection of Rodriguez's issues &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2, 57, 65, 80, 99&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;, 99&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;, 99&lt;span class="ldml-parenthetical"&gt;(E)&lt;/span&gt;, 107, 133, 146, and 147&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, contained within &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_314108"&gt;&lt;span class="ldml-cite"&gt;part IV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority opinion.&lt;/span&gt; &lt;span data-paragraph-id="312562" data-sentence-id="314306" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;16&lt;/sup&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="E." data-id="heading_314309" data-ordinal_start="5" data-ordinal_end="5" data-specifier="E" id="heading_314309" data-content-heading-label="E.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="314309" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="314309" data-sentence-id="314309" class="ldml-sentence"&gt;E.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="314312" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="314312" data-sentence-id="314320" class="ldml-sentence"&gt;The majority correctly asserts that the burden is on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to preserve a record for appeal.&lt;/span&gt; &lt;span data-paragraph-id="314312" data-sentence-id="314420" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_314320"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 260&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="314312" data-sentence-id="314437" class="ldml-sentence"&gt;However, the majority glosses over two possible qualifications to this rule in the context of lost jury questionnaires or other record material, and instead scolds &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; for not attempting to prepare a statement based on his recollections of the questionnaires.&lt;/span&gt; &lt;span data-paragraph-id="314312" data-sentence-id="314707" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_314437"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 260&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="314312" data-sentence-id="314724" class="ldml-sentence"&gt;Pointing to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 10&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the majority concludes that Rodriguez &lt;span class="ldml-quotation quote"&gt;"has not prepared such a statement nor provided &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; with specific assertions of fact or error,"&lt;/span&gt; and therefore holds that &lt;span class="ldml-quotation quote"&gt;"the record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; is sufficient to permit our resolution of the jury selection issues which are properly before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="314312" data-sentence-id="315037" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_314724"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 260&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="315054" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="315054" data-sentence-id="315062" class="ldml-sentence"&gt;First, the burden to preserve portions of the record should not be placed on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; where the judiciary itself is responsible for destroying or losing those parts of the record in question.&lt;/span&gt; &lt;span data-paragraph-id="315054" data-sentence-id="315259" class="ldml-sentence"&gt;The majority's demand that Rodriguez &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;'prepare a statement of the evidence or proceedings from the best available means, including his recollection,'&lt;/span&gt; "&lt;/span&gt; maj. &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 260&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(quoting C.A.R. 10&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, is completely unrealistic in the context of hundreds of lost jury questionnaires.&lt;/span&gt; &lt;span data-paragraph-id="315054" data-sentence-id="315534" class="ldml-sentence"&gt;In addition, the majority transforms a discretionary option under Colorado's appellate rules, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 10&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"the &lt;span class="ldml-entity"&gt;appellant&lt;/span&gt; may prepare a statement of the evidence or proceedings from the best available means, including his recollection"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, into a mandatory obligation.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="315823" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="315823" data-sentence-id="315831" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Second&lt;/span&gt;, &lt;span class="ldml-cite"&gt;section 13-71-115, 6A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1995 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, adopted after conclusion of the trial in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, requires &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; to retain all&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="315965" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="315965" data-sentence-id="315965" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 336&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="315973" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="315973" data-sentence-id="315974" class="ldml-sentence"&gt;completed questionnaires of prospective jurors.&lt;/span&gt; &lt;span data-paragraph-id="315973" data-sentence-id="316022" class="ldml-sentence"&gt;Although the majority recognizes this, maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 259 n. 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, it makes no effort to examine the legislative history for any indications as to whether the statutory revision simply codified existing practice or legislative expectations.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="316258" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="316258" data-sentence-id="316266" class="ldml-sentence"&gt;In addition, the majority errs in dismissing Rodriguez's ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; claim with regard to lost portions of the record.&lt;/span&gt; &lt;span data-paragraph-id="316258" data-sentence-id="316407" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891654054" data-vids="891654054" class="ldml-reference" data-prop-ids="sentence_316407"&gt;&lt;span class="ldml-refname"&gt;Perry v. Leeke&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; determined that if governmental action actually or constructively denies the assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; altogether, a showing of prejudice is not necessary to establish a violation of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s constitutional right to effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="316258" data-sentence-id="316709" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891654054" data-vids="891654054" class="ldml-reference" data-prop-ids="sentence_316407"&gt;&lt;span class="ldml-refname"&gt;Perry v. Leeke&lt;/span&gt;, &lt;span class="ldml-cite"&gt;488 U.S. 272, 279-80&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. 594, 599-600&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 L.Ed.2d 624&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; see maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 302&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="316258" data-sentence-id="316817" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; makes clear, denial of the assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; altogether is to be evaluated with respect to individual issues or times during the course of the judicial proceedings.&lt;/span&gt; &lt;span data-paragraph-id="316258" data-sentence-id="316999" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_316817"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="316258" data-sentence-id="317003" class="ldml-sentence"&gt;For instance, such denial resulted when &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; forbade &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; from consulting with his attorney during an overnight recess at &lt;span class="ldml-entity"&gt;the conclusion of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;&lt;/span&gt;'s direct examination.&lt;/span&gt; &lt;span data-paragraph-id="316258" data-sentence-id="317189" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886149732" data-vids="886149732" class="ldml-reference" data-prop-ids="sentence_317003"&gt;&lt;span class="ldml-refname"&gt;Geders v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;425 U.S. 80&lt;/span&gt;, &lt;span class="ldml-cite"&gt;96 S.Ct. 1330&lt;/span&gt;, &lt;span class="ldml-cite"&gt;47 L.Ed.2d 592&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="317269" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="317269" data-sentence-id="317277" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;the case before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;&lt;/span&gt;, I do not agree with the majority's conclusion that the judiciary's loss of portions of the record, including lost jury questionnaires, cannot support a claim for ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; with regard to those claims that were dependent upon the lost portions of the record.&lt;/span&gt; &lt;span data-paragraph-id="317269" data-sentence-id="317582" class="ldml-sentence"&gt;The majority states:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="317603" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="317603" data-sentence-id="317603" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;the present case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; of the record did not altogether prevent Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; from assisting Rodriguez in the preparation of his appeal.&lt;/span&gt; &lt;span data-paragraph-id="317603" data-sentence-id="317753" class="ldml-sentence"&gt;On direct appeal, Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; filed a 138-page brief and an appendix listing 102 additional issues.&lt;/span&gt; &lt;span data-paragraph-id="317603" data-sentence-id="317860" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the incompleteness of the record did not amount to an actual or constructive denial of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for which prejudice would be presumed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="318024" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="318024" data-sentence-id="318032" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 303&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="318024" data-sentence-id="318049" class="ldml-sentence"&gt;In my opinion, the number of pages and listed issues in Rodriguez's brief and appendix are of no help in determining whether the judiciary's loss of portions of the record deprived Rodriguez of effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; with respect to claims that are dependent on the missing portions of the record.&lt;/span&gt; &lt;span data-paragraph-id="318024" data-sentence-id="318356" class="ldml-sentence"&gt;I would hold that Rodriguez has a legitimate claim that the judiciary's loss of jury questionnaires prevented him from receiving effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; with regard to those claims that could not be evaluated or substantiated in absence of the lost record material.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="318630" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="318630" data-sentence-id="318638" class="ldml-sentence"&gt;I would qualify &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s burden to preserve the record for appeal where the judiciary is responsible for lost portions of the record, and remand the question of lost portions of the record to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for a hearing on the issue of whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; has suffered prejudice as a result of the missing records.&lt;/span&gt; &lt;span data-paragraph-id="318630" data-sentence-id="318965" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; should consider on the merits Rodriguez's claim that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has not received effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; with regard to any claims that were dependent upon the lost record material, without requiring that Rodriguez establish prejudice, rather than dismissing that claim in part because Rodriguez did receive effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; on certain unrelated claims.&lt;/span&gt; &lt;span data-paragraph-id="318630" data-sentence-id="319358" class="ldml-sentence"&gt;For these reasons, I respectfully dissent from &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_319358"&gt;&lt;span class="ldml-cite"&gt;parts VI&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, VI&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;, and XVIII of the majority's opinion, including its disposition of issues 53, 54, 58, 65, and 81.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="F." data-id="heading_319522" data-ordinal_start="6" data-ordinal_end="6" data-specifier="F" id="heading_319522" data-content-heading-label="F.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="319522" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="319522" data-sentence-id="319522" class="ldml-sentence"&gt;F.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="319525" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="319525" data-sentence-id="319533" class="ldml-sentence"&gt;Addressing Rodriguez's issue sixty-one, the majority concedes that his allegations, if true, would establish a violation of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_319533"&gt;&lt;span class="ldml-cite"&gt;Uniform Jury Selection and Service Act, §§ 13-71-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -122, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;6A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but dismisses the need for a hearing by framing the claims as nonconstitutional issues.&lt;/span&gt; &lt;span data-paragraph-id="319525" data-sentence-id="319829" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_319533"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 262-63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="319525" data-sentence-id="319849" class="ldml-sentence"&gt;Because fundamental errors in the jury selection process can implicate constitutional norms such as due process concerns or the right to a jury trial, a hearing is necessary to determine whether the alleged errors indeed occurred.&lt;/span&gt; &lt;span data-paragraph-id="319525" data-sentence-id="320080" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_319849"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="319525" data-sentence-id="320102" class="ldml-sentence"&gt;I would remand issue sixty-one to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for a hearing on the merits of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_320102"&gt;&lt;span class="ldml-cite"&gt;Rodriguez's Uniform Jury Selection and Service Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; claim&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="319525" data-sentence-id="320244" class="ldml-sentence"&gt;For this reason, I respectfully dissent from the majority's disposition&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="320316" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="320316" data-sentence-id="320316" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 337&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="320324" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="320324" data-sentence-id="320325" class="ldml-sentence"&gt;of issue sixty-one, contained within &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_320325"&gt;&lt;span class="ldml-cite"&gt;part IV&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority's opinion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="G." data-id="heading_320400" data-ordinal_start="7" data-ordinal_end="7" data-specifier="G" id="heading_320400" data-content-heading-label="G.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="320400" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="320400" data-sentence-id="320400" class="ldml-sentence"&gt;G.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="320403" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="320403" data-sentence-id="320411" class="ldml-sentence"&gt;The majority engages in a cursory analysis of issue thirty-eight, without any specific references to the record or elaboration.&lt;/span&gt; &lt;span data-paragraph-id="320403" data-sentence-id="320539" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_320411"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 267&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="320403" data-sentence-id="320556" class="ldml-sentence"&gt;The majority characterizes issue thirty-eight as a due process claim.&lt;/span&gt; &lt;span data-paragraph-id="320403" data-sentence-id="320626" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_320556"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 267&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="320403" data-sentence-id="320643" class="ldml-sentence"&gt;However, Rodriguez's issue thirty-eight extended beyond due process questions:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="320722" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="320722" data-sentence-id="320730" class="ldml-sentence"&gt;THE RESTRICTIONS ON DEFENSE &lt;span class="ldml-entity"&gt;COUNSEL&lt;/span&gt;'S CROSS-EXAMINATION AND IMPEACHMENT OF &lt;span class="ldml-entity"&gt;PATRICIA THOMAS&lt;/span&gt; VIOLATED THE CONFRONTATION, CRUEL AND UNUSUAL PUNISHMENT AND DUE PROCESS CLAUSES OF THE FEDERAL AND COLORADO CONSTITUTIONS.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="320945" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="320945" data-sentence-id="320953" class="ldml-sentence"&gt;Appendix A to maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="320945" data-sentence-id="320984" class="ldml-sentence"&gt;Within issue thirty-eight, Rodriguez raised several discrete contentions, including that:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="321074" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="321074" data-sentence-id="321074" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; demonstrated a complete misunderstanding of the &lt;span class="ldml-quotation quote"&gt;"collateral impeachment"&lt;/span&gt; rule.&lt;/span&gt; &lt;span data-paragraph-id="321074" data-sentence-id="321169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; repeatedly refused to allow defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to ask questions which went directly to the bias of the witness, &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; to her interests and motives in testifying as &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="321352" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="321352" data-sentence-id="321360" class="ldml-sentence"&gt;....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="321365" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="321365" data-sentence-id="321373" class="ldml-sentence"&gt;... The numerous discovery violations by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; went totally unsanctioned by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, to the enormous prejudice to Mr. Rodriguez' fundamental rights.&lt;/span&gt; &lt;span data-paragraph-id="321365" data-sentence-id="321528" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;'s refusal to grant a continuance at any time, or even to delay the cross examination of Ms. Thomas after the latest of these many intentional attempts by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; to subvert the truth-seeking function of the trial &lt;span class="ldml-parenthetical"&gt;[through alleged discovery violations]&lt;/span&gt;, or even to grant Mr. Rodriguez any relief or to sanction &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; when its misconduct and lies became evident during the examination of Ms. Thomas, fully protected &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s efforts....&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="321982" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="321982" data-sentence-id="321990" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:appellantcross-appelleesopeningbriefat145-46,peoplevrodriguezno91sa112march9,1995"&gt;&lt;span class="ldml-refname"&gt;Appellant/Cross-Appellee's Opening Brief at 145-46, People v. Rodriguez&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cite"&gt;No. 91SA112&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;March 9, 1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="321982" data-sentence-id="322093" class="ldml-sentence"&gt;Rather than engage in any discussion of Rodriguez's claims, the majority simply notes the principle that &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; has discretion to determine the scope and limits of cross-examination and summarily concludes that its review of the record discloses no abuse of trial discretion.&lt;/span&gt; &lt;span data-paragraph-id="321982" data-sentence-id="322376" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_322093"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 267&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="321982" data-sentence-id="322393" class="ldml-sentence"&gt;Because issue thirty-eight requires a substantive discussion on the merits of the claim, I respectfully dissent from issue thirty-eight in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_322393"&gt;&lt;span class="ldml-cite"&gt;part VII&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority opinion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="H." data-id="heading_322572" data-ordinal_start="8" data-ordinal_end="8" data-specifier="H" id="heading_322572" data-content-heading-label="H.
" data-format="upper_case_letters" data-parsed="true"&gt;&lt;span data-paragraph-id="322572" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="322572" data-sentence-id="322572" class="ldml-sentence"&gt;H.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="322575" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="322575" data-sentence-id="322583" class="ldml-sentence"&gt;In issue thirty-one, Rodriguez contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred in refusing to grant a continuance so that the defense could secure the testimony of &lt;span class="ldml-entity"&gt;Sam Cruz&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="322575" data-sentence-id="322748" class="ldml-sentence"&gt;Cruz allegedly would have testified that the knife admitted into evidence was given by him to &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; as a birthday present.&lt;/span&gt; &lt;span data-paragraph-id="322575" data-sentence-id="322881" class="ldml-sentence"&gt;See maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="322575" data-sentence-id="322902" class="ldml-sentence"&gt;One of Rodriguez's main lines of defense was that &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;, the boyfriend of &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;, was the actual killer of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="322575" data-sentence-id="323046" class="ldml-sentence"&gt;Evidence that Thomas owned the murder weapon could have cast significant doubt on Thomas's credibility and the jury's determination regarding who wielded the knife during the murder.&lt;/span&gt; &lt;span data-paragraph-id="322575" data-sentence-id="323229" class="ldml-sentence"&gt;Furthermore, in view of the multiple stab wounds and vicious nature of this killing, the jury's finding that Rodriguez was the killer could in turn have been highly prejudicial during the sentencing phase of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="323448" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="323448" data-sentence-id="323456" class="ldml-sentence"&gt;The majority reasons that there was no abuse of discretion because &lt;span class="ldml-entity"&gt;Mary Compos&lt;/span&gt; had already testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; saw Thomas in possession of a knife that Thomas received as a birthday present, that Compos' testimony indicated that the birthday knife had the same brand or model marking as the murder knife, and that Cruz' testimony would therefore have been cumulative.&lt;/span&gt; &lt;span data-paragraph-id="323448" data-sentence-id="323823" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_323456"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 268-69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="323448" data-sentence-id="323843" class="ldml-sentence"&gt;However, there is a substantial difference between testimony that Thomas possessed a knife with the same general brand or model marking and testimony that Thomas possessed the knife that was used in the murder.&lt;/span&gt; &lt;span data-paragraph-id="323448" data-sentence-id="324054" class="ldml-sentence"&gt;Here, the murder weapon was uniquely characterized by a defective locking mechanism.&lt;/span&gt; &lt;span data-paragraph-id="323448" data-sentence-id="324139" class="ldml-sentence"&gt;See r. at v.31, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_324139"&gt;&lt;span class="ldml-cite"&gt;pp. 48-51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="323448" data-sentence-id="324166" class="ldml-sentence"&gt;Although Compos testified that the birthday knife and the murder knife had the same brand or model markings, only Cruz could potentially have testified that the knife given&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="324339" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="324339" data-sentence-id="324339" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Page 338&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="324347" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="324347" data-sentence-id="324348" class="ldml-sentence"&gt;to Thomas for her birthday had the same defective locking mechanism, thereby providing strong evidence that Thomas's knife was the murder weapon.&lt;/span&gt; &lt;span data-paragraph-id="324347" data-sentence-id="324494" class="ldml-sentence"&gt;Cruz's potential testimony cannot be considered cumulative evidence, especially in view of the crucial nature of Thomas' testimony for &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, and the majority is disingenuous in arguing that Rodriguez has not shown that the continuance denial &lt;span class="ldml-quotation quote"&gt;"prevented him from effectively impeaching Thomas."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="324347" data-sentence-id="324799" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_324494"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="324347" data-sentence-id="324816" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;17&lt;/sup&gt; Because Cruz's testimony may not have been cumulative, I would remand issue thirty-one for an evidentiary hearing regarding the potential testimony and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s decision&lt;/span&gt; to deny the &lt;span class="ldml-entity"&gt;motion for continuance&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="324347" data-sentence-id="325038" class="ldml-sentence"&gt;For this reason, I respectfully dissent from the majority's disposition of issue thirty-one, contained within &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_325038"&gt;&lt;span class="ldml-cite"&gt;part VII&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the majority opinion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="III." data-id="heading_325185" data-ordinal_start="3" data-ordinal_end="3" data-specifier="III" id="heading_325185" data-content-heading-label="III.
" data-format="upper_case_roman_numeral" data-parsed="true"&gt;&lt;span data-paragraph-id="325185" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="325185" data-sentence-id="325185" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="325190" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="325190" data-sentence-id="325198" class="ldml-sentence"&gt;This dissent does not address the majority's opinion comprehensively.&lt;/span&gt; &lt;span data-paragraph-id="325190" data-sentence-id="325268" class="ldml-sentence"&gt;I have singled out issues that appear to be most salient and have concluded that the death penalty imposed on &lt;span class="ldml-entity"&gt;Frank D. Rodriguez&lt;/span&gt; should be vacated and &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; remanded for imposition of a sentence to life imprisonment for reasons explained in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_325268"&gt;&lt;span class="ldml-cite"&gt;part I&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt; &lt;span data-paragraph-id="325190" data-sentence-id="325536" class="ldml-sentence"&gt;At a minimum, the majority's rejection of this conclusion should still require remand to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for resolution of the issues discussed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_325536"&gt;&lt;span class="ldml-cite"&gt;part II&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt; &lt;span data-paragraph-id="325190" data-sentence-id="325711" class="ldml-sentence"&gt;For these reasons, I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="325754" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="325754" data-sentence-id="325754" class="ldml-sentence"&gt;1 Throughout this opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; use the term &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;trial court&lt;/span&gt;"&lt;/span&gt; to refer to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; which presided over the guilt and penalty phases of Rodriguez' trial.&lt;/span&gt; &lt;span data-paragraph-id="325754" data-sentence-id="325903" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; use the term &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;district court&lt;/span&gt;"&lt;/span&gt; to refer to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; which presided over Rodriguez' &lt;span class="ldml-entity"&gt;postconviction motions&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="326012" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="326012" data-sentence-id="326012" class="ldml-sentence"&gt;2 In this opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; use &lt;span class="ldml-quotation quote"&gt;"Rodriguez"&lt;/span&gt; to refer to &lt;span class="ldml-entity"&gt;Frank Rodriguez&lt;/span&gt; and refer to &lt;span class="ldml-entity"&gt;Frank Rodriguez&lt;/span&gt;' &lt;span class="ldml-entity"&gt;brother&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Chris Rodriguez&lt;/span&gt;, by both first and last name.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="326162" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="326162" data-sentence-id="326162" class="ldml-sentence"&gt;3 During the trial, Rodriguez filed an original proceeding challenging &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s orders denying his &lt;span class="ldml-entity"&gt;motion for recusal of the trial judge&lt;/span&gt; and granting &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion to disqualify&lt;/span&gt; &lt;span class="ldml-entity"&gt;the public defender&lt;/span&gt; from representing Rodriguez because of a conflict of interest.&lt;/span&gt; &lt;span data-paragraph-id="326162" data-sentence-id="326443" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:rodriguezvdistrictcourtforthecityandcountyofdenverandhonorablelynnehufnagel,oneofthejudgesthereofno85sa98719p2d699may19,1986" data-prop-ids="sentence_326443"&gt;&lt;span class="ldml-refname"&gt;Rodriguez v. District Court&lt;/span&gt;, &lt;span class="ldml-cite"&gt;719 P.2d 699&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez I&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; held that Rodriguez failed to prove bias, prejudice, or other grounds that warranted disqualification of the trial judge and remanded for a determination of whether Rodriguez voluntarily, knowingly, and intelligently waived his right to conflict-free representation.&lt;/span&gt; &lt;span data-paragraph-id="326162" data-sentence-id="326795" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_326443"&gt;&lt;span class="ldml-cite"&gt;Id. at 702-08&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="326809" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="326809" data-sentence-id="326809" class="ldml-sentence"&gt;4 In Rodriguez IV, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that, in the absence of a limiting instruction, the aggravating factor that &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; committed the offense in an especially heinous, cruel or depraved manner"&lt;/span&gt; violated the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_326809"&gt;&lt;span class="ldml-cite"&gt;Eighth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because that factor failed to provide sufficient guidance to the capital sentencer.&lt;/span&gt; &lt;span data-paragraph-id="326809" data-sentence-id="327116" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_326809"&gt;&lt;span class="ldml-cite"&gt;794 P.2d at 982-83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="326809" data-sentence-id="327136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; concluded that the inclusion of that invalid aggravating factor was harmless beyond a reasonable doubt and did not require that Rodriguez' death sentence be vacated.&lt;/span&gt; &lt;span data-paragraph-id="326809" data-sentence-id="327305" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_327136"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="327308" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="327308" data-sentence-id="327308" class="ldml-sentence"&gt;5 After submission of the appeal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s request for a limited remand to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to determine whether &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; should be required to disclose possibly exculpatory evidence to the defense.&lt;/span&gt; &lt;span data-paragraph-id="327308" data-sentence-id="327533" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890355782" data-vids="890355782" class="ldml-reference" data-prop-ids="sentence_327308"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;786 P.2d 1079&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez II&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="327308" data-sentence-id="327597" class="ldml-sentence"&gt;Following the limited remand, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; must disclose such evidence to Rodriguez.&lt;/span&gt; &lt;span data-paragraph-id="327308" data-sentence-id="327692" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890082330" data-vids="890082330" class="ldml-reference" data-prop-ids="sentence_327597"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 964&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez III&lt;/span&gt; )&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="327755" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="327755" data-sentence-id="327755" class="ldml-sentence"&gt;6 Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 28&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the principal briefs of both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; shall not exceed thirty pages and a reply brief shall not exceed eighteen pages without permission of &lt;span class="ldml-entity"&gt;the appellate court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="327755" data-sentence-id="327937" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; permitted both the defense and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to exceed the page limits imposed by the rule.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="328033" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="328033" data-sentence-id="328033" class="ldml-sentence"&gt;7 The &lt;span class="ldml-quotation quote"&gt;"Partial Opening Brief"&lt;/span&gt; raised errors relating solely to the penalty phase of trial.&lt;/span&gt; &lt;span data-paragraph-id="328033" data-sentence-id="328124" class="ldml-sentence"&gt;The appendix to the &lt;span class="ldml-quotation quote"&gt;"Partial Opening Brief"&lt;/span&gt; listed errors relating to both the guilt and penalty phases.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="328228" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="328228" data-sentence-id="328228" class="ldml-sentence"&gt;8 Rodriguez' Opening Brief demonstrates that page limitations do indeed serve a useful purpose in the prevention of abuse of process.&lt;/span&gt; &lt;span data-paragraph-id="328228" data-sentence-id="328362" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_328228"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 28&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="328228" data-sentence-id="328380" class="ldml-sentence"&gt;Future requests for additional pages shall set forth good cause for the extension of limitations and specify the number of additional pages requested.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="328530" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="328530" data-sentence-id="328530" class="ldml-sentence"&gt;9 In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_328530"&gt;&lt;span class="ldml-cite"&gt;part I&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;&lt;/span&gt; order, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; listed 111 of Rodriguez' claims under the heading &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;DEFENDANT&lt;/span&gt; CANNOT RELITIGATE HEREIN CLAIMS RESOLVED ON APPEAL."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="328530" data-sentence-id="328695" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_328530"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 155-77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="328530" data-sentence-id="328715" class="ldml-sentence"&gt;In doing so, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; listed Claims 20 and 289 twice.&lt;/span&gt; &lt;span data-paragraph-id="328530" data-sentence-id="328779" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_328779"&gt;&lt;span class="ldml-cite"&gt;part I&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;&lt;/span&gt; order disposed of only 109 of Rodriguez' claims.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="328867" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="328867" data-sentence-id="328867" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_328867"&gt;&lt;span class="ldml-cite"&gt;part III&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the order, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; concluded that three claims regarding recusal of judges had been &lt;span class="ldml-quotation quote"&gt;"previously resolved."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="328867" data-sentence-id="329003" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_328867"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 213-14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="328867" data-sentence-id="329023" class="ldml-sentence"&gt;However, two of these three claims were also included in the claims resolved in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_329023"&gt;&lt;span class="ldml-cite"&gt;part I&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the order.&lt;/span&gt; &lt;span data-paragraph-id="328867" data-sentence-id="329124" class="ldml-sentence"&gt;Thus, in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_329124"&gt;&lt;span class="ldml-cite"&gt;parts I and III&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of its order collectively, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied 110 of the 319 claims as previously litigated.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="329251" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="329251" data-sentence-id="329251" class="ldml-sentence"&gt;10 &lt;span class="ldml-entity"&gt;We&lt;/span&gt; discuss these issues in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_329251"&gt;&lt;span class="ldml-cite"&gt;parts II&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, II&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;, III, VII&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;, IX&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;, IX&lt;span class="ldml-parenthetical"&gt;(G)&lt;/span&gt;, XIII, and XVIII&lt;span class="ldml-parenthetical"&gt;(F)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="329347" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="329347" data-sentence-id="329347" class="ldml-sentence"&gt;11 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889548407" data-vids="889548407" class="ldml-reference" data-prop-ids="sentence_329347"&gt;&lt;span class="ldml-refname"&gt;People v. Muniz&lt;/span&gt;, &lt;span class="ldml-cite"&gt;667 P.2d 1377, 1381&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;we&lt;/span&gt; have generally relied on the &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;American Bar Association&lt;/span&gt; Standards Relating&lt;/span&gt; to Postconviction Remedies"&lt;/span&gt; and applying the Standard relating to timeliness of postconviction claims&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="329597" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="329597" data-sentence-id="329597" class="ldml-sentence"&gt;12 In Issue 87, Rodriguez asserts that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s refusal to put a burden of proof on &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to prove that mitigating factors did not exist constituted prejudicial error.&lt;/span&gt; &lt;span data-paragraph-id="329597" data-sentence-id="329784" class="ldml-sentence"&gt;In Tenneson, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; scrutinized the death &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;'s process of weighing aggravating factors against mitigating factors and held that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;n instruction to the jury that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; must be convinced beyond a reasonable doubt that any mitigating factors do not outweigh the proven statutory aggravating factors before a sentence of death can be imposed adequately and appropriately communicates the degree of reliability that must inhere in the balancing process."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="329597" data-sentence-id="330237" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_329784"&gt;&lt;span class="ldml-cite"&gt;788 P.2d at 792&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="329597" data-sentence-id="330254" class="ldml-sentence"&gt;In Rodriguez' case, the death &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; imposed no burden of proof on &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to prove that mitigating factors did not exist.&lt;/span&gt; &lt;span data-paragraph-id="329597" data-sentence-id="330386" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_330254"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="329597" data-sentence-id="330409" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; properly instructed the jury that &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"a mitigating factor does not have to be proved by any burden of proof.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;You must find that a mitigating factor exists if there is any evidence to support it."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="329597" data-sentence-id="330618" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_330409"&gt;&lt;span class="ldml-refname"&gt;R., v. 4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 767&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="329597" data-sentence-id="330635" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find no error.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="330665" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="330665" data-sentence-id="330665" class="ldml-sentence"&gt;13 Rodriguez was represented by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; at all critical stages of the guilt and penalty phases, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893911418" data-vids="893911418" class="ldml-reference" data-prop-ids="sentence_330665"&gt;&lt;span class="ldml-refname"&gt;Hooker&lt;/span&gt;, &lt;span class="ldml-cite"&gt;173 Colo. at 228&lt;/span&gt;, &lt;span class="ldml-cite"&gt;477 P.2d at 377&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; as significant the presence of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; confine our holding here to such a situation.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="330908" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="330908" data-sentence-id="330908" class="ldml-sentence"&gt;14 In reality, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not refuse voir dire on the subject of commutation.&lt;/span&gt; &lt;span data-paragraph-id="330908" data-sentence-id="330989" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt; discussed the matter with &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_330989"&gt;&lt;span class="ldml-refname"&gt;R., v. 20&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2-6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and, where appropriate during the voir dire on media coverage, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; questioned the jurors on that subject.&lt;/span&gt; &lt;span data-paragraph-id="330908" data-sentence-id="331164" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_330989"&gt;&lt;span class="ldml-cite"&gt;id. at 16, 22-23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="331192" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="331192" data-sentence-id="331192" class="ldml-sentence"&gt;15 &lt;span class="ldml-entity"&gt;We&lt;/span&gt; address that portion of Issue 11 relating to Judge Peterson's involvement in Rodriguez' case in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_331192"&gt;&lt;span class="ldml-cite"&gt;part XIII&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="331320" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="331320" data-sentence-id="331320" class="ldml-sentence"&gt;16 &lt;span class="ldml-entity"&gt;We&lt;/span&gt; address the portion of Issue 46 which alleges an inability to make contemporaneous objections or a record on the jury selection process in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_331320"&gt;&lt;span class="ldml-cite"&gt;part VI&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="331492" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="331492" data-sentence-id="331492" class="ldml-sentence"&gt;17 Also in Issue 58, Rodriguez asserts that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; prevented Rodriguez from making contemporaneous objections or a record on that day and during jury selection as a whole.&lt;/span&gt; &lt;span data-paragraph-id="331492" data-sentence-id="331673" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have addressed that issue on its merits in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_331673"&gt;&lt;span class="ldml-cite"&gt;part VI&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="331746" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr18" class="ldml-notemarker" id="note-fr18"&gt;18&lt;/a&gt; &lt;span data-paragraph-id="331746" data-sentence-id="331747" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Issue&lt;/span&gt; &lt;span class="ldml-cite"&gt;99&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; alleges that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; unduly restricted Rodriguez' ability to make contemporaneous objection during voir dire.&lt;/span&gt; &lt;span data-paragraph-id="331746" data-sentence-id="331871" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have addressed that issue in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_331871"&gt;&lt;span class="ldml-cite"&gt;part VI&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt; &lt;span data-paragraph-id="331746" data-sentence-id="331931" class="ldml-sentence"&gt;The remainder of Issue 99 does not raise constitutional error.&lt;/span&gt; &lt;span data-paragraph-id="331746" data-sentence-id="331994" class="ldml-sentence"&gt;See infra &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_331994"&gt;&lt;span class="ldml-cite"&gt;part IV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="332012" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr19" class="ldml-notemarker" id="note-fr19"&gt;19&lt;/a&gt; &lt;span data-paragraph-id="332012" data-sentence-id="332013" class="ldml-sentence"&gt;These 191 claims included some claims which Rodriguez listed in an appendix to his &lt;span class="ldml-quotation quote"&gt;"Partial Opening Brief"&lt;/span&gt; on direct appeal as issues which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have raised but for time limitations.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="332199" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr20" class="ldml-notemarker" id="note-fr20"&gt;20&lt;/a&gt; &lt;span data-paragraph-id="332199" data-sentence-id="332200" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have followed many &lt;span class="ldml-entity"&gt;sections&lt;/span&gt; of the &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;American Bar Association&lt;/span&gt; Standards for Criminal Justice&lt;/span&gt;: Postconviction Remedies, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889548407" data-vids="889548407" class="ldml-reference" data-prop-ids="sentence_332200"&gt;&lt;span class="ldml-refname"&gt;People v. Muniz&lt;/span&gt;, &lt;span class="ldml-cite"&gt;667 P.2d 1377, 1381&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and now express our approval of Standard 22-6.1 as the rule in Colorado regarding finality of a conviction and sentence.&lt;/span&gt; &lt;span data-paragraph-id="332199" data-sentence-id="332503" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;American Bar Association&lt;/span&gt; Standards&lt;/span&gt; for Criminal Justice&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Postconviction Remedies&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§ 22-6.1 at 22-62 &lt;span class="ldml-parenthetical"&gt;(2d ed. 1986)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="332199" data-sentence-id="332619" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_332619"&gt;&lt;span class="ldml-cite"&gt;Sections &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of that Standard provide:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="332665" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="332665" data-sentence-id="332665" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; Unless barred because of abuse of process, claims advanced in &lt;span class="ldml-entity"&gt;postconviction applications&lt;/span&gt; should be decided on their merits, even though &lt;span class="ldml-entity"&gt;they&lt;/span&gt; might have been, but were not, fully and finally litigated in the proceedings leading to judgments of conviction.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="332924" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="332924" data-sentence-id="332924" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; Where an applicant raises in a postconviction proceeding a factual or legal contention which &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; deliberately or inexcusably&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="333062" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="333062" data-sentence-id="333062" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(i)&lt;/span&gt; failed to raise in the proceeding to judgment of conviction, or,&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="333130" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="333130" data-sentence-id="333130" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(ii)&lt;/span&gt; having raised the contention in &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, failed to pursue the matter on appeal,&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="333216" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="333216" data-sentence-id="333216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may deny relief on the ground of an abuse of process.&lt;/span&gt; &lt;span data-paragraph-id="333216" data-sentence-id="333278" class="ldml-sentence"&gt;Abuse of process should be an affirmative defense to be pleaded by &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="333216" data-sentence-id="333361" class="ldml-sentence"&gt;Where a rule or procedure governing conduct of criminal prosecutions requires that specified defenses or objections be presented at a certain time, and an applicant raises in a postconviction proceeding an issue that might have been but was not presented in a timely manner in the proceeding leading to judgment of conviction, the applicant should be required to show cause for the failure to comply with the rule of procedure.&lt;/span&gt; &lt;span data-paragraph-id="333216" data-sentence-id="333789" class="ldml-sentence"&gt;In other instances, the burden of proof of abuse of process should be borne by &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="333883" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="333883" data-sentence-id="333883" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;ABA Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-6.1&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; at 22-62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="333883" data-sentence-id="333923" class="ldml-sentence"&gt;The application of this Standard would neither violate due process by depriving &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; of all &lt;span class="ldml-quotation quote"&gt;"ability to challenge the constitutional validity of a conviction,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888636537" data-vids="888636537" class="ldml-reference" data-prop-ids="sentence_333923"&gt;&lt;span class="ldml-refname"&gt;People v. Thomas&lt;/span&gt;, &lt;span class="ldml-cite"&gt;867 P.2d 880, 886&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, nor conflict with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="333883" data-sentence-id="334175" class="ldml-sentence"&gt;Rather, our approval of this Standard indicates our agreement with the &lt;span class="ldml-entity"&gt;American Bar Association&lt;/span&gt; that criminal procedural rules &lt;span class="ldml-quotation quote"&gt;"can be undermined if &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;, without explanation, is permitted to raise the same matters for the first time in a postconviction proceeding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="333883" data-sentence-id="334449" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_334175"&gt;&lt;span class="ldml-refname"&gt;ABA Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 22-6.1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;History of Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 22-62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -63 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2d ed. 1986&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="333883" data-sentence-id="334523" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline to apply the Standard retroactively to &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="334592" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr21" class="ldml-notemarker" id="note-fr21"&gt;21&lt;/a&gt; &lt;span data-paragraph-id="334592" data-sentence-id="334593" class="ldml-sentence"&gt;Rodriguez also claims that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was denied effective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; because his &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; on direct appeal did not pursue all potential claims.&lt;/span&gt; &lt;span data-paragraph-id="334592" data-sentence-id="334740" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find this argument meritless.&lt;/span&gt; &lt;span data-paragraph-id="334592" data-sentence-id="334773" class="ldml-sentence"&gt;See infra &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_334773"&gt;&lt;span class="ldml-cite"&gt;part XVIII&lt;span class="ldml-parenthetical"&gt;(H)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="334797" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr22" class="ldml-notemarker" id="note-fr22"&gt;22&lt;/a&gt; &lt;span data-paragraph-id="334797" data-sentence-id="334798" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;22-6.2&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; states:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="334824" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="334824" data-sentence-id="334824" class="ldml-sentence"&gt;Where an applicant raises in a subsequent application a factual or legal contention which the applicant did not use due diligence in&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="334956" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="334956" data-sentence-id="334956" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(i)&lt;/span&gt; raising in an earlier application, or,&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="334998" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="334998" data-sentence-id="334998" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(ii)&lt;/span&gt; having raised the contention in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, failed to pursue the matter on appeal,&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="335090" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="335090" data-sentence-id="335090" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may deny relief on the ground of an abuse of process.&lt;/span&gt; &lt;span data-paragraph-id="335090" data-sentence-id="335152" class="ldml-sentence"&gt;Abuse of process should be an affirmative defense to be pleaded and proved by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="335240" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr23" class="ldml-notemarker" id="note-fr23"&gt;23&lt;/a&gt; &lt;span data-paragraph-id="335240" data-sentence-id="335241" class="ldml-sentence"&gt;In determining which issues presented by Rodriguez are constitutional, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not consider those issues which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude were insufficiently raised in his &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="335240" data-sentence-id="335419" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_335241"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt; &lt;span class="ldml-cite"&gt;part III&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="335438" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr24" class="ldml-notemarker" id="note-fr24"&gt;24&lt;/a&gt; &lt;span data-paragraph-id="335438" data-sentence-id="335439" class="ldml-sentence"&gt;A portion of Issue 65 alleges inadequacy of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s voir dire on these topics.&lt;/span&gt; &lt;span data-paragraph-id="335438" data-sentence-id="335528" class="ldml-sentence"&gt;However, this portion is unsupported with facts, record cites, or &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="335438" data-sentence-id="335604" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the summary dismissal of that portion.&lt;/span&gt; &lt;span data-paragraph-id="335438" data-sentence-id="335664" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886806115" data-vids="886806115" class="ldml-reference" data-prop-ids="sentence_335604"&gt;&lt;span class="ldml-refname"&gt;People v. Diefenderfer&lt;/span&gt;, &lt;span class="ldml-cite"&gt;784 P.2d 741, 752&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893911418" data-vids="893911418" class="ldml-reference" data-prop-ids="sentence_335604"&gt;&lt;span class="ldml-refname"&gt;Hooker v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;173 Colo. 226, 228&lt;/span&gt;, &lt;span class="ldml-cite"&gt;477 P.2d 376, 377&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1970&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="335786" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr25" class="ldml-notemarker" id="note-fr25"&gt;25&lt;/a&gt; &lt;span data-paragraph-id="335786" data-sentence-id="335787" class="ldml-sentence"&gt;A portion of Issue 80 alleges Rodriguez' inability to make a record on the effects of the limitations on voir dire.&lt;/span&gt; &lt;span data-paragraph-id="335786" data-sentence-id="335903" class="ldml-sentence"&gt;This argument is addressed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_335903"&gt;&lt;span class="ldml-cite"&gt;part VI&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this opinion.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="335960" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr26" class="ldml-notemarker" id="note-fr26"&gt;26&lt;/a&gt; &lt;span data-paragraph-id="335960" data-sentence-id="335961" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree, in part, with &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s holding&lt;/span&gt; that Rodriguez waived all claims which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"deliberately screened out from prior appeal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="335960" data-sentence-id="336106" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_335961"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 177&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="335960" data-sentence-id="336123" class="ldml-sentence"&gt;As stated above, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that Rodriguez has not waived those constitutional issues which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; reasserts on this appeal.&lt;/span&gt; &lt;span data-paragraph-id="335960" data-sentence-id="336245" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s conclusion&lt;/span&gt; that Rodriguez' motion did not warrant reversal and vacation of his death sentence.&lt;/span&gt; &lt;span data-paragraph-id="335960" data-sentence-id="336384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; will affirm &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; even when it reaches the &lt;span class="ldml-quotation quote"&gt;"correct judgment for the wrong reason."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="335960" data-sentence-id="336484" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890850616" data-vids="890850616" class="ldml-reference" data-prop-ids="sentence_336384"&gt;&lt;span class="ldml-refname"&gt;State v. Franc&lt;/span&gt;, &lt;span class="ldml-cite"&gt;165 Colo. 69, 76&lt;/span&gt;, &lt;span class="ldml-cite"&gt;437 P.2d 48, 51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:392us928,88sct2284,20led2d13851968" data-prop-ids="sentence_336384"&gt;&lt;span class="ldml-cite"&gt;392 U.S. 928&lt;/span&gt;, &lt;span class="ldml-cite"&gt;88 S.Ct. 2284&lt;/span&gt;, &lt;span class="ldml-cite"&gt;20 L.Ed.2d 1385&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895179332" data-vids="895179332" class="ldml-reference" data-prop-ids="sentence_336384"&gt;&lt;span class="ldml-refname"&gt;Zigan Sand &amp; Gravel v. Cache La Poudre&lt;/span&gt;, &lt;span class="ldml-cite"&gt;758 P.2d 175, 181&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="335960" data-sentence-id="336686" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will substantively review the constitutional postconviction issues which Rodriguez realleges here.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="336793" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr27" class="ldml-notemarker" id="note-fr27"&gt;27&lt;/a&gt; &lt;span data-paragraph-id="336793" data-sentence-id="336794" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_336794"&gt;&lt;span class="ldml-cite"&gt;Fifth Amendment of the United States Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; guarantees a grand jury indictment for certain federal crimes.&lt;/span&gt; &lt;span data-paragraph-id="336793" data-sentence-id="336911" class="ldml-sentence"&gt;This guarantee has not, however, been selectively incorporated by the Due Process Clause of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_336911"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment to the United States Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and, thus, is inapplicable to the states.&lt;/span&gt; &lt;span data-paragraph-id="336793" data-sentence-id="337104" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887764095" data-vids="887764095" class="ldml-reference" data-prop-ids="sentence_336911"&gt;&lt;span class="ldml-refname"&gt;Beck v. Washington&lt;/span&gt;, &lt;span class="ldml-cite"&gt;369 U.S. 541, 545&lt;/span&gt;, &lt;span class="ldml-cite"&gt;82 S.Ct. 955, 957-58&lt;/span&gt;, &lt;span class="ldml-cite"&gt;8 L.Ed.2d 98&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1962&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="336793" data-sentence-id="337190" class="ldml-sentence"&gt;However, federal precedent is helpful to our analysis of Claim 108 because, whether prosecuted by the federal or state government, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; cannot be required to answer for a crime with which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is not charged.&lt;/span&gt; &lt;span data-paragraph-id="336793" data-sentence-id="337404" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895379928" data-vids="895379928" class="ldml-reference" data-prop-ids="sentence_337190"&gt;&lt;span class="ldml-refname"&gt;Schmuck v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;489 U.S. 705, 717&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 S.Ct. 1443, 1451&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 L.Ed.2d 734&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="337498" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="337498" data-sentence-id="337498" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_337498"&gt;&lt;span class="ldml-cite"&gt;Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not guarantee a grand jury indictment for a felony charge.&lt;/span&gt; &lt;span data-paragraph-id="337498" data-sentence-id="337588" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:losaviovthehonorablericharddrobb,districtjudgewithinandforthetenthjudicialdistrictofcoloradono27778579p2d1152,195colo533june12,1978" data-prop-ids="sentence_337498"&gt;&lt;span class="ldml-refname"&gt;Losavio v. Robb&lt;/span&gt;, &lt;span class="ldml-cite"&gt;195 Colo. 533, 536&lt;/span&gt;, &lt;span class="ldml-cite"&gt;579 P.2d 1152, 1154&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="337498" data-sentence-id="337657" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_337657"&gt;&lt;span class="ldml-cite"&gt;Article II, Section 8 of the Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does provide that:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="337726" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="337726" data-sentence-id="337726" class="ldml-sentence"&gt;Until otherwise provided by law, no person shall, for a felony, be proceeded against criminally otherwise than by indictment, except in &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; arising in the land or naval forces, or in the militia when in actual service in time of war or public danger.&lt;/span&gt; &lt;span data-paragraph-id="337726" data-sentence-id="337979" class="ldml-sentence"&gt;In all &lt;span class="ldml-entity"&gt;other cases&lt;/span&gt;, offenses shall be prosecuted criminally by indictment or information.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="338068" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="338068" data-sentence-id="338068" class="ldml-sentence"&gt;However, this provision serves only to &lt;span class="ldml-quotation quote"&gt;"direct that criminal proceedings must be initiated by indictment and to authorize &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; to provide alternative methods of proceeding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="338068" data-sentence-id="338253" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888536045" data-vids="888536045" class="ldml-reference" data-prop-ids="sentence_338068"&gt;&lt;span class="ldml-refname"&gt;Falgout v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;170 Colo. 32, 39&lt;/span&gt;, &lt;span class="ldml-cite"&gt;459 P.2d 572, 576&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="338068" data-sentence-id="338316" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The legislature&lt;/span&gt; enacted &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_338316"&gt;&lt;span class="ldml-cite"&gt;section 16-5-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to provide for alternative methods of initiating a criminal proceeding.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="338428" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr28" class="ldml-notemarker" id="note-fr28"&gt;28&lt;/a&gt; &lt;span data-paragraph-id="338428" data-sentence-id="338429" class="ldml-sentence"&gt;Of course, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hat may be technical for one is substantial for another; what minor and unimportant in one setting crucial in another."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="338428" data-sentence-id="338565" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886408391" data-vids="886408391" class="ldml-reference" data-prop-ids="embeddedsentence_338655,sentence_338429"&gt;&lt;span class="ldml-refname"&gt;Kotteakos v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;328 U.S. 750, 761&lt;/span&gt;, &lt;span class="ldml-cite"&gt;66 S.Ct. 1239, 1246&lt;/span&gt;, &lt;span class="ldml-cite"&gt;90 L.Ed. 1557&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1946&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;distinguishing between technical and substantial for purposes of the federal &lt;span class="ldml-quotation quote"&gt;"harmless error &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;"&lt;/span&gt; which governs federal appellate review&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="338428" data-sentence-id="338798" class="ldml-sentence"&gt;Whether rights are &lt;span class="ldml-quotation quote"&gt;"substantial"&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;ssentially ... for experience to work out.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;For, as with all lines which must be drawn between positive and negative fields of law, the precise border may be indistinct, but case by case determination of particular points adds up in time to discernible direction."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="338428" data-sentence-id="339102" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886408391" data-vids="886408391" class="ldml-reference" data-prop-ids="sentence_338798"&gt;&lt;span class="ldml-cite"&gt;Id. at 761-62&lt;/span&gt;, &lt;span class="ldml-cite"&gt;66 S.Ct. at 1246&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="339134" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr29" class="ldml-notemarker" id="note-fr29"&gt;29&lt;/a&gt; &lt;span data-paragraph-id="339134" data-sentence-id="339135" class="ldml-sentence"&gt;Thirteen of the completed questionnaires are part of the record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="339134" data-sentence-id="339210" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_339135"&gt;&lt;span class="ldml-refname"&gt;R., v. 38&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 355-393&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="339231" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr30" class="ldml-notemarker" id="note-fr30"&gt;30&lt;/a&gt; &lt;span data-paragraph-id="339231" data-sentence-id="339232" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;1989&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; was amended to require &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to retain the completed questionnaires for all prospective jurors.&lt;/span&gt; &lt;span data-paragraph-id="339231" data-sentence-id="339353" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_339232"&gt;&lt;span class="ldml-cite"&gt;§ 13-71-115, 6A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1995 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="339231" data-sentence-id="339395" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; in effect at the time of Rodriguez' trial did not require retention of the questionnaires.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="339506" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr31" class="ldml-notemarker" id="note-fr31"&gt;31&lt;/a&gt; &lt;span data-paragraph-id="339506" data-sentence-id="339507" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_339507"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt; &lt;span class="ldml-cite"&gt;part IV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; of this opinion, in which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; upheld &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s summary disposal of claims relating to limitations on defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s voir dire questioning.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="339676" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr32" class="ldml-notemarker" id="note-fr32"&gt;32&lt;/a&gt; &lt;span data-paragraph-id="339676" data-sentence-id="339677" class="ldml-sentence"&gt;Prior to the commencement of hardship voir dire, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; engaged in the following colloquy:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="339796" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="339796" data-sentence-id="339796" class="ldml-sentence"&gt;EISNER: ....&lt;/span&gt; &lt;span data-paragraph-id="339796" data-sentence-id="339810" class="ldml-sentence"&gt;My understanding from &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s order, amended order, and comments to &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; ... indicates &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; are not to make contemporaneous objection; objections are to be made in writing.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="339993" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="339993" data-sentence-id="339993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: You can make contemporaneous objections.&lt;/span&gt; &lt;span data-paragraph-id="339993" data-sentence-id="340046" class="ldml-sentence"&gt;If it's going to be lengthy I would want it supplemented by written objection.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="340124" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="340124" data-sentence-id="340124" class="ldml-sentence"&gt;EISNER: &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; will give &lt;span class="ldml-entity"&gt;us&lt;/span&gt; opportunity to make objections and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; will rule at that time?&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="340224" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="340224" data-sentence-id="340224" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;: Yes.&lt;/span&gt; &lt;span data-paragraph-id="340224" data-sentence-id="340241" class="ldml-sentence"&gt;But what I want to do during the time scheduled for voir dire, and for jury selection is to have our time doing that; in other words, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; spent 20 minutes so far this morning, and I am not complaining about that.&lt;/span&gt; &lt;span data-paragraph-id="340224" data-sentence-id="340454" class="ldml-sentence"&gt;What I am saying, the time &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have set aside for the jurors, I want to use for the jurors, and you may make objections, of course, but if you have lengthy reasons to explain those objections, then that's the type I want in writing.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="340685" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="340685" data-sentence-id="340685" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R., v. 14&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="340701" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr33" class="ldml-notemarker" id="note-fr33"&gt;33&lt;/a&gt; &lt;span data-paragraph-id="340701" data-sentence-id="340702" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; dismissed those jurors who alleged hardship prior to its dismissal of the remaining jurors.&lt;/span&gt; &lt;span data-paragraph-id="340701" data-sentence-id="340804" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_340702"&gt;&lt;span class="ldml-refname"&gt;R., v. 14&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="340701" data-sentence-id="340821" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; subsequently instructed the remaining jurors not to discuss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and to avoid publicity concerning &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="340701" data-sentence-id="340944" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_340821"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="340947" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr34" class="ldml-notemarker" id="note-fr34"&gt;34&lt;/a&gt; &lt;span data-paragraph-id="340947" data-sentence-id="340948" class="ldml-sentence"&gt;Rodriguez &lt;span class="ldml-quotation quote"&gt;"does not concede or suggest that prospective jurors received any cover page for the questionnaire."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="340947" data-sentence-id="341059" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_340948"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 177 n. 48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="340947" data-sentence-id="341098" class="ldml-sentence"&gt;However, the blank questionnaires contained in the record have cover pages, and &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; discussed the contents of the cover page on the record.&lt;/span&gt; &lt;span data-paragraph-id="340947" data-sentence-id="341242" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_341098"&gt;&lt;span class="ldml-refname"&gt;R., v. 14&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 9-10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="340947" data-sentence-id="341265" class="ldml-sentence"&gt;Even if the questionnaires did not have cover pages when given to the jury, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s subsequent voir dire on media coverage and its repeated cautionary instructions would have cured any error.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="341466" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr35" class="ldml-notemarker" id="note-fr35"&gt;35&lt;/a&gt; &lt;span data-paragraph-id="341466" data-sentence-id="341467" class="ldml-sentence"&gt;In Issue 72, Rodriguez also cites to a portion of the voir dire transcript of R.K. in which R.K. discusses his opinion on the death penalty.&lt;/span&gt; &lt;span data-paragraph-id="341466" data-sentence-id="341608" class="ldml-sentence"&gt;The analysis does not change.&lt;/span&gt; &lt;span data-paragraph-id="341466" data-sentence-id="341638" class="ldml-sentence"&gt;Rodriguez failed to exhaust his peremptory challenges, left R.K. on the jury as an alternate, and has demonstrated no prejudice from the denial of his challenge for cause.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="341809" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr36" class="ldml-notemarker" id="note-fr36"&gt;36&lt;/a&gt; &lt;span data-paragraph-id="341809" data-sentence-id="341810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; rejected a similar argument in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_341810"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 204&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="341867" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr37" class="ldml-notemarker" id="note-fr37"&gt;37&lt;/a&gt; &lt;span data-paragraph-id="341867" data-sentence-id="341868" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; later excused B.R. for cause on different grounds.&lt;/span&gt; &lt;span data-paragraph-id="341867" data-sentence-id="341929" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_341868"&gt;&lt;span class="ldml-refname"&gt;R., v. 23&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 236-37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="341949" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr38" class="ldml-notemarker" id="note-fr38"&gt;38&lt;/a&gt; &lt;span data-paragraph-id="341949" data-sentence-id="341950" class="ldml-sentence"&gt;Rodriguez exercised a peremptory challenge and excused &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_341950"&gt;&lt;span class="ldml-refname"&gt;D.G. R., v. 23&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 251&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="341949" data-sentence-id="342029" class="ldml-sentence"&gt;However, at the close of jury selection, Rodriguez had used only eight of his twelve peremptory challenges.&lt;/span&gt; &lt;span data-paragraph-id="341949" data-sentence-id="342137" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_342029"&gt;&lt;span class="ldml-refname"&gt;R., v. 24&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 66-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="342156" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr39" class="ldml-notemarker" id="note-fr39"&gt;39&lt;/a&gt; &lt;span data-paragraph-id="342156" data-sentence-id="342157" class="ldml-sentence"&gt;In its &lt;span class="ldml-quotation quote"&gt;"Application for Witness Immunity,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; requested that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; grant &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"absolute immunity from &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="342156" data-sentence-id="342307" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_342157"&gt;&lt;span class="ldml-refname"&gt;R., v. 2&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="342156" data-sentence-id="342322" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; entered an order granting &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;mmunity from &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; for any transaction arising out of the above case."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="342156" data-sentence-id="342461" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_342322"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="342464" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr40" class="ldml-notemarker" id="note-fr40"&gt;40&lt;/a&gt; &lt;span data-paragraph-id="342464" data-sentence-id="342465" class="ldml-sentence"&gt;Eisner represented to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that Dr. Morall would testify as follows: &lt;span class="ldml-quotation quote"&gt;"I am a doctor at the jail; I prescribed this medication; &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was anxious; this is what it does."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="342464" data-sentence-id="342640" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_342465"&gt;&lt;span class="ldml-refname"&gt;R., v. 34&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 147&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="342657" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr41" class="ldml-notemarker" id="note-fr41"&gt;41&lt;/a&gt; &lt;span data-paragraph-id="342657" data-sentence-id="342658" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;People&lt;/span&gt;'s Exhibit C-1 was the knife admitted into evidence as the weapon used to kill &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="342657" data-sentence-id="342762" class="ldml-sentence"&gt;The handle of this knife was inscribed with the word &lt;span class="ldml-quotation quote"&gt;"Tiger."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="342823" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr42" class="ldml-notemarker" id="note-fr42"&gt;42&lt;/a&gt; &lt;span data-paragraph-id="342823" data-sentence-id="342824" class="ldml-sentence"&gt;At trial, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; admitted Exhibits D-57 and D-58 which were photographs of cuts on &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;' hands.&lt;/span&gt; &lt;span data-paragraph-id="342823" data-sentence-id="342933" class="ldml-sentence"&gt;The photographs at issue here allegedly showed cuts and bruises on other parts of Martinez' body.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="343030" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr43" class="ldml-notemarker" id="note-fr43"&gt;43&lt;/a&gt; &lt;span data-paragraph-id="343030" data-sentence-id="343031" class="ldml-sentence"&gt;At the &lt;span class="ldml-entity"&gt;pretrial motions hearing&lt;/span&gt;, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; indicated that the information charging Rodriguez with sexual assault had been amended by striking the words &lt;span class="ldml-quotation quote"&gt;"to-wit, a knife."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="343030" data-sentence-id="343208" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_343031"&gt;&lt;span class="ldml-refname"&gt;R., v. 13&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 21-22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="343030" data-sentence-id="343228" class="ldml-sentence"&gt;However, the record does not contain a copy of the information as amended.&lt;/span&gt; &lt;span data-paragraph-id="343030" data-sentence-id="343303" class="ldml-sentence"&gt;Therefore, our analysis assumes, as does Rodriguez' brief, that the information was not amended.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="343399" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr44" class="ldml-notemarker" id="note-fr44"&gt;44&lt;/a&gt; &lt;span data-paragraph-id="343399" data-sentence-id="343400" class="ldml-sentence"&gt;The information charging Rodriguez with sexual assault alleged that Rodriguez was &lt;span class="ldml-quotation quote"&gt;"armed with a deadly weapon, to-wit: a KNIFE, and used said deadly weapon to cause submission of the victim."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="343399" data-sentence-id="343593" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_343400"&gt;&lt;span class="ldml-refname"&gt;R., v. 1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="343399" data-sentence-id="343608" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; stated only that &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;Defendant&lt;/span&gt; was armed with a deadly weapon."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="343399" data-sentence-id="343692" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Instruction&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; defined &lt;span class="ldml-quotation quote"&gt;"deadly weapon"&lt;/span&gt; as &lt;span class="ldml-quotation quote"&gt;"a firearm, whether loaded or unloaded; a knife; a bludgeon; or any other weapon, device, instrument, material or substance, whether animate or inanimate."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="343399" data-sentence-id="343897" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_343692"&gt;&lt;span class="ldml-refname"&gt;R., v. 3&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 587&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="343399" data-sentence-id="343914" class="ldml-sentence"&gt;Rodriguez has not argued that the instructional definition of &lt;span class="ldml-quotation quote"&gt;"deadly weapon"&lt;/span&gt; unconstitutionally expanded upon the offense charged in the information, although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has made analogous arguments.&lt;/span&gt; &lt;span data-paragraph-id="343399" data-sentence-id="344107" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_344107"&gt;&lt;span class="ldml-cite"&gt;part V&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; of this opinion.&lt;/span&gt; &lt;span data-paragraph-id="343399" data-sentence-id="344135" class="ldml-sentence"&gt;For the reasons discussed in that part, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the instruction did not unconstitutionally expand upon the offense charged.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="344267" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr45" class="ldml-notemarker" id="note-fr45"&gt;45&lt;/a&gt; &lt;span data-paragraph-id="344267" data-sentence-id="344268" class="ldml-sentence"&gt;Issue 129 also alleges error in the guilt phase instructions regarding conspiracy to commit second-degree kidnapping and conspiracy to commit aggravated motor vehicle theft.&lt;/span&gt; &lt;span data-paragraph-id="344267" data-sentence-id="344442" class="ldml-sentence"&gt;These portions of Issue 129 are rendered moot by &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s vacation of those convictions and our affirmance thereof.&lt;/span&gt; &lt;span data-paragraph-id="344267" data-sentence-id="344570" class="ldml-sentence"&gt;See infra &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_344570"&gt;&lt;span class="ldml-cite"&gt;part XIV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="344589" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr46" class="ldml-notemarker" id="note-fr46"&gt;46&lt;/a&gt; &lt;span data-paragraph-id="344589" data-sentence-id="344590" class="ldml-sentence"&gt;Rodriguez also claims error in that the information did not charge complicity.&lt;/span&gt; &lt;span data-paragraph-id="344589" data-sentence-id="344669" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; need not separately charge the crime of complicity.&lt;/span&gt; &lt;span data-paragraph-id="344589" data-sentence-id="344746" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890279396" data-vids="890279396" class="ldml-reference" data-prop-ids="sentence_344669"&gt;&lt;span class="ldml-refname"&gt;People v. Thompson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;655 P.2d 416, 417-18&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="344799" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr47" class="ldml-notemarker" id="note-fr47"&gt;47&lt;/a&gt; &lt;span data-paragraph-id="344799" data-sentence-id="344800" class="ldml-sentence"&gt;Rodriguez contends that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; relied on complicity &lt;span class="ldml-quotation quote"&gt;"in arguing for a guilty verdict on the murder and other charges"&lt;/span&gt; and that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; argued that Mr. Rodriguez was guilty as a complicitor, particularly of first-degree murder after deliberation."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="344799" data-sentence-id="345067" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_344800"&gt;&lt;span class="ldml-refname"&gt;Rodriguez' Opening Brief&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 350-51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="344799" data-sentence-id="345103" class="ldml-sentence"&gt;Our review of the record reveals that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; argued complicity only for the charge of first-degree murder after deliberation.&lt;/span&gt; &lt;span data-paragraph-id="344799" data-sentence-id="345238" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that any error in the complicity instruction neither affected Rodriguez' substantial rights nor prejudiced his defense on the other charges.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="345390" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr48" class="ldml-notemarker" id="note-fr48"&gt;48&lt;/a&gt; &lt;span data-paragraph-id="345390" data-sentence-id="345391" class="ldml-sentence"&gt;In Issue 135, Rodriguez alleges insufficient evidence to support the crime of violence convictions.&lt;/span&gt; &lt;span data-paragraph-id="345390" data-sentence-id="345491" class="ldml-sentence"&gt;This issue is likewise rendered moot.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="345528" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr49" class="ldml-notemarker" id="note-fr49"&gt;49&lt;/a&gt; &lt;span data-paragraph-id="345528" data-sentence-id="345529" class="ldml-sentence"&gt;Rodriguez alleges twenty-seven instances of prosecutorial misconduct during closing arguments at the guilt phase.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="345642" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr50" class="ldml-notemarker" id="note-fr50"&gt;50&lt;/a&gt; &lt;span data-paragraph-id="345642" data-sentence-id="345643" class="ldml-sentence"&gt;Here, Rodriguez contends that the allegedly improper arguments violated his constitutional right to a fair and impartial trial by jury, due process, and the prohibition against cruel and unusual punishment.&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="345850" class="ldml-sentence"&gt;In most instances, Rodriguez did not make a contemporaneous objection to the arguments which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; now claims constitute reversible error.&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="345986" class="ldml-sentence"&gt;Where no contemporaneous objection is made to the asserted error, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; normally reviews the alleged error under the &lt;span class="ldml-quotation quote"&gt;"plain error"&lt;/span&gt; standard.&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="346131" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895605167" data-vids="895605167" class="ldml-reference" data-prop-ids="sentence_345986"&gt;&lt;span class="ldml-refname"&gt;Harris&lt;/span&gt;, &lt;span class="ldml-cite"&gt;888 P.2d at 267&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="346156" class="ldml-sentence"&gt;However, in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_346156"&gt;&lt;span class="ldml-refname"&gt;People v. Rodriguez&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 965&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-refname"&gt;Rodriguez IV&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887531984" data-vids="887531984" class="ldml-reference" data-prop-ids="sentence_346156"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1055&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 770&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 789&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; declined to review Rodriguez' claims of prosecutorial misconduct during penalty phase closing arguments under the &lt;span class="ldml-quotation quote"&gt;"plain error"&lt;/span&gt; standard, noting that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[b]&lt;/span&gt;ecause death is a punishment qualitatively unlike any other, and there is a corresponding need for reliability in the sentencing proceeding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have elected to examine the record of the closing arguments as if there had been contemporaneous objections."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="346710" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887214947" data-vids="887214947" class="ldml-reference" data-prop-ids="sentence_346156"&gt;&lt;span class="ldml-cite"&gt;Id. at 972&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="346742" class="ldml-sentence"&gt;For purposes of fairness and consistency, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review Rodriguez' contentions here of prosecutorial misconduct as if contemporaneous objections had been made.&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="346898" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; review his claims under the standard that error must be &lt;span class="ldml-quotation quote"&gt;"harmless beyond a reasonable doubt."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="345642" data-sentence-id="346995" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889136900" data-vids="889136900" class="ldml-reference" data-prop-ids="sentence_346898"&gt;&lt;span class="ldml-refname"&gt;United States v. Hasting&lt;/span&gt;, &lt;span class="ldml-cite"&gt;461 U.S. 499, 510&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. 1974, 1981&lt;/span&gt;, &lt;span class="ldml-cite"&gt;76 L.Ed.2d 96&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:chapmanvcalifornia,386us18,24,87sct824,17led2d705,87sct824,17led2d70587sct824,17led2d705" data-prop-ids="sentence_346898"&gt;&lt;span class="ldml-refname"&gt;Chapman v. California&lt;/span&gt;, &lt;span class="ldml-cite"&gt;386 U.S. 18, 24&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 S.Ct. 824, 828&lt;/span&gt;, &lt;span class="ldml-cite"&gt;17 L.Ed.2d 705&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888895483" data-vids="888895483" class="ldml-reference" data-prop-ids="sentence_346898"&gt;&lt;span class="ldml-refname"&gt;Rodgers&lt;/span&gt;, &lt;span class="ldml-cite"&gt;756 P.2d at 984&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_346898"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 189&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="347219" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr51" class="ldml-notemarker" id="note-fr51"&gt;51&lt;/a&gt; &lt;span data-paragraph-id="347219" data-sentence-id="347220" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;ABA Standard&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 3-5.8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="347250" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="347250" data-sentence-id="347250" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; In closing argument to the jury, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; may argue all reasonable inferences from evidence in the record.&lt;/span&gt; &lt;span data-paragraph-id="347250" data-sentence-id="347367" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt; should not intentionally misstate the evidence or mislead the jury as to the inferences it may draw.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="347482" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="347482" data-sentence-id="347482" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; &lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt; should not express his or her personal belief or opinion as to the truth or falsity of any testimony or evidence or the guilt of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="347644" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="347644" data-sentence-id="347644" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; &lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt; should not make arguments calculated to appeal to the prejudices of the jury.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="347740" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="347740" data-sentence-id="347740" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt; &lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt; should refrain from argument which would divert the jury from its duty to decide &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; on the evidence.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="347865" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr52" class="ldml-notemarker" id="note-fr52"&gt;52&lt;/a&gt; &lt;span data-paragraph-id="347865" data-sentence-id="347866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; decline to adopt the portion of Clark which holds that &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; has no discretion to delay imposing sentence on noncapital charges."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="347865" data-sentence-id="348011" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887368096" data-vids="887368096" class="ldml-reference" data-prop-ids="sentence_347866"&gt;&lt;span class="ldml-refname"&gt;Clark&lt;/span&gt;, &lt;span class="ldml-cite"&gt;882 P.2d at 527&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="348038" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr53" class="ldml-notemarker" id="note-fr53"&gt;53&lt;/a&gt; &lt;span data-paragraph-id="348038" data-sentence-id="348039" class="ldml-sentence"&gt;Rodriguez' claim that the evidence was insufficient to establish felony murder is rendered moot by our &lt;span class="ldml-entity"&gt;holding in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_348039"&gt;&lt;span class="ldml-cite"&gt;part XIV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; of this opinion that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; properly vacated Rodriguez' conviction for felony murder.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="348259" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr54" class="ldml-notemarker" id="note-fr54"&gt;54&lt;/a&gt; &lt;span data-paragraph-id="348259" data-sentence-id="348260" class="ldml-sentence"&gt;In Issue 11, Rodriguez also contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s committed reversible error by: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; refusing to disclose communications between Judges Peterson, Phillips, and &lt;span class="ldml-entity"&gt;Federico Alvarez&lt;/span&gt;; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; denying Rodriguez' request for a judge from another judicial district to hear his postconviction claims.&lt;/span&gt; &lt;span data-paragraph-id="348259" data-sentence-id="348566" class="ldml-sentence"&gt;These issues were not adequately presented to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; in &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_348566"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="348259" data-sentence-id="348662" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_348566"&gt;&lt;span class="ldml-cite"&gt;supra&lt;/span&gt; &lt;span class="ldml-cite"&gt;part III&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="348681" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr55" class="ldml-notemarker" id="note-fr55"&gt;55&lt;/a&gt; &lt;span data-paragraph-id="348681" data-sentence-id="348682" class="ldml-sentence"&gt;This statutory language largely tracks &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; which defines felony murder.&lt;/span&gt; &lt;span data-paragraph-id="348681" data-sentence-id="348762" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;Compare&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_348682"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;with&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_348682"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, 8 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="348681" data-sentence-id="348828" class="ldml-sentence"&gt;However, the felony murder &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; limits the predicate felony to the commission or attempted commission of &lt;span class="ldml-quotation quote"&gt;"arson, robbery, burglary, kidnapping, sexual assault in the first or second degree ... or a class 3 felony for sexual assault on a child."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="348681" data-sentence-id="349076" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_348828"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="348681" data-sentence-id="349094" class="ldml-sentence"&gt;The statutory aggravating factor encompasses any murder intentionally committed in the course of, in furtherance of, or in flight from a class 1, 2, or 3 felony.&lt;/span&gt; &lt;span data-paragraph-id="348681" data-sentence-id="349256" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_349094"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="348681" data-sentence-id="349275" class="ldml-sentence"&gt;Thus, the jury could appropriately find the aggravating factor to exist even where it cannot convict &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; of felony murder.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="349407" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr56" class="ldml-notemarker" id="note-fr56"&gt;56&lt;/a&gt; &lt;span data-paragraph-id="349407" data-sentence-id="349408" class="ldml-sentence"&gt;As discussed below, the facts underlying the other conspiracy convictions are relevant to the capital sentencer, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_349408"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, but those convictions, standing alone, would not constitute statutory aggravating factors.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="349634" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr57" class="ldml-notemarker" id="note-fr57"&gt;57&lt;/a&gt; &lt;span data-paragraph-id="349634" data-sentence-id="349635" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888207291" data-vids="888207291" class="ldml-reference" data-prop-ids="sentence_349635"&gt;&lt;span class="ldml-refname"&gt;People v. Malacara&lt;/span&gt;, &lt;span class="ldml-cite"&gt;199 Colo. 243, 247-48&lt;/span&gt;, &lt;span class="ldml-cite"&gt;606 P.2d 1300, 1302-03&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; appealing a denial of a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;motion for reduction of sentence&lt;/span&gt; has a right to appellate review of the propriety of the sentencing proceeding, but has no right to review of the propriety of the sentence.&lt;/span&gt; &lt;span data-paragraph-id="349634" data-sentence-id="349949" class="ldml-sentence"&gt;Here, Issues 15, 16, and 18 challenge the propriety of the proceeding in which &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Rodriguez'&lt;/span&gt; &lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; and do not challenge the propriety of the sentence.&lt;/span&gt; &lt;span data-paragraph-id="349634" data-sentence-id="350138" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address these issues.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="350175" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr58" class="ldml-notemarker" id="note-fr58"&gt;58&lt;/a&gt; &lt;span data-paragraph-id="350175" data-sentence-id="350176" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;December 28, 1994&lt;/span&gt;, Rodriguez filed a document entitled &lt;span class="ldml-quotation quote"&gt;"Notice of Additional Missing Parts of the Record,"&lt;/span&gt; which included a copy of his amended &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;motion for reduction of sentence&lt;/span&gt; filed with &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; on &lt;span class="ldml-entity"&gt;February 11, 1991&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="350421" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr59" class="ldml-notemarker" id="note-fr59"&gt;59&lt;/a&gt; &lt;span data-paragraph-id="350421" data-sentence-id="350422" class="ldml-sentence"&gt;In denying Rodriguez' motion, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; expressed concerns over delays in Rodriguez' case.&lt;/span&gt; &lt;span data-paragraph-id="350421" data-sentence-id="350513" class="ldml-sentence"&gt;Rodriguez claims that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s recognition and attempts to explain delays in his case demonstrates &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s submission to the intimidation and pressure caused by Lamm's &lt;span class="ldml-entity"&gt;article&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="350421" data-sentence-id="350706" class="ldml-sentence"&gt;Given the fact that Rodriguez' case had been before &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; on postconviction proceedings for over three years, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s statements regarding the delay in proceedings were accurate and did not reflect any submission to the alleged intimidation.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="350990" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr60" class="ldml-notemarker" id="note-fr60"&gt;60&lt;/a&gt; &lt;span data-paragraph-id="350990" data-sentence-id="350991" class="ldml-sentence"&gt;Before &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Richard Hostetler&lt;/span&gt; represented Rodriguez on his claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="350990" data-sentence-id="351110" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; denied these claims, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; appointed &lt;span class="ldml-entity"&gt;Nora V. Kelly&lt;/span&gt; to represent Rodriguez on this appeal regarding his claims of ineffective assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="351286" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr61" class="ldml-notemarker" id="note-fr61"&gt;61&lt;/a&gt; &lt;span data-paragraph-id="351286" data-sentence-id="351287" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; qualified Stafford-Smith as an expert on death penalty law in general, but not as an expert on Colorado death penalty law.&lt;/span&gt; &lt;span data-paragraph-id="351286" data-sentence-id="351429" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_351287"&gt;&lt;span class="ldml-refname"&gt;R., v. 63&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 57-58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="351448" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr62" class="ldml-notemarker" id="note-fr62"&gt;62&lt;/a&gt; &lt;span data-paragraph-id="351448" data-sentence-id="351449" class="ldml-sentence"&gt;Evidence presented at trial established that Rodriguez vaginally and anally raped &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, severely beat her, tortured her with knife cuts around her neck and face, and killed her in cold blood by stabbing her twenty-eight times.&lt;/span&gt; &lt;span data-paragraph-id="351448" data-sentence-id="351689" class="ldml-sentence"&gt;Evidence at the penalty phase established that, when Rodriguez deliberately murdered &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was on parole for aggravated robbery, had three prior felony convictions, and had in the past threatened to kill witnesses to his crimes.&lt;/span&gt; &lt;span data-paragraph-id="351448" data-sentence-id="351934" class="ldml-sentence"&gt;The jury found that six statutory aggravating factors existed beyond a reasonable doubt.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="352022" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr63" class="ldml-notemarker" id="note-fr63"&gt;63&lt;/a&gt; &lt;span data-paragraph-id="352022" data-sentence-id="352023" class="ldml-sentence"&gt;Rodriguez had previously been convicted of aggravated robbery, second-degree burglary, and criminal attempt to commit second-degree burglary.&lt;/span&gt; &lt;span data-paragraph-id="352022" data-sentence-id="352165" class="ldml-sentence"&gt;At the habitual criminal proceeding, the jury found beyond a reasonable doubt that Rodriguez had been convicted of each of these prior felonies.&lt;/span&gt; &lt;span data-paragraph-id="352022" data-sentence-id="352310" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_352165"&gt;&lt;span class="ldml-refname"&gt;R., v. 33&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 63-65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="352329" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr64" class="ldml-notemarker" id="note-fr64"&gt;64&lt;/a&gt; &lt;span data-paragraph-id="352329" data-sentence-id="352330" class="ldml-sentence"&gt;In &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890827066" data-vids="890827066" class="ldml-reference" data-prop-ids="sentence_352330"&gt;&lt;span class="ldml-refname"&gt;People v. Killpack&lt;/span&gt;, &lt;span class="ldml-cite"&gt;793 P.2d 642, 643&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892182466" data-vids="892182466" class="ldml-reference" data-prop-ids="sentence_352330"&gt;&lt;span class="ldml-refname"&gt;People v. Anderson&lt;/span&gt;, &lt;span class="ldml-cite"&gt;837 P.2d 293, 300&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_352330"&gt;&lt;span class="ldml-cite"&gt;No. 92SC451&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;Oct. 13, 1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; applied &lt;span class="ldml-entity"&gt;the standard articulated in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893549503" data-vids="893549503" class="ldml-reference" data-prop-ids="sentence_352330"&gt;&lt;span class="ldml-refname"&gt;United States v. Selva&lt;/span&gt;, &lt;span class="ldml-cite"&gt;559 F.2d 1303&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt;&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="352608" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr65" class="ldml-notemarker" id="note-fr65"&gt;65&lt;/a&gt; &lt;span data-paragraph-id="352608" data-sentence-id="352609" class="ldml-sentence"&gt;The federal &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; cited above addressed the burden placed upon &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to obtain relief for a violation of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_352609"&gt;&lt;span class="ldml-cite"&gt;Court Reporter Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/943432354" data-vids="943432354" class="ldml-reference" data-prop-ids="sentence_352609"&gt;&lt;span class="ldml-cite"&gt;28 U.S.C. § 753&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="352608" data-sentence-id="352768" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_352768"&gt;&lt;span class="ldml-cite"&gt;Subsection &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt;&lt;/span&gt; provides in relevant part:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="352820" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="352820" data-sentence-id="352820" class="ldml-sentence"&gt;Each session of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; and every other proceeding designated by rule or order of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; or by one of the judges shall be recorded verbatim....&lt;/span&gt; &lt;span data-paragraph-id="352820" data-sentence-id="352969" class="ldml-sentence"&gt;Proceedings to be recorded under &lt;span class="ldml-entity"&gt;this section&lt;/span&gt; include &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; all proceedings in criminal &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; had in open &lt;span class="ldml-entity"&gt;court&lt;/span&gt;;....&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="353083" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="353083" data-sentence-id="353083" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 13-5-127, 6A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, is analogous to the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_353083"&gt;&lt;span class="ldml-cite"&gt;Court Reporter Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and provides:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="353171" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="353171" data-sentence-id="353171" class="ldml-sentence"&gt;The shorthand reporter, on the direction of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, shall take down in shorthand all the testimony, &lt;span class="ldml-entity"&gt;rulings of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;&lt;/span&gt;, exceptions taken, oral instructions given, and other proceedings had during the trial of any cause, and in such causes as &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may designate.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="353442" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr66" class="ldml-notemarker" id="note-fr66"&gt;66&lt;/a&gt; &lt;span data-paragraph-id="353442" data-sentence-id="353443" class="ldml-sentence"&gt;This hearing was not transcribed until &lt;span class="ldml-entity"&gt;August 1, 1994&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="353442" data-sentence-id="353498" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; was not present at the hearing, and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; ordered the hearing transcript sealed.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="353607" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr67" class="ldml-notemarker" id="note-fr67"&gt;67&lt;/a&gt; &lt;span data-paragraph-id="353607" data-sentence-id="353608" class="ldml-sentence"&gt;Rodriguez' &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, Hostetler, subpoenaed &lt;span class="ldml-entity"&gt;Mac V. Danford&lt;/span&gt;, the Clerk of the &lt;span class="ldml-entity"&gt;Colorado Supreme Court&lt;/span&gt;, to appear at &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim.P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; hearing&lt;/span&gt; and to bring &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;'s record relevant to Rodriguez' direct appeal.&lt;/span&gt; &lt;span data-paragraph-id="353607" data-sentence-id="353824" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;District Judge&lt;/span&gt; &lt;span class="ldml-entity"&gt;Federico Alvarez&lt;/span&gt;&lt;/span&gt; refused to admit the record of appeal.&lt;/span&gt; &lt;span data-paragraph-id="353607" data-sentence-id="353895" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_353824"&gt;&lt;span class="ldml-refname"&gt;R., v. 62&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 4-12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="353913" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr68" class="ldml-notemarker" id="note-fr68"&gt;68&lt;/a&gt; &lt;span data-paragraph-id="353913" data-sentence-id="353914" class="ldml-sentence"&gt;In rejecting Rodriguez' claim that the limitations impacted upon Heher's ability to render effective assistance, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; refused to render judgment as to the propriety of the Colorado Appellate Rules because rendering such a judgment would force &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to rule as to whether &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; properly managed Rodriguez' appeal.&lt;/span&gt; &lt;span data-paragraph-id="353913" data-sentence-id="354250" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_353914"&gt;&lt;span class="ldml-refname"&gt;R., v. 62&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 11, 109-112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="354275" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr69" class="ldml-notemarker" id="note-fr69"&gt;69&lt;/a&gt; &lt;span data-paragraph-id="354275" data-sentence-id="354276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; also refused to hear testimony from Heher that the limitations imposed by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; on direct appeal impacted on his ability to render effective assistance on appeal.&lt;/span&gt; &lt;span data-paragraph-id="354275" data-sentence-id="354463" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_354276"&gt;&lt;span class="ldml-refname"&gt;R., v. 62&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 11, 109-112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="354488" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="354488" data-sentence-id="354488" class="ldml-sentence"&gt;* Rodriguez' brief on this appeal contains 150 issues, numbered from I to CLI.&lt;/span&gt; &lt;span data-paragraph-id="354488" data-sentence-id="354567" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; omits XXIII.&lt;/span&gt; &lt;span data-paragraph-id="354488" data-sentence-id="354583" class="ldml-sentence"&gt;For clarity, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have renumbered the issues in Arabic.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="354636" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="354636" data-sentence-id="354636" class="ldml-sentence"&gt;1 The record does not reflect the racial or ethnic characteristics of the clients represented by &lt;span class="ldml-entity"&gt;the Public Defender&lt;/span&gt; or the experience of Rodriguez' current attorney in representing clients of Hispanic descent.&lt;/span&gt; &lt;span data-paragraph-id="354636" data-sentence-id="354847" class="ldml-sentence"&gt;However, I do note that out of 51 investigators in the &lt;span class="ldml-entity"&gt;Public Defender's Office&lt;/span&gt; 40 are white &lt;span class="ldml-parenthetical"&gt;(78%)&lt;/span&gt;; 10 are Hispanic &lt;span class="ldml-parenthetical"&gt;(20%)&lt;/span&gt;; and 1 is African American &lt;span class="ldml-parenthetical"&gt;(2%)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="354636" data-sentence-id="355004" class="ldml-sentence"&gt;Out of 171 Public Defenders 145 are white &lt;span class="ldml-parenthetical"&gt;(85%)&lt;/span&gt;; 18 are Hispanic &lt;span class="ldml-parenthetical"&gt;(11%)&lt;/span&gt;; 7 are African American &lt;span class="ldml-parenthetical"&gt;(4%)&lt;/span&gt;; and 1 is American Indian/Alaskan &lt;span class="ldml-parenthetical"&gt;(.006%)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="354636" data-sentence-id="355150" class="ldml-sentence"&gt;These statistics are taken from the &lt;span class="ldml-entity"&gt;February 12, 1996&lt;/span&gt; &lt;span class="ldml-entity"&gt;State of Colorado Department of Personnel General Support Services&lt;/span&gt;: Human Resource Services ADHOC Report: &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;EEO1c&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="355318" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="355318" data-sentence-id="355318" class="ldml-sentence"&gt;1 Issues 61 and 89 state as follows:&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="355354" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="355354" data-sentence-id="355354" class="ldml-sentence"&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr61" class="ldml-notemarker" id="note-fr61"&gt;61&lt;/a&gt;.&lt;/span&gt; &lt;span data-paragraph-id="355354" data-sentence-id="355356" class="ldml-sentence"&gt;MR. RODRIGUEZ ASSERTS ALL OF THE CLAIMS PRESENTED IN HIS &lt;span class="ldml-entity"&gt;MOTION TO QUASH&lt;/span&gt; INFORMATION, &lt;span class="ldml-entity"&gt;MOTION TO QUASH&lt;/span&gt; JURY &lt;span class="ldml-entity"&gt;PANEL&lt;/span&gt;, &lt;span class="ldml-entity"&gt;MOTION TO STAY PROCEEDINGS&lt;/span&gt;, &lt;span class="ldml-entity"&gt;MOTION FOR HEARING&lt;/span&gt;, FILED &lt;span class="ldml-entity"&gt;NOVEMBER 25, 1986&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="355354" data-sentence-id="355543" class="ldml-sentence"&gt;THE DEATH SENTENCE AND CONVICTIONS SHOULD ALSO BE VACATED DUE TO &lt;span class="ldml-entity"&gt;THE TRIAL COURT&lt;/span&gt;'S INEXCUSABLE FAILURES TO ALLOW HEARINGS ON THE ISSUES RAISED THEREIN AND TO GRANT RELIEF AT THE TIME.&lt;/span&gt; &lt;span data-paragraph-id="355354" data-sentence-id="355727" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S REFUSAL TO ALLOW THE ACCUSED AN OPPORTUNITY TO MAKE AN ADEQUATE RECORD OR SHOWING CONCERNING THE MANNER IN WHICH THE JURY &lt;span class="ldml-entity"&gt;PANEL&lt;/span&gt; WAS SELECTED AND CHOSEN, INCLUDING THE DECISIONS OF THE JURY COMMISSIONER EXCUSING PROSPECTIVE JURORS, DENIED MR. RODRIGUEZ DUE PROCESS OF LAW AND HIS RIGHT TO A FAIR TRIAL BY IMPARTIAL JURY.&lt;/span&gt; &lt;span data-paragraph-id="355354" data-sentence-id="356059" class="ldml-sentence"&gt;THE JURY SUMMONING AND SELECTION PROCESS IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt; VIOLATED THE DUE PROCESS AND TRIAL BY JURY CLAUSES OF THE FEDERAL AND &lt;span class="ldml-entity"&gt;STATE CONSTITUTIONS&lt;/span&gt;, AND THE CONTROLLING &lt;span class="ldml-entity"&gt;STATUTES&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="356233" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="356233" data-sentence-id="356233" class="ldml-sentence"&gt;89.&lt;/span&gt; &lt;span data-paragraph-id="356233" data-sentence-id="356237" class="ldml-sentence"&gt;MR. RODRIGUEZ WAS NOT ADEQUATELY ADVISED OF AND DID NOT MAKE ADEQUATE WAIVERS OF HIS CONSTITUTIONAL RIGHT TO TESTIFY AT ANY OF THE THREE PARTS OF THE TRIAL IN &lt;span class="ldml-entity"&gt;THIS CASE&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="356406" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="356406" data-sentence-id="356406" class="ldml-sentence"&gt;2 Rodriguez also asserts that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s advisements concerning Rodriguez' right to testify were inadequate.&lt;/span&gt; &lt;span data-paragraph-id="356406" data-sentence-id="356522" class="ldml-sentence"&gt;However, the record contains transcripts of those advisements and Rodriguez does not assert that evidence in addition to the transcripts is necessary for determination of the adequacy of the advisements.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="356725" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="356725" data-sentence-id="356725" class="ldml-sentence"&gt;3 Issue 1, as framed by Rodriguez, contains the following language: &lt;span class="ldml-quotation quote"&gt;"THE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;DISTRICT COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT MR. RODRIGUEZ HAD ALREADY HAD APPELLATE REVIEW OF MANY CLAIMS IN HIS &lt;span class="ldml-entity"&gt;POSTCONVICTION MOTIONS&lt;/span&gt; WAS ERRONEOUS."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="356935" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="356935" data-sentence-id="356935" class="ldml-sentence"&gt;1 Even if I could accept the contrary conclusion reached by the majority--and I cannot--I would require a remand to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for further hearings, findings, and conclusions.&lt;/span&gt; &lt;span data-paragraph-id="356935" data-sentence-id="357119" class="ldml-sentence"&gt;See infra &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_357119"&gt;&lt;span class="ldml-cite"&gt;part II&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="357137" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="357137" data-sentence-id="357137" class="ldml-sentence"&gt;2 The penalty phase instruction defining the felony murder aggravating factor read:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="357220" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="357220" data-sentence-id="357220" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Defendant&lt;/span&gt; committed a class one, class two, or class three felony and in the course of or in the furtherance of the felony, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intentionally caused the death of a person other than one of the participants.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="357429" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="357429" data-sentence-id="357429" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. IV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 774&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="357449" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="357449" data-sentence-id="357449" class="ldml-sentence"&gt;3 The majority also admits that the evidence supporting the vacated convictions for conspiracy to commit second-degree kidnapping and conspiracy to commit first-degree aggravated motor vehicle theft also supports another aggravating factor found in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, i.e., &lt;span class="ldml-quotation quote"&gt;"intentionally killing a person in furtherance of an agreement to kill, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_357449"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="357449" data-sentence-id="357807" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_357449"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 284&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="357449" data-sentence-id="357824" class="ldml-sentence"&gt;Although I see no need to address this contention in view of my resolution of the implications stemming from the vacated felony murder conviction, the majority's assertion provides additional support for my position today.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="358046" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="358046" data-sentence-id="358046" class="ldml-sentence"&gt;4 The references to numbered issues in this dissenting opinion are to the issues presented by Rodriguez for appellate review as set forth and numbered in Appendix A to the majority opinion.&lt;/span&gt; &lt;span data-paragraph-id="358046" data-sentence-id="358236" class="ldml-sentence"&gt;See Appendix A to maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 303-20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="358046" data-sentence-id="358274" class="ldml-sentence"&gt;For the sake of uniformity and simplicity, series of three or more numbers will not be spelled out.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="358373" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="358373" data-sentence-id="358373" class="ldml-sentence"&gt;5 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Section 16-11-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, sets forth the following aggravating factor:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="358462" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="358462" data-sentence-id="358462" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The defendant&lt;/span&gt; committed a class 1, 2, or 3 felony and, in the course of or in furtherance of such or immediate flight therefrom, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; intentionally caused the death of a person other than one of the participants; ...&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="358677" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="358677" data-sentence-id="358677" class="ldml-sentence"&gt;6 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890456060" data-vids="890456060" class="ldml-reference" data-prop-ids="sentence_358677"&gt;&lt;span class="ldml-refname"&gt;Johnson v. Mississippi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;486 U.S. 578, 581&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 S.Ct. 1981, 1984&lt;/span&gt;, &lt;span class="ldml-cite"&gt;100 L.Ed.2d 575&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The sole evidence supporting the aggravating circumstance that &lt;span class="ldml-entity"&gt;petitioner&lt;/span&gt; had been &lt;span class="ldml-quotation quote"&gt;'previously convicted of a felony involving the use or threat of violence to the person of another'&lt;/span&gt; consisted of an authenticated copy of &lt;span class="ldml-entity"&gt;petitioner&lt;/span&gt;'s commitment to Elmira Reception Center in &lt;span class="ldml-entity"&gt;1963&lt;/span&gt; following his conviction in &lt;span class="ldml-entity"&gt;Monroe County&lt;/span&gt;, New York, for the crime of second-degree assault with intent to commit first-degree rape,"&lt;/span&gt; a conviction that had been reversed on appeal.&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_358677"&gt;&lt;span class="ldml-refname"&gt;Zant v. Stephens&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. 862, 873&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. 2733, 2740-41&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 L.Ed.2d 235&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;describing how &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Georgia Supreme Court&lt;/span&gt;]&lt;/span&gt; noted that a different result might be reached if the failed circumstance had been supported by evidence not otherwise admissible"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_358677"&gt;&lt;span class="ldml-cite"&gt;id. at 886&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2747&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The underlying evidence is nevertheless fully admissible &lt;span class="ldml-parenthetical"&gt;[despite invalidation of the aggravating circumstance]&lt;/span&gt; at the sentencing phase."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_358677"&gt;&lt;span class="ldml-cite"&gt;id. at 886&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2747&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;This case&lt;/span&gt; involves a statutory aggravating circumstance, invalidated by the &lt;span class="ldml-entity"&gt;State Supreme Court&lt;/span&gt; on grounds of vagueness, whose terms plausibly described aspects of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s background that were properly before the jury and whose accuracy was unchallenged."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890722892" data-vids="890722892" class="ldml-reference" data-prop-ids="sentence_358677"&gt;&lt;span class="ldml-cite"&gt;id. at 887 n. 24&lt;/span&gt;, &lt;span class="ldml-cite"&gt;103 S.Ct. at 2748 n. 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; acknowledges that, if an invalid statutory aggravating circumstance were supported by material evidence not properly before the jury, a different case would be presented.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; need not decide in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; whether the death sentence would be impaired in other circumstances, for example, if the jury's finding of an aggravating circumstance relied on materially inaccurate or misleading information."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="360449" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="360449" data-sentence-id="360449" class="ldml-sentence"&gt;7 On the first review by the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to the &lt;span class="ldml-entity"&gt;Georgia Supreme Court&lt;/span&gt; for an explanation of the &lt;span class="ldml-quotation quote"&gt;"premises"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"rationale"&lt;/span&gt; for a rule that invalidation of one aggravating circumstance would not render a death sentence constitutionally infirm.&lt;/span&gt; &lt;span data-paragraph-id="360449" data-sentence-id="360737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893483434" data-vids="893483434" class="ldml-reference" data-prop-ids="sentence_360449"&gt;&lt;span class="ldml-refname"&gt;Zant v. Stephens&lt;/span&gt;, &lt;span class="ldml-cite"&gt;456 U.S. 410, 414-15, 416-17&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 S.Ct. 1856, 1857-58, 1858-59&lt;/span&gt;, &lt;span class="ldml-cite"&gt;72 L.Ed.2d 222&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="360449" data-sentence-id="360842" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; reasoned:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="360861" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="360861" data-sentence-id="360861" class="ldml-sentence"&gt;It may be that implicit in the rule is a determination that multiple findings of statutory aggravating circumstances are superfluous, or a determination that the reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; may assume the role of the jury when the sentencing jury recommended the death penalty under legally erroneous instructions.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="361163" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="361163" data-sentence-id="361163" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893483434" data-vids="893483434" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Id. at 415&lt;/span&gt;, &lt;span class="ldml-cite"&gt;102 S.Ct. at 1858&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="361193" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="361193" data-sentence-id="361193" class="ldml-sentence"&gt;8 This analysis is not necessarily applicable to &lt;span class="ldml-entity"&gt;the amendments&lt;/span&gt; to Colorado's death penalty &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="361193" data-sentence-id="361294" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_361193"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103, 8A C.R.S. &lt;span class="ldml-parenthetical"&gt;(1995 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="361335" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="361335" data-sentence-id="361335" class="ldml-sentence"&gt;9 Issue thirteen reads:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="361358" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="361358" data-sentence-id="361358" class="ldml-sentence"&gt;THE ILLEGALITY OF THE FIRST DEGREE MURDER AND TWO CONSPIRACY CONVICTIONS REQUIRES THAT THE DEATH SENTENCE BASED UPON THEM BE VACATED.&lt;/span&gt; &lt;span data-paragraph-id="361358" data-sentence-id="361492" class="ldml-sentence"&gt;THE MOTOR VEHICLE THEFT AND &lt;span class="ldml-quotation quote"&gt;"CRIMES OF VIOLENCE"&lt;/span&gt; CONVICTIONS, AND THE DEATH SENTENCE BASED ON THEM, ARE ALSO ILLEGAL SINCE &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; ARE BASED ON THE MURDER CONVICTION.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="361655" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="361655" data-sentence-id="361655" class="ldml-sentence"&gt;Appendix A to maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 305&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="361685" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="361685" data-sentence-id="361685" class="ldml-sentence"&gt;10 Although &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; acknowledged &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888928297" data-vids="888928297" class="ldml-reference" data-prop-ids="sentence_361685"&gt;&lt;span class="ldml-refname"&gt;Clemons v. Mississippi&lt;/span&gt;, &lt;span class="ldml-cite"&gt;494 U.S. 738&lt;/span&gt;, &lt;span class="ldml-cite"&gt;110 S.Ct. 1441&lt;/span&gt;, &lt;span class="ldml-cite"&gt;108 L.Ed.2d 725&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_361685"&gt;&lt;span class="ldml-refname"&gt;People v. Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159, 178-79&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;cert. denied&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:498us1018111sct662,112led2d6561991" data-prop-ids="sentence_361685"&gt;&lt;span class="ldml-cite"&gt;498 U.S. 1018&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 662&lt;/span&gt;, &lt;span class="ldml-cite"&gt;112 L.Ed.2d 656&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; refrained from engaging in appellate reweighing, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_361685"&gt;&lt;span class="ldml-refname"&gt;Davis&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d at 179&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="361685" data-sentence-id="362000" class="ldml-sentence"&gt;At this point, with the benefit of both the remand in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894811603" data-vids="894811603" class="ldml-reference" data-prop-ids="sentence_362000"&gt;&lt;span class="ldml-refname"&gt;Clemons&lt;/span&gt;, &lt;span class="ldml-cite"&gt;593 So.2d 1004&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Miss.&lt;/span&gt;&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and our own statutory death penalty requirement that jurors engage in the weighing of aggravating and mitigating circumstances, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 16-11-103&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;, 8A C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; should explicitly reject the notion that &lt;span class="ldml-entity"&gt;appellate courts&lt;/span&gt; are equipped to engage in a weighing process that is the statutory province of the jury.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="362409" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="362409" data-sentence-id="362409" class="ldml-sentence"&gt;11 The majority seems to reason that the errors were harmless, although it does not use that term.&lt;/span&gt; &lt;span data-paragraph-id="362409" data-sentence-id="362508" class="ldml-sentence"&gt;See maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 284-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="362531" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="362531" data-sentence-id="362531" class="ldml-sentence"&gt;12 In addition to the above-described infirmities in the jury's findings of certain aggravating factors, the reliability of the jury's aggravating factors determinations is weakened further by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s invalid complicity instruction.&lt;/span&gt; &lt;span data-paragraph-id="362531" data-sentence-id="362774" class="ldml-sentence"&gt;The majority agrees with Rodriguez that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in instructing the jury on &lt;span class="ldml-quotation quote"&gt;"complicity"&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; must have had knowledge that the other person intended to commit all or part of the crime."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="362531" data-sentence-id="362990" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_362774"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 276, 277&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="362531" data-sentence-id="363029" class="ldml-sentence"&gt;Rodriguez points out that because of this erroneous instruction &lt;span class="ldml-quotation quote"&gt;"the jury could convict Rodriguez of the first-degree murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; even if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; only agreed to her assault,"&lt;/span&gt; maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 276&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but the majority dismisses the instructional mistake as harmless error, maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 276 n. 47, 277&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="363331" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="363331" data-sentence-id="363331" class="ldml-sentence"&gt;In support of its harmless error conclusion, the majority argues that the first-degree murder conviction is supported by the record but points to &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the testimony of &lt;span class="ldml-entity"&gt;Patricia Thomas&lt;/span&gt;, which was contested, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; blood evidence, which casts no light on whether Rodriguez had knowledge regarding the extent of an alleged co-participant's murderous intentions.&lt;/span&gt; &lt;span data-paragraph-id="363331" data-sentence-id="363690" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_363331"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 276-277&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="363331" data-sentence-id="363711" class="ldml-sentence"&gt;The majority's dismissal of the complicity mistake as harmless error is surprising considering &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s reliance on that instruction during closing arguments:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="363878" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="363878" data-sentence-id="363878" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[L]&lt;/span&gt;ook at Instruction Number 12.&lt;/span&gt; &lt;span data-paragraph-id="363878" data-sentence-id="363911" class="ldml-sentence"&gt;It's a very important instruction.&lt;/span&gt; &lt;span data-paragraph-id="363878" data-sentence-id="363946" class="ldml-sentence"&gt;It has to do with the legal concept of complicity, because even if you somehow believe &lt;span class="ldml-entity"&gt;David Martinez&lt;/span&gt;, not &lt;span class="ldml-parenthetical"&gt;[Rodriguez]&lt;/span&gt;, deliberately stabbed &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt; to death, &lt;span class="ldml-parenthetical"&gt;[Rodriguez]&lt;/span&gt; is still guilty of first degree murder after deliberation.&lt;/span&gt; &lt;span data-paragraph-id="363878" data-sentence-id="364186" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; is guilty as an accomplice and Instruction Number 12 makes that clear to you.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="364266" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="364266" data-sentence-id="364266" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;R. at v. XXXI&lt;/span&gt;, &lt;span class="ldml-cite"&gt;p. 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="364266" data-sentence-id="364288" class="ldml-sentence"&gt;In my opinion, this reliance alone casts in doubt the majority's disposition of issues 130 and 131.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="364387" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="364387" data-sentence-id="364387" class="ldml-sentence"&gt;The majority finds further support by reasoning that &lt;span class="ldml-quotation quote"&gt;"in returning a guilty verdict on the charge of conspiracy to commit first-degree murder after deliberation, the jury necessarily found that Rodriguez specifically intended to promote or facilitate the first-degree murder of &lt;span class="ldml-entity"&gt;Lorraine Martelli&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="364387" data-sentence-id="364685" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_364387"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 277&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="364387" data-sentence-id="364702" class="ldml-sentence"&gt;However, the majority's reasoning in this regard is circular.&lt;/span&gt; &lt;span data-paragraph-id="364387" data-sentence-id="364764" class="ldml-sentence"&gt;If the jury was allowed to convict Rodriguez of first-degree murder based on a complicity instruction that hypothetically allowed the conviction to be founded on Rodriguez's mere knowledge of an alleged co-perpetrator's assaultive, but not murderous, intentions, the conspiracy to commit murder conviction could have been based on the potentially improper first-degree murder conviction and a reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has no way of assuming that the jury necessarily found specific murderous intent on Rodriguez's part rather than simple knowledge of &lt;span class="ldml-quotation quote"&gt;"part"&lt;/span&gt; of an alleged co-conspirator's intentions.&lt;/span&gt; &lt;span data-paragraph-id="364387" data-sentence-id="365356" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_364764"&gt;&lt;span class="ldml-refname"&gt;R. at v. III&lt;/span&gt;, &lt;span class="ldml-cite"&gt;pp. 572-73, 581&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(applicable jury instructions)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="365421" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365421" data-sentence-id="365421" class="ldml-sentence"&gt;13 Specifically, Rodriguez's issue one reads:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="365466" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365466" data-sentence-id="365466" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT MR. RODRIGUEZ HAD ALREADY HAD APPELLATE REVIEW OF MANY CLAIMS IN HIS &lt;span class="ldml-entity"&gt;POSTCONVICTION MOTIONS&lt;/span&gt; WAS ERRONEOUS.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="365605" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365605" data-sentence-id="365605" class="ldml-sentence"&gt;Appendix A to maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 303&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="365635" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365635" data-sentence-id="365635" class="ldml-sentence"&gt;14 Rodriguez's issue three reads:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="365668" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365668" data-sentence-id="365668" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE DISTRICT COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT &lt;span class="ldml-entity"&gt;THIS COURT&lt;/span&gt; DECIDED SEVERAL OF MR. RODRIGUEZ' CLAIMS &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895808056" data-vids="895808056" class="ldml-reference" data-prop-ids="sentence_365668"&gt;&lt;span class="ldml-refname"&gt;AGAINST HIM IN PEOPLE V. TENNESON&lt;/span&gt;, &lt;span class="ldml-cite"&gt;788 P.2d 786&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;AND&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887882121" data-vids="887882121" class="ldml-reference" data-prop-ids="sentence_365668"&gt;&lt;span class="ldml-refname"&gt;PEOPLE V. DAVIS&lt;/span&gt;, &lt;span class="ldml-cite"&gt;794 P.2d 159&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, IS INCORRECT.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="365874" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365874" data-sentence-id="365874" class="ldml-sentence"&gt;Appendix A to maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 304&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="365904" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365904" data-sentence-id="365904" class="ldml-sentence"&gt;15 Rodriguez's issue forty-one reads:&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="365941" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="365941" data-sentence-id="365941" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;'S RULING&lt;/span&gt; THAT SEVERAL CLAIMS CONCERNED ONLY &lt;span class="ldml-quotation quote"&gt;"INADEQUATE FOUNDATION FOR EXHIBITS"&lt;/span&gt; AND THUS THAT &lt;span class="ldml-entity"&gt;THEY&lt;/span&gt; WERE NOT &lt;span class="ldml-quotation quote"&gt;"AVAILABLE"&lt;/span&gt; WAS ERROR.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="366082" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="366082" data-sentence-id="366082" class="ldml-sentence"&gt;Appendix A to maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="366112" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="366112" data-sentence-id="366112" class="ldml-sentence"&gt;16 I agree with the majority that issues 120, 121, 122, 125, 126, 127, and 128 are rendered moot by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s affirmance of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s vacation of the predicate offenses.&lt;/span&gt; &lt;span data-paragraph-id="366112" data-sentence-id="366293" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_366112"&gt;&lt;span class="ldml-refname"&gt;Maj. op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 254-55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="366312" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="366312" data-sentence-id="366312" class="ldml-sentence"&gt;17 In contrast, I agree with the majority's analysis and disposition of the second part of issue thirty-one, the hearsay question.&lt;/span&gt; &lt;span data-paragraph-id="366312" data-sentence-id="366443" class="ldml-sentence"&gt;See maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. at 268-69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
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